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               EXHIBIT %
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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NORTH DAKOTA
                            BISMARK DIVISION

STATE OF IOWA,                         )
STATE OF NORTH DAKOTA,                 )
STATE OF ALASKA,                       )
STATE OF ARKANSAS,                     )
STATE OF FLORIDA,                      )
STATE OF GEORGIA,                      )
STATE OF IDAHO,                        )    Case No. 1:24-cv-00089-CRH
STATE OF KANSAS,                       )
COMMONWEALTH OF KENTUCKY,              )
STATE OF LOUISIANA,                    )
STATE OF MISSOURI,                     )
STATE OF MONTANA,                      )
STATE OF NEBRASKA,                     )
STATE OF SOUTH CAROLINA,               )
STATE OF SOUTH DAKOTA,                 )
STATE OF TENNESSEE,                    )
STATE OF TEXAS,                        )
STATE OF UTHA,                         )
STATE OF VIRGINIA,                     )
STATE OF WEST VIRGINIA, and            )
STATE OF WYOMING,                      )
                                       )
                Plaintiffs,            )
     v.                                )
                                       )
COUNCIL ON ENVIRONMENTAL               )
QUALITY, and BRENDA MALLORY, in        )
her official capacity as Chair,        )
                                       )
                Defendants.            )



                              DECLARATION OF
                              JAN HASSELMAN




                                                            Earthjustice
                                                            810 Third Avenue, Suite 610
DECLARATION OF JAN HASSELMAN                                Seattle, WA 98104-1711
                                      -1-                   (206) 343-7340
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     I, Jan Erik Hasselman, declare as follows:

   I am an attorney in the Northwest Regional Office of Earthjustice, and I represent Alaska

     Community Action on Toxics, Center for Biological Diversity, Center for Environmental

     Health, Center for Food Safety, Environmental Law and Policy Center, Environment

     Protection Information Center, Food     Water Watch, Fort Berthold POWER, Friendsof

     the Earth, Green Latinos, Labor Council on Latin American Advancement, 0ƗODPD

     0ƗNXD, National Parks Conservation Association, National Wildlife Federation, Ocean

     Conservancy, People’s Collective for Environmental Justice, Rio Grande International

     Study Center, Southern Utah Wilderness Alliance, The Wilderness Society, and Winter

     Wildlands Alliance (collectively, “Applicants”). I am also a member in good standing of

     the bar of the State of Washington and am admitted to practice in the United States

     District Court for the District of North Dakota. I make this declaration based on my

     personal knowledge and, if called to testify, could and would testify as stated herein.

   Attached hereto as Exhibit  is a true and correct copy of the First Amended Complaint

     for Declaratory and Injunctive Relief, dated October 6, 20202, filed in Alaska Community

     Action on Toxics v. Council on Environmental Quality, United States District Court for

     the Northern District of California, ECF No. 22, Case No. 3:20-cv-5199-RS.

   Attached hereto as Exhibit  is a true and correct copy of a letter dated September 29,

     2023, from Center for Biological Diversity, et al. to Council on Environmental Quality

     regarding Phase 2 regulations implementing National Environmental Policy Act, Docket

     No. 2023-0003.




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      I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.



        DATED this 2th day of June, 2024.

                                                    s/ Jan E. Hasselman
                                                    JAN E. HASSELMAN




                                                                       Earthjustice
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 1   KRISTEN L. BOYLES (CSBA #158450)
     JAN E. HASSELMAN (WSBA # 29107)
 2   [Admitted Pro Hac Vice]
     EARTHJUSTICE
 3   810 Third Avenue, Suite 610
     Seattle, WA 98104
 4   (206) 343-7340
     kboyles@earthjustice.org
 5   jhasselman@earthjustice.org

 6   SUSAN JANE M. BROWN (OSBA #054607)
     [Admitted Pro Hac Vice]
 7   WESTERN ENVIRONMENTAL LAW CENTER
     4107 NE Couch St.
 8   Portland, OR. 97232
     (503) 914-1323
 9   brown@westernlaw.org

10   GREGORY C. LOARIE (CSBA #215859)
     EARTHJUSTICE
11   50 California Street, Suite 500
     San Francisco, CA 94111
12   (415) 217-2000
     gloarie@earthjustice.org
13
     Attorneys for Plaintiffs
14

15
                                UNITED STATES DISTRICT COURT
16                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
17
     ALASKA COMMUNITY ACTION ON               Case No. 3:20-cv-5199-RS
18   TOXICS, AMERICAN ALPINE CLUB,
     CALIFORNIA WILDERNESS COALITION,         Related Case: No. 3:20-cv-6057-RS
19   CENTER FOR BIOLOGICAL DIVERSITY,
     CENTER FOR ENVIRONMENTAL                 FIRST AMENDED COMPLAINT FOR
20   HEALTH, CENTER FOR FOOD SAFETY,          DECLARATORY AND INJUNCTIVE
     ENVIRONMENT AMERICA,                     RELIEF
21   ENVIRONMENTAL DEFENSE FUND,
     ENVIRONMENTAL PROTECTION                 (National Environmental Policy Act, 42
22   INFORMATION CENTER, FOOD AND             U.S.C. § 4321 et seq.; Administrative
     WATER WATCH, FORT BERTHOLD               Procedure Act, 5 U.S.C. § 551 et seq.;
23   POWER, FRIENDS OF THE EARTH,             Endangered Species Act, 16 U.S.C. § 1531
     NATIONAL PARKS CONSERVATION              et seq.)
24   ASSOCIATION, NATIONAL WILDLIFE

25                                                               Earthjustice
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 1   FEDERATION, OCEAN CONSERVANCY,
     RIO GRANDE INTERNATIONAL STUDY
 2   CENTER, SOUTHERN UTAH
     WILDERNESS ALLIANCE, WE ACT FOR
 3   ENVIRONMENTAL JUSTICE, WESTERN
     WATERSHEDS PROJECT, THE
 4   WILDERNESS SOCIETY, and WINTER
     WILDLANDS ALLIANCE,
 5
                    Plaintiffs,
 6   v.

 7   COUNCIL ON ENVIRONMENTAL
     QUALITY, and MARY NEUMAYR, in her
 8   official capacity as Chair of the Council on
     Environmental Quality,
 9
                            Defendants.
10

11                                            INTRODUCTION
12          1.      The National Environmental Policy Act of 1970 (“NEPA”), 42 U.S.C. § 4331 et

13   seq., often called the “Magna Carta” of American environmental law, embodies our Nation’s

14   environmental conscience. In enacting NEPA, Congress issued a sweeping declaration of values

15   and a call to action, centering the protection of human health and the environment in all federal

16   agency decisions. The statute affirms the government’s role to “fulfill the responsibilities of

17   each generation as trustee of the environment for succeeding generations.” Id. § 4331(b)(1). To

18   implement these goals, NEPA institutes a national policy of “look before you leap” by requiring

19   all federal agencies to carefully analyze and disclose to the public the potential environmental

20   impacts of, and feasible alternatives to, federal agency actions. Id. § 4332(c). It is, in short, the

21   people’s environmental law.

22          2.      Since 1978, regulations promulgated by the Council on Environmental Quality

23   (“CEQ”), an agency created by NEPA within the executive office of the President, have guided

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 1   every federal agency’s implementation of NEPA. See 40 C.F.R. Part 1500 (1978). CEQ’s

 2   regulations codified early judicial precedent interpreting the meaning and reach of NEPA’s

 3   obligations, and they provided the basis for a substantial body of judicial precedent spanning

 4   over four decades. CEQ’s regulations also formed the foundation for more specific regulations

 5   enacted by federal “action” agencies—from the U.S. Forest Service to the Federal Energy

 6   Regulatory Commission—to implement their particular missions. Over the decades, the 1978

 7   CEQ regulations have stood the test of the time, with only minor amendments.

 8          3.      That long history of continuity with respect to CEQ’s interpretation of NEPA has

 9   come to an abrupt halt under the current administration. The current administration explicitly

10   admitted that it placed the interests of pipelines, fossil fuel energy production, and road building

11   over that of environmental and public health. Over the vociferous objections of states, members

12   of Congress, myriad conservation, environmental justice, and public health organizations, and

13   the general public, on July 16, 2020 CEQ issued a final rule (“Final Rule”) rewriting the entirety

14   of its 1978 regulations. Update to the Regulations Implementing the Procedural Provisions of

15   the National Environmental Policy Act; Final Rule, 85 Fed. Reg. 43,304 (July 16, 2020) (to be

16   codified at 40 C.F.R. Part 1500). More than an update, the Final Rule upends virtually every

17   aspect of NEPA and its longstanding practice, contradicts decades of court interpretations of

18   NEPA’s mandates, and undercuts the reliance placed on NEPA by the public, decision-makers,

19   and project proponents. The Final Rule limits the scope of actions to which NEPA applies,

20   eviscerates the thorough environmental analysis that lies at the heart of the statute, reduces the

21   ability of the public to participate in federal agency decision-making, and seeks to limit judicial

22   review of agency NEPA compliance. All told, the Final Rule frustrates Congress’s manifest

23   intent in enacting NEPA and threatens human health and the environment.

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 1          4.       Plaintiffs in this action are a diverse coalition of national and regional

 2   environmental justice, outdoor recreation, public health, and conservation organizations that rely

 3   on NEPA to protect their varied interests in human health and the environment. Plaintiffs

 4   challenge the Final Rule for four broad reasons. First, CEQ failed to consider and disclose the

 5   significant environmental impacts from the Final Rule in an environmental assessment (“EA”) or

 6   environmental impact statement (“EIS”), in violation of NEPA itself. Second, the Final Rule is

 7   arbitrary and capricious in a number of ways, as CEQ failed to explain its decision in light of the

 8   evidence in the record, including public comments, failed to review the impacts of the rule on the

 9   advancement of environmental justice, failed to consider the relevant factors when altering

10   longstanding practice, and changed longstanding agency interpretations and practice without

11   adequate explanation or justification. Third, in many ways, the Rule is inconsistent with the text,

12   structure, and intent of NEPA itself and violates the Administrative Procedure Act (“APA”).

13   Finally, CEQ failed to consult under Endangered Species Act (“ESA”) Section 7 on the Final

14   Rule, a rule that clearly may affect ESA-listed species and critical habitat.

15          5.       Plaintiffs seek an order declaring the Final Rule unlawful and vacating the Final

16   Rule, reinstating the NEPA regulations previously in force.

17                                     JURISDICTION AND VENUE

18          6.       This Court has jurisdiction pursuant to 28 U.S.C. § 1331 (federal question) and 28

19   U.S.C. § 1346 (United States as defendant). The Court may issue a declaratory judgment and

20   further relief under 28 U.S.C. §§ 2201-02. This action is brought pursuant to the APA, 5 U.S.C.

21   § 551 et seq. and the ESA, 16 U.S.C. § 1540(g)(1). A subset of Plaintiffs provided 60 days’

22   notice of intent to sue on July 31, 2020 to federal defendants. A copy of the notice is appended

23   as Exhibit A.

24

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 1           7.      Venue is properly vested in this Court under 28 U.S.C. § 1391(e), as a number of

 2   Plaintiffs reside in this district, Plaintiffs have members and offices in this District, and many of

 3   the consequences of the defendants’ violations of the law giving rise to the claims occurred or

 4   will occur in this district.

 5                                    INTRADISTRICT ASSIGNMENT

 6           8.      This case is properly assigned to the San Francisco Division or the Oakland

 7   Division under Civil L.R. 3-2(c) because several of the Plaintiffs and/or their members are

 8   located in counties within those districts.

 9                                                 PARTIES

10           A.      Plaintiffs

11                   1.       Descriptions, Interests, and Injury of Each Plaintiff Organization

12           9.      Plaintiff Alaska Community Action on Toxics (“ACAT”) is a 501(c)(3) non-profit

13   with its main office in Anchorage, Alaska. ACAT also has staff and conducts community health

14   research in Gambell and Savoonga, both located on Saint Lawrence Island, Alaska. ACAT

15   believes everyone has a right to clean air, clean water, and toxic-free food. Driven by a core

16   belief in environmental health and justice, ACAT empowers communities to eliminate exposure

17   to toxics through collaborative research, shared science, education, organizing, and advocacy.

18   ACAT employs a community-based approach guided by the following core values: community

19   right-to-know, environmental justice, the precautionary principle, elimination of the production

20   and release of toxics, rights and sovereignty of Indigenous peoples, and a culture of caring and

21   wellness. ACAT has approximately 300 donors, 50 volunteers, and several thousand people who

22   have signed up as interested citizens and activists to receive communications and actions alerts

23   about issues relevant to environmental contamination by toxic chemicals.

24

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 1          10.     ACAT works primarily with Alaska Native communities who rely on the land and

 2   ocean for physical, spiritual, and cultural sustenance. Those communities depend on healthy

 3   marine ecosystems, in particular, for hunting, fishing, and food security. ACAT conducts public

 4   education programs to educate its constituent members about the environmental and public

 5   health risks, including risks and harms from oil development, chemical dispersants used in oil

 6   spill response, the proposed Pebble and Donlin Creek Mines, the proposed Ambler Mining

 7   District Industrial Access Road, and military training, testing, and bombing/artillery exercises in

 8   sensitive ecological areas, such as wetlands, stream and river corridors, and estuaries (e.g.

 9   bombing of Eagle River Flats) and other areas of high biological diversity (e.g. high impact

10   training operations in the Gulf of Alaska).

11          11.     ACAT regularly uses NEPA and its public processes to advocate for issues on

12   behalf of its supporters and communities in Alaska. ACAT has most recently submitted scoping

13   comments in response to the 2020 U.S. Department of Defense, Department of the Air Force

14   Notice of Intent to prepare an Environmental Impact Statement under the National

15   Environmental Policy Act for the proposed action of year-round mortar and artillery live fire

16   training on Eagle River Flats, an ecologically and culturally important estuary north of

17   Anchorage on the Joint Bases Elmendorf AFB-Fort Richardson. ACAT also prepared comments

18   for the scoping process and on the Draft Environmental Impact Statements for the proposed

19   Donlin Creek Mine and Ambler Mining District Industrial Access Road. In 2019, ACAT

20   prepared and submitted comments on the Draft Environmental Impact Statement for the

21   proposed Pebble Mine.

22          12.     As a science-based organization with over 20 years of experience working on

23   toxic contamination, ACAT has worked with many Alaskan communities faced with and

24

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 1   concerned about pollution from mines and oil exploitation and the effects on the environment,

 2   traditional wild foods, and people’s health. ACAT staff, supporters, and the communities ACAT

 3   works with are harmed by the Final Rule because they eliminate the vital protections that have

 4   been in place for decades. The environmental justice implications of the Final Rule are

 5   profound, and preventing such injustices is at the core of ACAT’s mission.

 6          13.     Staff member Patti Saunders is ACAT’s Development Director, having previously

 7   worked as an attorney and commercial fisherman in Prince William Sound, Southeast Alaska,

 8   and Bristol Bay. Ms. Saunders has previously submitted public comments to government

 9   agencies during NEPA review processes and will do so again in the future when proposed

10   projects threatened the environmental and public health of Alaska. As a commercial fisherman

11   who fished in Bristol Bay for a season and who has friends who have (and in some cases

12   continue to) fish there, she is keenly aware of the Bristol Bay watershed’s importance as a world-

13   class fishery that has both economic and cultural value for Alaskans. It is a virtually pristine,

14   intact ecosystem that has supported Alaska Natives for thousands of years. It also provides

15   recreational opportunities for Alaskans and non-Alaskans: fishing, birding, wildlife viewing,

16   nature photography, hiking, kayaking, and canoeing. Ms. Saunders enjoys these types of

17   recreational opportunities, including birdwatching, in the Bristol Bay watershed. She has

18   definite plans to return to the Bristol Bay region to enjoy all it has to offer an outdoor enthusiast

19   in the next two to four years.

20          14.     Pamela Miller has served as ACAT’s Executive Director since 1997. Ms. Miller

21   has more than 35 years of experience in research, policy, advocacy, and training programs

22   focused on environmental health, justice, human rights, and marine ecology. Since 2005, she has

23   served as Principal Investigator for community-based environmental health research projects

24

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 1   supported by the National Institute of Environmental Health Sciences and focused on the long-

 2   term effects of endocrine-disrupting chemicals on the environment and human health. In 2016,

 3   Ms. Miller was elected to serve as the co-chair of the International Pollutants Elimination

 4   Network, a global network of more than 500 environmental health and justice organizations

 5   working in over 100 countries for a toxics-free future. Ms. Miller has personally been involved

 6   in writing NEPA comments, attending public hearings, and engaging in litigation when NEPA

 7   has been violated. Ms. Miller has been the primary person working on chemical dispersant

 8   issues for ACAT since 2002. The use of dispersant chemicals in the event of an offshore oil spill

 9   would greatly impact the health and cultural well-being of ACAT’s supporters, including its

10   Board Members.

11          15.     Harriet Penayah, a Yupik Elder from the Native Village of Savoonga on Saint

12   Lawrence Island in the Bering Sea, is an ACAT board member. Ms. Penayah and her family rely

13   on the harvest of marine fish and marine mammals for spiritual, physical, and cultural

14   sustenance. A significant part of the Penayah family diet comes from the ocean, including fish

15   like salmon, cod, and halibut, as well as marine mammals like ringed seal, bearded seal, walrus,

16   and bowhead whale. St. Lawrence Island is located in the northern Bering Sea and within the

17   Norton Sound region on the Alaska Outer Continental Shelf. The Norton Sound area

18   experienced oil and gas development in the 1980s. It is also proposed for oil and gas leasing

19   under the federal Bureau of Ocean Energy Management’s Draft Proposed Program for 2019-

20   2024. Oil development in the Bering Sea and use of chemical dispersants in response to an oil

21   spill in the Norton Sound region would impact Ms. Penayah and her family’s food security by

22   polluting the marine ecosystems on which they depend for food. It would also disrupt the
23   migratory patterns of important marine mammals, such as the bowhead whale. Marine animals
24

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 1   form the basis of Harriet’s diet and cultural traditions. If chemical dispersants impacted the

 2   safety of these food sources, Ms. Penayah and her family would not be able to replace these

 3   sources with food purchased from a grocery store, due to the deep cultural importance that these

 4   animals hold for Ms. Penayah and her family. ACAT engages in the NEPA process, including

 5   preparation of public comments and participation in hearings concerning oil and gas
 6   development in the Bering, Chukchi, and Beaufort Seas, in order to protect the health of marine
 7   ecosystems and Alaska Native communities that rely on traditional foods from the sea.
 8          16.     Plaintiff American Alpine Club (“AAC”) is a 501(c)(3) non-profit organization
 9   based in Golden, Colorado with over 25,000 members nationally and 3,491 members in
10   California. Founded in 1902 to support the research and exploration of mountainous regions, the
11   AAC remains committed to supporting the climbing and human-powered outdoor recreation
12   communities over a century later. At the core of AAC’s policy efforts are critical issues facing
13   climbers and outdoor recreationists nationally, such as keeping public lands pristine, wild, and
14   open to human-powered recreation. One of the key tools that enable the AAC to effectively
15   advocate for these issues on behalf of its membership and the climbing community broadly is the
16   public process afforded by NEPA. NEPA mandates informed decision-making, based on sound
17   science, and requires that, to the fullest extent possible, all agencies of the federal government
18   take a hard look at environmental consequences prior to issuing a decision. NEPA declares a
19   broad national commitment to protecting and promoting environmental quality under the CEQ
20   regulations, which are influential in shaping agency implementation of the statute.
21          17.     The Final Rule is extremely detrimental to the outdoor community’s interests and
22   adversely affects the AAC and its membership. The changes will hamstring AAC’s members’
23   ability to effectively participate in public comment periods, maintain accountability and
24

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 1   transparency in public lands decision-making, and advocate for solutions to climate change,

 2   among other issues. For these reasons, the AAC has promoted the disbandment of this proposal

 3   at every stage of the CEQ rulemaking process, from having provided public testimony at the

 4   CEQ hearing in Denver, Colorado to submitting technical comments on the proposed rulemaking

 5   alongside their partners at the Outdoor Alliance, a coalition dedicated to protecting public lands

 6   and waters for human powered recreation.

 7          18.     A key concern among AAC members are the effects of a changing climate on its

 8   communities, climbing areas, and ecosystems. Mountain regions are warming at roughly twice

 9   the pace of the global average, and AAC members are bearing witness to these changes directly.

10   As climbers, skiers, and mountaineers, AAC members are intimately familiar with the mountain

11   landscapes of the United States. Many of AAC’s members also rely on a predictable climate to

12   sustain their livelihoods. Whether as a mountain guide, a gear shop owner, or a retail employee,

13   a reliable climate in many United States mountain towns equates to a reliable tourism and

14   outdoor recreation economy. In 2018, the annual climbing industry contribution to the United

15   States Gross Domestic Product (“GDP”) was $12.5 billion, where the outdoor recreation

16   economy as a whole generated 7.6 million jobs and accounted for more than 2.2% of the

17   country’s GDP, according to the Bureau of Economic Analysis.

18          19.     AAC membership has historically engaged in federal agency land use planning,

19   such as in U.S. Forest Service forest planning or Bureau of Land Management (“BLM”) resource

20   management plan development, where members could influence the outcome of energy

21   development, mining, or logging projects through extensive public engagement, expert testimony

22   and scientifically informed environmental reviews. In addition, NEPA’s cumulative and indirect

23   effects analysis has benefited AAC members by requiring that the federal government consider

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 1   the impact of their decision-making on the climate and factor this into the creation of reasonable

 2   plan alternatives.

 3          20.     This is particularly troubling in areas with complex management issues such as

 4   Bears Ears National Monument, where following a Presidential Proclamation which reduced the

 5   original monument designation in size by 85%, thousands of acres of land in southeastern Utah

 6   including many important rock-climbing areas as well as Native American sacred and cultural

 7   sites, were opened to oil and gas development. The AAC and its partners relied on NEPA to

 8   inform the BLM resource management planning process for the Indian Creek and Shash Jaa units

 9   on issues of recreation and natural resource management.

10          21.     Dr. Len Necefer, a member of the AAC since 2017, resides in Tucson, Arizona

11   where he is a Professor of American Indian Studies at the Udall Center for Public Policy at the

12   University of Arizona as well as the CEO of Colorado based company, Natives Outdoors. Dr.

13   Necefer is a member of the Navajo Nation and his research focuses on the intersection of

14   indigenous peoples and natural resource management. An avid climber and backcountry skier,

15   Dr. Necefer currently serves as a board member for the AAC and volunteers his time on the

16   AAC Policy Committee, which advises AAC staff on recreation management and natural

17   resource policy issues. Dr. Necefer has relied heavily on the NEPA process to voice concern

18   over impacts caused by energy development on climbing and cultural resources in resource

19   management planning. Dr. Necefer worked with the Bears Ears Inter-Tribal Coalition to

20   orchestrate collaborative comments for the BLM during their resource planning process for the

21   Indian Creek and Shash Jaa units in Bears Ears National Monument. Not only does Dr. Necefer

22   visit Bears Ears National Monument to enjoy the world-renowned rock climbing in Indian Creek,

23   an area with hundreds of documented climbing routes, but also the area is a sacred site for the

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 1   Navajo Nation and contains numerous cultural resources. Dr. Necefer has firm and definite

 2   plans to visit and climb in these areas in the future. Dr. Necefer utilizes NEPA to provide

 3   management guidance on several areas like Bears Ears, where sacred ancestral lands overlap

 4   with well-documented recreation areas.

 5          22.     Dr. Necefer has also worked extensively on the Oak Flat land exchange in the

 6   Coconino National Forest where Resolution Copper plans to open a large-scale copper mine.

 7   The proposed mine will span two miles wide and over 1,000 feet deep, destroying hundreds of

 8   rock climbs as well as vast stands of Emory oak, medicinal plants, and ceremonial sites

 9   important to the San Carlos Apache tribe. This mine, if approved in the pending EIS, will mark

10   the biggest loss of climbing area access in history.

11          23.     Dr. Necefer’s ability to enjoy the future of Oak Flat, and Bears Ears National

12   Monument has hinged in part on his ability to voice concern for their management throughout

13   the NEPA process. Dr. Necefer’s interest in protecting climbing areas and important cultural

14   sites will be harmed by the CEQ’s narrowing of NEPA’s scope of review, as well as the reduced

15   public participation and allowing a private corporation, like Resolution Copper, who has a vested

16   interest in its project, to draft its own EIS. Dr. Necefer has concrete plans to return to Bears Ears

17   National Monument as well as areas closer to home, such as the Coronado National Forest, and

18   hopes to continue participating in the management of the climbing resources of these areas. As a

19   professor and small business owner, the CEQ’s shortened timeline for submitting comments will

20   make it near impossible for him to provide adequately substantive comments, resulting in his

21   important opinions being overlooked. Finally, as a member of the Navajo Nation, Dr. Necefer

22   fears that his community will be overlooked in future energy development projects by the

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 1   abbreviated NEPA process and that adequate consultation with tribes and the appropriate

 2   fulfillment of the government’s trust responsibility agreement will not be met.

 3          24.     Byron Harvison is an attorney who resides in Park City, Utah, who has been a

 4   member of the AAC for more than 15 years. Mr. Harvison is a long-time volunteer for the AAC,

 5   serving as the AAC Salt Lake Chapter Chair, and also volunteers with the Salt Lake Climbers

 6   Alliance. An avid rock and ice climber, Mr. Harvison has worked extensively on recreation and

 7   public lands policy issues through the NEPA process in Utah. Throughout his long climbing

 8   career, Mr. Harvison has climbed all over the Western United States, and frequents federally

 9   managed public lands often to recreate. Mr. Harvison has concrete plans to continue to climb in

10   Utah and elsewhere in the west in the future. Currently, Mr. Harvison and other climbers in the

11   Salt Lake region are volunteering their time to work on the Uinta-Wasatch Cache National Forest

12   Plan revision, with the intent of influencing a specific climbing management plan through public

13   comment afforded by NEPA.

14          25.     Additionally, Mr. Harvison and a team of other AAC members, staff, and local

15   Salt Lake climbers, have been working to challenge the Little Cottonwood Canyon (“LCC”) EIS

16   alternatives. Mr. Harvison has climbed here in the past and has definite plans to return to the

17   area in the future to climb here again. A proposed gondola and road widening project would

18   have several direct and indirect impacts on the climbing resources of the LCC, an area that is a

19   critically important resource to the climbers of Salt Lake. Mr. Harvison and other climbers who

20   visit LCC to recreate in the future will be greatly impacted by several of the proposed

21   alternatives which could severely alter the state of climbing in the canyon. LCC is a highly

22   congested roadway that generates large amounts of air pollution, especially during the winter

23   months. If climate change and air quality implications are not thoroughly considered in the

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 1   NEPA process, Mr. Harvison, other Utah residents, and climbers everywhere will be negatively

 2   affected. The Final Rule’s removal of the indirect and cumulative effects analysis requirement

 3   will result in a failure to account for the visual and auditory effects of projects such as this and

 4   limited comment periods will make it increasingly difficult for volunteers like Mr. Harvison to

 5   offer informed public comment. Additional restrictions on Mr. Harvison’s ability to provide

 6   comment on federal land management decisions will result in negative consequences to his

 7   recreational experience in the Wasatch-Cache National Forest and on other National Forest units

 8   across the country.

 9          26.     Plaintiff California Wilderness Coalition (“CalWild”) is a non-profit organization

10   incorporated under the laws of the State of California with its central office in Oakland,

11   California, and field offices in Sacramento, Redding, Fresno, and Los Angeles, California.

12   CalWild, on behalf of its 632 members, works in a variety of ways to protect and restore the

13   state’s wildest natural landscapes and watersheds on federal public lands. These important wild

14   places provide clean air and water, refuges for wildlife, mitigation against the effects of climate

15   change, and outstanding opportunities for recreation and spiritual renewal for people. CalWild is

16   the only statewide organization dedicated solely to protecting and restoring the wild places and

17   native biodiversity of California’s public lands. CalWild is dedicated to achieving

18   Congressionally-designated protections (e.g., wilderness, national monument), as well as

19   administrative protections by state or federal agencies, for California’s wild public lands.

20   CalWild pursues these objectives through legislative campaigns, grass-roots organizing, and

21   public education (such as publishing monthly news journals, blogs, and white papers) concerning

22   conservation issues, and, when necessary, legal action. CalWild regularly send action alerts to

23   members and subscribers to inform them about when and how to comment on specific proposed

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 1   projects and plans, such as BLM planning or National Monument review. In addition, CalWild

 2   regularly participates in and submits comments itself on proposed federal agency land and/or

 3   resource management plans and site-specific project proposals (e.g., logging, mining,

 4   geothermal, renewable energy), primarily related to public lands managed by BLM and United

 5   States Forest Service.

 6          27.     For decades, CalWild has relied on NEPA to effectively advocate for these issues

 7   on behalf of its membership. Beyond NEPA’s public information and participation

 8   requirements, NEPA requires informed decision-making, based on sound science, and requires

 9   that, to the fullest extent possible, all agencies of the federal government take a hard look at

10   environmental consequences prior to issuing a decision. NEPA declares a broad national

11   commitment to protecting and promoting environmental quality, a goal CalWild embraces.

12   CalWild joined a comment letter of conservation, health, and justice organizations and

13   businesses opposing the proposed NEPA rules.

14          28.     CalWild members, including Pamela Nelson of Warner Springs, California, have

15   long-standing, particularized interests in public lands and wildlife that NEPA helps to protect.

16   Ms. Nelson has been a CalWild member for at least 15 years, and she has used NEPA to keep

17   informed about and comment on projects and planning near her home and in areas where she

18   regularly recreates and has definite plans to continue visiting into the future, in particular the San

19   Bernardino and Cleveland National Forests, where Ms. Nelson regularly enjoys hiking,

20   exploring, and bird and wildlife watching. In the last seven years, Ms. Nelson has participated in

21   NEPA planning and commenting processes for forest plan amendments to the Inyo, Sequoia, and

22   Sierra National Forest Plans. She has also submitted NEPA comments on the California Desert

23   Conservation Plan and San Gabriel Mountains National Monument Land Management Plan.

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 1          29.     CalWild member Maureen Forney, a resident of both San Leandro, California, in

 2   Alameda County, and Bear Valley, California in Alpine County, frequently visits national

 3   forests, national parks, and lands managed by the BLM, where she engages in and will continue

 4   to engage in many activities including hiking, running, mountain biking, snowshoeing, cross-

 5   country skiing, bouldering, kayaking, swimming, camping, animal tracking, sightseeing, and

 6   wildlife watching, particularly in the Stanislaus National Forest where one of her homes is

 7   located. Ms. Forney has also submitted written and oral NEPA comments to federal agencies

 8   about how she wants to see public lands managed, and she will be harmed if her ability to

 9   continue to do so is limited.

10          30.     Plaintiff Center for Biological Diversity (“the Center”) is a nonprofit organization

11   dedicated to the preservation and restoration of biodiversity, native species, and ecosystems.

12   Founded in Tucson, Arizona with offices throughout the country, including in Oakland and Los

13   Angeles, California, the Center works through science, law, and creative media to secure a future

14   for all species, great or small, hovering on the brink of extinction. The Center has more than 1.6

15   million supporters, including more than 74,000 members from all across the United States, with

16   approximately 17,214 in California. The Center and its members have longstanding recreational,

17   aesthetic, scientific, professional, and other concrete interests in conserving native species

18   throughout the country and routinely advocate for native species conservation and protection.

19   Center attorneys, scientists, organizers, and advocates routinely participate in commenting at all

20   phases of NEPA processes before numerous federal agencies, including the U.S. Forest Service,

21   BLM, the Bureau of Reclamation, the U.S. Army Corps of Engineers, the U.S. Fish and Wildlife

22   Service, and many others. The Center also employs numerous media and outreach staff to

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 1   inform the Center’s members about, and encourage and assist members in participating in,

 2   NEPA reviews. The Center submitted detailed comments on the proposed NEPA rule.

 3          31.     For example, the Center is currently challenging a BLM decision to approve

 4   rights-of-way for powerlines, natural gas, water, and petroleum product in Utah that will

 5   facilitate the construction of the first commercial scale facility to process a rock known as “oil

 6   shale” into a petroleum product. The oil shale plant will produce 50,000 barrels of shale oil per

 7   day, produce significant amounts of air and climate pollution, and will require up to 10,000 acre-

 8   feet of water per year for thirty years from the Green River, home to four endangered fish. The

 9   Center and other groups have challenged BLM’s rights-of-way because the agency’s NEPA

10   analysis failed to consider the cumulative and indirect impacts of the federal rights-of-way,

11   including the air and climate pollution and water depletion impacts of the oil shale production

12   facility. Because the Final Rule eliminates the consideration of cumulative effects and does not

13   even mandate the consideration of indirect effects, it will make it difficult if not impossible for

14   the Center to engage in this kind of advocacy in the future, resulting in an imminent increase in

15   harm to wildlife, public lands and waters, and the shared climate.

16          32.     The Center communicates extensively with its members and supporters, as well as

17   the general public, about threats to imperiled species, the protection of public lands, and the

18   ongoing and future damage from the global climate crisis by issuing press releases and

19   statements, publishing online news through its publication “The Revelator,” holding webinars,

20   and sending emails and action alerts. The Center’s members participate in and rely on the NEPA

21   review processes, and will be harmed by the Final Rule. For example, the Final Rule’s explicit

22   elimination of cumulative impacts review will significantly impede the ability of the Center and

23   its members to obtain and disseminate adequate information about, and ensure government

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 1   consideration of, the climate change impacts of projects such as oil and gas development plans,

 2   rights-of-way for oil shale development, federal coal leasing, and federal auto fleet standards that

 3   will contribute to cumulatively significant and devastating greenhouse gas emissions. In

 4   addition to impeding the Center’s ability to obtain such essential information as part of the

 5   NEPA process, the Final Rule also necessitates that the Center expend its limited organizational

 6   resources in an effort to obtain and compile such information from other sources.

 7          33.     The Center has individual members, including but not limited to Ileene Anderson

 8   of California and Taylor McKinnon of Arizona, who regularly visit, study, work, photograph, or

 9   recreate on lands where NEPA has been and will be used in reviewing federal projects. Each of

10   the members has specific intentions to continue to interact with these areas frequently and on an

11   ongoing basis. Center members and staff derive recreational, spiritual, professional, scientific,

12   educational, and aesthetic benefits from their interactions with these parts of the natural world.

13          34.     Ileene Anderson is a botanist, a Center member since 1998, and a staff member at

14   the Center since 2005. Ms. Anderson is also a frequent user of the federal lands in the California

15   Desert, where she hikes, photographs, searches for rare plants, watches birds and other wildlife,

16   and enjoys the solace that wildlands can provide. Among the places she has visited on numerous

17   occasions are federal lands on and adjacent to Conglomerate Mesa (on the doorstep of Death

18   Valley National Park). There, she has camped, hiked, and botanized the area at least three times

19   in the last five years including her most recent visit to the area earlier in 2020. This area near

20   Owens Lake, California, is renowned for its dense western Joshua tree forests, rare plants, unique

21   cultural resources and pristine landscape, positioned between wilderness areas on BLM, Forest

22   Service, and National Park Service managed lands (Malpais Mesa, Inyo Mountains, and Death

23   Valley). Ms. Anderson plans to return to Conglomerate Mesa in 2020 and beyond once the

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 1   Covid-19 restrictions are relaxed to enjoy the outstanding scenic beauty of this area and look for

 2   plants and wildlife.

 3          35.     Over the past 25 years, Ms. Anderson has participated in many NEPA processes

 4   evaluating mining, off-road vehicles, grazing, energy projects, land use management plans,

 5   habitat conservation plans, railroads, pipelines, highways, land exchanges, and many others. Ms.

 6   Anderson also wrote sections of NEPA documents for federal agencies when she was employed

 7   as a consulting biologist. She has found NEPA’s procedural safeguards to be crucial to

 8   improving projects and reducing the unnecessary impacts, because in her experience, NEPA

 9   review typically reveals diverse perspectives and impact-reduction solutions that otherwise

10   would not be identified by the agency acting alone.

11          36.     The Final Rule harms Ms. Anderson, including by impairing her ability to

12   evaluate and comment on the indirect and cumulative impacts of projects like a pending proposal

13   to undertake exploratory drilling for gold on the Conglomerate Mesa, and the harms the project

14   poses to off-site resources, including the landscapes and visitor experiences from and within

15   Death Valley National Park and the adjacent wilderness areas, the damage from indirect impacts

16   of off-road vehicle use, cumulative impacts of this proposal together with the 2018 approved

17   exploration plan, and the reasonably foreseeable construction of a large gold mine.

18          37.     Taylor McKinnon is a former owner of a Utah river rafting business, amateur

19   photographer, a Center member since 2007, and is now employed as the Center’s Senior Public

20   Lands Campaigner. Mr. McKinnon grew up and still lives in Flagstaff, Arizona, amidst national

21   forests and parks that he continues to visit. As he has since he was young, Mr. McKinnon now

22   regularly uses and enjoys federal and other public lands for hiking, cycling, camping, fishing,

23   photography, snowboarding, birding, nature and wildlife observation and vehicle touring.

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 1   Among the lands that he has regularly visited for some of these activities in the last several years

 2   (most recently in 2018) is the sage brush and sandstone high desert of the remote Book Cliffs

 3   along the Utah-Colorado border, where BLM approved rights-of-way for the nation’s first

 4   commercial scale oil shale plant. Mr. McKinnon has also regularly participated in NEPA

 5   processes on numerous federal agency proposals over the last decade involving lands where he

 6   recreates, including lands at issue in the Utah oil shale plant.

 7          38.     As part of his enjoyment of public lands, Mr. McKinnon regularly visits (and

 8   plans to return this year to) Grand Canyon National Park and the Forest Service lands near the

 9   town of Tusayan, Arizona. He visits the South Rim area several times each year to hike, sight

10   see, and take photographs of the Grand Canyon and wildlife in the area. The Forest Service last

11   year received applications from an Italian development corporation named Stilo for rights-of-

12   way across National Forest lands near the Grand Canyon’s South Rim for water and natural gas

13   pipelines, electricity, and a paved road to facilitate a massive commercial and residential

14   development on private land. Stilo’s proposed development, located within two miles of the

15   southern boundary of Grand Canyon National Park, would increase Tusayan’s population ten-

16   fold, likely cause depletion of aquifers that are the only source of water for natural springs along

17   Grand Canyon’s South Rim, worsen air, noise and light pollution within the Park, and fragment

18   habitat for wildlife that use the Park. When Stilo submitted a prior version of this application to

19   the Forest Service in 2014, Mr. McKinnon on the Center’s behalf submitted comments and

20   helped lead a major public campaign opposing Stilo’s proposal as part of the agency’s NEPA

21   scoping process. The Forest Service ultimately rejected Stilo’s application based largely on the

22   indirect and cumulative impacts to the National Park that Mr. McKinnon and others had raised.

23   The Final Rule’s complete elimination of cumulative impacts as a consideration in NEPA

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 1   analyses and its elimination of the mandate that agencies consider and disclose indirect effects

 2   would mean NEPA reviews of Stilo’s 2019 application – which the Forest Service is likely to

 3   initiate this year – need not address impacts to Grand Canyon National Park at all, increasing the

 4   likelihood that Stilo’s development will impair the Park resources that Mr. McKinnon enjoys.

 5            39.   Plaintiff Center for Environmental Health (“CEH”) is a California non-profit

 6   organization founded in 1996 with its principal place of business in Oakland, California. CEH

 7   has approximately 22 staff members, and an email list of 25,000 supporters who regularly

 8   receive information and action alerts. CEH works on the regional and national level.

 9            40.   CEH protects people from toxic chemicals by working with communities,

10   consumers, workers, government, and the private sector to demand and support business

11   practices that are safe for public health and the environment. For CEH, people and their health

12   and well-being are the ultimate concern. Air, water, food, and consumer products should be free

13   of dangerous and untested chemicals.

14            41.   CEH works collaboratively with environmental justice organizations and low-

15   income communities to address the disproportionate toll that toxic chemicals take on their

16   neighborhoods. Historically, CEH’s legal action has spurred hundreds of major retailers to

17   remove lead and other toxic chemicals from child and adult jewelry, fashion accessories

18   including those marketed toward low income buyers, candies, toys, lunchboxes, personal care

19   products, and more. CEH has also taken legal action (primarily using California’s Safe Drinking

20   Water and Toxic Enforcement Act, Proposition 65) to force polluting industries to reduce, or

21   otherwise mitigate, hazardous air emissions from low-income communities and communities of

22   color.

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 1           42.     One of CEH’s core values is that people need information in order to both protect

 2   themselves and their families and also to advocate for businesses and the government to enact

 3   health protective policies. This is the type of public information and public participation that

 4   NEPA requires.

 5           43.     CEH submitted comments on the Proposed Rule in March 2020 in coordination

 6   with other environmental justice and public health organizations. Those comments were critical

 7   of the proposed rule because CEH felt it would hurt the ability of communities to know what

 8   projects were planned and it would harm the ability of the public to meaningfully explain to

 9   decision-makers how their communities would be impacted.

10           44.     CEH supporters and staff members have used NEPA’s standards and

11   requirements to bring about on-the-ground protections. For example, CEH Senior Scientist

12   Caroline Cox’s work has been focused on toxics for decades. In the 1980s, Ms. Cox was part of

13   a group that used NEPA litigation to force dramatic changes in the use of herbicides for growing

14   timber in the Pacific Northwest. Forcing the U.S. Forest Service and BLM to fully comply with

15   NEPA resulted in changed Forest Service practices, as NEPA’s requirements to review

16   alternatives and fully engage the public brought the agency new information and perspectives.

17   The net result was that herbicide use decreased dramatically because the NEPA process was so

18   successful in addressing issues that people on the ground cared about.

19           45.     CEH is harmed by the changes in the NEPA regulations that create less public

20   transparency, fail to foster full public participation, curtail review of alternatives, and fail to

21   review the indirect and cumulative impacts of proposed projects.

22           46.     Plaintiff Center for Food Safety (“CFS”) is a national public interest nonprofit

23   organization dedicated to empowering people, supporting farmers, and protecting the planet from

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 1   the harms of industrial agriculture. CFS’s program areas encompass all aspects of food and

 2   agriculture production, from pesticides and commodity crops to livestock production to ocean

 3   and coastal aquaculture to the climate impacts of agriculture. In each area CFS strives to ensure

 4   responsible government oversight and advocates for a more sustainable, regenerative food future.

 5   CFS has over 970,000 members across the country, and offices in San Francisco, CA; Portland,

 6   OR; and Washington, D.C. CFS and its members are being, and will be, adversely affected by

 7   the Final Rule.

 8          47.        Since its inception in 1997, CFS has incorporated NEPA review in all its program

 9   areas, and acts as a watchdog to ensure agencies fulfill NEPA’s requirements to allow for

10   reasoned decision-making and informed public participation. CFS has multiple full-time staff

11   members (policy, scientific, outreach, and legal) devoted to overseeing federal agencies’ NEPA

12   review regarding the regulation of food and agriculture.

13          48.        To fulfill its mission, CFS disseminates to government agencies, members of

14   Congress, and the general public a wide array of educational and informational program

15   materials often addressing major federal actions requiring NEPA review. CFS also sends out

16   action alerts to its True Food Network. These alerts generate public involvement, education, and

17   engagement with governmental officials, including during NEPA public comment periods on

18   federal projects affecting the sustainable food systems CFS promotes. Collectively, the

19   dissemination of this material has made CFS an information clearinghouse for public

20   involvement in NEPA processes in the realm of sustainable food and agriculture.

21          49.        In addition to information and public education, when necessary, CFS engages in

22   public interest litigation challenging industrial food production and agricultural practices that

23   harm public health and the environment and/or impact farmers, its members, and the public

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 1   interest. CFS has a long history of watchdogging federal agencies’ NEPA compliance, in order

 2   to ensure agencies responsibly and rigorously analyze, among other things, the reasonably

 3   foreseeable impacts of their actions, consider a full range of reasonable alternatives, and

 4   thoroughly analyze cumulative and intertwined socioeconomic impacts.

 5          50.     In March 2020, CFS submitted public comments on the Proposed Rule and was a

 6   signatory to three additional joint comment letters. The Final Rule injures CFS as an

 7   organization and its members individually. CFS and thousands of its members frequently

 8   participate in NEPA public comment periods. Through shortening comment periods,

 9   significantly reducing available information on cumulative and indirect impacts, and exempting

10   more federal projects, CFS and its members will struggle to meaningfully participate in the

11   NEPA process or will be prevented from doing so. Without access to information on cumulative

12   and indirect impacts, CFS will be forced to divert organizational resources to look into these

13   impacts and fully inform members on federal projects, resources that otherwise would be used on

14   CFS mission central activities. The Final Rule’s weakening of agency NEPA reviews will divert

15   resources from CFS’s other work, including advocating for organic production and other

16   sustainable, regenerative food systems. Overall, CEQ’s unlawful rollbacks of NEPA regulations

17   frustrates CFS’s organizational mission to inform the public on the harmful impacts of industrial

18   agriculture and promote sustainable food systems.

19          51.     The Final Rule also injures CFS’s members directly by restricting their ability to

20   participate in agency decision-making, as well to assure that agencies take a hard look at their

21   actions, actions that injure the members’ health, environmental, aesthetic, recreational, and

22   intertwined socioeconomic interests. Many of CFS’s members rely on healthy and safe methods

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 1   of food production to keep safe themselves, their families, their livelihoods, and the environment

 2   on which they rely.

 3          52.     For example, CFS members who live and recreate and own businesses in

 4   Washington’s Willapa Bay and Puget Sound are adversely impacted by industrial commercial

 5   shellfish aquaculture and relied on the Army Corps of Engineers to thoroughly assess the

 6   impacts, including cumulative, of allowing tens of thousands of acres of aquaculture in these

 7   aquatic ecosystems. CFS member Ross Barkhurst, a U.S. Naval Academy graduate, lives on 270

 8   acres on Willapa Bay, including two shellfish beds totaling 60 acres, where he has for years

 9   harvested shellfish and used to sell them commercially, and where he recreates as an avid hunter,

10   fisher, and bird-watcher. He has watched as the health of his tidelands and those around the Bay

11   he loves are degraded from industrial shellfish aquaculture and especially the pesticide use

12   associated with it, and has recorded the waning numbers of various fish and waterfowl species.

13   The Corps’ past failure to adequately assess the impacts from the aquaculture it permits under

14   NEPA have adversely affected Mr. Barkhurst, as well as other CFS members who live or

15   recreate in these tidal areas, eat oysters, and enjoy watching the large variety of wildlife there,

16   including threatened and endangered species.

17          53.     Mr. Fritzi Cohen, another CFS member, owns a historic bed and breakfast on

18   Willapa Bay but has been unable to harvest the oysters it was once famous for from the tide bed,

19   due to the impacts of industrial shellfish aquaculture permitted by the Corps, but not properly

20   analyzed under NEPA.

21          54.     These members, and others who live and recreate on Washington shorelines, have

22   been participating in the regulatory processes for years and will continue to do so, especially now

23   that a federal court has found that the Corps’ NEPA analysis was deficient and sent the agency

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 1   back to fully assess the impacts, especially cumulative impacts, of commercial shellfish

 2   aquaculture. CFS members’ interest in the information required under NEPA as well as their

 3   own participation in the NEPA process, is directly harmed by the Final Rule, especially insofar

 4   as it removes the obligation for agencies to perform cumulative impact analyses.

 5          55.     CFS members in the Gulf of Mexico are also adversely impacted by the lack of

 6   NEPA analysis for offshore aquaculture. CFS member Barbara Findley, a resident of Bonita

 7   Springs, Florida, is an avid boater and beachgoer who relies on the NEPA process to protect her

 8   aesthetic and recreational interests in Gulf marine life, as well as use of the bodies of waters

 9   surrounding her home state. Ms. Findley regularly utilizes Florida’s Gulf and Atlantic coasts,

10   and takes pleasure in viewing the variety of marine species in the Gulf and surrounding waters,

11   including loggerhead, green, and leatherback turtles; cobia, grouper, red snapper, tarpon, and

12   snook; Key West stingrays, cassiopeas, and moon jellyfish; and bottlenose dolphins. As a result,

13   Ms. Findley is concerned with the development of offshore projects such as offshore aquaculture

14   farms. Ms. Findley’s ability to enjoy the future of waters surrounding her home state is hinged

15   in part on her ability to voice concerns for their management throughout the NEPA process. Ms.

16   Findley’s interest in the protection of marine species in the Gulf from offshore aquaculture

17   facilities (which are permitted by federal agencies) will be harmed by the CEQ’s narrowing of

18   NEPA scope of review.

19          56.     Plaintiff Environment America is a non-profit corporation organized under the

20   laws of Colorado. It has hundreds of thousands of members nationwide, with approximately 434

21   active members in California. Its mission is to transform the power of our imaginations and our

22   ideas into change that makes our world a greener and healthier place for all. Environment

23   America’s staff works for clean air, clean water, clean energy, wildlife and open spaces, and a

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 1   livable climate. Its members put grassroots support behind Environment America’s research,

 2   advocacy, and litigation.

 3           57.    Environment America has worked to ensure that the goals of NEPA are achieved

 4   and that it remains a powerful tool to protect our health and environment and safeguard our

 5   natural treasures for posterity. Environment America opposed the regulations at issue in this

 6   litigation when they were first proposed and provided testimony in opposition, as well as

 7   submitted written comments. In addition, Environment America produced a blog post explaining

 8   the dangers of the proposal and a factsheet to educate the public as to NEPA’s importance.

 9           58.    Environment America has individual members, including but not limited to

10   Joseph Sandri of Maryland and Peter Skopec of Wisconsin, who regularly visit, study, work,

11   photograph, or recreate on lands where NEPA has been and will be used in reviewing federal

12   projects. Each of the members has specific intentions to continue to interact with these areas

13   frequently and on an ongoing basis. Environment America members and staff derive

14   recreational, spiritual, professional, scientific, educational, and aesthetic benefits from their

15   interactions with these parts of the natural world.

16           59.    Joseph Sandri has been a member of Environment America since 2009 and lives

17   in Maryland. Mr. Sandri has participated in NEPA processes in the past. He is a member of the

18   board of directors of the Archangel Ancient Tree Archive, which is a non-profit organization that

19   locates and propagates the world’s largest and most iconic trees. In his role as a member of the

20   board of directors, Mr. Sandri wrote and submitted a comment opposing U.S. Forest Service’s

21   proposal to exempt the Tongass National Forest from the 2001 Roadless Area Conservation

22   Rule.

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 1          60.     Peter Skopec has been a member of Environment America since 2020 and lives in

 2   Wisconsin. Mr. Skopec has participated in NEPA processes in the past, and he plans to

 3   participate in NEPA processes in the future. For example, in his role as the director of the

 4   Wisconsin Public Interest Research Group, a non-profit public interest advocacy organization,

 5   Mr. Skopec was involved in the NEPA review process for the proposed expansion of highway I-

 6   94 in Milwaukee. Mr. Skopec provided in-person testimony on December 4, 2014, and he

 7   submitted written comments on January 27, 2015, April 15, 2016, and May 5, 2016. On July 8,

 8   2020, it was announced that the I-94 expansion project will be revived, and Mr. Skopec plans to

 9   participate in any public engagement opportunities provided by NEPA in the future.

10          61.     Plaintiff Environmental Defense Fund (“EDF”) is a national nonprofit

11   organization representing over 384,000 members nationwide, including over 62,000 in

12   California. Since 1967, EDF has linked science, economics, and law to create innovative,

13   equitable, and cost-effective solutions to urgent environmental problems. EDF employs over a

14   hundred scientists, economists, engineers, business school graduates, and lawyers to help solve

15   challenging environmental problems in a scientifically sound and cost-effective way. EDF

16   pursues initiatives at the state and national levels designed to protect human health and the

17   environment. EDF frequently participates in NEPA review processes for federal actions,

18   including by submitting comments and bringing litigation to ensure agencies adequately evaluate

19   the impacts of their actions under NEPA, including climate impacts. EDF and its individual

20   members will be adversely affected by the Final Rule.

21          62.     Francis Don Schreiber is a member of EDF and a rancher and landowner in Rio

22   Arriba County, New Mexico in the San Juan Basin, one of the most active areas in the country

23   for oil and gas production. Mr. Schreiber has a split estate—he owns the surface rights to his

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 1   land, and the mineral rights on his property are owned by the federal government and managed

 2   by the BLM. Mr. Schreiber also holds a federal permit to graze cattle, sheep and horses for

 3   approximately 2,700 acres of land managed by the BLM. There are over a hundred oil and gas

 4   wells managed by BLM on and immediately adjacent to Mr. Schreiber’s ranch. Mr. Schreiber

 5   has advocated for BLM to consider the health, environmental, and climate impacts of the oil and

 6   gas development that BLM manages, and implement measures to reduce venting, flaring, and

 7   leaking of natural gas on his land. Rigorous NEPA review has been, and will continue to be,

 8   critical for reducing the harm that this federally-managed oil and gas development causes Mr.

 9   Schreiber, his family, and his community. For example, a BLM regulation, opposed by Mr.

10   Schreiber, that allowed increased waste of natural gas and increased methane and local air

11   pollution from federally-managed oil and gas development, including the wells on Mr.

12   Schreiber’s ranch, was recently vacated by a court in this district because BLM failed to comply

13   with NEPA. The court specifically held that BLM had failed to adequately assess cumulative

14   impacts, including climate impacts, under NEPA. Currently, a Draft Resource Management Plan

15   Amendment and Environmental Impact Statement for expanding oil and gas development in the

16   San Juan Basin is under consideration at the BLM Farmington Field Office. The Final Rule

17   removes required consideration of cumulative impacts under NEPA, among other damaging

18   changes, harming Mr. Schreiber, who must live with the cumulative impacts of BLM’s decisions

19   for oil and gas development on his land.

20          63.    Jonathan Goldstein is Director of Legislative and Regulatory Affairs at EDF and

21   an EDF member. Mr. Goldstein frequently submits comments on behalf of EDF on federal

22   agency NEPA documents. For example, Mr. Goldstein submitted comments in 2018 on BLM’s

23   draft resource management plan and environmental impact statement for Carlsbad that

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 1   highlighted how BLM failed to conduct adequate NEPA analysis of the impacts, including

 2   cumulative impacts, from existing and future oil and gas development in the planning area. Mr.

 3   Goldstein plans to continue to submit comments in the future on NEPA documents, including

 4   during the currently-open comment period on BLM’s draft resource management plan

 5   amendment and environmental impact statement for Farmington. Mr. Goldstein is also a

 6   frequent user of federal public lands that will be impacted by the changes to NEPA regulations,

 7   including by limiting consideration of climate change effects. Mr. Goldstein regularly hikes and

 8   mountain bikes in the Roosevelt National Forest near his home in Lyons, Colorado and plans to

 9   continue to do in the future.

10          64.     Plaintiff Environmental Protection Information Center (“EPIC”) is a nonprofit

11   organization based in Arcata, California. EPIC advocates for the protection and restoration of

12   Northwest California’s forests, using an integrated, science-based approach, combining public

13   education, citizen advocacy, and strategic litigation.

14          65.     EPIC was founded in 1977 as a membership organization and its members shape

15   the priorities of the organization through electing its board of directors. EPIC has approximately

16   700 members and over 12,000 supporters. EPIC members also contribute to the work of the

17   organization through volunteering to review projects. NEPA is critical to EPIC’s work. In the

18   past year, EPIC has commented on over 30 NEPA projects and has four ongoing federal cases

19   alleging violations of the act.

20          66.     EPIC members have an interest in areas and activities that will be impacted by the

21   revised regulations. For example, Felice Pace is a member of EPIC and volunteers his time to

22   help EPIC monitor cattle grazing on public land. Mr. Pace currently resides in Klamath Glen,

23   California. Mr. Pace has participated over a hundred projects on the Klamath National Forest,

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 1   Six Rivers National Forest and Shasta-Trinity National Forest and NEPA is critical to Mr. Pace’s

 2   work to voice his concerns. Mr. Pace runs the Project to Reform Public Land Grazing in

 3   Northern California. Through the Project, Mr. Pace spends numerous days in the field

 4   documenting the effects of grazing on the environment. As part of this, Mr. Pace is particularly

 5   careful to document how grazing near and in streams can impact salmonids listed under the

 6   Endangered Species Act. Because he has spent considerable personal resources developing

 7   long-term data about the impacts of grazing on salmonids, Mr. Pace has a unique interest in areas

 8   that will be harmed by the challenged rule.

 9          67.     Joseph and Susan Bower are also members of EPIC and devote considerable time

10   and effort into commenting on Forest Service projects. Mr. and Ms. Bower moved to Peanut,

11   California in May 1973 and have lived on their homestead since that time. Their land backs up

12   against the Shasta-Trinity National Forest, which serves as their backyard and source of domestic

13   drinking water. Mr. and Ms. Bower first became engaged in Forest Service projects in 1975

14   because of concerns over herbicide use and have remained engaged since that time. Because

15   they are reliant on the National Forest for their water and because land management decisions,

16   such as fire break projects, on the National Forest affect their homestead, they actively use

17   NEPA to comment on proposed projects, commenting on over a hundred proposed projects

18   primarily on the Shasta-Trinity National Forest. Mr. and Ms. Bower are particularly concerned

19   with the fate of the northern spotted owl, a species listed as “threatened” under the Endangered

20   Species Act, because the spotted owl is a designated indicator species for forest health. In their

21   experience, examining the cumulative effects of a project is particularly important for the

22   “checkerboard” lands of Northern California, where private and public lands are arranged in neat

23   squares like on a checkerboard. Under the challenged rules, it appears that much if not all of the

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 1   cumulative effects analysis that they have relied upon would no longer be required. Their

 2   interest in knowledge about cumulative effects, and their ability to advocate for changes to a

 3   project because of potential cumulative effects, is harmed by the challenged rule.

 4          68.     Trisha Lotus also exemplifies how EPIC works to satisfy the interests of its

 5   members and how the challenged rule would injure its members. Ms. Lotus is a member of

 6   EPIC and a resident of Humboldt County, California. Ms. Lotus has been instrumental in a

 7   federal challenge brought by EPIC to the Richardson Grove Project, a proposed highway

 8   widening project through Richardson Grove State Park. The proposed highway widening would

 9   critically affect old-growth redwoods in the park, whose root system would be cut and paved

10   over as part of the project. Ms. Lotus was moved to do something about the project because for

11   her, this project was personal. In 1922 Ms. Lotus’s great-grandfather, Henry Devoy, entrusted

12   the 120 acres of land to the State of California which came to be known as Richardson Grove

13   State Park. As an EPIC member, Ms. Lotus and others encouraged EPIC to intercede in the

14   project, beginning a decade-long engagement with this project that has resulted in numerous

15   federal cases that have stopped the project from moving forward. The challenged rule would

16   likely have caused this project to fall outside of NEPA’s bounds, as federal financing of a project

17   is no longer deemed to cause a project to be a “major federal action” under NEPA. Since being

18   an involved plaintiff in the Richardson Grove State Park lawsuit, Ms. Lotus continues to monitor

19   highway projects in her area. Many of these highway projects receive significant funding from

20   the Federal Highway Administration, and would possibly be exempt from NEPA in the future.

21   Trisha’s ability to influence state highway projects would be diminished under the challenged

22   rule and she would be injured by this loss of her ability to participate.

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 1          69.     Plaintiff Food and Water Watch (“FWW”) is a national, non-profit, membership

 2   organization that mobilizes people to build political power to move bold and uncompromised

 3   solutions to the most pressing food, water, and climate problems of our time. FWW uses

 4   grassroots organizing, media outreach, public education, research, policy analysis, and litigation

 5   to protect people’s health, communities, and democracy from the growing destructive power of

 6   the most powerful economic interests. FWW’s priority campaigns include fighting for a just and

 7   rapid transition to 100% clean, renewable energy and away from fossil fuels, and fighting for a

 8   ban on factory farms, also known as concentrated animal feeding operations (“CAFOs”).

 9   Central to its mission, FWW has advocated against new fossil fuel infrastructure, government

10   support for factory farms, and other harmful federal projects since its founding in 2005. This

11   work regularly involves engaging in the NEPA review process and communicating with FWW

12   members about opportunities to participate in NEPA reviews. FWW has more than 180,000

13   members nationwide, including 7,767 in California, and maintains offices across the country

14   including an office in Oxnard and Los Angeles, with its headquarters in Washington, D.C.

15   FWW submitted comments on the proposed NEPA rule.

16          70.     FWW is currently challenging a Federal Energy Regulatory Commission NEPA

17   review for failure to consider cumulative and indirect effects of a project. FWW is also currently

18   challenging a Farm Service Agency NEPA review for a Maryland chicken factory farm because

19   it fails to adequately consider the cumulative impacts of agency financing of the project. It

20   brings these challenges on behalf of members whose interests are harmed by these projects.

21   However, by eliminating the requirement that agencies consider cumulative and indirect effects,

22   and declaring that Farm Service Agency financing is not subject to NEPA review, the Final Rule

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 1   will make it difficult if not impossible for FWW to engage in this kind of advocacy work in the

 2   future, resulting in increased environmental and public health harm.

 3          71.     FWW communicates extensively with its members and supporters, as well as the

 4   general public, about climate change, water pollution, and other harmful impacts of fossil fuel

 5   infrastructure proposals and other federally permitted or funded actions by releasing reports and

 6   fact sheets, issuing press releases and statements, publishing online news pieces, and sending

 7   emails and action alerts. FWW members participate in and rely on the NEPA review processes,

 8   and will be harmed by the Final Rule. For example, the Rule’s elimination of cumulative

 9   impacts review will make it difficult or impossible for FWW and its members to obtain adequate

10   information about and ensure government consideration of the climate change impacts of

11   projects such as fracked gas pipelines that will contribute to cumulatively significant and

12   devastating greenhouse gas emissions. The Final Rule’s exclusions will make it impossible for

13   FWW and its members to comment in opposition to proposed factory farms that receive federal

14   financing, because there will no longer be a NEPA public comment process to notify citizens of

15   projects proposed in their communities associated with the receipt of federal funds: the prior

16   CEQ regulations required this public disclosure and analysis, but the Final Rule eliminates this

17   requirement.

18          72.     FWW has individual members, including but not limited to Dane Schumacher of

19   Arkansas and Carol Kuehn of New Jersey, who regularly visit, study, work, photograph, or

20   recreate on lands or marine areas where NEPA has been and will be used in reviewing federal

21   projects. Each of the members has specific intentions to continue to interact with these areas

22   frequently and on an ongoing basis. FWW members and staff derive recreational, spiritual,

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 1   professional, scientific, educational, and aesthetic benefits from their interactions with these parts

 2   of the natural world.

 3          73.     FWW member Dane Schumacher resides on a small, sustainable farm in Carroll

 4   County, Arkansas and generates a portion of his income selling produce from the farm. Mr.

 5   Schumacher irrigates his farm from the waters of adjacent Dry Fork Creek, a tributary of the

 6   Kings River, which is part of the White River watershed. He also swims, kayaks, and recreates

 7   in these waters, and plans to continue to do so in the future. However, Mr. Schumacher’s use

 8   and enjoyment of these waters is diminished by the operation of factory farms upstream that

 9   discharge pollution into them: he can smell factory farm waste (i.e., animal waste) and is

10   concerned about farm pollution in the places he swims and recreates. Mr. Schumacher relies on

11   NEPA processes to learn of new projects that are federally permitted or funded, and seeks to

12   participate in such processes to ensure that her concerns about downstream pollution are

13   addressed. Farm Service Agency funding is often the sole federal trigger for NEPA for these

14   kinds of projects. On one occasion, Mr. Schumacher participated in a NEPA process considering

15   funding of a factory farm near his home: his comments helped persuade the agency that the site

16   was ill-suited for such a project and the project was abandoned, thereby preventing a likely

17   additional source of pollution in the waters near his home. Elimination of NEPA reviews for

18   such agency funding would mean future NEPA reviews that adversely affect Mr. Schumacher

19   would not occur at all, resulting in additional pollution in his watershed and further undermining

20   his use and enjoyment of these waters.

21          74.     Carol Kuehn, another FWW member, is a homeowner living in South Brunswick,

22   New Jersey, whose property abuts the proposed NorthEast Supply Enhancement Project’s

23   Compression Station 206. She has been involved in the NEPA process opposing the

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 1   construction of the pipeline and compressor station that would result in noxious petrochemical

 2   emissions near her property. Ms. Kuehn would be adversely affected by the narrowed scope of

 3   NEPA review proposed by the Final Rule, because the Final Rule would not require the Federal

 4   Energy Regulatory Commission – the federal agency responsible for permitting the pipeline and

 5   compressor station – to analyze the cumulative and indirect impacts of the project that could

 6   result in serious damage to her property and respiratory health. Moreover, reduced public

 7   participation opportunities would result in the diminished capability of Ms. Kuehn to be involved

 8   in the decision-making process related to the fate of her property.

 9          75.     Plaintiff Fort Berthold Protectors of Water and Earth Rights (“Fort Berthold

10   POWER”) is a grassroots, member-led, Fort Berthold Indian Reservation community group that

11   works to affect beneficial change in the multi-jurisdictional government decision-making

12   processes that affect the individual Mandan, Hidatsa, and Arikara tribal members’ pre-treaty

13   lands held in trust since treaty times. Fort Berthold POWER is an affiliate member of Dakota

14   Resource Council, a non-profit organization incorporated in North Dakota with a mission to

15   promote sustainable use of North Dakota’s natural resources and family-owned and operated

16   agriculture by building member-led local groups that empower people to influence the decision-

17   making processes that affect their lives and communities. Fort Berthold POWER is committed

18   to working toward a sustainable society guided by cultural and spiritual beliefs in their lands and

19   their world view. The mission of Fort Berthold POWER is to conserve and protect the land,

20   water, and air on which all life depends. Fort Berthold POWER works to engage citizens in

21   activities that protect the environment, facilitates learning for members to disseminate

22   information on environmental issues that affect all people, and expands members’ ability to take

23   effective action to address issues that affect land, air, and water.

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 1          76.     Fort Berthold POWER was formed in 2015 to counteract the devastating

 2   environmental effects of the implementation of federal hydraulic fracturing projects on the trust

 3   lands of allottees and the tribal government. The federal project oil and gas wells are primarily

 4   in the Mandaree, Four Bears, and Shell Creek communities and underneath the Missouri River

 5   which transverses the reservation and is the only available source of drinking water for all

 6   communities on the reservation and many off-reservation communities. Fort Berthold

 7   Reservation is currently experiencing both the environmental and social impacts and the

 8   financial benefits of the Bakken oil expansion. Over the past decade, members of Fort Berthold

 9   POWER have witnessed environmental degradation, a rise in crime, and deconstruction of social

10   fabric of once small town communities.

11          77.     Fort Berthold POWER members live, work, and recreate in and around, and

12   otherwise use and enjoy, lands where oil and gas development is occurring or has been proposed

13   on federal and tribal leases and are likely to be affected by the associated air and water pollution

14   and other impacts from such development. For example, some members live on or near split-

15   estate lands (where the federal government owns the minerals underlying their property) that are

16   already subject to oil and gas development or are likely to be developed in the future. Other

17   members use public lands in and around federal and tribal leases for recreation, wildlife viewing,

18   solitude, and scientific study.

19          78.     Fort Berthold POWER understands and supports the requirements of the original

20   NEPA regulations to provide for informed consent of tribal land and mineral owners in federal

21   proposed projects. Fort Berthold POWER has relied on NEPA to inform its community about

22   federal oil and gas fracking actions. Federal extractive projects are often proposed and targeted

23   on trust lands held by tribal members or adjacent to tribal members lands, but just as often

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 1   federal lead agencies fail to inform tribal members of the anticipated environmental impacts of

 2   these projects and fail to provide public participation for tribal members. NEPA’s public

 3   information and participation requirements are vital to the community. In 2018, Fort Berthold

 4   POWER held a NEPA conference for members of their community.

 5          79.     NEPA is critical to the tribal members and their communities that live among

 6   federal proposed extractive mineral projects such as the federal Bureau of Indian Affairs (“BIA”)

 7   Oil and Gas Hydraulic Fracturing Drilling Project. In this federal project, the BIA did not

 8   comply with NEPA and did not undertake a science-based Environmental Impact Statement;

 9   now, resident tribal members and families are experiencing the environmental, medical, social,

10   and cultural impacts that outweigh the financial benefits of the rapid onset of massive industrial

11   extraction.

12          80.     Ms. Joletta Bird Bear is a Mandan Hidatsa grandmother of the Three Affiliated

13   Tribes and the current President of Fort Berthold POWER. After seeing the rapid degradation of

14   the lands and environment, Ms. Bird Bear called concerned tribal members together to organize

15   and form an action-oriented group to counter the rapid destruction caused by multiple oil waste

16   spills and the unregulated extractive actions in the densely populated federal project that was

17   undermining the respect and spirituality of lands of herself and her ancestors held. Ms. Bird

18   Bear is an allottee and sole owner of her lands and minerals located on the Fort Berthold Indian

19   Reservation in western North Dakota. She is a retired U.S. Postal Service Postmaster of 23

20   years, former school board member and president of the Mandaree Public School, co founder of

21   Mandaree Inc. which served as the local community government board, and an avid caretaker of

22   her big yard that contains hundreds of tree species that she planted for wildlife habitat, wind

23   break, shade from the growing heat, and aesthetics. All current and future federal agency

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 1   proposed projects planned for Fort Berthold will directly affect her allottee interests, all tribal

 2   residents, tribal communities, and her tribal government.

 3          81.     As an allottee and tribal member, Ms. Bird Bear is harmed by NEPA short-cuts

 4   that fast track oil and mining extraction and the laying of oil pipelines on federal lands. Ms. Bird

 5   Bear has testified at many public hearings and written many letters asking federal agencies to

 6   adhere to NEPA and thoroughly consider the environmental impacts of oil and gas development.

 7   As spokeswoman for Fort Berthold POWER, Ms. Bird Bear has presented draft tribal resolutions

 8   before her Three Affiliated Tribes tribal government decision makers and acquired tribal

 9   government committee-level support to respond to the NEPA proposed changes.

10          82.     Fort Berthold POWER member Theodora Bird Bear is an enrolled tribal member

11   of the Three Affiliated Tribes in western North Dakota. Ms. Bird Bear has been taking action on

12   her concerns about the externalized and adverse impacts from intensive oil and gas extraction

13   around her home since 2007. She is a former chairperson for the state-wide Dakota Resource

14   Council’s oil and gas task force and a member of the Western Organization of Resource

15   Council’s six state regional board. As a tribal member, she has testified for more health-

16   protective regulations before multiple jurisdictions in regards to oil and gas extraction. Over the

17   years, Ms. Bird Bear has testified in North Dakota state legislative committee hearings, in a

18   number of federal agency public hearings, and in the Three Affiliated Tribes Tribal Council

19   meetings on the adverse impacts from the intensive oil and gas extraction within, and outside of,

20   Fort Berthold Indian Reservation boundaries. Ms. Bird Bear submitted comments on the CEQ

21   Final Rule, urging CEQ to maintain and strengthen the existing NEPA regulations, instead of

22   undermining the federally-protected public right to comment and participate in order to inform

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 1   agencies of the potential adverse impacts to human health and the environment, land, air, and

 2   water.

 3            83.    There currently are 1,831 active, fracking and drilling wells on just the trust lands

 4   within the Fort Berthold Indian Reservation boundaries, and thousands more expected, according

 5   to the September 2020 North Dakota Oil & Gas Division Director’s Report. Most of these target

 6   the rural area of Mandaree where Ms. Bird Bear lives. Although there have been hundreds of

 7   flaring wells on Fort Berthold and a major pipeline spill of about one-million gallons, the federal

 8   Department of the Interior only formally approved the intensive oil and gas extraction in 2017—

 9   a full decade after the intensive oil and gas extraction started. Because significant, direct, and

10   indirect cumulative impacts from the intensive oil and gas fracking, drilling, and flaring has, and

11   will continue to occur on lands which are the last historic tribal lands, Theodora Bird Bear and

12   her family are harmed by the final CEQ NEPA Rule.

13            84.    As a rural Medicare-eligible tribal elder, Ms. Bird Bear was harmed by the final

14   CEQ NEPA Rule process. She tried to get one of the very limited slots available to testify in the

15   Denver Colorado public hearing on the proposed NEPA changes. But the limited slots filled

16   within minutes after the website opened, denying many elders and tribal members, like Ms. Bird

17   Bear, from speaking in the public hearing on the critical importance of NEPA on the last of their

18   historic tribal lands.

19            85.    Ms. Lisa Deville is an enrolled member of the Mandan Hidatsa Arikara Nation,

20   also known as the Three Affiliated Tribes; Ms. Deville, her husband, five children, and three

21   grandchildren have lived their whole lives in Mandaree, North Dakota; her family and ancestors

22   are buried along the shores of Lake Sakakawea.

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 1          86.     Ms. Deville is the Vice President of Fort Berthold POWER, which is a member

 2   organization of Dakota Resource Council, which in turn is a member organization of Western

 3   Organization of Resource Councils. Ms. Deville is also on the Board of the Western

 4   Organization of Resource Councils, and she currently serves on EPA’s National Environmental

 5   Justice Advisory Committee (“NEJAC”). The NEJAC is a Federal Advisory Committee formed

 6   in 1993 to provide advice and recommendations to the EPA Administrator and her or his staff

 7   about broad, cross-cutting issues related to environmental justice, from all stakeholders involved

 8   in the environmental justice dialogue. The impacts of the oil and gas development on Fort

 9   Berthold Reservation are environmental justice impacts, as they disproportionately harm

10   indigenous people, many of whom are low-income.

11          87.     Ms. Deville has relied heavily on the NEPA process to voice her concern over

12   impacts caused by energy development on the land where she lives. For example, the Final

13   Rule’s removal of the indirect and cumulative effects analysis requirement will result in a failure

14   to account for the full impacts of oil and gas development, and limited comment periods will

15   make it increasingly difficult for tribal members like Ms. Deville to offer informed public

16   comment. NEPA is the main law which gives citizens on the Fort Berthold Indian Reservation

17   protection from the widespread negative impacts of energy development, because NEPA gives

18   communities like Fort Berthold a voice in the decision-making process surrounding energy

19   development and helps the community protect indigenous significant historical and cultural sites,

20   burial sites, endangered species, and water.

21          88.     Plaintiff Friends of the Earth (“FoE”) is a tax-exempt, 501(c)(3) organization and

22   a not-for-profit corporation existing under the laws of the District of Columbia with offices in

23   Washington D.C. and Berkeley, California and staff located across the country. FoE is a

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 1   membership organization consisting of more than 170,000 members and more than 1.7 million

 2   activists nationwide. FoE is also a member of Friends of the Earth-International, which is a

 3   network of grassroots groups in 74 countries worldwide. FoE’s mission is to protect our natural

 4   environment, including air, water, and land, to create a more healthy and just world. FoE utilizes

 5   public education, advocacy, legislative processes, and litigation to achieve its organizational

 6   goals.

 7            89.   FoE has five core campaign programs: Climate & Energy, Democracy, Economic

 8   Policy, Food & Agriculture, and Oceans & Vessels. All of these programs utilize the processes

 9   afforded by NEPA to engage in major federal project decision-making. FoE’s Climate program

10   promotes energy conservation and clean energy sources, including wind, solar, and geothermal

11   power, to end dependence on fossil fuels, reduce greenhouse gas emissions, and mitigate climate

12   change. FoE’s Economic Policy program works to redirect tax policies and public spending to

13   make polluters pay for the costs of their pollution, and to drive the transition to a cleaner, low-

14   carbon economy. FoE’s Democracy program works to create stronger and more effective

15   environmental policies by fostering representative and responsive democratic institutions across

16   the United States. FoE’s Food program seeks a fundamental shift in our food system: from toxic

17   and chemical intensive to healthy and ecologically regenerative; from corporate controlled to

18   democratically governed; and from a system that embodies the deepest inequities in our society

19   to one that advances justice and fulfills the needs of all eaters now and in the future. FoE’s

20   Oceans program works to protect our oceans, the tens of millions of people who live near, and

21   the marine creatures who reside in from the threats from oil spills, air pollution, sewage releases,

22   industrial ocean fish farming, and unnatural ocean noise.

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 1          90.     The Final Rule is extremely detrimental to and adversely affects the FoE’s

 2   interests and those of FoE’s members and activists. The changes will restrict FoE’s members’

 3   ability to effectively participate in public comment periods, maintain accountability and

 4   transparency in major federal project decision-making, and advocate for solutions to climate

 5   change, air and water pollution and fight against environmentally damaging projects. In addition

 6   to restrictions on the scope of NEPA, the Final Rule impedes FoE and its members’ ability to

 7   provide important experience-based and culturally significant comments through newly enforced

 8   restrictions on the specificity of a substantive comment. Many FoE members live on the

 9   frontlines of various proposed major federal projects or existing projects that are being modified

10   which trigger existing NEPA requirements. However, the shortened time limits for EA/EIS

11   documents—as well as the overly strict specificity requirements for public comments that

12   demand a level of technical training that many FoE members do not possess or have the time to

13   provide—will result in agencies disregarding many of FoE’s member perspectives.

14          91.     In particular, FoE member and senior oceans campaigner Verner Wilson will be

15   harmed by the implementation of the Final Rule. Mr. Wilson is a member of the Curyung Tribe

16   in Bristol Bay, Alaska. Pebble Mine, a proposed metals mine in Bristol Bay, threatens one of the

17   largest and last remaining wild salmon populations in the world. The project is moving forward

18   in a NEPA process with the final EIS published on July 24, 2020. The mine could generate more

19   than 10 billion tons of dangerous waste, wipe out 90 miles of salmon streams and pollute more

20   than 5,000 acres of wetlands, ponds and lakes. It would likely plummet the salmon population—

21   catastrophically impacting local communities and earth’s last great wild sockeye salmon fishery.

22   Mr. Wilson and his family would be significantly impacted by the project as they are subsistence

23   fishers who rely on the wild salmon runs every year. If NEPA is curtailed even further, Mr.

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 1   Wilson will be significantly impacted in his ability to participate in and object to the Pebble

 2   Mine and any other major federal projects that are proposed for the region.

 3          92.     Plaintiff National Parks Conservation Association (“NPCA”) is a non-profit

 4   organization whose mission is to enhance and protect the National Park System. NPCA was

 5   formed in 1919 and today has 1.4 million members and supporters, with approximately 40,629

 6   members in California and offices in Oakland, Joshua Tree, Los Angeles, and Fresno. NPCA is

 7   headquartered in Washington, D.C., and has 27 regional and field offices throughout the country.

 8   A robust NEPA process is essential to NPCA’s mission of protecting national parks, which is

 9   why NPCA provided oral testimony and detailed written comments on the proposed revisions to

10   CEQ’s NEPA regulations.

11          93.     NPCA is regularly involved in NEPA processes and submits comments on

12   proposed projects and activities on and near national park lands. For instance, the Midwest

13   regional office recently submitted comments to the National Park Service on its environmental

14   assessment associated with Independence Day fireworks at Mount Rushmore National

15   Memorial, and several regional offices have submitted NEPA comments to the BLM on recent

16   oil and gas lease sales. NPCA is also currently asserting NEPA claims in several lawsuits,

17   including in the challenge to the Alton Coal Mine expansion near Bryce Canyon National Park

18   and the challenge to three BLM leasing decisions for oil and gas development covering

19   approximately 117,000 acres near Dinosaur National Monument.

20          94.     NPCA has individual members and staff who regularly visit, study, work,

21   photograph, or recreate on lands or marine areas where NEPA has been and will be used in

22   reviewing federal projects. Each of these members and staff have specific intentions to continue

23   to interact with these areas frequently and on an ongoing basis. NPCA members and staff derive

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 1   recreational, spiritual, professional, scientific, educational, and aesthetic benefits from their

 2   interactions with these parts of the natural world.

 3          95.     Joy Oakes, of Arlington, Virginia, is Senior Director of the Mid-Atlantic regional

 4   office for NPCA and long-time NPCA member, has frequently utilized the NEPA process to

 5   advocate for the protection of natural, cultural, and historical places. Most recently, in her role

 6   as Senior Director, Ms. Oakes has been participating in the NEPA permit application review

 7   process for the Surry-Skiffes Creek transmission line project in the scenic James River area.

 8   This project is close to the Colonial National Historical Park, an area that Ms. Oakes has visited

 9   many times throughout her lifetime and plans to continue visiting in the future for both

10   professional and personal reasons. Ms. Oakes expects to be involved in other NEPA processes

11   in the future, including assisting with comments on the Federal Highway Administration’s I-495

12   & I-270 Managed Lanes Study Draft EIS, which was released in July 2020.

13          96.     The Final Rule reduces Ms. Oakes’ ability to participate in these and other future

14   NEPA processes by limiting the alternatives considered (e.g., in the case of the transmission line

15   across the James River, potentially not identifying alternatives that would meet electricity needs

16   while also protecting the region’s historic character and resources), eliminating the consideration

17   of cumulative impacts (e.g., the impacts the transmission line would have on climate change),

18   and shortening the amount of time given to review draft EISs and provide comments.

19          97.     Plaintiff National Wildlife Federation (“NWF”) is the nation’s largest member-

20   supported non-profit conservation advocacy and education organization, with more than six

21   million members and supporters, including more than 583,000 members and supporters in

22   California. NWF has affiliate organizations in fifty-two states and territories, including

23   California. NWF has regional offices and staff located throughout the United States, including a

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 1   California Regional Office headquartered in Midpines, California and additional staff in San

 2   Anselmo, California. NWF is organized under the laws of the District of Columbia and is

 3   headquartered in Reston, Virginia.

 4          98.     NWF works to unite all Americans to ensure wildlife thrive in a rapidly changing

 5   world. NWF advances this mission through numerous programs that, among other things, work

 6   to protect, restore, and connect wildlife habitat; confront climate change; defend the public’s

 7   interest in ownership and management of public lands; address the threat of invasive species and

 8   other systemic threats to wildlife; advance modern approaches to wildlife management; and

 9   connect Americans with wildlife through education and advocacy engagement.

10          99.     A robust NEPA process is essential to NWF’s mission, which is why NWF

11   actively engaged in both the entire process leading up to the promulgation of the Final Rule.

12   Among other things, NWF provided extensive and detailed written comments at all stages;

13   provided oral testimony at both the Denver, CO and Washington D.C. public hearings on the

14   Proposed Rule; met twice with representatives from the Office of Management and Budget and

15   other federal agencies to discuss our concerns during the Office of Information and Regulatory

16   Affairs review process; mobilized comments on the Proposed Rule from more than 350

17   organizations; and collectively generated almost 50,000 individual comments on the from our

18   members and supporters through our Action Alert system.

19          100.    NWF attorneys, policy advocates, scientists, and organizers routinely participate

20   in commenting at all phases of NEPA processes before numerous federal agencies, including the

21   U.S. Forest Service, BLM, the U.S. Army Corps of Engineers, the U.S. Fish and Wildlife

22   Service, Bureau of Ocean Energy Management, and others. NWF engages in litigation to ensure

23   full compliance with NEPA. NWF takes an active role in educating members of Congress about

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 1   the importance of maintaining the integrity of NEPA and the NEPA implementing regulations,

 2   and about the importance of strong Congressional oversight to ensure that federal agencies

 3   properly apply NEPA when making major federal decisions that affect the quality of the

 4   environment. NWF also employs numerous media and outreach staff to inform NWF’s members

 5   about, and encourage and assist members in participating in, NEPA reviews.

 6          101.    For example, NWF is currently litigating the U.S. Army Corps of Engineers’

 7   failure to properly comply with NEPA in connection with its navigation maintenance activities

 8   on a 195-mile portion of the Mississippi River. Key issues in this litigation include the indirect

 9   and cumulative impacts of in-stream navigation structures, which have significantly increased

10   flood levels in the Mississippi River by up to 15 feet in some locations and 6 to 10 feet over

11   broad stretches where these structures are prevalent. Prior to filing this challenge, NWF had

12   engaged in all aspects of the NEPA processes providing detailed scoping comments, detailed

13   comments on the draft EISs, and detailed comments on the final EISs. NWF routinely monitors

14   upcoming NEPA review processes and engages in those reviews as appropriate, including the

15   NEPA processes for oil and gas lease sales and for U.S. Army Corps of Engineers’ projects and

16   permits, among others. By eliminating consideration of indirect and cumulative effects, the Final

17   Rule will make it difficult if not impossible for NWF to engage in this kind of advocacy in the

18   future, resulting in increased harm to wildlife, public lands and waters, and our shared climate.

19          102.    NWF communicates extensively with its members and supporters, as well as the

20   general public, about threats to wildlife, the protection of public lands, the ongoing and future

21   damage from the global climate crisis, and the importance of retaining the long-standing

22   protections provided by NEPA and the nation’s other environmental laws, by issuing press

23   releases and statements, blogs, newsletters, magazines, and sending emails and action alerts.

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 1   NWFs members participate in and rely on the NEPA review processes, and will be harmed by

 2   the Final Rule. For example, the Final Rule’s elimination of references to indirect impacts

 3   strikes at the heart of the ability of NWF and its members to obtain information on the indirect

 4   effects of levees, navigation structures, reservoir operating plans, pumping plants and other

 5   major infrastructure on increased flooding, losses of wetlands and other vital wildlife habitat, and

 6   reductions in critical river flows. The Final Rule’s elimination of cumulative impacts review

 7   will make it difficult or impossible for NWF and its members to obtain adequate information

 8   about, and ensure government consideration of, the cumulative impacts of climate change on:

 9   (a) the effectiveness, sustainability, and impacts of flood and storm damage reduction and other

10   projects in both riverine and coastal areas; and (b) the climate change impacts of projects such as

11   oil and gas development or mining operations. The Final Rule’s provision allowing federal

12   agencies to waive NEPA if other review processes are associated with, or required for, a project

13   will eliminate the ability of NWF and its members to obtain adequate information about, or

14   provide their views and comments on, many types of projects.

15          103.    NWF has individual members, including but not limited to Michael Bartlett of

16   New Hampshire and Melissa Samet of California who regularly visit, study, work, photograph,

17   or recreate on lands, waters, or coastal areas where NEPA has been and will be used in reviewing

18   federal projects and permitting decisions. Each of these members has specific intentions to

19   continue to interact with these areas frequently and on an ongoing basis.

20          104.    Michael Bartlett is a member of the Board of Directors of NWF and has been a

21   member of NWF since 2012. Mr. Bartlett has both a deep personal and a professional interest in

22   migratory birds. Mr. Bartlett is an avid birder and amateur ornithologist with a particular affinity

23   for migratory bird species such as the Peregrine Falcon, which is one of his favorite species, and

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 1   the Screech Owl. Mr. Bartlett spends considerable time observing birds in his home state of

 2   New Hampshire and has installed bird houses and bird feeders on his property to attract both

 3   migratory and “overwintering” species, and species endemic to New Hampshire like Chickadees,

 4   Nuthatches, Downy Woodpeckers, American Goldfinches, and Northern Cardinals. Mr. Bartlett

 5   likewise seeks out opportunities to study and observe bird populations when he is traveling in the

 6   United States and abroad.

 7          105.    Earlier in his life, Mr. Bartlett worked for the U.S. Fish and Wildlife Service for

 8   more than thirty-seven years, including many years as Supervisor of the Service’s New England

 9   Field Office, working on matters related to the preservation of avian wildlife resources—

10   including the protection of migratory bird species like loons, terns, and waterfowl. While the

11   director of the New England Field Office, Mr. Bartlett supervised the office’s Endangered

12   Species Program, which included work protecting migratory birds like the Piping Plover.

13          106.    On February 3, 2020, the U.S. Department of Interior Fish and Wildlife Service

14   issued a proposed rule that followed up on a legal memorandum issued in December of 2017 to

15   remove long-standing protections of about 1,000 species of migratory birds, including many that

16   are present in New Hampshire like the common loon, black-capped chickadee, and the above

17   mentioned species, among others, from the impacts of incidental takes under the Migratory Bird

18   Treaty Act. Incidental takes – like deaths from oil pits, oil spills, large buildings, power lines,

19   and wind turbines – comprise the largest number of takes of migratory birds. On June 5, 2020,

20   the U.S. Fish and Wildlife Service issued a draft EIS on the proposed rule (the MBTA DEIS).

21   Applying the new NEPA rule to the MBTA DEIS would greatly deprive Mr. Bartlett’s ability as

22   a member of the public concerned with birds to assess and obtain information about how the

23   proposed MBTA take rule might impact the birds he watches and cares about. For instance,

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 1   impacts like climate change and habitat loss are causing many bird species to decline. Without a

 2   consideration of cumulative impacts, the impacts of the proposed MBTA take rule in

 3   combination with these other reasonably foreseeable impacts may not be assessed or disclosed to

 4   members of the public like Mr. Bartlett.

 5          107.    Melissa Samet, the Senior Water Resources Counsel for NWF and an NWF

 6   member, has frequently utilized the NEPA process in a professional and personal capacity to

 7   advocate for the protection of rivers, wetlands, and coastal areas. Ms. Samet has worked for

 8   NWF since 2010 where she directs water resources campaigns and provides policy and legal

 9   direction on issues related to water resources planning and projects, with a particular focus on

10   improving the planning practices of the U.S. Army Corps of Engineers and improving floodplain

11   management. Ms. Samet has engaged in NEPA litigation; and has educated Congress about the

12   importance of maintaining the full suite of protections provided by NEPA and the CEQ NEPA

13   regulations and of the importance of effective Congressional oversight of federal agency

14   compliance with NEPA, including through Congressional testimony. She has found NEPA’s

15   procedural safeguards to be crucial to improving projects and reducing and preventing

16   unnecessary impacts, because in her experience, NEPA review typically reveals diverse

17   perspectives, key scientific information, likely impacts, and impact-reduction solutions that

18   otherwise would not be identified by the agency acting alone. Ms. Samet believes that the Final

19   Rule will severely undercut her ability to evaluate and comment on the indirect and cumulative

20   impacts of major federal actions, including U.S. Army Corps of Engineers’ flood and storm

21   damage reduction projects, navigation projects, reservoir operating plans, and permitting

22   decisions that typically have far reaching indirect and cumulative impacts.

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 1          108.    Ms. Samet is a frequent user of federal, state, and other protected lands in

 2   California, where she hikes, watches birds and other wildlife, photographs, and seeks out the

 3   solace that wildlands can provide. Among the places she has visited on many occasions are

 4   Point Reyes National Seashore in Marin County, Mount Tamalpais in Marin County, Yosemite

 5   National Park in Mariposa County, Humboldt Redwoods State Park in Humboldt County,

 6   Sequoia National Park in Tulare County, Monterey Bay in Monterey County, and Point Lobos

 7   State Natural Reserve in Monterey County. Ms. Samet visits Point Reyes National Seashore on

 8   a regular basis, where she has hiked and watched hawks, owls, pelicans, shorebirds, waterfowl,

 9   seals, whales, Tule Elk and many other mammals at least 6 times each year for more than two

10   decades. Her most recent visit to Point Reyes was in July 2020, and she plans to continue to visit

11   Point Reyes on at least a bi-monthly basis for the foreseeable future. In addition to relying on

12   NEPA in her professional capacity, Ms. Samet has engaged in the NEPA process in her personal

13   capacity, most recently providing detailed comments on the National Park Services’ Draft

14   Environmental Impact Statement for a General Management Plan Amendment for Point Reyes

15   National Seashore. Those comments highlighted significant indirect and cumulative impacts of

16   the proposed management plan, including the cumulative impacts of climate change and the

17   indirect impacts of the proposed plan on the Seashore’s rich array of predator species.

18          109.    Plaintiff Ocean Conservancy is a nonprofit, science-based conservation

19   organization working to protect the ocean from today’s greatest global challenges. Together

20   with its partners, Ocean Conservancy creates science-based solutions for a healthy ocean and the

21   wildlife and communities that depend on it. Since 1972, Ocean Conservancy has sought to

22   improve the health of our nation’s marine wildlife and fish, and to face threats such as ocean

23   trash, shipping, overfishing, and ocean acidification. Ocean Conservancy has over 150,000

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 1   members and supporters worldwide, with approximately 20,591 in California. Ocean

 2   Conservancy is headquartered in Washington, D.C. and has offices in Alaska, Washington,

 3   Florida, Oregon, Texas, and Santa Cruz and Santa Barbara, California.

 4          110.    Ocean Conservancy communicates extensively with its members, its supporters,

 5   and the general public about threats to ocean health, climate change, ocean acidification, ocean

 6   plastics, and fishery management, and comments on numerous federally permitted or funded

 7   actions. The organization regularly releases reports and fact sheets, issues press releases and

 8   statements, publishes online blog and news pieces, and sends emails and action alerts to its

 9   members and supporters. Ocean Conservancy’s members participate in and rely on NEPA’s

10   review processes, and will be harmed by the Final Rule. For example, the Final Rule’s

11   elimination of cumulative impacts review will make it difficult or impossible for Ocean

12   Conservancy and its members to obtain adequate information about, and ensure government

13   consideration of, the impacts of greenhouse gases on the ocean, such as ocean acidification and

14   warming waters, which leads to shifting fish stocks that harm Ocean Conservancy’s members

15   and interests. Nor will Ocean Conservancy and its members be able to obtain adequate

16   information about shipping and new shipping routes in the Arctic region, which are of interest to

17   Ocean Conservancy and its members.

18          111.    In the context of fishery management, NEPA procedures constitute an important

19   means of ensuring that fishery managers consider important issues that the Magnuson-Stevens

20   Act does not address: in this way, the Magnuson-Stevens Act is not a “functional equivalent” of

21   the NEPA process. NEPA plays an integral role in the fishery management process and Ocean

22   Conservancy and its members will be harmed by the Final Rule because they will be unable to

23   fully engage in the fishery management process. At a time when we understand better than ever

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 1   that a healthy ocean ecosystem is necessary to support thriving fisheries, NEPA interjects larger

 2   environmental issues into a process proscribed by the Magnuson-Stevens Act that otherwise

 3   focuses on maximizing how many fish can be caught.

 4           112.   Further, many Ocean Conservancy members are fishermen who spend substantial

 5   amounts of time at sea or operate fish transport or packing activities. These members will be

 6   harmed by shortened NEPA analysis and public comment timelines envisioned by the Final

 7   Rule.

 8           113.   Ocean Conservancy has individual members, including but not limited to Captain

 9   Dave Monti of Rhode Island, who regularly visit, study, work, photograph, or recreate on lands

10   or marine areas where NEPA has been and will be used in reviewing federal projects. Each of

11   the members has specific intentions to continue to interact with these areas frequently and on an

12   ongoing basis. Ocean Conservancy members and staff derive recreational, spiritual,

13   professional, scientific, educational, and aesthetic benefits from their interactions with these parts

14   of the natural world.

15           114.   Captain Dave Monti is an Ocean Conservancy member who resides in Warwick,

16   Rhode Island and keeps his charter boat, the Virginia Joan, in North Kingstown, Rhode Island.

17   He generates a portion of his income as a charter boat captain and guide. Captain Monti has

18   been fishing for over 45 years and expects to do so for the foreseeable future. He helps his

19   clients target Rhode Island fish species such as striped bass, bluefish, summer flounder (fluke),

20   scup, tautog, black sea bass, cod, and bonito in the Narragansett Bay, Block Island, and Newport

21   areas. Captain Monti relies on NEPA reviews and public processes to be informed and involved

22   in federal decisions affecting the areas he fishes in and the habitat that his target fish need to stay

23   productive, including permitting decisions regarding the Block Island Wind Farm. Elimination

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 1   or curtailment of NEPA reviews for the siting of wind farms or for fishery management actions

 2   would result in additional threats in the waters he fishes in and the fish species he targets for his

 3   clients. The proposed rule would undermine his use and enjoyment of these waters and public

 4   fishery resources.

 5             115.   Plaintiff Rio Grande International Study Center (“RGISC”) is a public interest,

 6   501(c)(3) advocacy organization located in Laredo, Texas. It has a staff of two full-time

 7   employees and three part-time employees. RGISC’s mission is “to preserve and protect the Rio

 8   Grande-Rio Bravo, its watershed and environment, through awareness, advocacy, research,

 9   education, stewardship and bi-national collaboration for the benefit of present and future

10   generations.” Nearly 95% of the population in Laredo is Hispanic and more than one-third of the

11   city’s population lives in poverty, more than twice the state average. RGISC staff and board

12   members live, work, and recreate in and along the Rio Grande and will continue to do so into the

13   future.

14             116.   RGISC’s workload includes monthly river sampling and water quality testing at

15   multiple locations in Webb County through the Texas Clean Rivers Program to monitor the

16   health of the river. RGISC helped establish this program through local and state entities and has

17   done monthly monitoring for more than 25 years. The City of Laredo has asked RGISC to

18   operate an educational center (the “South Laredo Nature and Birding Center” or “SoLa Center”)

19   to promote appreciation of the flora, fauna and wildlife of the region, and in particular within the

20   Rio Grande ecosystem. Every year in early February, RGISC hosts a four-day Laredo Birding

21   Festival, and RGISC staff and volunteers take visitors from across the United States and different

22   countries to observe birds along the Rio Grande in Webb and Zapata counties. RGISC also leads

23   community outings called Loving Laredo Paddles and Loving Laredo Hikes along the river

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 1   several times a year to raise awareness of the beauty and ecological importance of the Rio

 2   Grande. The Laredo Birding Festival and Community Paddles generate revenue for RGISC.

 3          117.    RGISC uses NEPA and its requirements for public transparency, information-

 4   sharing, and participation in its work to protect the Rio Grande. For example, in 2009-2010, led

 5   by then Executive Director Jay Johnson Castro and Board members Dr. Tom Vaughan & Dr.

 6   James Earhart, RGISC informed and educated the families living in Barrio de Colores of the

 7   potential adverse environmental impacts of a U.S. Customs and Border Protection project to

 8   remove Carrizo cane vegetation along the U.S.-Mexico border through herbicide spraying along

 9   the river banks.

10          118.    RGISC board member, Israel Reyna, an attorney with the Texas Rio Grande

11   Legal Aid, advised the families of their rights and protections under NEPA, including the right to

12   know all of the potential harms to their human environment, to ensure alternatives were

13   considered, a bilingual notice of the proposed project, and of their right to sue if NEPA was

14   violated.

15          119.    In ensuing federal litigation, Dr. Earhart, a biologist and scientist on the RGISC

16   board, wrote an affidavit that supported the suit’s allegations of the potential harmful effects to

17   families in Barrio de Colores from exposure to herbicides used to remove the Carrizo cane,

18   particularly because of aerial spray drift. Through a court-approved settlement, Customs and

19   Border Protection agreed to use a combination of principally non-chemical methods to remove

20   Carrizo cane, using herbicide in one area only after a 5 day warning period and public

21   information provided in both English and Spanish. The federal agency also agreed to hire a

22   certain number of workers from the local labor pool, and to convene a public information

23   meeting to fully explain the cane removal and control activities to the local community, again in

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 1   both English and Spanish. Finally, the federal agency agreed to implement future NEPA

 2   analysis regarding Carrizo cane removal with at least one public scoping meeting, a 45-day

 3   comment period, and summaries and documents translated into Spanish and distributed at the

 4   local public library. Barrio de Colores v. U.S. Customs and Border Protection, Dep’t of

 5   Homeland Security, No. 09-0035 (S.D. Tex.).

 6          120.    RGISC is currently deep in the throes of a battle against the federal government’s

 7   plans to build a border wall, approximately 121 river miles along the Rio Grande in the Laredo

 8   Sector. NEPA, in addition to dozens of other federal laws, has been waived to expedite

 9   construction of the Border Wall. Waiver of NEPA for the Border Wall has meant that the federal

10   government can undertake projects or issue permits without consulting local communities and

11   local experts. Waiver of NEPA has taken away the community’s voice and input into projects

12   that would harm the environment, public health, cultural heritage, and way of life.

13          121.    Like waiver of NEPA, RGISC believes that the Final Rule will undercut its ability

14   and the ability of the community that RGISC serves to evaluate and comment on the full impacts

15   of projects like the border vegetation control project. The Final Rule also harms RGISC’s ability

16   to push federal agencies to fully provide local communities timely, accessible, Spanish-language

17   information about proposed actions and meaningful opportunities to participate in federal

18   decisions that affect them.

19          122.    Plaintiff Southern Utah Wilderness Alliance (“SUWA”) is a nonprofit

20   environmental membership organization dedicated to the preservation of outstanding wilderness

21   found throughout Utah, and the management of wilderness-quality lands in their natural state for

22   the benefit of all Americans. SUWA promotes local and national recognition of the region’s

23   unique character through research and public education, and supports administrative and

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 1   legislative initiatives to permanently protect Utah’s wild places. SUWA has more than 14,000

 2   members in all fifty states, with 2,155 members in California, and maintains offices in Utah and

 3   Washington D.C. SUWA members use and enjoy federal public lands throughout Utah for a

 4   variety of purposes, including scientific study, recreation, wildlife viewing, aesthetic

 5   appreciation, viewing cultural and historic artifacts, and financial livelihood.

 6          123.    SUWA staff are well versed in CEQ’s NEPA regulations and regularly review

 7   and analyze NEPA documents and submit detailed, technical comments on proposed actions that

 8   may impact areas proposed for wilderness designation or other federal public lands in Utah.

 9   These comments often address federal agencies’ discounting of greenhouse gas emissions and

10   impacts to climate change from proposed actions like federal oil and gas lease sales and

11   applications for oil and gas drilling permits and the clearcutting native vegetation. SUWA staff

12   and members work to safeguard remarkable federal public lands in Utah will be harmed by the

13   Final Rule. SUWA submitted comments on CEQ’s draft rule. SUWA has individual members,

14   including Neal Clark and Landon Newell, who establish SUWA’s significant interest in the

15   rulemaking and standing to bring this facial challenge.

16          124.    Mr. Clark has been a full-time employee of SUWA since 2011 and serves as the

17   organization’s Wildlands Program Director, and also serves as House Counsel. In this capacity,

18   Mr. Clark oversees the drafting and filing of dozens of SUWA comments annually on various

19   federal agency NEPA documents. For example, in 2018 SUWA submitted comments on BLM’s

20   draft resource management plans and environmental impact statements for the Shash Jaa and

21   Indian Creek units of the reduced Bears Ears national monument and highlighted numerous

22   instances where the Bureau had failed to comply with the letter and spirit and NEPA’s

23   implementing regulations.

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 1          125.    Mr. Clark is also an active member of SUWA. Mr. Clark lives in Moab, Utah and

 2   spends much of his free time exploring BLM, Forest Service, and National Park Service public

 3   lands in southern Utah, including hiking and camping in Bears Ears National Monument, rafting

 4   in Labyrinth Canyon, and mountain biking on Bureau-managed lands surrounding Moab. He

 5   engages in these activities on a daily basis, year-round, and intends on continuing to do so for

 6   years to come. Mr. Clark’s interest in the protection and preservation of these federal public

 7   lands will be harmed by the Final Rule because by eliminating the requirement that federal

 8   agencies fully consider and disclose the cumulative impacts of climate change these agencies

 9   will make fundamentally uninformed decisions that will result in short and long term degradation

10   that threaten the places he recreates in and enjoys.

11          126.    Mr. Newell has been a full-time employee of SUWA since 2012 and serves as one

12   of the organization’s staff attorneys. In this capacity Mr. Newell focuses his work on reviewing

13   BLM proposals to hold quarterly oil and gas lease sales across Utah, as well as the Bureau’s

14   management of those leases and applications by private companies to drill wells and exploit

15   subsurface resources. Mr. Newell submits detailed comments on these proposals, as well as files

16   administrative appeals and federal court litigation regarding the Bureau’s failure to comply with

17   NEPA’s hard look mandate.

18          127.    Mr. Newell is also an active member of SUWA. Mr. Newell lives in Salt Lake

19   City and frequently camps, sightsees, hikes, fishes, and visits Native American cultural sites on

20   BLM lands in Utah. For example, in the spring of 2020 Mr. Newell traveled to Utah’s San

21   Rafael Swell (managed by BLM) and Capitol Reef National Park to hike, camp, and sightsee.

22   He already has plans to return to these places in the fall and winter of 2020. These public lands

23   are part of the Colorado Plateau in Utah and one of the areas expected to get hotter and drier over

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 1   the coming years due to climate change. Mr. Newell’s interest in the protection of these places is

 2   threatened by the environmental degradation brought on by climate change, including drought,

 3   aridification of soils, and loss of native vegetation, and decision by agencies like BLM to

 4   approve oil and gas leases and wells that will be made without considering and disclosing their

 5   impacts to the climate.

 6          128.    Plaintiff, WE ACT for Environmental Justice (“WE ACT”) is a non-profit

 7   organization founded in 1988 in the West Harlem neighborhood of New York City. WE ACT’s

 8   mission is to build healthy communities by ensuring that people of color and/or low income

 9   residents participate meaningfully in the creation of sound and fair environmental health and

10   protection policies and practices. WE ACT envisions a community that has informed and

11   engaged residents who participate fully in decision-making on key issues that impact their health

12   and community; strong and equal environmental protections; increased environmental health

13   through community-based participatory research and evidence-based campaigns. WE ACT has

14   grown to 16 staff members, offices in New York City and Washington D.C., and over 800

15   members throughout New York City.

16          129.    WE ACT is a leading group in the Environmental Justice Movement, which

17   began in order to call attention to and organize against systemic environmental racism, which is

18   often left out of mainstream, largely white, environmental advocacy agendas. In 1991, a

19   multinational group, including WE ACT, attended The First People of Color Environmental

20   Leadership Summit in Washington D.C. At the event, “The Principles of Environmental Justice”

21   were created and agreed upon, and still stand as a guiding set of principles for the Environmental

22   Justice Movement today.

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 1          130.    Throughout the 32 years of its existence, WE ACT has provided effective

 2   leadership in the development of New York City and northeast region environmental justice

 3   alliances to network, collaborate, and impact environmental policy-making. WE ACT is also the

 4   administrative arm of the Environmental Justice Leadership Forum, which is a coalition of nearly

 5   60 environmental justice advocates and experts working to eliminate environmental injustices

 6   through technical assistance, capacity building, and policy solutions.

 7          131.    WE ACT’s founders, Peggy Shepard, Chuck Sutton, and Vernice Miller-Travis

 8   started as community activists. They have long viewed NEPA as an important tool for advocacy.

 9   They used the procedures and requirements of the National Environmental Policy Act in their

10   attempt to address the noxious emissions and pollution from the North River Sewage Treatment

11   Plant, which lines the banks of the Hudson River along Manhattan Island in the West Harlem

12   community for almost half a mile. They conducted significant research into the land use and

13   siting history of this largely federally funded facility and uncovered that EPA Region 2 had twice

14   declared a Finding of No Significant Impact under NEPA for the North River plant. As a result,

15   the public was never informed about how a facility designed to treat 180 million gallons a day of

16   raw sewage and wastewater, constructed without any odor- control features at all, might impact

17   the tens of thousands of people who live near the plant.

18          132.    Peggy Shepard is the co-founder and executive director of WE ACT for

19   Environmental Justice. She has lived in New York City for over 30 years. In both her role as a

20   community advocate and executive director of WE ACT, she and WE ACT staff have worked to

21   effectively educate WE ACT membership on the importance of public engagement, and how to

22   effectively organize at the local level. Ms. Shepard has a long history of organizing and

23   engaging Northern Manhattan residents in community-based planning and campaigns to address

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 1   environmental protection and environmental health policy locally and nationally. She has

 2   successfully combined grassroots organizing, environmental advocacy, and environmental health

 3   community-based participatory research to become a national leader in advancing environmental

 4   policy and the perspective of environmental justice in urban communities to ensure that the right

 5   to a clean, healthy and sustainable environment extends to all.

 6          133.    With NEPA as the foundation for many state and city level regulations, WE ACT

 7   has utilized similar regulations to engage locally to voice concerns about projects that impact

 8   their community. In 2017, WE ACT community members concerned about New York City’s

 9   plan to rezone the Inwood neighborhood utilized the public participation provisions to voice their

10   apprehension about this project. The nine residents submitted in depth written comments on the

11   environmental impact statement because they believed the proposed rezoning would lead to an

12   increase in density and serious environmental and socioeconomic risks that, if it is enacted as

13   proposed, would cause irreparable harm to their neighborhood. They also believed that the

14   redevelopment project would jeopardize the special character of their neighborhood. Their

15   comment particularly identified that the redevelopment plan for Inwood increased the likelihood

16   of tenant displacement, would negatively impact minority- and women-owned businesses in the

17   area, and the community would experience the social impact of the loss of the community’s

18   library. The New York Supreme Court judge sided with these local residents, contending the

19   prior environmental review of the project ignored concerns they had raised.

20          134.    WE ACT submitted comments on the Proposed Rule in March 2020 in

21   coordination with Yale University’s Environmental Justice Law Clinic. WE ACT’s comments

22   reflected their grave concern about how these proposed changes would drastically diminish the

23   ability of communities to know what projects were planned and also be able to meaningfully

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 1   provide their expertise to articulate how their respective communities would be impacted. NEPA

 2   is one of the key tools WE ACT uses to effectively advocate on behalf of its membership. The

 3   NEPA mandates of public participation and informed decision-making, based on sound science

 4   and requiring all agencies of the federal government to take a hard look at environmental

 5   consequences prior to issuing a decision, are vital protections.

 6          135.    WE ACT serves a very diverse membership who live in neighborhoods like

 7   Washington Heights and Inwood. According to the 2018 New York City’s Community Health

 8   Profile, 47% of residents in WE ACT’s service area are born outside of the United States and

 9   37% have limited proficiency in English. Spanish translation is a costly but necessary service

10   WE ACT provides for all materials for membership. The changes to the Final Rule cut the

11   public comment period on major federal projects from 45 days to just 30. That’s not enough

12   time for WE ACT community members to organize and respond to long technical documents

13   that are often only provided in English. These changes to rule would also limit the way agencies

14   distribute information. Without in-person meetings, and a requirement that agencies physically

15   distribute documents, WE ACT community members are in danger of being silenced and left in

16   the dark.

17          136.    WE ACT community members without access to the internet or those with slower

18   access will be disadvantaged. Communities with lower socio-economic statuses are often the

19   ones impacted the most by projects. By moving documents online, these communities will not

20   have a chance to meaningfully participate and voice their concerns.

21          137.    WE ACT like many environmental justice communities are disproportionately

22   impacted by pollution. Race, even more than class, is the number one indicator for the

23   placement of toxic facilities in this country. Exposure to elevated levels of air pollution are

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 1   linked to or exacerbate cardiovascular and respiratory diseases, often leading to emergency

 2   department visits, hospitalizations and premature death, as well as reduced birth weight and

 3   cancer. The result is that Black, Asian, and Latino/a communities have some of the highest rates

 4   of asthma nationwide, and African Americans are three times more likely to die from asthma-

 5   related causes than the white population.

 6          138.    Communities of color and low income communities are often the hardest hit by

 7   climate change. While air quality in New York City has improved over the past few decades due

 8   to actions taken to reduce pollution emissions, not all neighborhoods are experiencing that

 9   improvement equally. NYC neighborhoods with higher rates of poverty also have higher rates of

10   nearby emissions and pre-existing illnesses that are more sensitive to air quality issues. In

11   Northern Manhattan, residents continue to suffer disproportionately from the impacts of air

12   pollution, particularly those living in East Harlem. East Harlem children wind up hospitalized

13   for asthma at more than three times the New York City rate. The changes to NEPA eliminate

14   that requirement for agencies to look not just at the incremental impacts of their actions, but also

15   the cumulative effects. While one project might not emit much pollution by itself, but combined

16   with the emissions of other facilities or projects in the area, the cumulative effects might pose an

17   unacceptable health risk. Cumulative impacts are life-or-death impacts for already vulnerable

18   communities.

19          139.    Plaintiff Western Watersheds Project (“WWP”) is a 501(c)(3) non-profit

20   conservation organization based in Hailey, Idaho with over 12,000 members and supporters

21   nationwide, 74 current dues-paying members in California, and one member of the Board of

22   Directors who resides in Berkeley, California. Founded in 1993 to protect and restore western

23   watersheds and wildlife through education, public policy initiatives, and legal advocacy. WWP

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 1   has offices in Idaho, Montana, Wyoming, Arizona, Utah, Washington, Oregon, and Nevada, and

 2   focuses its efforts on minimizing environmental impacts to federal public lands, with a particular

 3   focus on public lands livestock grazing.

 4          140.    WWP works to influence and improve public lands management throughout the

 5   West with a primary focus on the negative impacts of livestock grazing on 250 million acres of

 6   western public lands, including harm to ecological, biological, cultural, historic, archeological,

 7   scenic resources, wilderness values, roadless areas, Wilderness Study Areas and designated

 8   Wilderness. WWP works to ensure that commercial projects on public lands are compatible with

 9   maintaining healthy and fully functioning native ecosystems that support diverse and abundant

10   wildlife, clean water and native fish habitats, and outstanding opportunities for public recreation

11   and enjoyment.

12          141.    NEPA is critical to WWP’s work because it: first, ensures that WWP is notified of

13   major federal actions with potential to significantly impact the environment; second, allows

14   WWP to participate in those actions through submitting detailed comments based in science and

15   law; and third, encourages better outcomes by requiring federal agencies to “look before they

16   leap” and consider WWP’s input in their decision-making. WWP commonly recommends

17   alternative conservation measures for federal plans or projects, and its alternatives are at times

18   included within the range that federal decision-makers ultimately consider in detail. NEPA also

19   helps WWP engage its base of members and supporters by encouraging them to participate in

20   opportunities to share their perspectives with federal agencies through the NEPA process.

21          142.    Addressing the environmental impacts of livestock grazing on federal public

22   lands, including those managed by the Bureau of Land Management, the Forest Service, and the

23   National Park Service, is at the heart of WWP’s conservation advocacy, and NEPA provides the

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 1   framework for federal grazing leases, large-scale land-use plans, federal programs impacting

 2   wildlife such as USDA Wildlife Services, and federal projects including energy development,

 3   and sagebrush and juniper vegetation destruction projects. Domestic livestock are the most

 4   widespread – and often the most important – human impact on federal public lands and

 5   waterways. Poorly managed livestock grazing degrades land health and vegetation communities,

 6   spreads invasive weeds like cheatgrass that destroys wildlife habitat function and increases fire

 7   risk, causes erosion and sedimentation that harms the spawning habitats of native fishes, and

 8   inputs levels of fecal coliform and other biological contaminants that can violate Clean Water

 9   Act standards.

10          143.      Many of WWP’s members use federal public lands throughout the West as a

11   primary source for recreation, engaging in activities ranging from hiking and camping to

12   birdwatching, rockhounding, cross-country skiing, angling, hunting, wildlife viewing, and nature

13   study. The recreational experience of WWP members is harmed by improper livestock grazing,

14   and WWP commonly receives and investigates complaints from our members of livestock

15   trespassing on public lands closed to grazing, or heavily impacting their recreational experiences

16   in areas of high recreation value like federal campgrounds. NEPA is often the sole way that the

17   public can have a voice to achieve the proper management of the federal public lands and call

18   attention to inappropriate or environmentally harmful practices approved by federal agencies,

19   and seek corrective actions through NEPA processes.

20          144.      Erik Molvar is Executive Director of Western Watersheds Project, and also has

21   been a member of the organization since 2016. Mr. Molvar has been intimately involved in

22   researching the science and law applicable to Point Reyes National Seashore, located in Marin

23   County, California, and in drafting comment letters on behalf of Western Watersheds Project and

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 1   its members that have been submitted to the National Park Service as part of the NEPA process

 2   for the park’s General Management Plan (GMP). Mr. Molvar has personally visited Point Reyes

 3   National Seashore and Golden Gate National Recreation Area (NRA, also governed under GMP)

 4   five separate times since 2015, most recently in May of 2020, for the purposes of camping,

 5   hiking, wildlife viewing, wildlife photography, landscape photography, and nature study, and he

 6   intends to return to this area as soon as health concerns due to the global pandemic subside. Mr.

 7   Molvar’s enjoyment of these lands was impaired by federally permitted livestock grazing and

 8   other agricultural activities, including spraying of liquified manure from dairy operations,

 9   invasive weed proliferation, and hazing of elk away from areas of the National Seashore where

10   livestock are permitted, and the Park Service may remedy these harms by imposing restrictions

11   on livestock use currently under study in the GMP planning process. His future enjoyment of the

12   National Seashore and Golden Gate NRA may be impaired as a result of the Final Rule’s

13   elimination of indirect and cumulative impacts analysis requirements, imposition of new

14   exhaustion requirements on issues raised by other commenters, and potential imposition of bond

15   or other financial security requirements. He has definite plans to return to Point Reyes, and a

16   refunded airplane ticket to use, as soon as COVID-19 pandemic makes travel to California

17   advisable.

18          145.    Dr. Jason A. Lillegraven, a member of WWP since 2017, is a

19   paleontologist/geologist and retired Professor of Geology and Zoology at the University of

20   Wyoming. He has camped and recreated extensively on federal public lands throughout

21   Wyoming, usually in conjunction with his geological and paleontological research. Indeed, he

22   completely restored a sheep wagon to support his extended geological mapping program in

23   Wyoming’s Hanna/Carbon Basin. Dr. Lillegraven has worked in conjunction with WWP in

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 1   submitting detailed, science-based comments during federal agency NEPA processes, advocating

 2   for conservation and protections for public lands and wildlife. He also has submitted

 3   independent comments on federal NEPA processes, most recently including for the U.S. Forest

 4   Service’s ongoing Landscape Vegetation Analysis project, originally proposed to permit over

 5   300,000 acres of logging on the Medicine Bow National Forest near his home in Laramie. Dr.

 6   Lillegraven also submitted comments on the Thunder Basin National Grassland plan amendment

 7   referenced above. In 2005, he submitted an expert declaration for an U.S. Interior Board of Land

 8   Appeals challenge against a NEPA-based decision on the Cherokee West 3D vibroseis

 9   exploration project on BLM lands in the southern Red Desert, a project stayed in part on the

10   strength of his expert testimony. Dr. Lillegraven has keen interests in water diversion projects,

11   and he submitted comments in opposition to the Corp of Engineers-supported Million

12   Conservation Resource Group’s proposal to establish trans-basin water diversion from the Green

13   River in Wyoming to Pueblo, in southern Colorado. Similarly, he recently wrote in opposition to

14   the Lake Powell Pipeline Project in southern Utah. Dr. Lillegraven also served as a leader in

15   opposition to development of the Dunlap Wind Energy Project that eventually was built north of

16   Medicine Bow, Wyoming. More successfully, Dr. Lillegraven was largely responsible for

17   opposition to approval and any future plans for development of the DKRW coal gasification

18   project in Wyoming’s Carbon Basin.

19          146.    Plaintiff The Wilderness Society (“TWS”) is a national non-profit organization

20   working to unite people to protect America’s wild places. Founded in 1935 and with more than

21   one million members and supporters, with approximately 27,000 members and over 12,000

22   supporters in California and an office in Oakland, California, TWS has led the effort to

23   permanently protect 111 million acres of wilderness and to ensure sound management of our

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 1   shared national lands. The Wilderness Society sees a future where people and wild nature

 2   flourish together, meeting the challenges of a rapidly changing planet. To accomplish that

 3   vision, TWS works to ensure that public lands are a solution to the climate and extinction crises

 4   and that all people benefit equitably from public lands. Of all our bedrock conservation laws,

 5   NEPA perhaps best speaks to the vision The Wilderness Society seeks to accomplish by

 6   enshrining democratic principles of transparency, public participation, science-based

 7   environmental review, and accountability into government decision-making.

 8          147.    TWS, its members, supporters, and partners have relied on NEPA and CEQ’s

 9   implementing regulations to drive the organization’s engagement in countless agency decision-

10   making processes over the last fifty years – everything from small local decisions on a particular

11   national forest ranger district to sweeping national regulatory changes. The environmental

12   review and public process requirements in CEQ’s 1978 NEPA regulations have facilitated

13   decades of productive and informed dialogue between TWS and federal land managers, local

14   communities, tribes, and other stakeholders that paved the way for decisions to protect roadless

15   and wilderness-quality lands, policies to reduce climate pollution from fossil fuel development

16   on public lands, and management plans for newly established national monuments and other

17   crown-jewels of our federal public lands system.

18          148.    The Final Rule will harm the ability of TWS and its members to protect wild and

19   sensitive landscapes threatened by mining, drilling, logging, and other extractive uses, make

20   public lands part of the climate solution, and ensure that all people in the U.S. benefit equitably

21   from public lands. TWS submitted comments and provided public testimony at every

22   opportunity during the rulemaking process, detailing how the proposed regulatory changes would

23   harm TWS’s ability achieve its mission.

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 1          149.    TWS has individual members, including but not limited to Rebecca Rom of

 2   Minnesota and Brad Meiklejohn of Alaska, who regularly visit, study, work, photograph, or

 3   recreate on lands or marine areas where NEPA has been and will be used in reviewing federal

 4   projects. Each of the members has specific intentions to continue to interact with these areas

 5   frequently and on an ongoing basis. TWS members and staff derive recreational, spiritual,

 6   professional, scientific, educational, and aesthetic benefits from their interactions with these parts

 7   of the natural world.

 8          150.    Rebecca Rom has been a member of TWS since the 1970s. Ms. Rom is a life-

 9   long citizen advocate for the protection and preservation of the world’s greatest canoe country

10   wilderness: the Boundary Waters Canoe Area Wilderness and Voyageurs National Park. She

11   lives within the Superior National Forest near Ely, Minnesota and in close proximity to the

12   Boundary Waters. Ms. Rom has definite plans to continue to explore the Boundary Waters and

13   Voyageurs in 2020 and beyond. For her entire adult life, Ms. Rom has been heavily engaged in

14   NEPA processes involving activities affecting these areas, as well as NEPA processes affecting

15   federal public lands throughout the nation, including proposals to develop sulfide-ore copper

16   mining in the Superior National Forest in the headwaters of the Boundary Waters and

17   downstream of Voyageurs.

18          151.    Brad Meiklejohn has been a TWS member since 2019. Throughout his decades-

19   long career as a conservation advocate and in his personal capacity as an avid wilderness

20   explorer, Mr. Meiklejohn has engaged in dozens of NEPA processes to protect federal public

21   lands in his home state of Alaska and across the country. He has an especially deep and long

22   involvement in utilizing NEPA to protect the Arctic National Wildlife Refuge – one of the

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 1   wildest undisturbed landscapes remaining on the planet and a place that he has visited nearly

 2   every year since 1989 – and intends to continue his annual sojourns there into the future.

 3          152.    Plaintiff Winter Wildlands Alliance (“WWA”) is a national non-profit

 4   organization dedicated to preserving winter wildlands and quality human-powered snowsports

 5   experiences on public lands. Founded in 2000, WWA represents a growing community of

 6   human-powered winter adventurers from across the country. WWA’s 15,080 members and

 7   supporters – 398 of whom reside in California, and the members of their 33 grassroots groups,

 8   deeply value natural winter soundscapes and the opportunity for refuge and respite afforded by

 9   the last remaining places across the United States where solitude, fundamental wildness, and

10   non-motorized experiences are preserved. From its headquarters in Boise, Idaho and field

11   offices in Mammoth Lakes, California and Bozeman, Montant, WWA works with land

12   managers, elected officials, grassroots groups and other partners to pursue a balanced, adaptive,

13   and collaborative approach to public lands management for the long-term protection of the

14   places where their members recreate and seek adventure. WWA’s priority campaigns include

15   over-snow vehicle travel management planning on Forest Service lands, Forest Service land

16   management planning, and defense of non-motorized backcountry recreation opportunities on

17   public lands – all of these campaigns rely upon the public process afforded by NEPA and guided

18   by CEQ’s NEPA regulations.

19          153.    Central to its mission, WWA is currently engaged in over a dozen different Forest

20   Service land or travel management planning processes; three projects involving the expansion of

21   ski resorts on public land; and several additional projects involving federal land management.

22   This work regularly involves engaging in the NEPA process and communicating with WWA

23   members about opportunities to participate in comment periods and other opportunities for

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 1   engagement allowed for by NEPA. WWA submitted comments on the proposed rule, and prior

 2   to the publication of the final regulations, met with the Office of Information and Regulatory

 3   Affairs to discuss their comments.

 4          154.    WWA has individual members, including but not limited to Gus Bekker of

 5   Washington and Darrel Jury of California, who regularly visit, study, work, photograph, or

 6   recreate on lands where NEPA has been and will be used in reviewing federal projects. Each of

 7   the members has specific intentions to continue to interact with these areas frequently and on an

 8   ongoing basis. WWA members and staff derive recreational, spiritual, professional, scientific,

 9   educational, and aesthetic benefits from their interactions with these parts of the natural world.

10          155.    Gus Bekker, a WWA member since 2002 and board member of one of WWA’s

11   grassroots groups, El Sendero Backcountry Ski and Snowshoe Club, lives in Wenatchee,

12   Washington. An avid backcountry skier, Mr. Bekker has worked for years to advocate for

13   backcountry skiing and preservation of winter wildlands on the Okanogan-Wenatchee National

14   Forest, where he regularly skis during the winter months. Mr. Bekker skied several areas on the

15   Forest this past winter, and has definite plans to do so again this year as soon as there is

16   sufficient snow. He has engaged extensively in many Forest Service projects in order to preserve

17   opportunities for backcountry winter recreation on Forest Service lands near Wenatchee.

18   Currently, Mr. Bekker is advocating for backcountry skier interests as the Forest Service

19   considers whether to grant a road right-of way to Mission Ridge Ski and Snowboard Resort near

20   Wenatchee. Mr. Bekker relies on the NEPA process to learn of new projects that may be

21   federally authorized and participates in these processes to advocate for his and his organization’s

22   interests. As the road right-of-way proposal shows, these projects are not always directly related

23   to backcountry recreation yet can have significant consequences to Mr. Bekker’s interests.

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 1   Elimination of the mandate that agencies consider indirect and cumulative effects and barriers to

 2   public participation would mean that either Mr. Bekker would be unable to participate in

 3   decisions affecting backcountry skiing on the Okanogan-Wenatchee National Forest, his

 4   concerns would be dismissed as unrelated to the project at hand, or his participation may not

 5   “count” if the responsible official deems his comments lacking in technicality or specificity. In

 6   all cases, it is likely that the Forest Service would make decisions that reduce or negatively

 7   impact the use and enjoyment of National Forest lands for Mr. Bekker and his fellow

 8   backcountry skiers.

 9           156.   Darrel Jury, a WWA member since 2015 and president of the WWA grassroots

10   group Friends of Plumas Wilderness, relies on the NEPA process to engage in public land

11   management near his home in Quincy, California. Specifically, Mr. Jury advocates for

12   Wilderness, Wild & Scenic Rivers, and non-motorized areas for winter recreation on the Plumas,

13   Lassen, and Tahoe National Forests, where he often recreates. Mr. Jury visits these national

14   forest lands near his home on a weekly basis and is looking forward to skiing Thompson Peak on

15   the Plumas National Forest as soon as there is sufficient snow to do so. He is extensively

16   involved in over-snow vehicle planning on the Plumas, Lassen, and Tahoe National Forests and

17   has submitted NEPA comments on these planning processes at multiple stages in the process.

18   Mr. Jury’s deep interest in Wilderness preservation and preserving refuges for quiet winter

19   recreation opportunities will be harmed by the narrowed scope of NEPA review in the Final

20   Rule.

21                  2.      Interests and Injuries Common to All Plaintiffs

22           157.   As detailed above, Plaintiff groups and their members reside near, visit, or

23   otherwise use and enjoy areas where NEPA analysis has occurred and will be undertaken in the

24   future. Plaintiffs have concrete interests in CEQ’s lawful implementation of NEPA and its vital

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 1   role in preventing harm to people and the environment, and the regulatory revisions challenged

 2   in this lawsuit fundamentally undermine and contradict the requirements of NEPA. Plaintiffs

 3   have members who reside, work, travel, and recreate in places where federal agency actions and

 4   decisions occur, where threatened and endangered plants and animals are found, and where non-

 5   federal projects that require federal involvement, approval, and/or funding have been and will be

 6   proposed. Plaintiffs’ concrete interests are also injured by CEQ’s violation of procedural duties

 7   under NEPA, the ESA, and the APA. Citizens for Better Forestry v. U.S. Dep’t of Agric., 341

 8   F.3d 961 (9th Cir. 2003); W. Watershed Project v. Kraayenbrink, 632 F.3d 472 (9th Cir. 2011).

 9   The past, present, and future enjoyment of the scientific, recreational, aesthetic, economic, and

10   conservation benefits to Plaintiffs’ members has been, is being, and will continue to be

11   irreparably harmed by CEQ’s disregard of its statutory duties. The “presence of one party with

12   standing is sufficient to satisfy Article III’s case-or-controversy requirement.” Rumsfeld v.

13   Forum For Academics and Inst. Rights, Inc., 547 U.S. 47, 52 n.2 (2006); see Brown v. City of

14   Los Angeles, 521 F.3d 1238, 1240 n.1 (9th Cir. 2008) (“[T]he presence in a suit of even one

15   party with standing suffices to make a claim justiciable”).

16          158.    The Final Rule will impede all of the Plaintiff organizations’ ability to obtain

17   information vital to their central conservation missions, and will also require Plaintiffs to divert

18   scarce organizational resources from other programs to support their engagement in ongoing and

19   upcoming NEPA processes. For instance, with shorter timelines and higher standards for

20   comment “specificity,” Plaintiffs will need to devote new staff time and resources to effectively

21   engage and support their members, supporters, and partners during important public comment

22   periods. For those Plaintiffs that have them, Plaintiffs’ legal and technical staff will also need to

23   spend additional time and resources preparing detailed information to demonstrate, among other

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 1   things, that the host of significant environmental impacts associated with proposals to mine, drill,

 2   log, or conduct other activities on public lands have “a reasonably close causal relationship to the

 3   proposed action” and are not “remote in time, geographically remote, or the product of a lengthy

 4   causal chain.” This in turn will require Plaintiffs to recruit and retain experts who will need to

 5   work on compressed timelines. For those organizations that do not have legal and technical

 6   staff, Plaintiffs’ ability to participate in the new NEPA procedures will be dramatically

 7   compromised, and in some instances, impossible. Additionally, by purporting to authorize

 8   federal agencies to require the posting of a bond in order to obtain a stay of agency action while

 9   NEPA issues remain under review, the Final Rule significantly increases the risk that Plaintiffs

10   will be required to pay for a bond or other security to participate in the NEPA process. Such

11   expenses would, at minimum, divert funds away from other crucial conservation activities and

12   may deter Plaintiffs and others with whom they associate from fully participating in NEPA

13   processes. In the absence of the Final Rule, Plaintiffs would dedicate financial and staff capacity

14   towards other organizational programs such as outreach to urban and communities of color,

15   expanding recreational opportunities for youth, building a socially diverse conservation

16   community, developing clean energy and just transition policy platforms, and advocating for

17   congressional protection of wild places.

18          159.    NEPA expressly commands the federal government to “fulfill the responsibilities

19   of each generation as trustee of the environment for succeeding generations.” 42 U.S.C. §

20   4331(b)(1). The aesthetic, conservation, organizational, recreational, professional, spiritual, and

21   scientific interests of Plaintiffs and their members in ensuring that CEQ’s regulations maintain

22   the requirement to fully analyze and disclose to the public the potential environmental impacts

23   of, and feasible alternatives to, federal agency actions, 42 U.S.C. § 4332(c), have been, are being,

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 1   and, unless the relief prayed for is granted, will continue to be directly and adversely affected by

 2   the failure of Federal Defendants to comply with the law.

 3          160.     Vacatur of the Final Rule would redress the injuries to Plaintiffs and their

 4   members and supporters by requiring federal agencies to continue conducting meaningful review

 5   of their actions’ environmental impacts and providing opportunities for public participation in

 6   that process.

 7          B.       Defendants

 8          161.     Defendant Council on Environmental Quality is an agency within the Executive

 9   Office of the President. CEQ oversees Federal agency NEPA implementation and develops and

10   recommends national policies to the President that promote the improvement of environmental

11   quality.

12          162.     Defendant Mary Neumayr is the Chair of the Council on Environmental Quality.

13   Ms. Neumayr is sued in her professional capacity. Ms. Neumayr was confirmed by the United

14   States Senate on January 2, 2019, and sworn in on January 10, 2019. CEQ issued the Final Rule

15   under the direction of Ms. Neumayr.

16                                            BACKGROUND

17   I.     THROUGH NEPA, CONGRESS INFUSED ENVIRONMENTAL AND PUBLIC
            HEALTH VALUES INTO ALL FEDERAL AGENCY ACTIONS AND DECISIONS.
18
            A.       Congress Enacted NEPA To Address Overwhelming National Concern about
19                   Protection of the Environment and Public Health.

20          163.     The 1960s epitomized a period of rapid economic and social change and heralded

21   the rise of the environmental movement. Members of both political parties, urban and rural

22   residents, and developers and preservationists all espoused the burgeoning conservation ethic in

23   America.

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 1          164.    Seizing the moment of profound political change, the United States Congress

 2   hosted a joint House-Senate Colloquium on a “National Policy for the Environment” in July

 3   1968. Invited to participate in the Colloquium were interested members of the public, executive

 4   branch heads, and leaders of industrial, commercial, academic, and scientific organizations, with

 5   the purpose of “focusing on the evolving task the Congress faces in finding more adequate

 6   means to manage the quality of the American environment.”

 7          165.    The outcome of the day-long discussion was a Congressional White Paper on a

 8   National Policy for the Environment, published in October 1968. Noting the near-consensus

 9   views expressed by those participating in the Colloquium, the Congressional White Paper

10   explained that “in the recent past, a good deal of public interest in the environment has shifted

11   from its preoccupation with the extraction of natural resources to the more compelling problems

12   of deterioration in natural systems of air, land, and water. The essential policy issue of

13   conflicting demands has become well recognized.”

14          166.    The Congressional White Paper explained that “If America is to create a carefully

15   designed, healthful, and balanced environment, we must (1) find equitable ways of charging for

16   environmental abuses within the traditional free-market economy; (2) obtain adequate ecological

17   guidance on the character and impact of environmental change; (3) where corporate resource

18   development does not preserve environmental values, then consider the extension of

19   governmental controls in the larger public interest; (4) coordinate the Government agency

20   activities, which share with industry the dominant influence in shaping our environment; and (5)

21   establish judicial procedures so that the individual rights to a productive and high quality

22   environment can be assured.”

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 1          167.    The Congressional White Paper highlighted a number of additional issues that

 2   stakeholders agreed were essential and ripe for Congressional consideration in its development

 3   of a national environmental policy. For example, Dr. Walter Orr Roberts, an atmospheric

 4   physicist and founder of the National Center for Atmospheric Research, explained the

 5   importance of considering climate change due to “[s]ubtle alterations of the chemical

 6   constitution of the atmosphere, through pollutants added in the form of trace gases, liquids, or

 7   solids, result from industrial activity or urbanization. This is an area of biometeorology that has

 8   significance in every living person and yet we have not yet seen even the first beginnings of an

 9   adequately sustained research effort in this area.”

10          168.    Russell Train, who would become the first Chair of the Council on Environmental

11   Quality, testified that “[t]he urgent necessity of taking into account major environmental

12   influences of foreign economic assistance and other international developments” in American

13   environmental policy. This was an urgent issue because “to speak about environmental quality

14   without at least referring to the fact of the international components and consequences of even

15   our activity as Americans and considering our own acreage and our own problems with the

16   environment, appears to ... be somewhat shortsighted,” according to Dr. Dillon Ripley, the

17   Secretary of the Smithsonian Institution. In that way, America’s national environmental policy

18   needed to consider domestic as well as international environmental quality.

19          169.    Given the exigency facing the environment and Americans, Senator Henry

20   Jackson “argued that new approaches to environmental management are now required, and urged

21   the Colloquium to provide thoughts on the possible ‘action-forcing’ processes that could be put

22   into operation” through congressional action.

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 1          B.      NEPA Requires All Agencies To Prioritize Protection of the Environment and
                    Human Health.
 2
            170.    Congress enacted the National Environmental Policy Act in 1969, adopting nearly
 3
     all of the Congressional White Paper’s elements of a national policy for the environment and
 4
     public health and heralding a new era of environmental awareness in America.
 5
            171.    Section 101 of NEPA sets forth a national policy “to use all practicable means and
 6
     measures, including financial and technical assistance, in a manner calculated to foster and
 7
     promote the general welfare, to create and maintain conditions under which man and nature can
 8
     exist in productive harmony, and fulfill the social, economic, and other requirements of present
 9
     and future generations of Americans.” 42 U.S.C. § 4331(a).
10
            172.    Section 101 also gives federal agencies “continuing responsibility” to fulfill their
11
     role as a “trustee of the environment for succeeding generations”; assure all Americans have
12
     “safe, healthful, productive, and aesthetically and culturally pleasing surroundings”; “attain the
13
     widest range of beneficial uses of the environment” without degradation or risk; preserve
14
     “natural aspects of our national heritage”; “achieve a balance between population and resource
15
     use”; and enhance renewable resources and “maximum attainable recycling of depletable
16
     resources.” 42 U.S.C. § 4331(b).
17
            173.    Finally, Congress recognizes in Section 101 the right and responsibility of each
18
     person to “enjoy a healthful environment and … to contribute to the preservation and
19
     enhancement of the environment.” 42 U.S.C. § 4331(c).
20
            174.    Section 102 of NEPA applies the national policy set forth in Section 101 to
21
     “proposals for … major Federal actions significantly affecting the quality of the human
22
     environment.” 42 U.S.C. § 4332(2)(C). Specifically, Section 102 requires Federal agencies to
23
     prepare a “detailed statement,” which would soon become known as an environmental impact
24

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 1   statement or EIS, analyzing: (1) the environmental impact of the proposed action; (2) any

 2   adverse effects that cannot be avoided; (3) alternatives to the proposed action; (4) the

 3   relationship between local short-term uses of man’s environment and the maintenance and

 4   enhancement of long-term productivity; and (5) any irreversible and irretrievable commitments

 5   of resources that would be involved in the proposed action. 42 U.S.C. § 4332(2)(C).

 6          175.    The congressional mandates set forth in Section 102 are to be implemented “to

 7   the fullest extent possible.” 42 U.S.C. § 4332(2)(C). NEPA demands a “systematic,

 8   interdisciplinary approach” to “insure the integrated use of the natural and social sciences.” 42

 9   U.S.C. § 4322(2)(A). The statute also recognizes the need to ensure “unquantified

10   environmental amenities and values” are considered in agency decision-making. 42 U.S.C. §

11   4322(2)(B).

12          176.    NEPA also requires federal agencies to study and develop alternatives to

13   proposed actions, 42 U.S.C. § 4322(2)(E); to recognize the “worldwide and long-range character

14   of environmental problems” and “maximize international cooperation in anticipating and

15   preventing a decline in the quality of mankind’s world environment,” 42 U.S.C. § 4322(2)(F);

16   and make advice and information available to states, municipalities, and the public to be used in

17   “restoring, maintaining, and enhancing the quality of the environment.” 42 U.S.C. § 4322(2)(G).

18          177.    Section 202 of NEPA establishes CEQ within the office of the President. 42

19   U.S.C. § 4342. Among other things, the statute directs CEQ to “to develop and recommend to

20   the President national policies to foster and promote the improvement of environmental quality

21   to meet the conservation, social, economic, health, and other requirements and goals of the

22   Nation.” 42 U.S.C. § 4344(4).

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 1          178.    Roughly half of U.S. states have modeled state laws based on NEPA, and its

 2   example has been adopted by scores of nations around the world.

 3   II.    COURTS INTERPRETING NEPA’S PLAIN LANGUAGE HELD THE STATUTE
            DEMANDS FULL DISCLOSURE OF THE ENVIRONMENTAL IMPACTS OF
 4          MAJOR FEDERAL ACTIONS AND PUBLIC COMMENT ON SUCH ACTIONS.

 5          179.    As federal agencies began to implement NEPA in the absence of regulatory

 6   direction in the first years after the law’s enactment, courts stressed the broad requirements

 7   Congress instilled in the statute. In an early opinion, the D.C. Circuit confirmed “[t]he sweep of

 8   NEPA is extraordinarily broad, compelling consideration of any and all types of environmental

 9   impact of federal action.” Calvert Cliffs’ Coordinating Comm., Inc. v. U. S. Atomic Energy

10   Comm’n, 449 F.2d 1109, 1122 (D.C. Cir. 1971); see also id. at 1114-15 (stressing “as forcefully

11   as possible” that the language “to the fullest extent possible ... does not provide an escape hatch

12   for foot-dragging agencies; it does not make NEPA’s procedural requirements somehow

13   “discretionary””).

14          180.    Early circuit court opinions also addressed the purposes of an environmental

15   impact statement, Silva v. Lynn, 482 F.2d 1282, 1284–85 (1st Cir. 1973); the standards for

16   determining whether a project will have a “significant” impact and necessitate an environmental

17   impact statement, including the need to consider potential direct, indirect, and cumulative

18   environmental effects, Hanly v. Kleindienst, 471 F.2d 823, 830–31 (2d Cir. 1972); and the

19   importance of agency consideration of a robust range of alternatives, Nat. Res. Def. Council, Inc.

20   v. Morton, 458 F.2d 827 (D.C. Cir. 1972).

21          181.    The Ninth Circuit in 1975 further outlined the statutory obligation to consider the

22   indirect effects of agency action. “[C]onsideration of secondary impacts may often be more

23   important than consideration of primary impacts. … A new highway located in a rural area may

24   directly cause increased air pollution as a primary effect. But the highway may also induce

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 1   residential and industrial growth, which may in turn create substantial pressures on available

 2   water supplies, sewage treatment facilities, and so forth.” City of Davis v. Coleman, 521 F.2d

 3   661, 676–77 (9th Cir. 1975) (quoting Scientists’ Institute for Public Information v. A. E. C., 481

 4   F.2d 1079, 1092 (D.C. Cir. 1973) and Fifth Annual Report of the Council on Environmental

 5   Quality, 410-11 (December 1974)).

 6          182.    In 1976, again before CEQ adopted any regulations, the U.S. Supreme Court

 7   confirmed that comprehensive environmental review under NEPA required consideration of

 8   long-term and cumulative effects. The Court explained:

 9          Section 102(2)(C) [of NEPA] is one of the “action-forcing” provisions intended
            as a directive to all agencies to assure consideration of the environmental impact
10          of their actions in decisionmaking. By requiring an [environmental] impact
            statement Congress intended to assure such consideration during the development
11          of a proposal or as in this case during the formulation of a position on a proposal
            submitted by private parties. A comprehensive impact statement may be
12          necessary in some cases for an agency to meet this duty. Thus, when several
            proposals for coal-related actions that will have cumulative or synergistic
13          environmental impact upon a region are pending concurrently before an agency,
            their environmental consequences must be considered together. Only through
14          comprehensive consideration of pending proposals can the agency evaluate
            different courses of action.
15
     Kleppe v. Sierra Club, 427 U.S. 390, 409–10 (1976) (citing Congressional Conference Report on
16
     NEPA, 115 Cong. Rec. 40,416 (1969)).
17
     III.   CEQ ENGAGED IN EXTENSIVE OUTREACH TO DEVELOP THE 1978 NEPA
18          REGULATIONS.

19          183.    Prompted by the early case law interpreting NEPA, President Carter issued

20   Executive Order 11991 on May 24, 1977, directing CEQ to issue regulations that would guide all

21   agencies in implementing NEPA. Relating to Protection and Enhancement of Environmental

22   Quality, Exec. Order No. 11991, 42 Fed. Reg. 26, 967 (May 24, 1977). The Executive Order

23   was based on the President’s Constitutional and statutory authority, including NEPA, the

24   Environmental Quality Improvement Act, and Section 309 of the Clean Air Act. In signing

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 1   Executive Order 11991, the President delegated this authority to the agency created by NEPA,

 2   the Council on Environmental Quality. Implementation of Procedural Provisions, Final

 3   Regulations, 43 Fed. Reg. 55,978 (Nov. 29, 1978) (codified at 40 C.F.R. Part 1500).

 4          184.    Following President Carter’s Executive Order, CEQ announced three days of

 5   public hearings regarding how to best reform NEPA implementation and invited testimony from

 6   a “broad array of public officials, organizations and private citizens, affirmatively involving

 7   NEPA’s critics as well as its friends.” 43 Fed. Reg. at 55,980.

 8          185.    After the hearings, CEQ “culled the record to organize both the problems and the

 9   solutions proposed by witnesses into a 38-page “NEPA Hearing Questionnaire,” which it then

10   sent “to all witnesses, every State governor, all Federal agencies, and everyone who responded to

11   an invitation in the Federal Register.” 43 Fed. Reg. at 55,980. CEQ collated the responses to the

12   questionnaire for use in drafting its anticipated regulations.

13          186.    CEQ also met with every agency of the executive branch to discuss what should

14   be in the regulations, and it circulated an early draft of proposed regulations to all federal

15   agencies in December 1977. Further one-on-one consultation with agencies ensued, culminating

16   with a fourth draft of the proposed NEPA regulations sent to interested parties for comment.

17   Meanwhile:

18          At the same time that Federal agencies were reviewing the early draft, [CEQ]
            continued to meet with, listen to, and brief members of the public, including
19          representatives of business, labor, State and local governments, environmental
            groups, and others. Their views were considered during this early stage of the
20          rulemaking. [CEQ] also considered seriously and proposed in our regulation
            virtually every major recommendation made by the Commission on Federal
21          Paperwork and the General Accounting Office in their recent studies on the EIS
            process.
22
     43 Fed. Reg. at 55,980.
23

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 1          187.    Following these extensive hearings and intergovernmental consultations, CEQ

 2   published proposed regulations to implement NEPA in June 1978, with a 60-day public comment

 3   period. National Environmental Policy Act Regulations; Proposed Implementation of

 4   Procedural Provisions, 43 Fed. Reg. 24,230 (June 9, 1978). CEQ prepared a “special

 5   environmental assessment” to accompany the rulemaking. CEQ promulgated final regulations

 6   on November 29, 1978 and the regulations became effective July 30, 1979. 43 Fed. Reg. at

 7   55,978.

 8          188.    Prior to the Final Rule at issue in this case, CEQ made only two modifications to

 9   the 1978 regulations. First, in 1986, CEQ revised a regulation regarding a “worst case analysis.”

10   National Environmental Policy Act Regulations; Incomplete or Unavailable Information, 51 Fed.

11   Reg. 15,625 (April 26, 1986). Second, in 2005, CEQ changed the address for filing copies of

12   EISs. Other Requirements of NEPA; Final Rule, 70 Fed. Reg. 41,148 (July 18, 2005).

13   IV.    CEQ HAS ISSUED NEPA GUIDANCE AND REVIEWS FOR OVER 40 YEARS,
            NONE FINDING A NEED FOR MAJOR AMENDMENTS TO ITS REGULATIONS.
14
            189.    Over the years, CEQ has issued additional guidance regarding the implementation
15
     of NEPA and the 1978 regulations (as amended in 1986). In particular, CEQ published its “40
16
     Most Asked Questions Concerning CEQ’s National Environmental Policy Act Regulations” in
17
     the Federal Register in 1981. Forty Most Asked Questions Concerning CEQ's National
18
     Environmental Policy Act Regulations, 46 Fed. Reg. 18,026 (March 23, 1981) (Forty Questions).
19
            190.    Several congressional and presidential reviews of the regulations have occurred;
20
     but none have previously resulted in changes to the 1978 regulations.
21
            191.    In 1981 during the Reagan Administration, CEQ requested public responses to 11
22
     questions, ranging from the specific (“Is the scoping process used at an appropriate stage in the
23
     development of agency proposals?”) to the general (“What day-to-day practices could be
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 1   improved to assure better compliance with NEPA?”). Agency Implementation of CEQ's NEPA

 2   Regulations; Request for Public Comment, 46 Fed. Reg. 41,131 (Aug. 14, 1981). The comment

 3   period remained open for 60 days. After release of a summary of the comments in July 1982, a

 4   public meeting was held to solicit any additional comments or suggestions. The process resulted

 5   in guidance published in 1983 on five particular topics, but no changes to the regulations

 6   themselves. Guidance Regarding NEPA Regulations, 48 Fed. Reg. 34,263 (July 28, 1983).

 7          192.    In 1997, CEQ published the study The National Environmental Policy Act: A

 8   Study of Its Effectiveness After Twenty-Five Years (Jan. 1997). The study built on input from

 9   some of the original framers of NEPA, members of Congress, state and local agencies, and

10   federal agencies along with a major effort to include the public. Eleven separate groups of

11   partners were established to provide input into this study: businesses, decision-makers, state and

12   local governments, agencies, academicians, Congress, framers of NEPA, drafters of CEQ

13   regulations, Native American tribes, lawyers and public interest/citizen groups. In coordination

14   with CEQ, the Environmental Protection Agency (“EPA”) conducted a survey of states regarding

15   NEPA implementation. CEQ, EPA, and the North Carolina Department of Environment, Health

16   and Natural Resources held a regional conference to investigate the effectiveness of state-federal

17   interaction in NEPA implementation. The study concluded that “[o]verall, what we found is that

18   NEPA is a success — it has made agencies take a hard look at the potential environmental

19   consequences of their actions, and it has brought the public into the agency decision-making

20   process like no other statute.” The 1997 report emphasized the importance of several factors in

21   ensuring that the congressional intent of NEPA was met, including adequate agency training to

22   implement the 1978 regulations, consideration of a robust range of alternatives, engaging the

23

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 1   public early and often in the NEPA process, and the need to develop concise NEPA documents

 2   rather than lengthy reviews.

 3          193.    At the same time, CEQ published its guidance on Considering Cumulative Effects

 4   Under the National Environmental Policy Act (Jan. 1997). This guidance stated that “[e]vidence

 5   is increasing that the most devastating environmental effects may result not from the direct

 6   effects of a particular action, but from the combination of individually minor effects of multiple

 7   actions over time,” highlighting the importance of this aspect of NEPA review. The 1997

 8   guidance explained how federal agencies may analyze their actions for cumulative effects;

 9   provided advice regarding inviting public scoping of and comment on cumulative effects; and

10   included methods, tools, and techniques (including examples) for analyzing cumulative effects.

11   Nothing in the 1997 guidance suggested that consideration of cumulative effects was difficult,

12   costly, or otherwise resulted in delays in project implementation.

13          194.    Most recently, the George W. Bush Administration’s CEQ published

14   “Modernizing NEPA Implementation” in December 2003. The NEPA Task Force, The NEPA

15   Task Force Report to the Council on Environmental Quality: Modernizing NEPA

16   Implementation (September 2003). The report was based on the work of a task force composed

17   of federal agency employees with diverse skills, expertise, and perspectives. The Task Force

18   engaged with state, tribal, and local governments and public interest organizations in completing

19   its report. CEQ took comments from the public at large for 75 days on the 2003 report. The

20   report provided a number of recommendations for action by CEQ, but did not commence

21   rulemaking to change the 1978 regulations.

22   V.     NEPA PROMOTES ENVIRONMENTAL JUSTICE.

23          195.    Guided by CEQ’s 1978 regulations, NEPA became a crucial tool for public

24   engagement and better governmental decision-making in the fight against environmental racism.

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 1   NEPA and the 1978 regulations promote environmental justice by requiring federal agencies to

 2   include a proposed project’s potential environmental, economic, and public-health impacts on

 3   low-income communities, communities of color, and rural communities. One of the visionary

 4   elements of NEPA was its creation of broad opportunities for public participation in government

 5   decisions that affect communities and their environment.

 6          196.    In 1994, President Clinton issued Executive Order 12898, Federal Actions to

 7   Address Environmental Justice in Minority Populations and Low-Income Populations, Exec.

 8   Order No. 12898, codified at 3 C.F.R. § 859 (1995), reprinted as amended in 42 U.S.C. § 4321

 9   (1998). Executive Order 12898 directs federal agencies to make environmental justice part of

10   their mission, and to identify and address the disproportionate environmental and health effects

11   of their activities on communities of color and low-income populations. The Executive Order

12   also requires agencies to ensure effective public participation and access to information.

13          197.    The Presidential Memorandum accompanying the Executive Order directs all

14   agencies to utilize NEPA to analyze environmental, health, economic, and social effects of

15   federal actions, including effects on communities of color and low-income communities; develop

16   mitigation measures that address significant effects of actions on communities of color and low-

17   income communities; and to provide opportunities for public input in decision-making. Most

18   importantly, agencies must provide opportunities for effective community participation in the

19   NEPA process.

20          198.    Executive Order 12898 recognized the importance of gathering data and

21   conducting research to identify and address disproportionately high and adverse health,

22   environmental, social, and economic effects of federal agency programs and policies on

23   communities of color and low-income communities. Public participation is an integral part of

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 1   addressing environmental justice concerns. The Presidential Memorandum also makes clear that

 2   any NEPA document should “address significant and adverse environmental effects of proposed

 3   federal actions on minority populations, low-income populations, and Indian Tribes.”

 4   Furthermore, each federal agency must provide opportunities for effective community

 5   participation in the NEPA process through consultation with affected communities and

 6   improving the accessibility of public meetings, crucial documents, and notices.

 7          199.    CEQ has repeatedly published guidance documents on how to include

 8   environmental justice in NEPA analyses. In 1997, in consultation with EPA and other agencies,

 9   CEQ developed guidance to “further assist Federal agencies with their NEPA procedures so that

10   environmental justice concerns are effectively identified and addressed.” Environmental Justice

11   – Guidance Under the National Environmental Policy Act (1997). CEQ recognized that

12   environmental justice issues may arise during federal decision-making and should be considered

13   at any step in the NEPA process, and courts have noted that “[e]nvironmental justice is not

14   merely a box to be checked.” Friends of Buckingham v. State Air Pollution Control Bd., 947

15   F.3d 68, 92 (4th Cir. 2020).

16          200.    In 2016, a Federal Interagency Working Group issued a report on how better to

17   implement environmental justice in the NEPA process: Promising Practices for EJ

18   Methodologies in NEPA Reviews. CEQ and other agencies recognized that engaging community

19   members early and often informs an agency’s decision-making process, benefitting agencies by

20   communicating their objectives for the proposed activity. The interagency report recognized that

21   communities have varying levels of access to information, and instructed agencies to “consider

22   providing notice to the public (as appropriate) of the meeting date(s) and time(s) well in advance

23   and through methods of communication suitable for minority and low income populations.”

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 1   Furthermore, when addressing impacts on environmental justice communities, the report stressed

 2   that NEPA requires agencies to consider three types of effects or impacts: direct, indirect, and

 3   cumulative impacts, and that agencies should be mindful that environmental justice communities

 4   may be differently affected by past, present, or reasonably foreseeable future impacts—that is,

 5   cumulative effects—than the general population.

 6   VI.    THE PRESIDENT’S 2017 INFRASTRUCTURE DIRECTIVE AND CEQ’S 2018
            ADVANCE NOTICE OF PROPOSED RULEMAKING.
 7
            201.    On August 15, 2017, the President issued Executive Order 13807, entitled
 8
     “Establishing Discipline and Accountability in the Environmental Review and Permitting
 9
     Process for Infrastructure Projects.” Establishing Discipline and Accountability in the
10
     Environmental Review and Permitting Process for Infrastructure Projects, 82 Fed. Reg. 40,463
11
     (Aug. 24, 2017). The Executive Order emphasized an alleged need for greater efficiency in
12
     environmental reviews of infrastructure projects, defined to include “pipelines,” “energy
13
     production and generation,” and “electricity transmission.” For example, the Order noted the
14
     importance of “using CEQ’s authority to interpret NEPA to simplify and accelerate the NEPA
15
     review process” and sought “expedited environmental review for the development of energy
16
     infrastructure projects.” Id. at 40,468.
17
            202.    In response to the Executive Order, CEQ announced its intention to review
18
     existing NEPA regulations to “identify changes needed to update and clarify those regulations”
19
     in September 2017. Initial List of Actions To Enhance and Modernize the Federal
20
     Environmental Review and Authorization Process, 82 Fed. Reg. 43,226 (Sept. 14, 2017).
21
            203.    On June 18, 2018, CEQ issued an “advance notice of proposed rulemaking
22
     (“ANPRM”) indicating that CEQ was proposing to amend the longstanding CEQ regulations
23
     governing NEPA. Update to the Regulations for Implementing the Procedural Provisions of the
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 1   National Environmental Policy Act; Advanced Notice of Proposed Rulemaking, 83 Fed. Reg.

 2   28,591 (June 20, 2018).

 3          204.    The ANPRM gave little or no indication of what revisions CEQ was considering.

 4   Instead, it asked a series of twenty open-ended questions about whether various features of the

 5   existing regulations should be amended, and if so, how.

 6          205.    Plaintiffs and others responded with detailed comments explaining why the CEQ

 7   regulations should not be amended. Instead, the vast majority of the public comments explained

 8   how NEPA was successful in meeting its goals, and offered suggestions as to how

 9   implementation of NEPA could be improved to increase efficiency without undermining those

10   goals. The purported problems that CEQ sought to address, Plaintiffs and others explained, were

11   a product of external factors such as inadequate training, funding, and implementation of the

12   existing regulations and would not be solved by amending and weakening the CEQ regulations

13   themselves.

14   VII.   CEQ PROPOSED SIGNIFICANT CHANGES TO THE 1978 REGULATIONS THAT
            CONFLICT WITH CONGRESSIONAL INTENT IN ENACTING NEPA.
15
            206.    On January 10, 2020, CEQ issued its proposed revision to its implementing
16
     regulations in a Notice of Proposed Rulemaking in the Federal Register (“Proposed Rule”).
17
     Update to the Regulations Implementing the Procedural Provisions of the National
18
     Environmental Policy Act; Notice of Proposed Rulemaking, 85 Fed. Reg. 1,684 (Jan. 10, 2020).
19
     The Proposed Rule aimed to “comprehensively update and substantially revise” the longstanding
20
     1978 CEQ regulations, touching virtually every aspect of them. Taken as a whole, the Proposed
21
     Rule sought to transform NEPA from a sweeping infusion of environmental values and
22
     environmental justice into federal decision-making to an expedited paperwork exercise designed
23
     primarily to limit NEPA’s reach, reduce public involvement, and narrow the scope of what
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 1   environmental consequences of federal agency actions are considered by federal agencies in

 2   direct contravention to the statutory command to implement NEPA “to the fullest extent

 3   possible.”

 4          207.    In virtually every instance where CEQ proposed changes, the effect was to

 5   undermine NEPA or create ambiguity about the applicability and scope of NEPA review. The

 6   Proposed Rule contained changes that undermined NEPA’s policies, including by deleting prior

 7   regulatory language focused on the policy-driving, action-forcing congressional mandate. In

 8   other places, the Proposed Rule replaced the word “possible” with the word “practicable.”

 9          208.    The Proposed Rule also advanced changes to reduce the scope of NEPA’s

10   applicability, limiting the number and types of federal actions that are subject to NEPA. For

11   example, the Proposed Rule ignored longstanding regulatory and judicial precedent that the

12   adjective “major” in front of “federal action” reinforces but does not have independent meaning

13   from the qualifier “significantly.” In other words, the Proposed Rule refocused on the extent of

14   federal “control” rather than the extent and nature of the impacts of federal actions to the

15   environment. The Proposed Rule compounded this mistake by asserting that federal financial

16   assistance does not qualify as a “major federal action” if the agency did not retain an undefined

17   level of “control and responsibility” over the effects of the action.

18          209.    Additionally, the Proposed Rule proposed to add a new “functional equivalency”

19   test, allowing NEPA to be waived if there was some other environmental review process

20   associated with the project. Nothing in the Proposed Rule set any meaningful boundaries on

21   such use, meaning that alternative reviews with lower environmental standards and less robust

22   public processes could be used to avoid the application of NEPA. Even the example offered by

23   CEQ—a Regulatory Impact Analysis (“RIA”) required by an Executive Order—proved the

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 1   point: an RIA focuses on economic cost-benefit analysis, rather than review of environmental

 2   impacts and potential alternatives.

 3          210.    The Proposed Rule announced a new definition of “significance” that would

 4   reduce the number of actions deemed substantial enough to trigger the preparation of an

 5   environmental impact statement. The Proposed Rule similarly eliminated language prohibiting

 6   “piecemealing” or segmentation of agency actions by breaking them into individually less

 7   significant or relatively minor component parts, and it expanded the scope and application of

 8   “categorical exclusions,” a mechanism to simplify NEPA compliance for actions that did not

 9   individually or cumulatively have a significant effect on the environment.

10          211.    In addition to narrowing the type of actions to which NEPA applied in the first

11   instance, the Proposed Rule also significantly limited the scope of environmental review for

12   those actions that still triggered NEPA compliance. Of particular concern, the Proposed Rule

13   categorically eliminated the requirement to consider cumulative effects and eliminated any

14   obligation to consider indirect effects. Under the 1978 CEQ regulations and longstanding

15   judicial interpretation, cumulative effects constitute an “impact on the environment which results

16   from the incremental impact of the action when added to other past, present, and reasonably

17   foreseeable future actions,” regardless of what agency (Federal or non-Federal) or person

18   undertakes such other actions, while indirect effects are those effects that are “caused by the

19   action and are later in time or farther removed in distance, but are still reasonably foreseeable.”

20   Indirect and cumulative effects are critical components of environmental impacts that must be

21   considered under NEPA. In many cases, they are the most important issues of concern to the

22   public and other stakeholders.

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 1          212.    While there are many reasons why the consideration of indirect and cumulative

 2   effects is essential to sound decision-making, the failure to consider such effects is especially

 3   harmful with regard to the issue of climate change, both in terms of a proposed action’s

 4   greenhouse gas emissions that contribute to it, as well as how a changing climate could affect a

 5   proposed action or the location where the action takes place. As many agencies and courts have

 6   recognized, climate change is the ultimate “cumulative effect,” because it arises from the

 7   aggregate of countless actions over time and around the world. CEQ in the past has issued

 8   guidance on how to include climate change in NEPA analyses, and courts have been repeatedly

 9   called on to interpret agencies’ duties in this regard. By eliminating the review of cumulative

10   and indirect effects, the Proposed Rule attempted to relieve agencies of the duty to consider

11   climate change related impacts in their NEPA analyses.

12          213.    The Proposed Rule also undermined the analysis of environmental justice impacts

13   without explanation. Environmental justice addresses the disproportionate impact of pollution

14   and environmental degradation on people of color and low-income communities. Cumulative

15   impact analysis is essential to identifying whether and how low income and frontline

16   communities of color may be overburdened by the additive environmental impacts of a proposed

17   federal action, particularly actions that contribute air, land, and water pollution to the

18   environment. By eliminating cumulative impact review, the Proposed Rule allowed agencies to

19   sidestep considering environmental justice impacts. CEQ also failed to conduct an

20   environmental justice analysis of the Proposed Rule under Executive Order 12898, Federal

21   Actions To Address Environmental Justice in Minority Populations and Low-Income

22   Populations, 59 Fed. Reg. 7,629 (Feb. 11, 1994).

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 1          214.    The Proposed Rule limited the discussion of alternatives, the “heart” of the EIS

 2   process. Forty Questions; Answer to Question 7, 46 Fed. Reg. at 18,026. Indeed, the Proposed

 3   Rule explicitly struck regulatory language declaring as much. Instead, the Proposed Rule sought

 4   to constrain the range of alternatives considered in an EIS, providing that federal agencies did

 5   not need to consider alternatives not within the jurisdiction of the lead agency—in contravention

 6   of precedent and governing caselaw. NRDC v. Morton, 458 F.2d 827, 834 (D.C. Cir. 1972)

 7   (noting that the reasonableness requirement does not limit the agency to evaluate only measures

 8   within its jurisdiction); see EDF v. U.S. Army Corps of Engineers, 492 F.2d 1123, 1135 (5th Cir.

 9   1974) (agreeing with the D.C. Circuit that there is no statutory restriction that limits “an agency

10   to consideration of only those alternatives that it could adopt or put into effect”).

11          215.    The Proposed Rule included a series of provisions that would raise barriers to

12   public participation, limit the requirements for agencies to engage with the public and respond to

13   comments, and eliminate protections against conflicts of interest. The Proposed Rule eliminated

14   restrictions on project proponents writing their own environmental reviews, stripped references

15   to public participation from regulations, eliminated the requirement for public comments at the

16   scoping stage for EAs.

17          216.    The Proposed Rule also included provisions intended to raise the bar on public

18   comment, effectively allowing agencies to ignore comments that do not meet an arbitrary

19   technical standard of precision. Many commenters, especially members of the public, may have

20   useful environmental, cultural, social, or other knowledge that should be brought to bear in

21   agency decision-making, but lack the technical knowledge to express that information consistent

22   with the Proposed Rule. Simultaneously, the Proposed Rule reduced requirements that the

23   agency respond to comments with detailed explanation and citation to authorities. In other

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 1   words, the Proposed Rule raised the bar for the public in commenting during the NEPA process

 2   while it lowered the bar for agencies to respond to comments.

 3           217.   Finally, the Proposed Rule contained several elements which were directed at

 4   limiting judicial review of agency compliance with NEPA, for example, redefining “final agency

 5   action” for purposes of APA review to exclude an agency’s failure to act and stating that “it is

 6   the Council’s intention that the regulations ... create no presumption that violation of NEPA is a

 7   basis for injunctive relief or for a finding of irreparable harm.”

 8           218.   In sum, the Proposed Rule fundamentally mischaracterized, and attempted to

 9   fundamentally rewrite, the statutory purpose and goals of NEPA. It proposed to substantially

10   reduce both the breadth and depth of NEPA analysis, and to eviscerate available remedies for

11   inadequate agency compliance. Instead of centering environmental values and sound decision-

12   making at the heart of the environmental and public health review process, the Proposed Rule

13   elevated private interests and resource exploitation. The Proposed Rule proposed to reverse

14   longstanding positions accepted by CEQ, other agencies, and the courts for decades without

15   explanation or a basis in fact or law.

16   VIII.   DESPITE OVERWHELMING OPPOSITION TO THE PROPOSED RULE, CEQ
             RUSHED TO ISSUE A FINAL RULE THAT EVISCERATED NEPA.
17
             219.   The Proposed Rule ran for nearly 50 pages in the Federal Register and touched on
18
     virtually every aspect of the longstanding prior regulations, yet CEQ only offered 60 days for
19
     public comment. Hundreds of states, Tribes, organizations, and others—including 167 members
20
     of the United States Congress—formally requested additional time to comment; CEQ denied all
21
     extension requests.
22
             220.   CEQ only held two public hearings on the Proposed Rule, one in Denver,
23
     Colorado and one in Washington, D.C. Speaking slots were made available during a 90-minute
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 1   window, in advance, through a web-based registration system. After the online registration

 2   system opened, all available speaking slots filled within a few minutes. The vast majority of

 3   people who wished to provide oral comment were not able to do so. Again, many members of

 4   the public requested additional hearings in vain.

 5          221.    Despite the truncated process and the impacts of the global COVID-19 pandemic

 6   on every aspect of people’s lives, CEQ received over one million public comments, a significant

 7   number of them containing detailed and comprehensive analyses explaining the significant harm

 8   that would arise from the proposal. Opposition came from states and state agencies, Tribes, and

 9   a broad swath of public interests such as environmental protection, environmental justice, human

10   health, public lands, and outdoor recreation groups, as well as former Chairs and staff of CEQ

11   under both Republican and Democratic administrations. Plaintiffs submitted detailed comments

12   on the proposal.

13          222.    CEQ closed the comment period for the Proposed Rule on March 10, 2020. CEQ

14   released a pre-publication version of the Final Rule on July 15, 2020. The Final Rule was

15   published in the Federal Register on July 16, 2020. 85 Fed. Reg. 43,304. Despite CEQ’s prior

16   statement that the Proposed Rule was only an update to the 1978 regulations, in announcing the

17   Final Rule, President Trump declared that the new regulations were a “top to bottom overhaul”

18   intended to bolster America “as a nation of builders.”

19   IX.    CEQ’S FINAL RULE MADE ONLY MINOR CHANGES TO THE PROPOSED RULE.

20          223.    Aside from small changes such as altering verb tense and other technical

21   corrections, the Final Rule closely mirrors the content of the Proposed Rule.

22          224.    The Final Rule only requires agencies to consider environmental information and

23   “inform” the public regarding an agency decision. 40 C.F.R. §§ 1500.1(a), 1503.1(2)(v),

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 1   1507.3(f)(3) (2020). The Final Rule deleted language that NEPA should be implemented “to the

 2   fullest extent possible.” 42 U.S.C. § 4332(2)(C); 40 C.F.R. § 1502.2 (1978). 1

 3          225.    The Final Rule prohibits agencies from imposing any more stringent procedures

 4   or requirements beyond that required by the Final Rule. 40 C.F.R. 1507.3(b) (2020). It deleted

 5   language stating that an EIS is an “action forcing” document intended to ensure NEPA’s goals

 6   are “infused” into programs and activities of the Federal government. 40 C.F.R. 1502.1 (2020).

 7          226.    The Final Rule replaces the word “possible” in the 1978 regulations with the word

 8   “practicable,” weakening existing requirements and providing agencies with open-ended

 9   discretion to refuse to comply with requirements if they are inconvenient or cumbersome. See,

10   e.g., 40 C.F.R. §§ § 1500.2, 1501.2(b)(2), 1501.5(d), 1501.7(g), (g)(1), (g)(2), (i), (j),

11   1501.8(b)(1), (b)(6), (b)(8), 1501.9(a), (b), 1502.5(b), 1502.9(b), 1502.11(g), 1505.2(g)(3),

12   1506.2(b), (c), 1506.4, 1506.2(b), (c) (2020).

13          227.    The Final Rule limits the number and nature of federal actions that are subject to

14   NEPA. For example, the Final Rule departs from longstanding regulatory and judicial precedent

15   that the adjective “major” in front of “federal action” reinforces but does not have independent

16   meaning from the qualifier “significantly.” 40 C.F.R. § 1508.1(q) (2020).

17          228.    The Final Rule asserts that federal financial assistance does not qualify as a

18   “major federal action” if the agency does not retain an undefined level of “control and

19   responsibility” over the effects of the action, in a manner that is inconsistent with judicial

20   precedent, creates confusion, and invites abuse by applicants. 40 C.F.R. § 1508.1(q) (2020).

21

22

23   1
      The following citations to the 1978 regulations include changes made to 40 C.F.R. § 1502.22 in
24   1986.

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 1          229.    The Final Rule narrowed the definition of “major federal action” even further by

 2   deleting language that defines “action” to include circumstances where an agency “fails to act”

 3   and that failure is reviewable under the APA. 40 C.F.R. § 1508.1(q)(1)(iii) (2020).

 4          230.    The Final Rule allows federal agencies to waive NEPA if other review processes

 5   are either associated with or required for the project. 40 C.F.R. §§ 1501.1(a)(6) (2020), 1506.2,

 6   1506.4, 1506.5, 1506.9, 1506.11(e), 1507.3(c)(5), (d)(6).

 7          231.    The Final Rule allows federal agencies to circumvent NEPA by authorizing

 8   agencies, in their discretion, to determine that other statutes or directives conflict with NEPA. 40

 9   C.F.R. §§ 1501.1(a)(2), (a)(3), § 1507.3(d)(2) (2020). However, Congress did not delegate

10   federal agencies authority to interpret “whether compliance with NEPA would clearly and

11   fundamentally conflict with the requirements of another statute,” or “whether compliance with

12   NEPA would be inconsistent with Congressional intent expressed in another statute.” This is

13   also inconsistent with NEPA’s statutory directive to apply the law to “the fullest extent

14   possible,” as well as judicial precedent prohibiting such a narrow reading of NEPA.

15          232.    The Final Rule exempts certain categories of federal actions from the definition of

16   “major federal action,” including actions that have long been understood to trigger NEPA

17   review, such as “loans, loan guarantees and other forms of financial assistance.” 40 C.F.R. §

18   1508.1(q)(1)(vii) (2020). Similarly, the Final Rule characterizes the “action” for treaties and

19   international conventions such that NEPA compliance would only be required for

20   implementation of treaties and international conventions or agreements, 40 C.F.R. §

21   1508.1(q)(3)(i) (2020); the Final Rule eliminated the ratification of treaties from the definition of

22   “proposals for legislation.” 40 C.F.R. § 1508.17 (1978).

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 1           233.      The Final Rule eliminates language from the 1978 regulations that programmatic

 2   EISs are sometimes required and language that they are specifically required under certain

 3   circumstances. 40 C.F.R. § 1502.4(b) (2020).

 4           234.      The Final Rule eviscerates the regulatory definition of “significance,” which will

 5   reduce the number of actions deemed significant enough to trigger the preparation of an

 6   environmental impact statement. Compare 40 C.F.R. §§ 1501.3(a)(2) (2020), (b)(1), 1501.5(a),

 7   1502.16(a)(1) with 40 C.F.R. §§ 1508.27 (1978), 1508.8. Specifically, the Final Rule eliminates

 8   the consideration of critical concerns like context, cumulative effects, scientific controversy, and

 9   effects to listed species from the evaluation of a federal action’s significance. Id.

10           235.      The Final Rule no longer prohibits the “piecemealing” or segmentation of agency

11   actions by breaking them into individually less significant or relatively minor component parts.

12   Compare 40 C.F.R. § 1501.3(b) (2020), 1501.9(e)(1) with 40 C.F.R. §§ 1508.25(a)(1) (1978),

13   (a)(2), (a)(3).

14           236.      The Final Rule substantially expands the scope and application of “categorical

15   exclusions,” normally a mechanism to simplify NEPA compliance for actions that do not

16   individually or cumulatively have a significant effect on the environment. Compare 40 C.F.R. §

17   1508.1(d) (2020) with 40 C.F.R. § 1508.4 (1978). Instead, the Final Rule eliminates key factors

18   that previously prevented the use of categorical exclusions for actions that “individually or

19   cumulatively” may have impacts to the environment. Id. Regardless of whether extraordinary

20   circumstances exist, the Final Rule allows federal agencies, in their sole discretion, to use a

21   categorical exclusion if there are “circumstances that lessen the impacts or other conditions

22   sufficient to avoid significant effects;” but does not require the utilization of these other

23   “circumstances” or “conditions.” 40 C.F.R. § 1501.4(b)(1) (2020). The Final Rule allows

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 1   agencies to apply a different agency’s categorical exclusion, a sweeping expansion of what

 2   should be a narrow exception tailored to a specific federal agency and its mission-specific

 3   undertakings. Id. at §§ 1506.3(d) (2020), 1507.3(f)(5).

 4          237.    The Final Rule authorizes multiple exceptions to the general rule that action may

 5   not be taken to advance a proposal pending finalization of the NEPA process, thereby allowing

 6   agencies and private applicants to commit resources before a decision is made (including without

 7   public comment), and “steamroll” decisions before environmental analysis is complete and the

 8   information shared with the public.

 9          238.    The Final Rule eliminates the requirement that agencies consider both

10   “cumulative” and “indirect” effects from NEPA analysis. Compare 40 C.F.R. § 1508.1(g)(3)

11   (2020) with 40 C.F.R. §§ 1502.16(b) (1978), 1508.25(c), 1508.4, 1508.7, 1508.8, 1508.27(b)(7).

12   Indirect and cumulative effects are critical components of environmental impacts and in many

13   cases, they are the most important issues of concern to the public and other stakeholders. For

14   example, allowing agencies to forgo consideration of cumulative and indirect effects will have

15   profound adverse effects on the environment, particularly on the global climate, which is the

16   ultimate example of indirect effects aggregated into cumulative effects. A robust indirect and

17   cumulative effects analysis is essential to preventing the disproportionate impact of pollution and

18   environmental degradation on people of color and low-income communities.

19          239.    The Final Rule only requires NEPA to consider effects that have a “reasonably

20   close causal relationship” with the proposed action, ruling out effects that are “remote in time

21   and space” or “the product of a lengthy causal chain.” 40 C.F.R. § 1508.1(g) (2020). Terms

22   such as “reasonably close” and “lengthy” were not defined, inviting agencies to ignore decades

23   of judicial and regulatory precedent interpreting the scope of review by claiming that foreseeable

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 1   impacts do not have a “reasonably” close causal relationship to the proposed action. Without any

 2   standard against which to gauge these determinations, public and judicial accountability will be

 3   undermined, and efficiency in agency decision-making will not occur.

 4          240.    The Final Rule adopts a new definition of “reasonably foreseeable” that imports

 5   tort law concepts by linking impacts to what a “person of ordinary prudence” would consider

 6   “likely.” 40 C.F.R. §§ 1508.1(g), (aa) (2020). But federal agencies using NEPA to evaluate

 7   risks and impacts are not “ordinary people:” they purport to be expert agencies applying

 8   technical analysis under standards developed over decades of experience. The new regulation

 9   will allow agencies to ignore impacts that are truly “foreseeable,” simply because they may

10   beyond the ken of an “ordinary” person.

11          241.    The Final Rule limits the scope of NEPA’s application to domestic federal agency

12   actions, regardless of whether those actions have extraterritorial effects. 40 C.F.R. §

13   1508.1(q)(1)(i) (2020). This regulation is inconsistent with NEPA’s statutory directive to

14   “recognize the worldwide and long-range character of environmental problems.”

15          242.    The Final Rule does not require federal agencies to seek out and include

16   information regarding the adverse impacts of federal agency actions, an important departure

17   from the 1978 regulations. 40 C.F.R. § 1502.21 (2020). Instead, the duty to obtain information

18   is waived if the cost of doing so is “unreasonable,” an undefined term that invites abuse and

19   provides no standards against which to evaluate compliance. Id. The Final Rule further asserts

20   that agencies do not need to undertake “new scientific and technical research” to inform an EIS,

21   id. at § 1502.23 (2020), in contravention to decades of precedent identifying the importance of

22   new research when needed to accomplish NEPA’s goals. Without this information, the

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 1   environmental consequences of many federal actions will be unknown, in contravention to the

 2   congressional intent of NEPA.

 3          243.    The Final Rule also limits the discussion of alternatives, which has always

 4   represented the “heart” of the EIS process: indeed, the Final Rule strikes this keystone language

 5   from the 1978 regulations. 40 C.F.R. § 1502.14 (2020). The Final Rule constrains the range of

 6   alternatives considered in an EIS, providing that federal agencies need not consider alternatives

 7   not within the jurisdiction of the lead agency, compare 40 C.F.R. § 1502.14 (2020) with 40

 8   C.F.R. § 1502.14(e) (1978), in contravention of precedent and governing caselaw.

 9          244.    The Final Rule revises the definition of “purposes and need” to highlight the

10   applicant’s preferred project purpose, 40 C.F.R. § 1502.13 (2020), diminishes the role of

11   alternatives, id. at § 1502.14 (2020), and redefines “reasonable alternatives” such that

12   alternatives focus on the needs of the applicant rather than the public and federal agency

13   involved, id. at § 1508.1(z) (2020).

14          245.    The Proposed Rule required contractors to execute a disclosure statement

15   specifying that they have no financial or other interest in the outcome of the project. In one of

16   the only substantive changes to the Proposed Rule, the Final Rule instead requires contractors to

17   submit a disclosure statement to the lead agency that specifies any financial or other interest in

18   the outcome of the action. 40 C.F.R. § 1506.5(b)(4) (2020). Thus, the Final Rule authorizes

19   conflicts of interest, so long as they are disclosed to the federal agency; but there is no

20   requirement that the public be informed of a contractor’s conflict of interest. Id.

21          246.    The Final Rule undermines public participation in the NEPA process, even though

22   public involvement is one of NEPA’s “twin aims.” For example, the Final Rule eliminates a

23   requirement to circulate draft EISs that satisfy NEPA standards, meaning that agencies could

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 1   circulate incomplete or misleading draft EISs that undercut the public’s ability to comment. 40

 2   C.F.R. § 1502.9 (2020). The Final Rule eliminates the scoping process for EAs, an important

 3   step that allows the public to provide comment to federal agencies regarding developing

 4   alternatives for further review. Id. at § 1501.9(a). The Final Rule imposes a 30-day timeline for

 5   comment on Final EISs, even in instances where there are changes in the project considered in a

 6   draft EIS, with no discretion for extensions, id. at § 1506.11, and eliminates a requirement in the

 7   1978 regulations that EISs be available for 15 days before a public hearing, allowing agencies to

 8   schedule hearings without allowing the public meaningful time to review EISs prior to such a

 9   hearing. 40 C.F.R. § 1506.6(c)(2) (1978).

10          247.    The Final Rule imposes obligations on the public to provide technically specific

11   and detailed comments on an agency action, but many commenters, including Plaintiffs, have

12   useful environmental, cultural, social, or other knowledge that should be brought to bear in

13   agency decision-making, but lack the technical knowledge to express that information consistent

14   with the undefined requirements of the Final Rule. 40 C.F.R. § 1503.3 (2020). Commenters

15   must not only provide “data sources and methodologies supporting the proposed changes” to a

16   proposed agency action, but also comment on the “economic and employment impacts” of that

17   change, issues that they may or may not have anything to say, or the expertise and resources to

18   bring to bear. Id. at § 1503.3(a).

19          248.    The Final Rule allows agencies to respond to public comments without detailed

20   explanation and citation to authorities, 40 C.F.R. § 1503.4 (a)(5) (2020), makes responding to

21   comments permissive rather than obligatory by changing “shall” to “may,” id. at § 1503.4 (a),

22   and broadens the agency’s discretion to respond to substantive public comments generically

23   rather than specifically, id. at §§ 1503.4 (a), (a)(5). The Final Rule eliminates the requirement

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 1   that a federal agency “assess and consider” public comments and instead allows a brief summary

 2   of comments, id. at §§ 1503.4(a), § 1502.17, replaces the requirement to assess and consider

 3   comments with a statement “certifying” that the agency “considered” the comments, id. at §

 4   1505.2, and in an effort to shift the burden for judicial review, imposes a “conclusive

 5   presumption” that an agency has considered all comments and other information during the

 6   comment process, id. at § 1505.2(b). Coupled with the changes to the public’s comment

 7   obligations, these changes raise the bar for the public in commenting during the NEPA process

 8   while lowering the bar for agencies to respond to those comments.

 9              249.   The Final Rule imposes arbitrary and unworkable page and time limits, which

10   will undermine the NEPA process and increase conflict and litigation around NEPA reviews

11   rather than promoting efficiency. 40 C.F.R. §§ 1501.5(f) (2020), § 1501.10, § 1502.7, §

12   1508.1(v).

13              250.   The Final Rule redefines “final agency action” for purposes of APA review to

14   limit reviews of NEPA compliance where no “record of decision” or formal decision document

15   is created, for example, where an agency fails to undertake an otherwise required environmental

16   analysis (e.g., a failure to act). 40 C.F.R. § 1508.1(q)(1)(iii) (2020). The effort is contrary to

17   settled precedent and serves only to unlawfully constrain judicial review.

18              251.   Contrary to judicial precedent disfavoring the practice, the Final Rule allows

19   agencies to impose “bond and security” requirements on plaintiffs seeking administrative and

20   judicial review of agency decisions. 40 C.F.R. § 1500.3(c) (2020). Plaintiffs will be required to

21   divert organizational assets in order to participate in a public review process guaranteed by

22   statute.

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 1          252.    The Final Rule states that “it is the Council’s intention that the regulations ...

 2   create no presumption that violation of NEPA is a basis for injunctive relief or for a finding of

 3   irreparable harm” and that “it is also the Council’s intention that minor, nonsubstantive errors

 4   that have no effect on agency decision-making shall be considered harmless and shall not

 5   invalidate an agency action.” 40 C.F.R. § 1500.3(d). The Final Rule misstates current law, and

 6   impinges upon the role of the judiciary to assess whether a party has demonstrated irreparable

 7   harm and whether a legal violation is “harmless error.”

 8          253.    The Final Rule is a sweeping alteration of the legal framework for environmental

 9   review and public engagement.

10          254.    The effective date of the Final Rule is September 14, 2020.

11          255.    The Final Rule states that “No more than 12 months after September 14, 2020 ...

12   each agency shall develop or revise, as necessary, proposed procedures to implement the

13   regulations in this subchapter, including to eliminate any inconsistencies with the regulations in

14   this subchapter ... Except for agency efficiency (see paragraph (c) of this section) or as otherwise

15   required by law, agency NEPA procedures shall not impose additional procedures or

16   requirements beyond those set forth in the regulations in this subchapter.” 40 C.F.R. §

17   1507.3(b).

18                                         CLAIMS FOR RELIEF

19                                      FIRST CLAIM FOR RELIEF

20      Violation of the National Environmental Policy Act and the Administrative Procedure Act:
                                     Failure to Prepare an EA or EIS
21
            256.    Plaintiffs re-allege, as if fully set forth herein, every allegation contained in the
22
     preceding paragraphs.
23

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 1             257.   NEPA is America’s “basic national charter for protection of the environment.” 40

 2   C.F.R. § 1500.1 (1978). NEPA requires all agencies of the federal government to prepare a

 3   “detailed statement” analyzing the environmental effects of, and reasonable alternatives to, all

 4   “major Federal actions significantly affecting the quality of the human environment.” 42 U.S.C.

 5   § 4332(2)(C). This statement is commonly known as an environmental impact statement.

 6             258.   Under the CEQ regulations in effect while CEQ considered, proposed, and

 7   promulgated the Final Rule, a “major federal action” upon which an EIS may be required

 8   included “new or revised agency rules [and] regulations.” 40 C.F.R. § 1508.18(a) (1978). The

 9   environmental effects that must be considered in an EIS include “indirect effects, which are

10   caused by the action and are later in time or farther removed in distance, but are still reasonably

11   foreseeable,” as well as direct effects. 40 C.F.R. § 1508.8 (1978). An EIS must also consider

12   the cumulative impacts of the proposed action, that is, the environmental impacts that result

13   “from the incremental impact of the action when added to other past, present, and reasonably

14   foreseeable future actions.” 40 C.F.R. § 1508.7 (1978); see also 40 C.F.R. § 1508.27(b)(7)

15   (1978).

16             259.   The purpose of an EIS is to inform federal agency decision-makers as well as the

17   public of the significant environmental impacts of the proposed action, means to mitigate those

18   impacts, and reasonable alternatives that may have reduced environmental effects.

19             260.   CEQ is a federal agency subject to NEPA.

20             261.   CEQ’s issuance of the Final Rule is a “major federal action significantly affecting

21   the quality of the human environment.” 42 U.S.C. § 4332(2)(C).

22             262.   In issuing the Final Rule, CEQ did not prepare an EA, EIS, or any NEPA

23   documentation at all. Responding to the fact that CEQ prepared “special environmental

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 1   assessments” for the original 1978 regulations and 1986 amendment, CEQ noted that “long-prior

 2   voluntary decisions do not forever establish that CEQ has an obligation to apply the CEQ’s

 3   regulations to changes to those regulations.” 85 Fed. Reg. at 43,353. Instead, CEQ insisted that

 4   because the Final Rule “would not authorize any activity or commit resources to a project that

 5   may affect the environment,” preparation of an EA or EIS was not required. Id. at 43,354. CEQ

 6   also stated that preparing an EA for the Final Rule “would not meaningfully inform CEQ or the

 7   public,” and that there was no precedent for applying the 1978 regulations “to a rule that revises

 8   those same regulations.” Id.

 9          263.    Because the Final Rule is a major federal action significantly affecting the quality

10   of the human environment within the meaning of 42 U.S.C. § 4332(2)(C), CEQ violated NEPA

11   by failing to prepare and circulate either an EA or an EIS for public comment prior to the

12   publication of the Final Rule. Public comments on the Proposed Rule, including comments

13   submitted by Plaintiffs, highlighted the significant environmental impact that will result from

14   CEQ’s decision to adopt the Final Rule. For example, the Final Rule will have a significant

15   environmental impact because it substantially reduces the scope and applicability of NEPA to

16   meet the explicit goal of expediting development and resource extraction projects as directed by

17   EO 13807. Indeed, CEQ promulgated the Final Rule to achieve EO 13807’s mandate to

18   streamline federal approvals for consequential, high-impact projects like pipelines and energy

19   generation, production, and transmission projects. Assuming that the premise of the Final Rule

20   is correct—that the Final Rule will expedite the approval and construction of many such projects

21   with potential significant environmental impacts—then it unavoidably follows that the Final

22   Rule itself will have significant environmental impacts that CEQ must consider in an EIS or, at

23   the very least, an EA.

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 1          264.    Consistent with NEPA, an EIS, or at least an EA, on the Final Rule should have

 2   considered the adverse environmental and health impacts of replacing the 1978 regulations with

 3   the Final Rule and identified alternative approaches that could meet the objectives of the

 4   rulemaking without significant environmental impacts.

 5          265.    To satisfy NEPA, an EA or EIS on the Final Rule should also have analyzed the

 6   environmental justice impacts of abandoning the 1978 regulation’s robust standards for

 7   environmental analysis. Environmental justice communities are disproportionately affected by

 8   pollution and other environmental and health hazards. These communities have the most to lose

 9   from the truncated NEPA process set forth in the Final Rule that narrows NEPA’s applicability,

10   ignores cumulative and indirect impacts, reduces the range of alternatives, and raises the bar for

11   both public participation and judicial review.

12          266.    Consideration of the environmental justice implications of the Final Rule is

13   required both by NEPA and EO 12898.

14          267.    An EA or EIS on the Final Rule should have been prepared that would also have

15   assessed the impact of the Final Rule on efforts to limit greenhouse gas emissions that contribute

16   to global climate change, as well as efforts to evaluate how a changing climate affects proposed

17   projects that are under review. As noted above, the Final Rule limits the requirement that federal

18   agencies consider the climate-related effects of their actions. This is a significant impact that

19   NEPA required CEQ to assess in an EA or EIS.

20          268.    An EA or EIS on the Final Rule should have been prepared that considered the

21   extent to which the Final Rule’s changes will affect agencies’ ability to take other cumulative

22   effects into consideration in their decision-making. Agencies such as the U.S. Army Corps of

23   Engineers, U.S. Forest Service, BLM, and others make decisions that individually may not have

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 1   significant impacts but that cumulatively have such impacts in conjunction with other federal,

 2   state, local, and private actions. By precluding these agencies from considering such impacts in

 3   their NEPA decision-making, the Final Rule will have a significant adverse environmental

 4   impact that should have been considered in an EA or EIS.

 5          269.    CEQ’s promulgation of the Final Rule without preparing an EA or EIS that: (a)

 6   examines a reasonable range of alternatives; (b) has a statement of purpose and need that

 7   corresponds to the agencies’ proposed action; (c) identifies the correct no action alternative

 8   baseline for comparing and assessing direct, indirect, and cumulative environmental effects; (d)

 9   uses high quality scientific information; and (e) examines the overarching direct, indirect, and

10   cumulative environmental effects of the Final Rule is arbitrary, capricious, an abuse of

11   discretion, and otherwise not in accordance with law, in violation of NEPA and the APA, 5

12   U.S.C. § 706(2).

13                                    SECOND CLAIM FOR RELIEF

14        Violation of the National Environmental Policy Act and Administrative Procedure Act:
                             Failure to Review Environmental Justice Impacts
15
            270.    Plaintiffs re-allege, as if fully set forth herein, every allegation contained in the
16
     preceding paragraphs.
17
            271.    In adopting NEPA, Congress placed environmental justice concerns at the core of
18
     the statute by recognizing that each person “should enjoy a healthful environment” and by
19
     premising the entire requirement for an environmental impact statement on “major Federal
20
     actions significantly affecting the quality of the human environment.” 42 U.S.C. § 4332(C)
21
     (emphasis added).
22
            272.    Beginning with Executive Order 12898 in 1994 and continuing with CEQ’s 1997
23
     “Environmental Justice Guidance under the National Environmental Policy Act” Guidance and
24

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 1   the 2016 Federal Interagency Working Group report “Promising Practices for EJ Methodologies

 2   in NEPA Reviews,” CEQ has developed longstanding policies and practices that rely on

 3   advancing environmental justice through NEPA.

 4          273.    In the Final Rule, CEQ acknowledged that it was required to analyze the effect of

 5   its proposal on Executive Order 12898, and asserted that it “analyzed this final rule and

 6   determined that it would not cause disproportionately high and adverse human health or

 7   environmental effects on minority populations and low-income populations.” 85 Fed. Reg. at

 8   43,356. CEQ failed to provide factual support for this assertion.

 9          274.    Nothing in the Final Rule provides rational reasons for departing from CEQ’s

10   longstanding policy and practice of fully analyzing the environmental justice impacts of its

11   actions through a NEPA review. Many provisions in the Final Rule will have a disparate and

12   adverse impact on communities of color and low-income communities. These provisions include

13   but are not limited to imposing arbitrary page limits, redefining “major federal action,” striking

14   required cumulative impact analysis, authorizing the imposition of a bond requirement to

15   participate in the NEPA process, and allowing collective responses to public comments.

16          275.    CEQ claimed that environmental justice effects should be analyzed only at the

17   point of action agency project implementation, 85 Fed. Reg. at 43,356. To the contrary, CEQ

18   has an obligation under NEPA and the 1978 implementing regulations to assess environmental

19   justice impacts in its rulemaking, especially when considering changes to longstanding

20   regulations that, among other changes that will disproportionately affect environmental justice

21   communities, eliminate requirements to consider indirect and cumulative impacts on

22   overburdened communities that already bear disproportionate impacts of past harmful actions.

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 1          276.    NEPA has been an essential mechanism for ensuring that disenfranchised and

 2   underrepresented communities have voice in major federal actions. The sweeping changes in the

 3   Final Rule will fundamentally alter nearly every step of the NEPA review process, and yet

 4   because CEQ did not engage in a NEPA analysis of the Final Rule, there is no explanation or

 5   analysis of how the development and implementation of the Final Rule will affect

 6   implementation of Executive Order 12898; if the Final Rule is consistent with CEQ’s 1997

 7   environmental justice guidance; or how the Final Rule will affect environmental justice

 8   communities themselves. CEQ acknowledged that commenters raised these issues, 85 Fed. Reg.

 9   at 43,356, but insisted that the Final Rule would not result in any adverse environmental impacts.

10   Final Rule Response to Comments (June 30, 2020) at 34.

11          277.    CEQ’s decision to adopt the Final Rule without analyzing how the Rule and its

12   implementation would affect the environmental justice mandates in Executive Order 12898, how

13   the Final Rule affects with CEQ’s 1997 environmental justice guidance, or how the Final Rule

14   will affect environmental justice communities themselves is arbitrary, capricious, an abuse of

15   discretion, and otherwise not in accordance with law, in violation of NEPA and the APA, 5

16   U.S.C. § 706(2).

17                                     THIRD CLAIM FOR RELIEF

18        Violation of the National Environmental Policy Act and Administrative Procedure Act:
                            CEQ’s Arbitrary and Capricious Decision-Making
19
            278.    Plaintiffs re-allege, as if fully set forth herein, every allegation contained in the
20
     preceding paragraphs.
21
            279.    CEQ’s issuance of the Final Rule is a “final agency action” subject to judicial
22
     review under the APA. 5 U.S.C. § 704.
23

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 1          280.       The APA provides that courts must “hold unlawful and set aside agency action,

 2   findings, and conclusions found to be … arbitrary, capricious, an abuse of discretion, or

 3   otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A).

 4          281.       The Supreme Court has clarified that an agency action is arbitrary and capricious

 5   for purposes of the APA “if the agency has relied on factors which Congress has not intended it

 6   to consider, entirely failed to consider an important aspect of the problem, offered an explanation

 7   for its decision that runs counter to the evidence before the agency, or is so implausible that it

 8   could not be ascribed to a difference in view or the product of agency expertise.” Motor Vehicles

 9   Mfrs v. State Farm, 463 U.S. 29, 43 (1983). The agency “must examine the relevant data and

10   articulate a satisfactory explanation for its action including a rational connection between the

11   facts found and the choice made.” Id. Moreover, “an agency changing course” is “obligated to

12   supply a reasoned analysis for the change” beyond what would be required if the agency were

13   operating on a clean slate. Id. at 42; see also Organized Vill. of Kake v. U.S. Dep’t of

14   Agriculture, 795 F.3d 956, 968 (9th Cir. 2015) (“[E]ven when reversing a policy after an

15   election, an agency may not simply discard prior factual findings without a reasoned

16   explanation.”).

17          282.       When an agency issues a regulation changing or amending a prior regulation, it

18   faces an even higher burden. The agency must demonstrate that: (1) a new rule is permissible

19   under the statute; (2) there are good reasons for the change; (3) the agency believes it to be

20   better; and (4) the agency displays awareness that it is changing its position. F.C.C. v. Fox

21   Television Stations, Inc,, 556 U.S. 502, 514-16 (2009) (Fox). When a new regulation rests upon

22   a factual finding contrary to prior policy, an agency must provide a more detailed justification

23   than what would suffice if the new policy were created on a blank slate. An unexplained

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 1   inconsistency between the prior rule and its replacement is a basis for finding the agency’s

 2   interpretation arbitrary and capricious. Nat’l Cable & Telecomms. Ass’n v. Brand X Internet

 3   Servs., 545 U.S. 967, 981 (2005). Furthermore, when an agency reverses course and chooses a

 4   new policy direction, it must address how the new policy affects other parties who have relied

 5   upon the old policy to meet their legal obligations; and failing to take account of legitimate

 6   reliance interests is arbitrary and capricious. Fox, 556 U.S. at 515-16; Smiley v. Citibank (South

 7   Dakota), N.A., 517 U.S. 735, 742, (1996); Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117,

 8   2125-26 (2016).

 9          283.    In issuing the Final Rule, CEQ violated these fundamental standards. CEQ failed

10   to make a rational connection between the facts in the record, including comments submitted by

11   Plaintiffs, and the conclusions it made in the text of the Final Rule, and/or failed to consider an

12   important aspect of the problem, and/or relied on factors that it should not have considered.

13          284.    Promulgation of the Final Rule is also unlawful because CEQ failed to provide a

14   rational explanation for changes in its longstanding agency practice. For example, the Final Rule

15   glossed over the significance of the many changes to longstanding statutory and judicial

16   interpretation and packages the Final Rule as “streamlining” and “efficiency” without providing

17   support in the record for these changes. In fact, the Final Rule will achieve the exact opposite of

18   its goals, by creating conflict with governing case law, agency regulations and guidance, and

19   longstanding practices that the public, decision-makers, and the courts have relied upon for the

20   past four decades. Conflicts like these will slow NEPA implementation, sow public and agency

21   confusion, and increase litigation, undermining the very goals of efficiency that the Final Rule

22   claimed to seek to implement.

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 1          285.    The Final Rule is arbitrary, capricious, and not in accordance with law, in

 2   violation of the APA, 5 U.S.C. § 706(2).

 3                                    FOURTH CLAIM FOR RELIEF

 4          Violation of National Environmental Policy Act and Administrative Procedure Act:
                                  CEQ Exceeded Its Delegated Authority
 5
            286.    Plaintiffs re-allege, as if fully set forth herein, every allegation contained in the
 6
     preceding paragraphs.
 7
            287.    CEQ is a federal agency delegated authority to implement NEPA, including by
 8
     promulgating interpretive regulations.
 9
            288.    As part of this authority, CEQ may define terms found in NEPA, provided it is
10
     consistent with congressional intent and the purposes of the Act. CEQ may also develop
11
     procedures to guide implementation of NEPA.
12
            289.    CEQ cannot adopt regulations that are manifestly contrary to the text and purpose
13
     of NEPA.
14
            290.    Both individually and collectively, provisions in the Final Rule are contrary to
15
     law and the plain language and purpose of NEPA.
16
            291.    For example, the Final Rule exceeds CEQ’s delegated authority by purporting to
17
     determine whether a party has standing to go to court and challenge violations of NEPA, the
18
     presumptions courts apply in such cases, and other matters that are the province of the judiciary.
19
            292.    Similarly, the Final Rule exceeds CEQ’s delegated authority and violates NEPA
20
     by authorizing agencies to create bonding and other security requirements as a condition for
21
     public participation in the NEPA process. In enacting NEPA, Congress sought to increase public
22
     participation and input into agencies’ analysis of environmental impacts. The Final Rule’s
23
     bonding requirements impede congressional intent and the purposes of NEPA.
24

25                                                                              Earthjustice
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 1          293.    The Final Rule also dramatically alters the parameters regarding exhaustion of

 2   administrative remedies, stating that “comments or objections of any kind not submitted,

 3   including those based on submitted alternatives, information, and analyses, shall be forfeited as

 4   unexhausted.” While the principles of administrative exhaustion are well known, exceptions to

 5   the principle exist within the case law, such as when an issue arises after the administrative

 6   process about which a party was unaware and therefore could not have commented; the Final

 7   Rule impermissibly purports to preclude this well-known exception.

 8          294.    Likewise, the Final Rule states that “it is the Council’s intention that the

 9   regulations ... create no presumption that violation of NEPA is a basis for injunctive relief or for

10   a finding of irreparable harm” and that “it is also the Council’s intention that minor, non-

11   substantive errors that have no effect on agency decision-making shall be considered harmless

12   and shall not invalidate an agency action.” The Final Rule is based on an erroneous and

13   incomplete reading of case law, and impinges upon the role of the judiciary to assess whether a

14   party has demonstrated irreparable harm and whether a legal violation is “harmless error.”

15          295.    Moreover, while CEQ has been delegated an interpretive and implementation role

16   under NEPA, other agencies have been given no such role. NEPA is a “good government”

17   statute that regulates, constrains, and imposes obligations on such federal agencies. The Final

18   Rule purports to authorize federal agencies to self-certify their NEPA compliance that will be

19   given a conclusive presumption of compliance by federal courts. This provision exceeds CEQ’s

20   authority under NEPA and intrudes into the province of the judiciary.

21          296.    These and other provisions of the Final Rule are inconsistent with the plain

22   language of NEPA as interpreted by longstanding judicial precedent.

23

24

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 1          297.    The Final Rule is arbitrary, capricious, and not in accordance with law, in

 2   violation of the APA, 5 U.S.C. § 706(2).

 3                                      FIFTH CLAIM FOR RELIEF

 4                          Violation of the Administrative Procedure Act:
                   CEQ Invalidly Attempted To Amend Thresholds for Judicial Review
 5
            298.    Plaintiffs re-allege, as if fully set forth herein, every allegation contained in the
 6
     preceding paragraphs.
 7
            299.    Congress enacted the APA to establish procedures agencies must follow in
 8
     promulgating rules. The APA is applicable to all federal agencies.
 9
            300.    CEQ does not have unique authority or expertise in interpreting the applicability
10
     of the APA, and CEQ cannot amend the APA’s statutory thresholds for judicial review through a
11
     rulemaking.
12
            301.    The Final Rule attempts to eliminate the APA’s failure to act cause of action by
13
     narrowing the definition of “major federal action” such that the NEPA process would not apply
14
     to where a responsible agency official fails to act.
15
            302.    In the APA, Congress provided a cause of action for an agency’s failure to act. 5
16
     U.S.C. § 551(13). The APA causes of action apply when there is no other adequate remedy at
17
     law. The Final Rule unlawfully purports to eliminate this cause of action.
18
            303.    The Final Rule states that it “create[s] no presumption that violation of NEPA is a
19
     basis for injunctive relief or for a finding of irreparable harm,” yet in the APA Congress
20
     provided that courts shall hold unlawful and set aside agency actions, findings, and conclusions
21
     that are arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law or
22
     in excess of statutory jurisdiction, authority, or limitations. 5 U.S.C. § 706(2)(A) & (C).
23

24

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 1          304.    The Final Rule is arbitrary, capricious, not in accordance with law and in excess

 2   of statutory jurisdiction and authority, in violation of the APA, 5 U.S.C. § 706(2).

 3                                     SIXTH CLAIM FOR RELIEF

 4           Violation of the Endangered Species Act and the Administrative Procedure Act:
                        Failure to Consult Under ESA Section 7 on the Final Rule
 5
            305.    Plaintiffs re-allege, as if fully set forth herein, every allegation contained in the
 6
     preceding paragraphs.
 7
            306.    Section 7(a)(2) of the ESA requires that each federal agency, in consultation with
 8
     the U.S Fish and Wildlife Service (“FWS”) and/or the National Marine Fisheries Service
 9
     (“NMFS”), ensure that any action authorized, funded, or carried out by the agency is not likely to
10
     jeopardize the continued existence of any threatened or endangered species or result in the
11
     destruction or adverse modification of critical habitat of such species. 16 U.S.C. § 1536(a)(2).
12
     “Action is defined to include the promulgation of regulations; actions that may directly or
13
     indirectly cause modifications to the land, water, or air; and actions that are intended to conserve
14
     listed species or their habitat.” 50 C.F.R. § 402.02.
15
            307.    If a federal agency, including CEQ, determines that its proposed action “may
16
     affect” listed species or critical habitat, the agency must engage in “formal consultation” with
17
     FWS and/or NMFS, depending on the species involved. 50 C.F.R. § 402.14. Courts have
18
     recognized that the “may affect” hurdle is extremely low, encompassing any possible effect,
19
     whether beneficial, benign, adverse, or of an undetermined character.
20
            308.    Formal consultation concludes with the preparation of a biological opinion by
21
     FWS and/or NFMS addressing whether the proposed action will jeopardize threatened or
22
     endangered species or result in the destruction or adverse modification of critical habitat and
23
     setting forth any necessary measures for avoiding, minimizing, and mitigating any adverse
24

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 1   impacts. 16 U.S.C. § 1536(b). An action agency may avoid formal consultation by engaging in

 2   “informal consultation” with FWS and/or NMFS and obtaining a written concurrence that the

 3   project is not likely to adversely affect threatened or endangered species or critical habitat. 50

 4   C.F.R. § 402.13(a).

 5          309.    CEQ’s issuance of the Final Rule required consultation under the ESA. The Final

 6   Rule substantially weakened the environmental review process in many ways that affect listed

 7   species and their habitat, including by allowing federal agencies to: (1) disregard and/or

 8   inadequately analyze direct, indirect, and cumulative impacts of proposed projects; (2) establish

 9   arbitrary time limits on the completion of EAs and EISs, truncating and reducing the quality of

10   those reviews; (3) gather no new data when preparing completing environmental reviews; (4)

11   undercut the importance of analyzing a range of reasonable alternatives; and (5) significantly

12   expand the use of categorical exclusions when in fact adverse environmental impacts are likely.

13          310.    CEQ did not consult on the Final Rule under the ESA. Instead, CEQ concluded

14   that the Final Rule had “no effect” on threatened and endangered species and critical habitat.

15          311.    The lack of cumulative and indirect effects analysis particularly harms threatened

16   and endangered species that depend on rivers and whose habitat quality is linked to climate

17   change. Over 50 listed species may be adversely affected by the Final Rule as a result of the lack

18   of an analysis of the cumulative and/or indirect climate and water quality effects on these species

19   including, but not limited to, California red-legged frogs, Southern resident killer whales, polar

20   bears, Northern California steelhead, and Southern Oregon/Northern California coast coho

21   salmon.

22          312.    The elimination of cumulative impacts analysis under NEPA is especially harmful

23   to these species because the cumulative impacts analysis under the prior CEQ regulations was

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 1   broader than that conducted pursuant to the ESA itself. NEPA review under the prior CEQ

 2   regulations was not the “substantial equivalent” of the analysis of listed species impacts required

 3   by the ESA, and its elimination will hinder the ability of federal agencies to take cumulative effects

 4   on species into consideration when making decisions regarding particular activities and projects.

 5          313.    The Final Rule may affect listed species and critical habitat in other ways as well,

 6   including by eliminating the consideration of species and critical habitat impacts as a specific

 7   significance criterion (for purpose of analyzing whether an EIS is necessary), and by eliminating

 8   the requirement that additional surveys and studies be undertaken and additional information be

 9   obtained when necessary to adequately analyze an action’s impacts.

10          314.    ESA Section 7(d) provides that after federal agencies initiate consultation on an

11   action under Section 7(a)(2), but prior to completion of consultation, the agencies “shall not

12   make any irreversible or irretrievable commitment of resources with respect to the agency action

13   which has the effect of foreclosing the formulation or implementation of any reasonable and

14   prudent alternative measures which would not violate subsection (a)(2) of this section.” 16 U.S.

15   C. § 1536(d). The purpose of Section 7(d) is to maintain the environmental status quo pending

16   the completion of consultation. By failing to consult with the Services, CEQ has guaranteed that

17   some land, water, and air will be degraded or destroyed without the possibility that a reasonable

18   and prudent measure could ever be implemented to protect a listed species or its critical habitat

19   because CEQ has improperly foreclosed the possibility of consultations in the rule.

20          315.    The failure of CEQ to consult on the Final Rule that clearly “may affect” ESA-

21   listed species and critical habitat, is arbitrary, capricious, contrary to the ESA, and in violation of

22   the APA, 5 U.S.C. § 706(2)(A).

23                                         PRAYER FOR RELIEF

24          Plaintiffs respectfully request that the Court:

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 1             (1)     Declare that federal defendants acted arbitrarily, capriciously, and contrary to

 2   NEPA, in violation of the APA, 5 U.S.C. § 706(2), by failing to prepare an EA or EIS on the

 3   Final Rule, and by failing to evaluate alternatives to, and the full direct, indirect, and cumulative

 4   impacts of, the Final Rule;

 5             (2)     Declare that federal defendants acted arbitrarily, capriciously, and contrary to law

 6   by failing to analyze how the Final Rule and its implementation would affect the directive of

 7   Executive Order 12898 and CEQ’s longstanding policy and practice of fully analyzing the

 8   environmental justice impacts of its actions;

 9             (3)     Declare that federal defendants violated NEPA and the APA by issuing

10   regulations that are inconsistent with the statutory purpose and language of NEPA;

11             (4)     Declare that federal defendants acted in excess of statutory authority by issuing

12   the Final Rule;

13             (5)     Declare that federal defendants violated Section 7 of the ESA by issuing the Final

14   Rule without first consulting with FWS and NMFS on the Rule’s effects on listed species and

15   their critical habitat;

16             (6)     Hold unlawful and vacate the Final Rule, reinstating the 1978 regulations, as

17   amended, in place prior to the enactment of the Final Rule;

18             (7)     Enjoin federal defendants from implementing, enforcing, or relying upon the

19   Final Rule;

20             (8)     Award Plaintiffs their reasonable fees, costs, and expenses, including attorneys’

21   fees; and

22             (9)     Grant Plaintiffs such further and additional relief as the Court may deem just and

23   proper.

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 1         DATED this 6th day of October, 2020.

 2                                           Respectfully submitted,

 3                                           s/ Kristen L. Boyles
                                             KRISTEN L. BOYLES (CSBA # 158450)
 4                                           JAN E. HASSELMAN (WSBA # 29017)
                                             [Admitted Pro Hac Vice]
 5                                           EARTHJUSTICE
                                             810 Third Avenue, Suite 610
 6                                           Seattle, WA 98104
                                             (206) 343-7340
 7                                           kboyles@earthjustice.org
                                             jhasselman@earthjustice.org
 8
                                             SUSAN JANE M. BROWN (OSBA # 054607)
 9                                           [Admitted Pro Hac Vice]
                                             WESTERN ENVIRONMENTAL LAW CENTER
10                                           4107 N.E. Couch St.
                                             Portland, OR 97232
11                                           (503) 914-1323
                                             brown@westernlaw.org
12
                                             Attorneys for Plaintiffs
13
                                             GREGORY C. LOARIE (CSBA # 215859)
14                                           EARTHJUSTICE
                                             50 California Street, Suite 500
15                                           San Francisco, CA 94111
                                             (415) 217-2000
16                                           gloarie@earthjustice.org

17                                           Local Counsel for Plaintiffs

18

19

20

21

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25                                                                      Earthjustice
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 1                                      CERTIFICATE OF SERVICE

 2          I hereby certify that on October 6, 2020, I electronically filed the foregoing document

 3   with the Clerk of the Court using the CM/ECF system, which will send notification of this filing

 4   to the attorneys of record and all registered participants.

 5   Dated: October 6, 2020                         s/ Kristen L. Boyles
                                                    KRISTEN L. BOYLES (CSBA # 158450)
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25                                                                           Earthjustice
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                EXHIBIT 
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                                                                             September 29, 2023

The Honorable Brenda Mallory
Chair, Council on Environmental Quality
730 Jackson Place, N.W.
Washington, D.C. 20503

Re: Docket Number 2023-0003

Dear Chair Mallory:

This letter represents the collective comments of 83 organizations representing millions of
members and supporters regarding the proposed Phase 2 regulations implementing the National
Environmental Policy Act (NEPA). Our members care deeply about and participate in the
environmental impact assessment process mandated by NEPA. Some of our organizations will
also be submitting additional comments.

We are pleased to see the restatement of many core principles of NEPA compliance that had
been deleted or diminished in the 2020 regulatory revisions. We applaud many of the new
provisions, such as those related to climate change, environmental justice and tribal
governments, alternatives, and mitigation. We recognize that certain provisions included in the
proposed regulations are required by the Fiscal Responsibility Act of 2023 (FRA). We also have
concerns about some of the proposed provisions and recommendations for improvements. 1

    I.   REGULATORY PROPOSALS THAT RECOGNIZE NEPA’S STATUTORY
         PURPOSE AND DIRECTION.

The Council on Environmental Quality’s (CEQ) proposal to reinstate many of NEPA’s core
concepts throughout the implementing regulations is appropriate and welcome. Many of the
changes made in the 2020 regulations reflected an erroneous view that the NEPA process is
merely a paperwork exercise with minimal connection to substantive environmental protection.
That flawed premise ignores the fundamental purpose of NEPA as clearly stated in the Act:

         To declare a national policy which will encourage productive and enjoyable
         harmony between man and his environment; to promote efforts which will prevent
         or eliminate damage to the environment and biosphere and stimulate the health and
         welfare of man; to enrich the understanding of the ecological systems and natural
         resources important to the Nation; and to establish a Council on Environmental
         Quality. 2



1
  As our comments reference three sets of CEQ’s NEPA regulations, we have identified them
using the following format: proposed regulations: “Proposed Section 40 C.F.R. 1500.1;”
existing regulations: “40 C.F.R. § 1500.1 (2020);” and original regulations: “40 C.F.R. § 1500.1
(1979).”
2
  42 U.S.C. § 4321.
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                                                                                                     2

We commend CEQ for reinvigorating the regulations in a manner that educates both
implementing agencies and the public about this bedrock law that articulates this country’s
national environmental policies and provides a process for achieving them. While the national
goals that NEPA establishes are a long way from being realized, the proposed regulations
generally do a good job of setting the stage for improved agency decisionmaking in a way that
comports with the law’s purpose.

In that regard, we support the proposed revisions to Part 1500, “Purpose and Policy.” The
proposed revisions make clear the linkages between our national environmental policies and the
NEPA process, 3 emphasize federal agencies’ responsibilities to interpret and administer their
policies and regulations and authorizing legislation in accordance with NEPA’s policies and the
CEQ regulations, 4 and restore the mandate to comply with the Act “to the fullest extent
possible.” 5 The linkage between NEPA’s policies and process is further strengthened by
proposed Section 1502.14(f) which would require agencies to identify the environmentally
preferable alternative or alternatives in an EIS and by defining the environmentally preferable
alternative(s) as the one that would best promote the national environmental policies set forth in
Title 101 of NEPA. 6

We also support the proposed repeal of several current provisions in that section, such as current
§ 1500.1, which states that the purpose and function of NEPA is satisfied if the agencies consider
information that is presented through the environmental impact assessment process and if the
public is informed of the process. In fact, the purpose of NEPA is not just to consider
information – even good quality information – but to act on it. And the public wishes to
participate in the process, not just be informed. Further, we support the proposed rescission of
current § 1500.3 and the provisions throughout the current regulations that, in our collective
view, inappropriately attempt to give direction to federal courts regarding causes of action and
defenses, bonds, ripeness, and other issues associated with litigation.

    II.   CLIMATE CHANGE EFFECTS.

Climate change is the overarching environmental issue of our time. It has been clear for many
years that federal agencies have an obligation to assess climate impacts under NEPA. 7 Proposed
Section 1500.2(e)’s direction to identify and analyze reasonable alternatives that would reduce
climate change-related effects provides a much-needed linkage between the NEPA process and
the statute’s purpose. Similarly, the proposed revision to Section 1502.14(f), explaining that the


3
  National Environmental Policy Act Implementing Regulations Revisions Phase 2, 88 Fed. Reg.
49924, 49967-49968 (July 31, 2023).
4
  Id.
5
  Id. at 49968.
6
  Id. at 49977.
7
  See, e.g., Sierra Club v. FERC, 867 F.3d 1357 (D.C. Cir. 2017); Wild Earth Guardians v.
Bureau of Land Mgmt., 870 F.3d 1222 (10th Cir. 2017); Ctr. for Biological Diversity v. Nat’l
Highway Traffic Safety Admin., 538 F.3d 1172 (9th Cir. 2008); Mid-States Coal. for Progress v.
Surface Transp. Bd., 345 F.3d 520 (8th Cir. 2003); City of Los Angeles v. Nat’l Highway Traffic
Safety Admin., 912 F.2d 478 (D.C. Cir. 1990).
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                                                                                                  3

environmentally preferable alternative or alternatives are those that would best promote NEPA’s
policies by, for example, addressing climate change is an important step in the right direction.

We also strongly support the proposed revision to the requirements for the description of the
“affected environment” in Section 1502.15, identifying the requirement to include anticipated
climate-related changes to the environment and steps to take when that information is not readily
available. Analysis of proposed actions without including such information can no longer be
considered adequate (or in NEPA parlance, a “hard look”) given our rapidly changing
environment and improved scientific capacity. 8 Proposed Section 1502.16(a)(7)’s charge to
agencies to analyze reasonably foreseeable climate change-related effects of both the proposed
action and alternatives and on the proposed action and alternatives reflects long-standing law. 9
We also support the references to climate change-related effects in the definition of “effects” and
“extraordinary circumstances” in proposed Sections 1508.1(g), (m).

Finally, CEQ invited comment on whether it should codify any, or all, of its 2023 National
Environmental Policy Act Guidance on Consideration of Greenhouse Gas Emissions and
Climate Change, issued in interim final form earlier this year. 10 We urge CEQ to issue that
guidance in final form as soon as feasible. We especially underscore the need to provide the
recommended additional guidance on two climate issues and consider including relevant
direction in the regulations themselves. Those two issues are perfect substitution analysis and
comparisons to national and global greenhouse gas emissions (GHG).

In regard to perfect substitution analysis, despite CEQ’s strong warning in its 2023 interim final
guidance, 11 we continue to see agencies rely on this highly flawed theory to justify lack of an
adequate analysis of climate effects. For a very current example, please consider the August
2023 Bureau of Land Management’s draft supplemental EIS (DSEIS) for a draft Resource
Management Plan in the Colorado River Valley planning area. In the DSEIS, the Bureau of
Land Management (BLM) has proffered a “perfect substitution analysis” in the context of oil and
gas demand, contending that supply will be met somewhere anyway (hence perfect substitution),
so why not concentrate that supply in the United States and in this case, Colorado, because it has
a stricter regulatory scheme than many other possible locations. 12


8
  For example, see Steven Amstrup and Cecila Blitz, Unlock the Endangered Species Act to
Address GHG Emissions, 381 Science 949 (2023) for discussion of casual connection between
current (as opposed to atmospheric) greenhouse gas emissions and polar bear recruitment.
9
  Supra note 7.
10
   National Environmental Policy Act Guidance on Consideration of Greenhouse Gas Emissions
and Climate Change, 88 Fed. Reg. 1196 (Jan. 9, 2023) [hereinafter Interim Final Guidance];
Letter from Ctr. for Biological Diversity et al to The Honorable Brenda Mallory (April 10, 2023)
(Attachment 1).
11
   Interim Final Guidance, supra note 10, at 1205.
12
   See Bureau of Land Mgmt., Draft Resource Mgmt. Plan: Supplemental Environmental Impact
Statement: Colorado River Valley Field Office and Grand Junction Field Office at 3-20, 3-21
(Aug. 2023), available at
https://eplanning.blm.gov/public_projects/2016085/200525292/20083156/250089338/CRVFO_
GJFO_Draft_SEIS_2023_Aug.pdf
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                                                                                                   4



To address this continuing problem, we suggest that CEQ consider integrating the warning in the
interim final guidance against “perfect substitution analysis” and the recommendation to “use
models that accurately account for reasonable and available energy substitute resources,
including renewable energy,… [to] compare the proposed action’s and reasonable alternatives’
energy use against scenarios or energy use trends that are consistent with achieving science-
based GHG reduction goals, such as those pursued in the Long-Term Strategy of the United
States” 13 into the Phase II regulations and/or the preamble, as appropriate.

We also urge CEQ to incorporate into the regulations CEQ’s admonition in the 2016 14 and
2023 15 climate guidance that agencies should not compare a proposed action’s GHG emissions
to national and global climate GHG emissions as that is not a useful comparison. Though CEQ’s
guidance on this point has also been available for several years, we also continue to see agencies
ignore that guidance. For example, the Forest Service approved a 1,700-acre clearcutting project
in 2022, after CEQ effectively restored the 2016 guidance, that relied on just the type of
conclusory statement that CEQ cautioned against, alleging that the project would have an
“infinitesimal” impact on global carbon stores and emissions. Predictably, a federal court
rejected this approach just last month stating that:

       With all in agreement that climate change as a result of carbon emissions is an
       increasingly serious national and global problem, the USFS has the responsibility
       to give the public an accurate picture of what impacts a project may have, no matter
       how ‘infinitesimal’ they believe they may be. They did not do so here.
       Accordingly, the agency failed to take a ‘hard look’ at the Project’s carbon
       emissions, violating NEPA. 16

Third, consistent with the administration’s recent announcement regarding actions to
address climate change, 17 we urge CEQ to include a regulation addressing the appropriate


13
   Dept. of State and the U.S. Executive Office of the President, The Long-Term Strategy of the
United States: Pathways to Net-Zero Greenhouse Gas Emission by 2050 (Nov. 2021).
14
   Council on Env’t Quality, Final Guidance for Federal Departments and Agencies on
Consideration of Greenhouse Gas Emissions and the Effects of Climate Change in National
Environmental Policy Act Reviews, 11 (Aug. 1, 2016),available at https://ceq.doe.gov/docs/ceq-
regulations-and-guidance/nepa_final_ghg_guidance.pdf.
15
   Interim Final Guidance, supra note 10, at 1205.
16
   Ctr. For Biological Diversity v. U.S. Forest Serv., 2023 U.S. Dist. LEXIS 144726, 31-37 (D.
Mont. Aug. 17, 2023); see also, 350 Montana v. Haaland, 50 F.4th 154, 1259 (9th Cir. 2022)
(setting aside agency’s determination that proposed coal mine expansion would not have
significant impacts in part because the determination relied “on the arbitrary and conclusory
determination that the . . . project’s emissions will be ‘minor’ compared to global and domestic
emissions.)
17
   See Press Release, President Joe Biden, The White House, Biden-+DUULV$GPLQLVWUDWLRQ
Announces New Actions to Reduce Greenhouse Gas Emissions and Combat the Climate Crisis
(Sept. 21, 2023), https://www.whitehouse.gov/briefing-room/statements-
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use of Social Cost of Greenhouse Gases (SC-GHG). Agencies’ utilization of SC-GHG
should be placed in the context of relevant climate goals and commitments. An important
part of that context would be analysis of the magnitude and severity of GHG emissions as
compared to the remaining global carbon budget.

III.   TRIBAL GOVERNMENTS AND INDIGENOUS COMMUNITIES.

We support the retention of the 2020 provisions that removed the original restrictions on Tribal
governments’ participation in the NEPA process and require the inclusion of Tribal governments
and Indigenous communities in all stages of the NEPA process. Tribal governments’ roles in
scoping, 18 as potential cooperating agencies, 19 and as joint lead agencies 20 are properly affirmed
throughout the proposed regulations. Consistent with the federal government’s trust
responsibilities to Tribal Nations, we urge CEQ to authorize Tribes to appeal a denial of a
request to become a cooperating agency or joint lead agency to CEQ. 21 We also recommend that
CEQ include a definition of “Tribal Nations” in the regulations.

The preamble’s acknowledgment that Tribal involvement in the NEPA process is separate from
and is in addition to required government to government consultation is appropriate and
welcome. 22 But as President Biden’s Memorandum on Uniform Standards for Tribal
Consultation states, “[c]onsultation requires that information from
Tribes be given meaningful consideration, and agencies should strive for consensus with Tribes
or a mutually desired outcome.” 23 We urge CEQ to explicitly reference this responsibility in the
final regulations.

We support several proposed additions to the NEPA regulations that incorporate long overdue
measures to address Tribal interests and concerns. Importantly, Tribal interests would be
incorporated into the various factors that agencies must consider in determining whether a
proposed action has a significant effect. 24

We urge CEQ to further address and incorporate requirements to recognize the interests of
Indigenous communities and peoples. In particular, we recommend the following changes to
ensure more complete identification of Indigenous interests in the context of determining the
significance of a proposed action and alternatives and thus the level of appropriate NEPA
compliance:


releases/2023/09/21/fact-sheet-biden-harris-administration-announces-new-actions-to-reduce-
greenhouse-gas-emissions-and-combat-the-climate-crisis/.
18
   Proposed Section 1502.4(c).
19
   Proposed Section 1501.8.
20
   Proposed Sections 1501.7(d) 1501.8(a).
21
   Proposed Section 1501.8(a).
22
   Phase 2 Proposed Revisions, supra note 3, at 49930-49931.
23
   President Joe Biden, Memorandum on Uniform Standards for Tribal Consultation, Sec. 2.
(Nov. 30, 2022), https://www.whitehouse.gov/briefing-room/presidential-
actions/2022/11/30/memorandum-on-uniform-standards-for-tribal-consultation/.
24
   Proposed Sections 1501.3(d)(iv)(ix).
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                                                                                               6



       Use broader language concerning culturally significant sites. Proposed Section
       1501.3(d)(2)(iii) directs agencies to consider the degree to which a proposed action
       may adversely affect unique characteristics of the affected geographic area,
       including Tribal sacred sites. We recommend broadening this language to include
       sacred and culturally significant sites of Native Hawaiians, Alaska Natives and
       Indigenous peoples in the U.S. and U.S. territories. Concomitantly, agencies
       should be directed to consult organizations that serve and represent the interests of
       Native Hawaiians, Indigenous peoples of the U.S. territories in the Pacific
       (American Samoa, Guam, and the Commonwealth of the Northern Mariana
       Islands), Alaska Natives, and members of non-federally recognized Native
       American tribes.

       Use ACHP criteria to identify appropriate organizations representing Indigenous
       peoples and non-federally recognized Tribes. The need to effectively integrate
       consultation with and analysis of effects of proposed federal actions and
       alternatives on both Tribal Nations and Indigenous peoples is underscored by the
       close relationship between implementation of NEPA and the National Historic
       Preservation Act (NHPA). CEQ regulations mandate the preparation and
       integration of NEPA analyses with other applicable laws and executive orders. 25
       CEQ and the Advisory Council on Historic Preservation (ACHP) have provided
       specific agency guidance implementing the integration of compliance with the two
       statutes in their jointly published handbook. 26 The NHPA defines Native Hawaiian
       organizations as any organization that serves and represents Native Hawaiian
       interests, has as a primary and stated purpose the provision of service to Native
       Hawaiians, and has demonstrated expertise in aspects of historic preservation that
       are culturally significant to Native Hawaiians. 27 Those criteria should be applied
       to other Indigenous peoples and non-federally recognized Tribes in the context of
       the NEPA process.

       Use broader references when speaking of “rights”. Proposed Section 1501.3(x)
       identifies adverse effects on the rights of Tribal Nations that have been reserved
       through treaties, statutes or Executive Orders as another factor that should be
       considered in the determination of significance. Some Indigenous peoples and
       Indigenous communities that are not denominated as “Tribes” have been




25
   40 C.F.R. § 1502.4(a).
26
   See Council on Env’t Quality and Advisory Council on Hist. Pres., NEPA and NHPA: A
Handbook for Integrating NEPA and Section 106 (March 2013), available at
https://www.achp.gov/sites/default/files/2017-
02/NEPA_NHPA_Section_106_Handbook_Mar2013_0.pdf.
27
   54 U.S.C. § 300314(a); 36 C.F.R. § 800.16 (s)(1).
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       recognized and granted certain rights through treaties, statutes and Executive
       Orders and those rights should also be included in significance determinations. 28

We also note a proposed exclusion from the definition of “major federal action” that is specific
to Tribal interests. Specifically, “[a]ctivities or decisions for projects approved by a Tribal
Nation that occur on or involve land held in trust or restricted status by U.S. for the benefit of
that Tribal Nation or by the Tribal Nation when such activities or decisions involve no Federal
funding or other Federal involvement” would be excluded from the definition of “major federal
action.” 29 We assume the phrase “other federal involvement” in the latter provision dealing with
actions on Tribal lands includes any proposed federal permits or other federal approvals but we
recommend that the final regulation clarify what the phrase “other federal involvement” refers to
in this context.

Finally, we note the incorporation of Indigenous Knowledge into the definition of “special
expertise.” 30 CEQ noted that the joint guidance document issued last year on Indigenous
Knowledge does not define Indigenous Knowledge. 31 CEQ now invites comment on whether it
should include such a definition in the context of these NEPA regulations. 32

With deference to Indigenous peoples and communities and with appreciation for the work of the
Kawerak organization, an Alaska Native Tribal Consortium for the Bering Strait region of
Alaska, we suggest consideration of this definition:

       Traditional Knowledge (TK) is a living body of knowledge which pertains to
       explaining and understanding the universe, and living and acting within it. It is
       acquired and utilized by indigenous communities and individuals in and through
       long-term sociocultural, spiritual and environmental engagement. TK is an integral
       part of the broader knowledge system of indigenous communities, is transmitted
       intergenerationally, is practically and widely applicable, and integrates personal
       experience with oral traditions. It provides perspectives applicable to an array of
       human and non-human phenomena. It is deeply rooted in history, time, and place,
       while also being rich, adaptable, and dynamic, all of which keep it relevant and
       useful in contemporary life. This knowledge is part of, and used in, everyday life,
       and is inextricably intertwined with peoples' identity, cosmology, values, and way




28
   See, e.g., 42 U.S.C. § 11701 (setting forth numerous findings affirming the trust relationship
between the United States and Native Hawaiians and identifying numerous statutes that
recognize particular rights accorded to Alaska Native, Eskimo, and Aleut communities as well as
Native Hawaiians).
29
   Proposed Section 1508.1(u)(2)(x).
30
   Proposed Section 1501.8(a).
31
   Council on Env’tl Quality and Off. of Sci. and Tech. Policy, Memorandum on Guidance for
Federal Departments and Agencies on Indigenous Knowledge (Nov. 30, 2022), available at
https://www.whitehouse.gov/wp-content/uploads/2022/12/OSTP-CEQ-IK-Guidance.pdf.
32
   Phase 2 Proposed Revisions, supra note 3, at 49941.
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                                                                                                   8

       of life. Tradition – and TK – does not preclude change, nor does it equal only 'the
       past'; in fact, it inherently entails change. 33

Indigenous Knowledge is a cornerstone of our global intellectual legacy and is integral to
understanding the complex dynamics within our ecosystems. Born out of centuries of intimate
interaction with the land, it encompasses valuable insights that have the potential to significantly
impact justice, sustainability, and cultural preservation. Through the lens of rigorous
investigation, it becomes imperative to appreciate the inherent value of our unique knowledge
systems and their role in shaping sustainable futures.

IV.    ENVIRONMENTAL JUSTICE.

We applaud the long overdue proposed integration of environmental justice issues into essential
components of the NEPA process. The draft regulations make it clear that the NEPA process
should be appropriately utilized to identify and assess reasonable alternatives that will avoid and
minimize adverse effects that disproportionately affect communities with environmental justice
concerns. 34 Further, the proposed regulation on alternatives incorporates environmental justice
concerns into the identification of the environmentally preferable alternative or alternatives.35
The proposed regulations would also require agencies to factor in the degree to which a proposed
action and alternatives may have “disproportionate and adverse effects on communities with
environmental justice concerns,” 36 analyze the potential for disproportionate, adverse human
health, and environmental effects on communities with environmental justice concerns, 37 include
disproportionate and adverse effects on communities with environmental justice concerns,
whether direct, indirect, or cumulative in the definition of effects, 38 and in the definition of
“extraordinary circumstances” that may indicate that a normally categorically excluded proposed
action subject to NEPA may have a significant effect. 39

We are incorporating by reference the comments from GreenLatinos and WE ACT for
Environmental Justice addressing environmental justice issues in the proposed regulations. 40 We
also recommend that CEQ specifically identify the incorporation of multi-language models in the
NEPA process is one of the responsibilities of agencies Chief Public Engagement Officers. 41



33
   Julie Raymond-Yakoubian, et al.,, The Incorporation of Traditional Knowledge into Alaska
Fisheries Management, 78 Marine Policy 132, 133 (April 2017),
https://doi.org/10.1016/j.marpol.2016.12.024.
34
   Proposed Section 1500.2(e).
35
   Proposed Section 1502.14(f).
36
   Proposed Section 1501.3(d)(ix).
37
   Proposed Section 1502.16(a)(14)
38
   Proposed Section 1508.1(g)(4)
39
   Proposed Section 1508.1(m).
40
   Comments from GreenLatinos and WE ACT for Environmental Justice on Docket ID No.
CEQ-2023-0003 National Environmental Policy Act Implementing Regulations Revisions Phase
II (Sept. 29, 2023) (Attachment 2).
41
   Proposed Section 1507.2(a).
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 V.    MITIGATION (Proposed Sections 1505.2, 1505.3, 1508.1(w)).

We commend CEQ for several excellent additions to the current regulations regarding
monitoring and mitigation. While regrettably, NEPA as currently interpreted does not require
agencies to mitigate adverse effects, most agencies adopt some mitigation measures for actions
requiring environmental impact statements (EIS) and often for actions subject to environmental
assessments (EA). However, once the decision has been made, agencies seldom disclose to the
public whether those measures actually occur and, if they do, whether they have been effective.
Mitigation and especially monitoring have long been weak points in the NEPA process.

The proposed provision requiring agencies that rely on mitigation measures in their analysis of
reasonably foreseeable effects to ensure that such mitigation measures are enforceable is
particularly critical. While the proposed formulation should cover most mitigation measures in
NEPA analyses, we urge CEQ to consider broadening this requirement to all mitigation measures
identified in the final decision document.

We are pleased to see the inclusion of a requirement that agencies prepare a monitoring and
compliance plan when an EA or EIS relies on mitigation. Monitoring is a key piece of an
adaptive management cycle. Given that the NEPA process predicts environmental
consequences, agencies should be required to monitor the implementation of projects to assess
the actual consequences of project implementation to better predict similar or other effects in the
future, and to mitigate actual consequences in real time if they prove to extend beyond those
predicted (or, alternatively, to prepare new or supplemental NEPA analysis if such impacts
cannot be mitigated and there is continuing federal action).

While we are cognizant of the definition of “mitigation” in Proposed Section 1508.1(w), we
point out that some agencies, particularly the Forest Service and BLM, routinely rely on EA
“project design criteria,” “project design features,” and other formulations to escape the
obligation to enforce such measures during project implementation. Although these measures are
described as “part of” the project and therefore not “mitigation,” they can still serve to limit the
extent or duration of adverse effects and thus to support a finding of no significant impact.
However, the agencies frequently waive many of these measures in project implementation (for
example, a provision to replace failing culverts to offset sediment input to streams from upland
vegetation removal is waived if receipts from timber harvest are inadequate to fund culvert
upgrades).

We recommend that in the final rule, CEQ either define “relies on” as utilized in Proposed
Section 1501.6(c), 1505.3(c) or revise the definition of “mitigation” to include any measure that
reduce the effects of an action to below the level of significance. We also recommend that CEQ
include a requirement in the final rule that agencies make monitoring data publicly available on
an agency website and through other mechanisms to increase the transparency around the effects
of agency actions.

Finally, we support the proposed change to the definition of mitigation in proposed Section
1508.1(w) to clarify that the various types of mitigation are listed in general order of priority.
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VI.    PROGRAMMATIC ANALYSIS AND TIERING (Proposed Section 1501.11(a) and
       Preamble).

We recognize that programmatic analysis and tiering have potential for improving the efficiency
of the environmental review process. Improved efficiency and effectiveness is important across
the board and highlighted by the need to expeditiously transition into new types of energy
production and usage. We agree that a good programmatic analysis that remains timely and
accurate can avoid duplicative analysis at a later stage. However, agencies often struggle with
appropriate compliance at the right levels of analyses. We have three recommendations
regarding programmatic analysis.

1. We recommend that CEQ provide additional clarity and guidance, in the preamble and text as
appropriate, regarding the proper implementation of programmatic analysis. The history of
agency NEPA compliance demonstrates a tendency for agencies to overestimate how much they
can rely on an earlier programmatic analysis to the detriment of adequate site-specific analysis.
Unfortunately, despite the fact that it is at the programmatic level of analysis where cumulative
effects may be most effectively and usefully analyzed, we continue to see agencies defer that
analysis to a tiered down level and then, at times, not do the analysis even at that point. As one
court pointed out:

       NEPA is not designed to postpone analysis of an environmental consequence to the
       last possible moment. Rather, it is designed to require such analysis as soon as it
       can reasonably be done. [cites omitted] If it is reasonably possible to analyze the
       environmental consequences in an EIS for an RMP, the agency is required to
       perform that analysis. The EIS analysis may be more general than a subsequent
       EA analysis, and it may turn out that a particular environmental consequence must
       be analyzed in both the EIS and the EA. But an earlier EIS analysis will not have
       been wasted effort, for it will guide the EA analysis and, to the extent appropriate,
       permit “tiering” by the EA to the EIS in order to avoid wasteful duplication. 42

Commonly referred to as a “shell game”, this practice is often observed in federal agency
compliance for oil and gas leasing and development. 43

Given our experience with this problem, we are concerned about the statement in the preamble in
relationship to proposed Section 1501.11(a) that says that, “[a] sufficiently detailed
programmatic analysis with such project descriptions can allow agencies to rely upon
programmatic environmental documents for further actions with no or little additional
environmental review necessary.” 44 This statement will sound encouraging to many agency
personnel and project proponents, but in practice, it is very hard to achieve, especially in the
context of public land management. A programmatic EIS would have to be so detailed that it
would be quite voluminous not to mention so far-sighted as to anticipate proposed site-specific
actions 10-15 years in the future. Forest Service attempts to do this in the late 1970’s and early


42
   Kern v. U.S. Bureau of Land Mgt., 284 F.3d 1062, 1072-73 (9th Cir. 2002).
43
   See, e.g., N. Mex. ex rel Richardson v. Bureau of Land Mgt., 565 F. 683 (10th Cir. 2009).
44
   Phase 2 Proposed Revisions, supra note 3, at 4994 (emphasis added).
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1980’s failed. 45 While programmatic EISs can be very useful for addressing cumulative effects,
developing programmatic or policy guidance for future actions and in fact eliminating the need
to repeat some analysis, this CEQ language seriously overpromises the possibilities inherent in
programmatic NEPA analyses and if it remains, is highly likely to lead to flawed process and
disappointment.

Instead, we recommend that CEQ direct agencies in the final regulations to take the following
steps:

       a) Where a category or type of site-specific impacts or particular site-specific actions are
       reasonably foreseeable as a result of the proposed programmatic action(s) covered by a
       PEIS, agencies should include that analysis in the PEIS rather than deferring the analysis
       to a later stage.

       b) Agencies should be clear that the effects of site-specific actions not analyzed in a PEIS
       must be analyzed in a subsequent NEPA analysis.

       c) Agencies should be reminded that mitigation measures included in a Record of
       Decision for a PEIS comply with the mitigation provisions established by the final
       regulations.

Each of these points reflects current law and CEQ’s guidance “Effective Use of Programmatic
NEPA Reviews.” 46 However, agencies would benefit from specific direction in the regulations.

2. We urge CEQ to restore CEQ’s original regulatory language stating that EIS are sometimes
required for proposed decisions regarding new agency programs or regulations. 47 This important
direction was removed from the 2020 regulations “to focus the provision on the discretionary use
of programmatic EISs in support of clearly defined decisionmaking purposes.” 48 Yet the
proposed Phase 2 regulations include the adoption of official policy, such as rules, regulations
and interpretations under the Administrative Procedure Act, as well as adoption of formal plans
and programs as “major federal actions” under NEPA. 49 Clearly, not every proposed plan,
program or policy interpretation requires preparation of an EIS, but just as clearly, some do, and
EISs on plans, programs and policy interpretations and are most commonly programmatic. CEQ
could better serve the implementing agencies and the public by acknowledging that
programmatic EISs “are sometimes required.”




45
   See, California v. Block, 690 F.2d 753 (1982).
46
   Council of Env’t Quality, Memorandum on Effective Use of Programmatic NEPA Reviews
(Dec. 18, 2014), available at https://ceq.doe.gov/docs/ceq-regulations-and-
guidance/Effective_Use_of_Programmatic_NEPA_Reviews_Final_Dec2014_searchable.pdf
47
   40 C.F.R. § 1502.4(b) (2019).
48
   Update to the Regulations Implementing the Procedural Provisions of the National
Environmental Policy Act, 85 Fed. Reg. 43304, 43328 (July 16, 2020).
49
   Proposed Section 1508.1(u)(ii)-(iv).
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 3. Finally, in regards to the reevaluation of programmatic analysis required in proposed Section
 1501.11(c)(2) for analysis that is more than five years old, CEQ should require that agencies
 make that analysis publicly available. We are aware that the Forest Service, for example, often
 prepares “supplemental information reports” (SIRs) to evaluate whether supplemental NEPA
 analysis is required. 50 If a SIR concludes that no NEPA supplementation is required, the agency
 simply files the report away, and affected tribes, communities and the public at large are left
 uninformed of the fact of the agency’s evaluation or the basis for its conclusions. The CEQ
 regulations should ensure that such reports are made available to the public in the same manner
 as EAs.

VII.    PROPOSED REPEAL OF FUNCTIONAL EQUIVALENCE PROVISION
        (Proposed Section 1501.1(a)(6)).

 We strongly support the repeal of this provision that attempted to codify the “functional
 equivalence” doctrine in the current regulations. There was never a sufficient policy rationale
 nor a legal basis for this abandonment of NEPA in CEQ’s regulations. Further, its
 implementation would have led to serious inefficiencies if multiple federal agencies
 implemented a variety of pathways to purported NEPA compliance.

  Congress, in passing the FRA, had before it a provision that would have codified functional
 equivalence, exempting from NEPA analysis proposed actions “for which [an] agency’s
 compliance with another statute’s requirements serve[s] the same or similar function as the
 requirements of [NEPA] with respect to such action.” 51 However, in the FRA as signed into
 law, that provision was not included. Rather, the law now makes clear that agencies are excused
 from preparation of a NEPA document only “where compliance would clearly and
 fundamentally conflict with the requirements of another provision of law.” 52 Congress clearly
 rejected codification of the functional equivalence doctrine and it should be abandoned all
 together. 53 Thus, we ask that CEQ’s final preamble it make it clear that no agency – whether an
 independent regulatory agency or the Environmental Protection Agency – can utilize the
 functional equivalence doctrine to avoid compliance with NEPA.

VIII.   PROPOSED RESTORATION OF CONTEXT AND INTENSITY FACTORS FOR
        DETERMINATIONS OF SIGNIFICANCE (Proposed Section 1501.3(d)).




 50
    See U.S. Forest Serv., National Environmental Policy Act Handbook FSH 1909.15, Ch. 18.1
 (March 3, 2023), available at
 https://www.fs.usda.gov/im/directives/fsh/1909.15/wo_1909.15_10-Amend%202023-1.docx.
 51
    Bldg. U.S. Infrastructure through Ltd Delays and Efficient Rev. Act of 2023, H.R. 1577, 118th
 Cong. § 2(b) (2023) (proposed section 106(a)(6)).
 52
    42 U.S.C. § 4336(a)(3) (emphasis added).
 53
    U.S. v. Johnson, 529 U.S. 53, 58 (2000) (“When Congress provides exceptions in a statute, it
 does not follow that courts have authority to create others. The proper inference, and the one we
 adopt here, is that Congress considered the issue of exceptions, and, in the end, limited the
 statute to the ones set forth.”).
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We support the proposed reinsertion of several important factors that agencies should consider in
the course of making their determinations about the significance of a proposed action and
alternatives. These proposed provisions provide critical guidance to agencies and the public as
consideration is being given to the appropriate level of NEPA compliance. As noted above, we
commend the inclusion of factors relating to the interests of Tribal Nations and recommend
broadening those provisions to other Indigenous communities. 54 We also support the inclusion
of environmental justice concerns as an important factor. 55

We suggest that CEQ include the degree to which a proposed action and alternatives may
adversely affect wildlife corridors (or alternatively, connectivity) as an addition to this section,
perhaps as a specific example of ecologically critical areas in Proposed Section 1501.3(2)(iii).
CEQ’s recent guidance on ecological connectivity and wildlife corridors provides considerable
support for the inclusion of these factors. 56

IX.    PROPOSED CHANGE TO THRESHOLD REQUIREMENT FOR
       PREPARATION OF AN ENVIRONMENTAL IMPACT STATEMENT (Proposed
       Section 1501.3(d).

We oppose the proposed change to the long-standing statutory mandate that agencies prepare a
detailed statement, now known as an EIS, for recommendations or reports on proposals for
“legislation and other major Federal actions significantly affecting the quality of the human
environment . . .” Proposed Section 1501.3(d)(2)(i), directing that, “only actions with
significant adverse effects require an environmental impact statement” as well as the related
proposed modifications to the “context and intensity” factors that lead to a determination of
“significance,” also in Proposed Section 1501.3(d), would amend this standard so that proposed
actions that an agency maintains would have only significant beneficial effects would not trigger
the requirement to prepare an EIS .

We agree with the statement that agencies should consider both short-term adverse effects and
long-term beneficial effects 57 and that both beneficial and adverse effects should be analyzed
under NEPA. 58 To be clear, our concern is rooted in our collective years of experience in seeing
federal agencies characterize proposed actions, and especially their preferred alternative, as
beneficial when they are often not beneficial or at the least have serious harmful effects. We
offer some examples below.

Further, the preamble is devoid of any explanation of why CEQ believes its proposed change to
the most well-known statutory phrase in NEPA is either permissible or desirable. Rather, in


54
   Supra Sec. III.
55
   Proposed Section 1501.3(d)(ix).
56
   Council on Env’t Quality, Memorandum on Guidance for Federal Departments and Agencies
on Ecological Connectivity and Wildlife Corridors (March 21, 2023), available at
https://www.whitehouse.gov/wp-content/uploads/2023/03/230318-Corridors-connectivity-
guidance-memo-final-draft-formatted.pdf.
57
   Proposed Section 1501.3(d)(2)(i).
58
   Id.
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circular fashion, the preamble language states that the modification is being made consistent with
the proposed addition of the term “adverse” in Proposed Section 1501.3(d), in various factors
that must be considered in an agency’s determination of significance. Justifying a change in the
standard by pointing to the same change in the criteria does not provide a rationale for the
underlying proposal. It simply points out that this change is being made consistently in two parts
of the same regulation. Nor is this proposed change a “clarifying addition,” as CEQ suggests in
the preamble; 59 rather, it is a significant change.

While not frequently litigated, a few courts have considered the issue of whether beneficial
environmental effects trigger NEPA’s statutory language in Section 102(2)(C) requiring an EIS.
The majority of courts have noted that the statute’s plain language is inclusive of all significant
environmental impact and, accordingly, concluded that significant beneficial impacts do trigger
preparation of an EIS. The earliest such case, Hiram Clarke Civil Club v. Lynn, observed that,
“[a] close reading of Section 102(2)(C) in its entirety discloses that Congress was not only
concerned with just adverse effects but with all potential environmental effects that affect the
quality of the human environment.” 60

Other courts that have considered the argument have reached similar conclusions. In
Environmental Defense Fund v. Marsh, the issue was whether the Army Corps was required to
prepare a supplemental EIS (SEIS) in light of major project design changes for the proposed
construction of the Tennessee-Tombigbee Waterway. 61 The Corps’ argument was that “every
change made in the waterway’s design and functioning after completion of the original 1971
project EIS would produce no significant adverse environmental effects, but would produce
significant environmental and aesthetic benefits.” 62 The Court observed that it found “no solid
evidence that the Corps has ever asked the right question, much less answered it reasonably.” 63
In justifying 18 volumes of “Supplemental Environmental Reports” proffered in lieu of preparing
a SEIS, the Corps noted that the standard that was the basis for the decision not to prepare a SEIS
was that, “no significant deviations have been discovered or actions taken which were not in the
best interest of the natural environment in the project area.” 64 But, as the Court stated, “that is
simply the wrong standard. NEPA requires the discussion of all significant environmental
impacts, not just adverse ones.” 65 Importantly, the Court explained that:

       The proper question is not the intent behind the actions, but the significance of the
       environmental impacts. And even if the Corps was correct in deciding that the new


59
   Phase 2 Proposed Revisions, supra note 3, at 49936.
60
   Hiram Clarke Civil Club v. Lynn, 476 F.2d 421, 427 (5th Cir. 1973). The appellate court
ultimately held that the proposed low- and moderate-income housing development did not trigger
the requirement to prepare an EIS, deferring to the lower court’s holding after a full evidentiary
hearing that plaintiffs had not shown the effects were significant.
61
   Env’t Defense Fund v. Marsh, 651 F.2d 983 (5th Cir. 1981).
62
   Lance D. Wood, Proposed Revisions to Improve and Modernize CEQ’s NEPA Regulations, 49
Env’t Law Rep. 10529, 10531 (June 6, 2019).
63
   651 F.2d at 996.
64
   Id. at 997 996-997.
65
   651 F.2d at 997.
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       land use will be beneficial in impact, a beneficial impact must nevertheless be
       discussed in an EIS, so long as it is significant. NEPA is concerned with all
       significant environmental effects, not merely adverse one. 66

The Corps’ theory was also rejected by the Eleventh Circuit in National Wildlife Federation v.
Marsh. This case involved federal funding for a controversial proposed man-made 1,400-acre
lake and specifically the issue of whether a SEIS was required for a proposed mitigation plan for
the proposed lake. 67

There are also sound policy reasons for not reversing CEQ’s fifty-three-year interpretation that
either significant adverse or beneficial effects can trigger the requirement to prepare an EIS.
Frequently, agency officials sincerely believe that a proposed action will benefit the
environment, as did apparently the Corps’ representatives in the cases involving the changes in
the Tennessee Tombigbee Waterway and Lake Alma. But, as was noted by the Fifth Circuit,
“[i]n any event, the congressional mandate to develop alternatives would be thwarted by ending
the search for other possibilities at the first proposal which establishes an ecological plus, even if
such a positive value could be demonstrated with some certainty.” 68 Adequate opportunities for
the public (including outside experts) to provide input are vital to ensure that potentially
significant impacts are not ignored in the agency decision-making process. Otherwise, agency
officials may truly believe that their proposal would confer environmental benefits when, in fact,
it would be an ecological disaster. History is littered with such examples. 69

That point is quite well illustrated by the important decision in Center for Biological Diversity v.
NHTSA. 70 The case dealt with the National Highway Traffic Safety Administration’s (NHTSA)
NEPA compliance for proposed Corporate Average Fuel Economy standards (CAFE standards)
for light trucks. NHTSA’s original EA concluded that the proposed CAFE standard would result


66
   Id. at 993.
67
   Nat’l Wildlife Fed’n v. Marsh, 721 F.2d 767 (11th Cir. 1983). The Sixth Circuit Court of
Appeals reached a different conclusion in Friends of Fiery Gizzard v. Farmers Home Admin., 61
F.3d 501 (6th Cir. 1995). The case involved proposed funding from the Farmers Home
Administration for a proposed water impoundment and treatment project for the small town of
Tracey City, Tennessee, following pollution, water shortages, a possible imminent collapse of a
mine and a consent decree requiring the town to develop a solution to its water supply problem,
with penalties attached if it did not do so. The Court, clearly sensing the urgency of the
situation, reasoned that the statutory language had to be “read in the light of the implementing
regulations” (which seems backwards as regulations as typically interpreted in the light of the
statue) and discussed what it perceived as the advantages of an environmental assessment over
an EIS. Id. at 504. In hindsight, it seems as though the situation could have been appropriately
handled through alternative arrangements under CEQ’s provision for emergencies.
68
   Env’t Defense Fund v. Marsh, 492 F.2d 1123, 1135 (5th Cir. 1974).
69
   One of the most dramatic examples was the Atomic Energy Commission’s “Project Chariot,”
which involved using nuclear blasts to construct a port near Port Hope, Alaska. See Look before
detonating nukes, Univ. of Alaska Fairbanks,
https://www.uaf.edu/centennial/uaf100/ideas/project-chariot.php (last accessed Sept. 28, 2023).
70
   Ctr. For Biological Diversity v. NHTSA, supra note 7.
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                                                                                                     16

in a small decrease in carbon emissions and thus, there would be no significant effect. But as the
Ninth Circuit Court of Appeal’s opinion pointed out, the EA’s very narrow range of alternatives
was unreasonable in light of NHTSA’s discretion to consider a broader range of alternatives,
including an alternative submitted during the relevant comment period that would have a
considerably more significant effect on lowering carbon emissions. 71 In other words, even
though NHTSA’s preferred option was beneficial in the context of climate change, the NEPA
process revealed a reasonable alternative that was significantly superior in terms of its benefits.
The holding underscores perhaps the most significant purpose of the NEPA process and, in
particular, alternatives analysis: not just to avoid or avoid adverse environmental effects, but to
develop information and ideas that can lead to better results even for a proposed action intended
to benefit the human environment.

As another example, the Army Corps of Engineers believed that its proposed ecosystem
restoration project for the ecologically rich Bolinas Lagoon in northern California would have
beneficial effects. 72 Bolinas Lagoon is a designated Wetland of International Importance under
the Ramsar Convention and one of the most pristine tidal lagoons in California. However, the
DEIS prepared by the Corps and the public comments on that draft made it clear that the Army
Corps’ proposed plan would cause significant harm to this incredible resource. The DEIS
acknowledged that the so-called restoration project was not the environmentally preferable
alternative—and in fact was the most ecologically damaging alternative evaluated. 73

“As a consequence of public concern related to the impacts of dredging and the need for
intervention, [the project’s non-federal sponsor] coordinated a rigorous scientific review of the
ACOE plan and a study of the lagoon’s ecological and hydrological evolution.” That review
concluded that the Army Corps’ proposal was based on a fundamental misunderstanding of the
Lagoon’s ecological processes and that the large-scale dredging proposed by the Corps “not
justified” because there was “an absence of ecological problems that would be mitigated by such
apparently unnecessary preventive actions.” 74 As a direct result of NEPA’s important review


71
   Id., at 1217-1219.
72
   U.S. Army Corps of Engineers, Draft Environmental Impact Statement/Report and Draft
Feasibility Study, Bolinas Lagoon Ecosystem Restoration Project (2002), available at
https://babel.hathitrust.org/cgi/pt?id=uc1.31210025039817&seq=1.
73
   Id., at 2-27 and ES-6 (the “No Action Alternative would be environmentally superior” and the
Corps’ proposed “National Ecosystem Restoration Plan” was the most damaging plan evaluated).
74
   Marin County Open Space District, Bolinas Lagoon Ecosystem Restoration Feasibility Project
(February 2006) at Peer Review Comments on Administrative Draft Reports I & II with
Responses by Consultants at 2, 3, 11 (“The data from both reports indicate that two major
conclusions can be drawn: the lagoon mouth is unlikely to close and the overall ecology of the
lagoon is unlikely to change in significant ways during the foreseeable future . . . We find quite
reasonable the consultants’ conclusion that, since the lagoon is unlikely to close in the
foreseeable future, no intercession in the evolution of the lagoon to prevent its closure is
warranted . . . The greatest strength of the study is that all of its reports support the conclusion, to
a greater or lesser degree, that the lagoon is unlikely to close and that dredging or any other
action to prevent closure is not justified at this time. There is an absence of ecological problems
that would be mitigated by such apparently unnecessary preventive actions.”)
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process, the Army Corps’ plan was abandoned and a locally-driven restoration initiative was
developed for the Bolinas Lagoon ecosystem.

 X.       DETERMINING THE APPROPRIATE LEVEL OF REVIEW (Proposed Sections
          1501.3(a)(2), (3)).

These provisions state that as a threshold matter, agencies “shall assess whether NEPA applies to
the proposed activity or decision” by, among other factors, determining:

          (2) Whether compliance with NEPA would clearly and fundamentally conflict with the
          requirements of another provision of law;
          (3) Whether statutory provisions applicable to the agency’s proposed activity or decision
          make compliance with NEPA impossible;

These two provisions appear highly duplicative. The first of these two provisions – whether “the
preparation of such document would clearly and fundamentally conflict with the requirements of
another provision of law” – reflects the language in Section 106(a)(3) of the FRA.

          Subsection 1501.3(a)(3) is new. The preamble states that:

          Third, CEQ proposes a new factor in paragraph (a)(3) to address circumstances
          other than those in which Congress or case law have exempted an activity from
          NEPA, to clarify that there must be an irreconcilable and fundamental conflict
          between complying with a statutory provision and complying with NEPA i.e., the
          other statutory provision must make NEPA compliance impossible. This factor
          would be consistent with case law and longstanding principles of statutory
          construction that requires statutes to be read in harmony when it is possible to do
          so. This approach also reflects the statutory requirement of section 102 of NEPA
          that agencies interpret and administer “the policies, regulations and public laws of
          the United States” in accordance with NEPA’s policies and is consistent with
          CEQ’s proposed revisions to § 1500.6, ‘Agency Authority.’ 42 U.S.C. 4332; see
          section II.B.5. 75

One of the problems with the preamble discussion is that the Supreme Court’s sole ruling on
conflicts between NEPA and other statutes is perfectly captured in the first of these two
provisions. In Flint Ridge Dev. Co. v. Scenic Rivers Association, the Court stated that:

          Section 102 recognizes, however, that, where a clear and unavoidable conflict in
          statutory authority exists, NEPA must give way. As we noted in United States v.
          SCRAP, 412 U. S. 669, 412 U. S. 694 (1973), ‘NEPA was not intended to repeal
          by implication any other statute.’ And so the question we must resolve is whether,
          assuming an environmental impact statement would otherwise be required in this
          case, requiring the Secretary to prepare such a statement would create an



75
     Phase 2 Proposed Revisions, supra note 3, at 49934.
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       irreconcilable and fundamental conflict with the Secretary's duties under the
       Disclosure Act. 76

And the Court concluded by holding that:

       In sum, even if the Secretary’s action in this case constituted major federal action
       significantly affecting the quality of the human environment, so that an
       environmental impact statement would ordinarily be required, there would be a
       clear and fundamental conflict of statutory duty. The Secretary cannot comply with
       the statutory duty to allow statements of record to go into effect within 30 days of
       filing, absent inaccurate or incomplete disclosure, and simultaneously prepare
       impact statements on proposed developments. In these circumstances, we find that
       NEPA’s impact statement requirement is inapplicable. 77

In short, subsection (2) perfectly reflects the law on this point. While the wording in subsection
(3) similarly reflects the law, having two basically identical provisions is confusing and is apt to
lead to attempts to parse differences between the two. If complying with NEPA and another law
in any given situation is indeed impossible, that situation clearly and fundamentally conflicts
with the provision of the other law. Having duplicative provisions here makes little sense and is
likely to cause confusion as agencies try to distinguish between the two provisions. We
recommend dropping subsection (3) and staying with the language that reflects the provision in
the FRA.

XI.    CATEGORICAL EXCLUSIONS.

We understand that a well-crafted categorical exclusion (CE) can serve the purpose of
conserving agencies’ resources to focus on proposed actions that involve unresolved conflicts
concerning alternative uses of available resources 78 and/or have the potential for significant
environmental effects. 79 That said, many of the undersigned organizations have experienced
abuses of the use of CE under the 1979 regulations and are very concerned that the proliferation
of many pathways to promulgating new CEs will multiply these problems. Further, we are
concerned with the proposed language concerning “extraordinary circumstances.” In regard to
adoption of CEs, we acknowledge the need to incorporate the adoption provision passed in the
FRA but question the need for additional adoption measures and some of the provisions in those
proposed measures. In short, we believe the proposed effort to significantly expand the use of
CEs is extremely troubling. We believe that CEQ’s emphasis needs to be on better analysis and
improved processes for proposed federal actions that require EAs or EISs, not on enabling
multiple pathways for proposed CEs.

Importantly, we would like to see CEQ require agencies to notify the public of the proposed use
of a CE and to keep documentation of its use of a CE for specific proposed actions so that the


76
   426 U.S. 776, 788 (1976).
77
   Id. at 791.
78
   42 U.S.C. § 4332 (H).
79
   42 U.S.C. § 4332 (C).
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public can access that information. When the public, other agencies, tribes and communities
doesn’t know that an agency is proposing to take an action under a CE, there is no one outside of
the agency using the CE that can raise the existence of extraordinary circumstances for a
particular action at a particular site. Some agencies – notably, the Forest Service and the
Department of Energy – do make their use of CEs public, but most other agencies do not reveal
their use of a CE unless and until there is litigation alleging a lack of compliance with NEPA.

       a. Extraordinary Circumstances (Proposed Section 1501.4 (b)(1)).

The proposed regulation would authorize an agency to use a CE even if extraordinary
circumstances exist if the agency conducts an analysis and determines that the proposed action
does not have the potential to result in significant effects or if the agency modifies the action to
address the extraordinary circumstances. We would agree that if an agency modifies an action
such that the extraordinary circumstance originally identified simply no longer exists in
relationship to the reconfigured proposed action, an applicable CE could be utilized. However, if
the presence of one or more extraordinary circumstances remains relevant to the proposed action,
such that the agency needs to conduct an analysis to determine the potential significance of the
effects, the agency should prepare an EA. As the U.S. Court of Appeals for the Seventh Circuit
held, “[i]t is not enough that the Forest Service has conducted an internal review to determine
whether the extraordinary circumstance will cause the proposed action to have a significant
impact on the environment. An [EA] is the process required to make that determination.” 80 In
many circumstances, such an EA might be quite brief, but it should be done, and any such
analysis must be made publicly available.

Additionally, the proposed language in this section currently states that an agency “should”
publish analysis of extraordinary circumstances on its website or otherwise make it publicly
available. We ask that “should” be changed to “shall.”

       b. Promulgation of CEs in Planning or Programmatic Contexts (Proposed Section
          1501.4(c)).

Purportedly as a way to increase flexibility and potentially the speed with which a new CE can
be established, CEQ is proposing a new process by which agencies could establish a CE in the
context of a land use plan or other equivalent planning or programmatic decision. Despite what
CEQ no doubt sees as measures to allow for transparency and public involvement, we oppose
this proposal. When we examine the proposal closely, we are puzzled about its purported
benefits. The process CEQ proposes for this new pathway to CEs actually appears to be the
same as the process for approval of CEs under the current regulations. 81 Agencies frequently
consult with CEQ about additional proposed CEs (without proposing revisions in the rest of their
NEPA procedures). In such cases, as we understand the process, CEQ reviews and advises the
agency, which subsequently provides for public notice and comment, substantiates its
determination that the proposed category normally does not have significant effects individually


80
   Rhodes v. Johnson, 153 F.3d 785, 790 (7th Cir. 1998). See also, Citizens for Better Forestry v.
U.S. Dep’t of Agric., 481 F. Supp. 2nd 1059, 1090 (N.D. Cal. 2007).
81
   40 C.F.R. § 1507.3.
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or cumulatively, provides for extraordinary circumstances and, after considering comments
received on the proposal and making any needed modifications, publishes the CE in final form.
This is the same process proposed in this section. We fail to see the procedural advantage in this
“plan by plan” approach.

What we do see is that the proliferation of these multiple pathways to CE development through
the regular process, this programmatic approach, and the various adoption provisions, including
the provision passed by Congress and additional provisions added by CEQ in the draft
regulations, will - despite CEQ’s intentions - result in considerably more confusion about the
status of normal NEPA compliance for proposed actions. Bundling programmatic NEPA
analyses with the promulgation of new CEs could easily cause new CEs to escape the public’s
attention, frustrating public participation, and encouraging the proliferation of CEs on an ad hoc
basis without adequate forethought and review. The agencies appear to have no difficulty in
going through this same process under the current regulations. We believe CEQ’s emphasis
needs to be on better analysis and improved processes for proposed federal actions that require
EAs or EISs, not on managing multiple pathways for proposed actions that meet the
requirements for a CE. We therefore request that this provision be removed from the final
regulations.

       c. Adoption of Other Agency Categorical Exclusions as a Class or for a Particular
          Actions (Proposed Sections 1501.4(e), and 1506.3(d)).

Proposed Section 1501.4(d) essentially incorporates new Section 109 of NEPA into the
regulations. Though CEQ proposes to use the term “apply” rather than “adopt,” it appears to be
a distinction without a real difference in that one agency would essentially be adopting another
agency’s CE for use either for a particular category of actions or for a particular proposed action.

Proposed Section 1506.3(d) authorizes an agency to adopt another agency’s determination that a
particular proposed action falls within a CE and the adopting agency’s proposed action is
“substantially the same.” We recommend that Section 1506.3(d)(2) be modified to require an
agency to both publish such a determination on its website and make it publicly available in
other ways, as opposed to one or the other option.

The final regulation should also make it clear that federal agencies may only adopt other federal
agencies’ CEs, whether the adoption is for a particular class of actions or a single proposed
action.

       d. Codification of Current Agency CEs (Proposed Section 1507.3(a)).

This proposed section would codify CEQ’s approval of all CE provisions as of the date of the
final regulations’ publication. We recommend either deleting this provision or, alternatively,
including the identification of actions normally requiring EISs and EAs in agency NEPA
procedures. No rationale is provided in the preamble for giving CE categories preferential
approval over EIS and EA provisions in agency regulations.
Further, not all CEs that are currently used are consistent with CEQ’s regulations. For example,
the Federal Communications Commission current NEPA procedures, issued in 1986, use a CE as
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the “default provision” for all agency actions that are not identified as requiring either an EIS or
an EA. 82 This was contrary to CEQ regulations at the time the CE went into effect, 83 under the
current CEQ regulations, 84 and CEQ’s proposed regulations. 85 Further, several agencies NEPA
procedures, like the FCC’s 1986 regulations, are badly outdated and do not address current
mission activities well or at all.

        e. Required Ten Year Review (Proposed Section 1507.3(c)(9)).

We recommend clarifying the requirement for each agency to review its CEs at least every 10
years by specifying that the 10 years begin with the date of a CE’s promulgation, not with the
issuance of these final regulations. We also suggest that the results of each such review be filed
with CEQ and be made public.

XII.    ENVIRONMENTAL ASSESSMENTS.

           a. Proposed Section 1501.5(e).

This proposed section states that an agency shall solicit public comments on an EA if it publishes
a draft EA and consider those comments in preparation of a final EA. If this provision is
finalized as drafted, agencies may be incentivized to avoid publishing a draft EA. We urge CEQ
to simply require a 30-day review period for all EAs, even if an agency does not intend to
publish a separate final EA following a comment period.

           b. Proposed Section 1501.5 (h).

This proposed regulation states that agencies “may” supplement an EA and “may” reevaluate an
EA to determine whether there is a duty to do so. CEQ should change the permissive voice of
this regulatory language to make mandatory the duty to supplement EAs. CEQ provides no
rationale for why EAs should not be supplemented when new information relevant to the effects
of the action becomes available, just as EISs must be supplemented. Indeed, federal courts have
held the supplementation requirement applies to EAs as well as EISs. 86 Of course, agencies are
always free to prepare a completely new EA and, in some cases, that might be the wisest course
of action. But absent preparation of a new EA, the same standard for supplementation applies.

Additionally, CEQ should consider giving additional guidance on the process that agencies
should undertake when engaging in a reevaluation of a NEPA document, including directions to
make such reevaluations public.

XIII.   PRE-APPLICATION SCOPING (Proposed Section 1502.4(a)).



82
   47 C.F.R. § 1.1306(a) (1986).
83
   40 C.F.R. § 1501.4(b) (1979).
84
   40 C.F.R. § 1501.4(b)(2).
85
   Proposed Section 1501.4(b)(2).
86
   See, e.g., Cascadia Wildlands v. U.S. Forest Serv., 791 F. Supp. 2d 979 (D. Or. 2011).
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CEQ proposes a number of changes to the regulation on scoping that would appear to be sensible
steps to improve the efficiency of the process, such as identifying precisely who agencies should
contact during the scoping process (along with the general public) as well as including additional
detail on information and actions that agencies should take during the process. However, we are
concerned that CEQ is retaining from the 2020 regulation the provision that states that,
“[s]coping may include appropriate pre-application procedures or work conducted prior to
publication of the notice of intent” and urge that this language be eliminate in the final
regulation.

The 2020 regulation on this point was a reversal of CEQ’s prior position that scoping begins with
publication of the Notice of Intent (NOI). The term “pre-application procedures” generally refers
to what an applicant needs to do to submit a complete application to a federal agency. Pre-
application processes serve an important purpose for the applicant and the agency, but they do
not serve the same purposes as scoping.

By retaining this 2020 pre-application scoping language, CEQ opens the door to agencies relying
on communications that may not be available to the public (as confidential business information
may be involved) and that do not serve the purposes as scoping comments to drive the scope of
an EA or EIS. CEQ has previously stated that scoping can be a useful tool prior to publication of
an NOI, “so long as there is appropriate public notice and enough information available on the
proposal so that the public and relevant agencies can participate effectively.” Further, CEQ
stated that

       scoping that is done before the assessment, and in aid of its preparation, cannot
       substitute for the normal scoping process after publication of the NOI, unless the
       earlier public notice stated clearly that this possibility was under consideration, and
       the NOI expressly provides that written comments on the scope of alternatives and
       impacts will still be considered. 87

CEQ should not allow agencies to count communications between it and an applicant to be
constitute scoping unless the public has notice and opportunity to also participate in scoping at
the same stage.

XIV. ALTERNATIVES INCLUDING THE PROPOSED ACTION (Proposed 1502.14)

We strongly support the reinsertion of the statement that the alternatives section is the “heart of
the environmental impact statement,” and the other proposed modifications to the current
alternatives regulation. Without an objective exploration of reasonable alternatives, the NEPA
process loses its potential to truly inform better decisionmaking. We also support the
identification of the environmentally preferable alternative at an earlier stage, realizing, of
course, that nothing in the proposed regulation requires a decisionmaker to select that alternative.




87
  Forty Most Asked Questions Concerning CEQ’s National Environmental Policy Act
Regulations, 46 Fed. Reg. 18026, 10830 (Mar. 23, 1981).
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We have one recommendation related to alternative analysis. Based on Congress’ recent
amendment to NEPA in the FRA to add to the phrase “technically and economically feasible” to
the requirement that agencies analyze reasonable alternatives to a proposed action, CEQ has
followed with proposed amendments including “technically and economically feasible” in the
proposed section on alternatives in EAs 88 and in the proposed definition of “reasonable
alternative.” 89 Consistent with its affirmation that alternatives are the “heart” of the
environmental impact statement, CEQ should provide direction on interpretation of the phrase
“technically and economically feasible.” Without such safeguards, the phrase could be subject to
inappropriately narrow interpretation. This is particularly important given the FRA’s
amendment to NEPA and CEQ’s proposed conforming regulation to allow project sponsors to
prepare EAs and EISs. 90 We urge that CEQ incorporate the following two principles into the
final regulations.

First, CEQ should explain that before an agency can dismiss otherwise reasonable alternatives on
the basis of not being “technically or economically feasible,” it must include a discussion of
these terms, including any definition it is using for those terms, in the draft EA or draft EIS to
allow the public to understand the terms and comment on them as they apply to that particular
project.

Second, CEQ should draw on language from its long-standing Forty Most Asked Questions
memorandum to federal agencies that makes it clear that technical and economic feasibility shall
be judged based on common sense, rather than the project proponent’s preferences: “Reasonable
alternatives include those that are practical or feasible from the technical and economic
standpoint and using common sense, rather than simply desirable from the standpoint of the
applicant.” 91

A rather recent judicial decision aptly demonstrates why this direction is necessary to ensure that
alternatives remain the “heart” of the NEPA process. In 2019, a coalition of conservation
organizations challenged an Office of Surface Mining (OSM)’s NEPA review of a proposed
mine plan for the West Elk coal mine in Colorado. 92 Among other deficiencies, conservation
groups argued that OSM violated NEPA by failing to consider an alternative that would have
required the mine to flare its methane emissions instead of venting methane directly into the
atmosphere. The agency and the project proponent had utilized a definition of “economically
feasible” that the coal company negotiated into its federal coal lease with a different agency
(BLM) years earlier outside of the NEPA process with no public involvement. BLM’s EIS,
evaluating the environmental impacts of the lease, did not disclose or seek public input on the
lease’s one-sided definition of the term. Instead, the lease defined “economically feasible” in a
way that constrained consideration of reasonable alternatives by requiring any methane flaring
aspect of the mine to earn a specified internal rate of return on any flaring-related investments,
before it could be required as a condition of mining publicly owned coal. Thus, in this instance,


88
   Proposed Section 40 C.F.R. 1502.7(g).
89
   Proposed Section 40 C.F.R. 1508.1(gg).
90
   Fiscal Responsibility Act of 2023, Pub. Law 118-5, §107(f), 137 Stat. 10, 42 (2023).
91
   Supra note 88.
92
   WildEarth Guardians v. Bernhardt, 423 F.Supp.3d 1083, 1094-1100 (D. Colo. 2019).
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the coal company attempted to constrain OSM’s review of an otherwise reasonable alternative
under NEPA based on a one-sided definition of economic feasibility that was negotiated and
adopted by a federal agency outside the NEPA process, which applied economic feasibility not
to the project as a whole but to one specific design aspect. The Court found that OSM’s reliance
on this interpretation of “technically or economically feasible” was not supported by the
record. 93 CEQ can steer agencies away from such errors by including the aforementioned
recommendations in the final regulations.

XV.    INCOMPLETE OR UNAVAILABLE INFORMATION (Proposed Section 1502.21).

The proposed text retains the change in the 2020 regulations that removed the word “always”
from the first statement in the 1986 regulation that read:

         When an agency is evaluating reasonably foreseeable significant adverse effects on
         the human environment in an environmental impact statement and there is
         incomplete or unavailable information, the agency shall always make clear that
         such information is lacking. 94
The sole reason that CEQ gave in the preamble to the final 2020 regulations for this proposed
deletion was that the word “always” was “unnecessarily limiting.” 95 Indeed, the word “always”
is supposed to be prescriptive and that is precisely why it should stay in the regulation. As the
Court of Appeals for the D.C. Circuit made clear early in its consideration of NEPA’s
requirements, “one of the functions of a NEPA statement is to indicate the extent to which
environmental effects are essentially unknown.” 96 CEQ did not provide an adequate justification
in the preamble as to why “always” should be deleted nor is there was any indication of what
criteria an agency should use to determine in what instances incomplete or unavailable
information about reasonably foreseeable significant adverse effects need not be identified. This
change runs counter to CEQ’s avowed goal of efficiency by creating uncertainty over when an
agency has to make clear that such information is lacking. The word “always” should be
reinserted in the final regulation.

The proposed regulation also retains, as it now must because of a provision in the FRA, CEQ’s
2020 replacement of the term “exorbitant” with “unreasonable” in the portion of the regulation
that excuses an agency from obtaining complete information relevant to reasonably foreseeable
significant adverse impacts. Under the 1986 regulation, an agency has to obtain such information
if that is possible unless the overall costs of obtaining it are “exorbitant”; the 2020 amendment
changed the criteria to “unreasonable costs” and the unfortunate FRA provision states that
agencies are only required to undertake new scientific or technical research if such work “is
essential to a reasoned choice among alternatives, and the overall costs and time frame of



93
   Id., at 1099.
94
   40 C.F.R. § 1502.22 (1986) (emphasis added).
95
   Update to the Regulations Implementing the Procedural Provisions of the National
Environmental Policy Act, 85 Fed. Reg. 1684, 1703 (January 10, 2020).
96
   Scientists’ Inst. for Pub. Info., Inc. v. Atomic Energy Comm'n, 481 F.2d 1079, 1092 (D.C. Cir.
1973).
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 obtaining it are not unreasonable.” 97 To our knowledge, neither CEQ nor any other entity has
 provided an interpretation of “unreasonable costs” and we encourage CEQ to do so in the final
 regulation.

XVI.    PUBLIC INVOLVEMENT ISSUES.

 Again, we commend CEQ for removing many of the barriers to robust public involvement in the
 NEPA process and for the significant inclusion of environmental justice communities, Tribes and
 Indigenous populations. However, there are three provisions from CEQ’s original regulations
 that were removed in the 2020 regulations that should be restored in the final regulations. Those
 provisions are:

        a. Availability of NEPA Documents (Proposed Section 1501.9(d)(3)).

 CEQ’s original NEPA regulations included a provision at Section 1506.6(f) requiring agencies to
 “make EISs, comments received and any underlying documents available to the public pursuant
 to the provisions of the Freedom of Information Act (5 U.S.C. 552), without regard to the
 exclusion for interagency memoranda where such memoranda transmit comments of Federal
 agencies on the environmental impact of the proposed action.” Further, that provision required
 such materials to be made available to the public without charge to the extent practicable or at
 least at no more than the actual costs of reproducing copies required to be sent to other Federal
 agencies. These two provisions were dropped in the 2020 NEPA regulations, with no
 explanation provided regarding their deletion. The referenced FOIA amendments in the
 regulation do not appear to address the concerns regarding availability of agency comments or
 the costs of reproduction. While we appreciate the fact that most agency comments on EISs are
 included in an appendix to the final EIS, we suggest that it is best to codify that requirement so
 that agencies clearly understand their responsibilities. We also understand that most documents
 are now sent via electronic form. However, there are still individuals or organizations that lack
 the capacity to receive documents online and consistent with proposed Section 1501.9(c)(3) that
 directs agencies to “consider the ability of affected persons and agencies to access electronic
 media,” the original provision should be reinstated. 98

 In addition, we recommend that agencies be directed to inform communities, Tribal
 governments, Indigenous peoples, and other affected parties about what information related to
 their interests will be kept confidential and what information will be published or available
 through FOIA.

 Finally, while we appreciate the fact that there are (and should be) multiple pathways to making
 NEPA documents available to the public, at this point, it would seem that regular posting of all
 NEPA documents on agency websites should be a basic, common practice. We urge CEQ to



 97
    FRA, supra note 91, at § 106(b)(3)(B), 137 Stat. at 40; 42 U.S.C. § 4336a (f).
 98
    See, Michelle Cao and Rafi Goldberg, Switched Off: Why Are One in Five U.S. Households
 Not Online?, Nat’l Telecomm. and Info. Admin., Dep’t of Com. (Oct. 5, 2022),
 https://www.ntia.gov/blog/2022/switched-why-are-one-five-us-households-not-online.
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 include such a requirement in this section of the regulations to ensure consistency and
 transparency in all agencies.

        b. Time Between Availability of Draft EIS and Public Hearing (Proposed Section
           1501.9(e)).

 In the original regulations, Section 1506.l6(c) required that if an agency held a public hearing on
 a DEIS (which was not required but was an option and remains an option in proposed Section
 1501.9(e), the DEIS had to be available to the public at least 15 days in advance of the hearing.
 The proposed regulations do not restore this provision. The rationale for requiring this minimal
 period of time prior to a public hearing has not changed simply because DEISs are typically now
 found online. Indeed, for some members of the public and especially those in environmental
 justice communities and in remote, rural locations, the switch from paper documents to online
 documents makes it more challenging than ever to access EISs and review them in a timely
 manner. Even for those having access to an electronic version, it is extremely difficult to review
 a DEIS and technical appendices and develop meaningful comments to share within 15 days.
 This is particularly true for people who have to juggle this review and commenting with jobs,
 family responsibilities and other claims on their time. At the very least, the 15-day mandate
 should be restored and perhaps expanded to 30 days.

        c. Lack of Public Involvement Provisions in the Referral Process (Proposed Part
           1504).

 Some of us have had experience with CEQ’s referral process as it was conceived under the 1979
 regulations and found it to be a useful means of achieving better results. At times, the process
 can resolve problems that might otherwise be the subject of litigation in federal court. That
 process was enhanced by the involvement of non-federal entities and individuals interested in the
 proposed action (including an applicant, if relevant to the proposed action). Such involvement
 was explicitly provided for in two stages of the process: 1) CEQ’s deliberations as to whether to
 accept a particular referral, 99 and 2) CEQ’s recommendations for referrals that it accepted. 100

 The 2020 NEPA regulations omit a specific role for any entity or individual outside of federal
 agencies other than a provision that permits an applicant for the proposed action to provide
 written views to CEQ no later than the lead agency’s response to the referral. 101

 It is disappointing to see that CEQ has, in its proposed Section 1504, failed to restore a specific
 role for the public, Tribes, affected communities, states and local governments in this important
 process. We urge that at a minimum, the original provisions for such participation be restored to
 Section 1504.

XVII.   LIMITATION ON ACTIONS DURING THE NEPA PROCESS (Proposed Section
        1506.1).

 99
    Proposed Section 1504.3(e).
 100
     Proposed Section 1504.3(f)(3).
 101
     40 C.F.R. § 1504.3(e).
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  We appreciate the proposed addition that would reinsert direction to agencies to not allow
  predecisional activities that would limit the choice of reasonable alternatives and would clarify
  an agency’s responsibility for notifying the applicant that the agency retains discretion to select
  any reasonable alternative or the no action alternative regardless of any work completed by the
  applicant prior to the conclusion of the NEPA process. However, we oppose, and continue to be
  very concerned about the expansion of the types of actions that can be taken before completion
  of the NEPA process. The original CEQ regulation on this point was drafted both to minimize
  the possibility of biasing the decisionmaking process, including the possibility of foreclosing
  alternatives, and to address concerns that the limitations on pre-decisional action “would impair
  the ability of those outside the Federal government to develop proposals for agency review and
  approval.” 102

  The 2020 regulation loosened these protections by allowing agencies to engage in “such
  activities, including, but not limited to “acquisition of interests in land” while the NEPA process
  is still underway. 103 This addition is of deep concern. Even with the best of intentions, advance
  acquisition of land will almost certainly bias the analytical and decisionmaking process. The
  preamble to the draft 2020 regulations presented no justification for this dangerous addition other
  than a vague reference to making the process “more efficient and flexible . . . . .” 104 We question
  how an applicant expending resources prior to the conclusion of the NEPA process achieves
  either efficiency or flexibility. In fact, it makes the process more efficient only if one assumes
  that the outcome is predetermined. The flexibility it affords runs only to the applicant, not to the
  public’s interest in a fair and unbiased process.

  Courts have made it clear, often in the context of deliberating on injunctive relief, that allowing
  action to proceed before the completion of an adequate NEPA process undermines the purposes
  of the law. As the Court of Appeals for the First Circuit has said, “[t]he way that harm arises may
  well have to do with the psychology of decision makers, and perhaps a more deeply rooted
  human psychological instinct not to tear down projects once they are built.” 105 As the Court
  noted, there is great “difficulty in stopping a bureaucratic steam roller, once started . . .” 106

  We believe that the CEQ regulations should explicitly limit project proponents to activities
  necessary to support applications for federal approval or assistance prior to completion of the
  NEPA process.

XVIII.   ADOPTION OF EISs AND EAs (Proposed Section 1506.3(e)).

  Proposed Section 1506.3(e) would require agencies to identify the adoption of another agency’s
  EIS or EA that is not final, is the subject of a referral to CEQ, or is the subject of litigation. The


  102
      Implementation of Procedural Provisions of the National Environmental Policy Act, 43 Fed.
  Reg. 55978, 55986 (Nov. 29, 1978).
  103
      40 C.F.R. § 1506.1(b).
  104
      Updated Regulations (Jan. 2020), supra note 96, at 1704.
  105
      Sierra Club v. Marsh, 872 F.2d 497, 504 (1st Cir. 1989).
  106
      Id.
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 proposed requirements imply that it is acceptable for an agency to adopt another agency’s EIS or
 EA for a particular proposed action under those three sets of circumstances. We urge CEQ to bar
 adoption of documents in these categories in the first place. To the extent there is useful analysis
 in such a document, that work could still be incorporated by reference into another NEPA
 document under the provisions of proposed Section 1501.12. However, documents that are still
 in draft form or the subject of formal dispute resolution or litigation should not be available for
 adoption.”

XIX.    AGENCY RESPONSIBILITY FOR ENVIRONMENTAL DOCUMENTS
        (Proposed Section 1506.5).

        a. Sponsor Preparation of EISs (Proposed Section 1506.5).

 We believe new Section 107(f) of NEPA requiring agencies to allow project sponsors to prepare
 EAs and EISs is deplorable. However, we urge CEQ to include the agencies’ proposed
 provisions implementing this mandate in its review of agency NEPA procedures to ensure
 adequate guidance and oversight. We commend CEQ for retaining the requirement for
 contactors to disclosure financial or other conflicts of interest and for the addition of the
 requirement for agencies to include in an EA or EIS the names and qualifications of persons
 conducting the essential independent evaluation of any information submitted by or
 environmental documents prepared by a contractor. We urge CEQ to work with agencies to
 require a similar disclosure of reviewers of information and documents prepared directly by an
 applicant.

        b. Allowing Contractors to Prepare Findings of No Significant Impact and Records
           of Decision (Proposed Section 1506.5(b).

 This proposed provision would allow an agency to authorize a contractor to prepare not only an
 EA or EIS under the supervision of the agency but would go further by authorizing a contractor
 to draft a finding of no significant impact or record of decision.
 We oppose this proposal.

 Determining whether the environmental effects identified in an EA and deciding what alternative
 should ultimately be chosen by an agency are quintessential government functions and should
 never be outsourced to a contractor. Giving these tasks to a contractor further separates the
 NEPA process from actual agency decisionmaking, no matter how much review takes place.
 Agency personnel should be wrestling with Findings and RODs.

XX.     INNOVATIVE APPROACHES TO NEPA REVIEWS (Proposed Section 1506.12)

 We have multiple concerns with the entirety of this provision. While we agree that climate
 change and other ecological stressors such as increasing wildfire risk are existential crises that
 urgently need comprehensive solutions, we do not support the open-ended invitation to federal
 agencies to “get creative” with their NEPA compliance. Not only does this cut the public, Tribes,
 and others out of that “creative process” in terms of assessing what is and is not acceptable
 NEPA compliance, but also the agencies have already proven themselves adept at using existing
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 authorities to expedite their NEPA compliance. For example, the Forest Service has already
 deployed a number of emergency NEPA authorities to combat what it calls “the Wildfire Crisis,”
 including limiting the consideration of a robust range of alternatives, eliminating the
 administrative review process for projects it defines as wildfire risk reduction activities, utilizing
 alternative arrangements to undertake ground-disturbing activities prior to completing NEPA
 analysis, exempting CE projects from documentation with a decision memorandum, and other
 emergency authorities. 107 It remains to be seen – if any monitoring of these projects occurs –
 whether this approach in fact achieves the agency’s desired outcomes, or if it in fact exacerbates
 the underlying causes for concern of climate change-driven ecological collapse. What is clear is
 that the Forest Service’s efforts described here limit the ability of interested groups,
 environmental justice communities, Tribes, and other members of the public to meaningfully
 participate in the NEPA process and deprive the agency of important information in making its
 decision.

 While it is reasonable to encourage constructive innovation in NEPA compliance, we are
 dismayed that CEQ would essentially give federal agencies a blank check without any public
 accountability. We strongly urge that CEQ abandon this provision in the final rule.

XXI.    DEFINITION OF “REASONABLY FORESEEABLE” (Proposed Section
        1508.1(gg).

 CEQ should amend the 2020 regulation’s definition of “reasonably foreseeable.” We preface our
 explanation by noting that generally, like CEQ, we oppose the integration of tort law into the
 NEPA process. 108 However, “reasonably foreseeable” is a term long enshrined in NEPA law and
 practice.

 The 2020 Rule defined “reasonably foreseeable” to mean “sufficiently likely to occur such that a
 person of ordinary prudence would take it into account in reaching a decision.” 109 The preamble
 to the 2020 Rule, 110 stated that this was “consistent with the ordinary person standard—that is
 what a person of ordinary prudence in the position of the agency decision maker would consider


 107
     Decision Memorandum on Proposed Emergency Response, R5 Giant Sequoia Groves Fuels
 Reduction and Restoration Projects – Sequoia and Sierra National Forests (July 22, 2022),
 available at https://www.fs.usda.gov/Internet/FSE_DOCUMENTS/fseprd1078189.pdf; Letter
 from Randy Moore, Chief, Nat’l Forest System, to Regional Foresters, Station Directors, IITF
 Director, Deputy Chiefs, and WO Directors (July 19, 2023) (copy available at
 https://www.dropbox.com/scl/fi/f6zl41fn19w1qpl3ki313/USDA-FS-Emergency-Authorities-
 Memo-July-2023.pdf?rlkey=fwvkal9wk67t5qf243x3cdo0l&dl=0).
 108
     As CEQ stated in its Phase 1 rulemaking, “CEQ no longer deems it necessary to import
 principles of tort law into the NEPA regulations. Environmental review under NEPA serves
 different purposes, such as guiding sound agency decision making and future planning, that may
 reasonably entail a different scope of effects analysis than the district tort law context.”
 Implementing Regulations Revisions on National Environmental Policy Act, 87 Fed. Reg.
 23453, 23465 (May 20, 2022).
 109
     40 C.F.R. 1508.1(aa); Updated Regulations (July 2020), supra note 48, at 43376.
 110
     Id. at 43351
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in reaching a decision.” CEQ provided no additional justification in the 2020 Notice of Proposed
Rulemaking. 111

The definition adopted in 2020, without further explanation, leaves unnecessary ambiguity as to
who this “person of ordinary prudence” is. An agency decisionmaker has access to knowledge
and skills, and an agency’s resources and responsibilities, that an ordinary person on the street
would not. And it would not be prudent, or consistent with general principles of law, to hold an
agency decisionmaker to a standard that ignores these specialized knowledge, skills, and
resources.

The First Circuit case that the 2020 Rule preamble cited for the “person of ordinary prudence”
standard, Sierra Club v. Marsh, appears to have recognized this, noting that the point of
reference for the “person of ordinary prudence” standard is not an ordinary person on the street,
but a “person of ordinary prudence in the position of the decisionmaker at the time the decision is
made.” 112 A person of ordinary prudence in that position has access to all the agency’s
specialized knowledge, skills, and resources, and is subject to the agency’s particular
responsibilities. A portion of Marsh’s language is referenced in the preamble to the 2020 Rule,
but not repeated in the regulatory definition. And that preamble language is insufficiently explicit
to eliminate unnecessary ambiguity

But background principles of law can inform this standard. Marsh explicitly drew its “person of
ordinary prudence in the position of the decisionmaker” standard from the law of torts, id., and
the law of torts makes clear that “[i]f an actor has skills or knowledge that exceed those
possessed by most others, these skills or knowledge are circumstances to be taken into account in
determining whether the actor has behaved as a reasonably careful person.” 113

The 2020 Rule’s definition of “reasonably foreseeable” also neglects to state explicitly—and
thus arguably leaves ambiguous—the obligation that agencies preparing NEPA documentation
engage in a degree of reasonable forecasting—something not every “person of ordinary
prudence” on the street would necessarily do, but that agencies, with their expertise and
modeling resources, are expected to do. 114 We believe that defining “reasonable foreseeability”
from the perspective of a prudent agency decisionmaker would better reflect the principles
underlying Scientists’ Institute for Public Information.

 For these reasons, we urge CEQ to amend and clarify the definition of “reasonably foreseeable.”
One important goal of the Phase 2 rule should be to reduce ambiguity and eliminate uncertainty
where possible. Here that’s possible. The 2020 Rule’s “person of ordinary prudence” standard
could be misinterpreted as referring to a person of ordinary prudence who lacks the specialized
knowledge, skills, and resources of a federal agency. That would be inconsistent with


111
    Updated Regulations (Jan. 2020), supra note 96, at 1710.
112
    Sierra Club v. Marsh¸ 976 F.2d 763, 767 (1st Cir. 1992) (emphasis added).
113
    Restatement (Third) of Torts: Liability for Physical and Emotional Harm § 12 (2010).
114
    See Scientists’ Inst. for Pub. Info., Inc., supra note 96, at 1092; Wildearth Guardians v. Zinke,
368 F.Supp.3d 41, 67-68 (D.D.C. 2019); High County Conservation Advocs. v. U.S. Forest Serv.,
52 F. Supp. 3d 1174, 1196 (D. Colo. 2014).
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 background principles of law and appellate precedent. To help eliminate that possibility, we urge
 CEQ to more clearly define “reasonably foreseeable” to mean “sufficiently likely to occur such
 that a prudent agency decisionmaker would take it into account in reaching a decision.”

XXII.   “MAJOR FEDERAL ACTIONS” (Proposed Section 1508.1(u)).

 The FRA defined a major Federal action as one that is subject to “substantial Federal control and
 responsibility,” as determined by the action agency. 115 The FRA excluded certain types of
 financial assistance, including loans and loan guarantees, from that definition only where the
 agency “does not exercise sufficient control and responsibility over the subsequent use of such
 financial assistance or the effect of the action.” 116

 In the Proposed Rule, CEQ includes the FRA’s definition of a major Federal action verbatim,
 including the exemption for financial assistance where the agency does not exercise the requisite
 level of control and responsibility. 117 Although Congress did not further define “sufficient
 control and responsibility” in the FRA, CEQ interprets the phrase to at least include
 circumstances where the agency “has authority and discretion over the financial assistance in a
 manner that could address environmental effects from the activities receiving the financial
 assistance.” 118 The Proposed Rule reflects this interpretation, as CEQ provides that major
 Federal actions generally include financial assistance such as loans or loan guarantees in the
 following circumstances:

        where the agency has the authority to deny in whole or in part the assistance due to
        environmental effects, impose conditions on the receipt of financial assistance to
        address environmental effects, or otherwise has sufficient control and responsibility
        over the subsequent use of the financial assistance or the effects of the activity for
        which the agency is providing the financial assistance. 119

 Given the potential for federally assisted programs to cause significant environmental effects,
 CEQ should provide additional guidance to agencies to aid in their determinations as to whether
 an action is “subject to substantial Federal control and responsibility.” Additional guidance
 would clarify the statutory and regulatory language, promote consistency in agency
 determinations, and discourage agencies from skirting their NEPA obligations. In providing
 additional guidance, CEQ should use examples to further expand on the concept of substantial
 control and responsibility. Both Department of Energy (DOE) Title XVII loan guarantees and
 Department of Agriculture Farm Service Agency (FSA) financial assistance for factory farms are
 apt choices for this purpose because it is well-established that these programs already are, and
 should continue to be, subject to NEPA. Indeed, the presence of required ongoing monitoring,
 reporting and auditing requirements would also indicate substantial Federal control and
 responsibility.


 115
     42 U.S.C. § 4336e(10)(A).
 116
     42 U.S.C. § 4336e(10)(B)(iii).
 117
     Phase 2 Proposed Revisions, supra note 3, at 49987 (proposed 1508.1(u)).
 118
     Phase 2 Proposed Revisions, supra note 3, at 49962.
 119
     Phase 2 Proposed Revisions, supra note 3, at 49987 (proposed § 1508.1(u)(1)(vi)).
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Federal financial assistance is a powerful driver of many polluting industries and as such,
additional guidance regarding the level of control and responsibility necessary to trigger NEPA
is critical. The purported benefits and many potential adverse environmental effects associated
with federally assisted projects deserve continued scrutiny. For example, applicants for DOE
Title XVII loan guarantees may include entities constructing carbon capture, utilization, and
storage (CCUS) projects, carbon dioxide transportation infrastructure, mine processing facilities,
and hydrogen infrastructure, 120 which have adverse environmental effects that must be
considered and evaluated alongside any purported benefits.

Applications for FSA financial assistance are also properly subject to scrutiny for environmental
impacts because applicants may include heavily polluting factory farms. 121 Concentrated Animal
Feeding Operations (CAFOs) and other factory farms that are otherwise eligible for FSA
assistance contribute to climate change and generate enormous amounts of waste that
contaminate local air, water, and soil. 122 CAFOs are particularly harmful to frontline
communities that are disproportionately comprised of Black, Latino, Indigenous, and low-
income people. 123 These communities deserve to understand the impacts of projects funded by
their tax dollars and their voices should be heard during the decision-making process.
Accordingly, FSA-assisted CAFO projects are properly subject to NEPA review.

It is well-established that DOE Title XVII loan guarantees and FSA financial assistance for
CAFOs are major federal actions. DOE already subjects loan guarantees to NEPA, as expressly




120
    Loan Guarantees for Clean Energy Projects, 88 Fed. Reg. 34,421 (May 30, 2023).
121
    See, e.g., Dakota Rural Action v. U.S. Dep’t of Agric., No. 18-2852, 2023 LEXIS 59678
(D.D.C. April 4, 2023) at *5 (confirming that FSA provides loan services to CAFOs).
122
    See generally Nat’l Risk Mgmt. Research Lab’y, Risk Assessment Evaluation for
Concentrated Animal Feeding Operations EPA/600/R-04/042, U.S. Env’t Prot. Agency (May
2004) [hereinafter EPA CAFO Risk Assessment), available at
https://nepis.epa.gov/Exe/ZyPDF.cgi/901V0100.PDF?Dockey=901V0100.PDF (describing the
various risks of environmental harms from CAFOs). See also National Pollutant Discharge
Elimination System Permit Regulation and Effluent Limitation Guidelines and Standards for
Concentrated Animal Feeding Operations, 68 Fed. Reg. 7,176, 7,181 (Feb. 12, 2003)
(“[p]ollutants in animal waste and manure can enter the environment through a number of
pathways.”); JoAnn Burkholder et al., Impacts of Waste from Concentrated Animal Feeding
Operations on Water Quality, 115 Env’t Health Persp. 308 (Feb. 2007),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1817674/; Matthew N Hayek & Scot M Miller,
Underestimates of Methane from Intensively Raised Animals Could Undermine Goals of
Sustainable Development, 16 Env’t. Res. Lett. 1 (2021),
https://iopscience.iop.org/article/10.1088/1748-9326/ac02ef/pdf (“[a]nimal agriculture has been
reported to represent 15.6% of total annual greenhouse gas (GHG) emissions globally.”).
123
    See generally, e.g., Wendee Nicole, CAFOs and Environmental Justice: The Case of North
Carolina, 121 Env’t Health Persp. A182 (2013),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3672924/pdf/ehp.121-a182.pdf.
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stated in the agency’s regulations, 124 which were clarified through DOE’s recent Interim Final
Rule on Loan Guarantees for Clean Energy Projects. 125 DOE further discusses how loan
guarantees are subject to NEPA in its program guidance, 126 its current loan guarantee solicitation
announcement, 127 and its website. 128 Nothing in the FRA or the Proposed Rule affects this
determination. Similarly, FSA regulations have long required the agency to prepare an
environmental assessment prior to acting on an application for financial assistance for CAFOs. 129
DOE Title XVII loan guarantees and FSA financial assistance are both instructive, not only
because they are already subject to NEPA, but because they are squarely within the
circumstances that CEQ generally recognizes as major federal actions as well. Both DOE and
FSA have the authority to deny applications for their respective financial assistance programs
due to environmental effects, and both agencies otherwise exercise control and responsibility


124
    10 C.F.R. § 609.7(b)(5) (stating that prior to closing, DOE will ensure that it has “completed
all necessary reviews under [NEPA].”).
125
    Loan Guarantees for Clean Energy Projects, 88 Fed. Reg. 34419 (May 30, 2023) (codified at
10 C.F.R. Part 609) (revising DOE’s regulations to clarify that NEPA review is required for loan
guarantees prior to closing).
126
    Loan Programs Office, Program Guidance for Title 17 Clean Energy Program OMB No.
1910-5134,U.S. Dep’t of Energy, 47-48 (May 19, 2023), available at
https://www.energy.gov/lpo/articles/program-guidance-title-17-clean-energy-program (stating
that “[p]rior to financial close of a Title 17 loan guarantee, projects must complete the
appropriate environmental review subject to NEPA.”).
127
    Loan Programs Office, Loan Guarantee Solicitation Announcement: Federal Loan Guarantees
for Innovative Clean Energy DE-SOL-0007154, U.S. Dep’t of Energy, 8 (Apr. 18, 2022),
available at https://www.energy.gov/lpo/articles/innovative-clean-energy-loan-guarantee-
solicitation-current (stating that “DOE must complete a NEPA review before it makes a decision
to provide a loan guarantee. Compliance is integrated into LPO’s decision-making procedures to
ensure that a Project’s environmental impacts are properly considered.”); id., at 36-38
(Attachment D – National Environmental Policy Act Compliance).
128
    Loan Programs Office, Environmental Compliance, U.S. Dep’t of Energy,
https://www.energy.gov/lpo/environmental-compliance (last accessed Sept. 28, 2023) (stating
that “[l]oans and loan guarantees issued under LPO's program are considered major Federal
actions and are subject to [NEPA] review. NEPA compliance is integrated into LPO’s decision-
making procedures to ensure that environmental impacts are considered throughout the loan
guarantee process. The NEPA review must be completed before a loan or loan guarantee can be
issued.”).
129
    See Buffalo River Watershed All. v. U.S. Dep’t of Agric., No. 4:13-cv-450-DPM, 2014 LEXIS
168750 (E.D. Ark. Dec. 2, 2014) (describing FSA’s pre-2016 NEPA regulations and their
treatment of CAFO loan guarantees). See also 7 C.F.R. §§ 799.31(b)(1)(vii) (noting that loans
for livestock are not categorically excluded from NEPA); 799.32(d)(1)(ii) (explaining that
extraordinary circumstances may exist that make loans for livestock subject to NEPA); 799.32(e)
(requiring “additional environmental review and consultation” for loans to projects that include
construction or ground disturbance); 799.33(a)(1) (describing extraordinary circumstances—such
as harm to wildlife, waterways, aquifers, and important landscapes—that require heightened
environmental review); 799.41(a) (mandating an EA for CAFO construction, refinancing of new
CAFOs, and activities like land clearing and irrigation development that are typical to CAFOs).
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over the activities undertaken using Federal dollars. Eligible projects for Title XVII loan
guarantees must “avoid, reduce, utilize, or sequester air pollutants or anthropogenic emissions of
greenhouse gases,” or have controls or technologies to do so. 130 Applicants must describe how
their projects meet those eligibility requirements 131 and DOE denies applications for ineligible
projects. 132 Even if a project is eligible, DOE still considers environmental factors—namely,
“[e]nvironmental impacts, review and compliance”—in the application process. 133 DOE
exercises subsequent control and responsibility over loan guarantees through its authority to,
inter alia, monitor the performance of the borrower and the eligible project,134 access records
related to the project and perform audits, 135 and authorize deviations from program
requirements. 136

Likewise, FSA farm ownership loan guarantees are only authorized for projects that “promote
soil and water conservation and protection.” 137 No FSA loans can be made to any project that
“contributes to excessive erosion of highly erodible land or to the conversion of wetlands.” 138
Further, FSA exercises ongoing control over and responsibility for financed projects because the
agency must “seek to mitigate potential adverse environmental impacts resulting from Agency
actions” like loan guarantees and other forms of financial assistance to CAFOs and other factory
farm operations. 139 FSA must include any environmental mitigation measures the agency relies
upon in reaching their decision in the agency’s commitment documents, plans, construction
contracts, and anywhere else necessary to make the mitigation legally binding. 140 Crucially, FSA
retains this control and responsibility beyond the decision to issue the financial assistance. The
agency must monitor implementation of mitigation measures throughout the design,
construction, and future servicing of the project. 141 Moreover, if the applicant fails to comply
with the agreed upon mitigation, FSA must suspend all advancements and reimbursements, and
the agency is broadly authorized to take other measures to redress the failed mitigation. 142 All of
these factors indicate sufficient agency control over a financially assisted project and could
inform additions to proposed section 1508.1(u)(1)(vi) in the final rule.




130
    42 U.S.C. §§ 16513, 16517; 10 CFR § 609.3.
131
    Loan Guarantee Solicitation Announcement, supra note 128, at 22-23.
132
    10 C.F.R. § 609.5(b)(1)
133
    Loan Guarantee Solicitation Announcement, supra note, at 9 (breaking down the weight of
various criteria in the application process, including environmental factors which account for
20%).
134
    10 C.F.R. § 609.8(b)(13).
135
    Id., at § 609.17.
136
    Id., at § 609.18.
137
    7 C.F.R. § 762.121(b)(3).
138
    Id., at § 762.121(d).
139
    7 C.F.R. § 1970.16(a).
140
    Id., at §1970.16(a)-(b).
141
    Id., at §1970.16(c).
142
    Id.
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In short, CEQ must provide guidance to agencies to inform determinations regarding financial
assistance. Such guidance is necessary to ensure clarity and consistency across agencies and to
ensure that federally-assisted projects receive the appropriate level of NEPA review.

In conclusion, we appreciate the opportunity to comment on these proposed revisions to CEQ’s
NEPA regulations. If you have you any questions about these comments, please contact Stephen
Schima, Senior Legislative Council, Earthjustice, at sschima@earthjustice.org or (503) 830-
5753.

Sincerely,

Animal Welfare Institute
Black Hills Clean Water Alliance
Black Millennials 4 Flint
Center for Biological Diversity
Chaco Alliance
Citizens Caring for the Future
Clean Water Action
Clean+Healthy
Climate Hawks Vote
Coalition to Protect America's National Parks
Connected Conservation Foundation
CURE
Defenders of Wildlife
Earth Action, Inc.
Earthjustice
Earthworks
Endangered Species Coalition
Environmental Health Trust
Environmental Justice Health Alliance for Chemical Policy Reform (EJHA)
Environmental Law & Policy Center
Environmental Protection Information Center - EPIC
Food & Water Watch
Footloose Montana
FracTracker Alliance
Friends of the Earth
Great Old Broads for Wilderness
GreenLatinos
Idaho Conservation League
Information Network for Responsible Mining
Interfaith Power & Light
Just Solutions Collective
Klamath Forest Alliance
Living Rivers
League of Conservation Voters
Los Jardines Institute
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                                                                                    36

Los Padres ForestWatch
Maryland Pesticide Education Network
Montana Environmental Information Center
Naeva
National Trust for Historic Preservation
National Wildlife Federation
Native Movement
Native Organizers Alliance
Natural Resources Defense Council
New Hampshire Audubon
New Mexico Climate Justice
New Mexico Sportsmen
New Mexico Wild
Norbeck Society
Northeastern Minnesotans for Wilderness
Northern Plains Resource Council
NPCA
Nuclear Watch New Mexico
Oceana
Ocean Conservation Research
Ocean Defense Initiative
Operation HomeCare, Inc.
Oxfam America
Powder River Basin Resource Council
Prairie Hills Audubon Society
Predator Defense
Progressive Democrats of America - Central New Mexico
Project Eleven Hundred
Public Employees for Environmental Responsibility (PEER)
Rio Grande Indivisible, NM
Santa Fe Forest Coalition
(SciCAN) Science and Community Action Network_EJ
Seven Circles Foundation
Sheep Mountain Alliance
Sierra Club
Silvix Resources
Southern Environmental Law Center
Southern Utah Wilderness Alliance
Tanka Fu
The Wilderness Society
Waterkeeper Alliance
Western Colorado Alliance
Western Environmental Law Center
Western Organization of Resource Councils
WildEarth Guardians
Wilderness Workshop
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                                                                               37

Winter Wildlands Alliance
Wyoming Wilderness Association
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      ATTACHMENT 1
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                                                                           April 10, 2023


  The Honorable Brenda Mallory
  Chair, Council on Environmental Quality
  730 Jackson Place, N.W.
  Washington, D.C. 20503

            RE: National Environmental Policy Act Guidance on Consideration of
            Greenhouse Gas Emissions and Climate Change
            CEQ-2022-0005


  Dear Chair Mallory:

  Thank you for the opportunity to comment on the Council on Environmental Quality
  (CEQ)’s interim National Environmental Policy Act Guidance on Consideration of
  Greenhouse Gas Emissions and Climate Change (hereinafter “Interim Guidance) on
  analyzing greenhouse gas (GHG) emissions and climate change effects in the course of
  agency implementation of the National Environmental Policy Act (NEPA). The Interim
  Guidance is an important step forward in CEQ’s direction on this most critical issue.
  Since issuance of CEQ’s 2016 guidance on climate change in the NEPA context, our
  understanding and experience with climate change and how to assess its effects has
  evolved. We appreciate the substantial work that has gone into incorporating some of
  this new understanding. That said, we offer a number of recommendations below for
  improving the guidance. These suggested changes will make the final guidance a more
  useful tool for complying with NEPA, will provide a more accurate assessment of how
  projects will impact climate mitigation efforts, and will better ensure that potential
  climate-related impacts to communities and natural resources from projects are
  appropriately considered.

  GENERAL ISSUES

  CEQ’s Final Guidance Should Direct Agencies to Quantify Methane Emissions Using
  both 100-Year and 20-Year Methane Global Warming Potential.

  Our organizations urge CEQ to bolster its recommendations around the disclosure of
  methane’s global warming potential (GWP) by instructing agencies to affirmatively
  disclose both the 100-year and 20-year methane GWP. Adding this requirement will
  ensure compliance with recent case law regarding such disclosures and ensure alignment
  with NEPA regulations that require agencies to consider “[b]oth short-term and long-term
  effects” of their actions.1 Adding this requirement would not put undue burdens on the
  NEPA review process as GWPs for non-carbon dioxide greenhouse gasses are commonly
  used in NEPA documents to allow the agency to provide a total GHG calculation that
  factors in carbon dioxide, methane, nitrous oxides, and other relevant GHGs and converts
  1
      40 C.F.R. § 1501.3(b)(2)(i).
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                                                                                             2


  them all to carbon dioxide equivalent (CO2e) (with carbon dioxide assigned a GWP of 1).
  The Interim Guidance instructs agencies to quantify a project’s direct and indirect GHG
  emissions “individually by GHG, as well as aggregated in terms of total CO2 equivalence
  by factoring in each pollutant’s global warming potential (GWP), using the best available
  science and data.”2

  Methane has substantially different GWPs depending on whether one considers its short-
  term or long-term warming influence. As CEQ explains, “over a 100-year period, the
  emissions of a ton of methane contribute 28 to 36 times as much to global warming as a
  ton of carbon dioxide. Over a 20-year timeframe, methane is about 84 times as potent as
  carbon dioxide.”3 That is accurate, useful information. But when guiding agencies on
  how to use methane’s GWPs in their NEPA analyses, the Interim Guidance falls short of
  what the relevant case law requires. The Interim Guidance states “[t]o avoid potential
  ambiguity, CEQ encourages agencies to use the 100-year GWP [of methane] when
  disclosing the GHG emissions impact from an action in their NEPA documents.”4
  Following that guidance would frequently omit a substantial amount of GHGs from a
  project’s total CO2e calculation, particularly where methane makes up a meaningful
  portion of the project’s GHG emissions, thus underrepresenting both the short-term
  disproportionate impact of such emissions on climate change and the near-term benefits
  of methane emission reductions if such projects were not approved.

  As explained by the United States District Court for the District of Montana, which
  invalidated BLM’s NEPA review for two resource management plans where BLM relied
  exclusively on the 100-year GWP for methane, “BLM’s unexplained decision to use the
  100-year time horizon, when other more appropriate time horizons remained available,
  qualifies as arbitrary and capricious under these circumstances.”5 At a minimum, agency
  NEPA analyses must disclose both the 100-year and 20-year GWP for methane.6 In the
  final guidance, CEQ should update its recommendations on methane GWPs to better
  reflect the mandates in NEPA’s regulations and the relevant case law.

      In the final guidance, CEQ should strengthen this direction by instructing agencies to
      use both the 100-year and 20-year GWP of methane. Agencies can avoid any
      “ambiguity” by explaining why they use both GWPs to calculate a project’s total GHG
      emissions. Doing so would add very minimally to an agency’s workload, improve the
      disclosure of GHG emissions “using the best available science and data,”7 and align with

  2
    CEQ, NEPA Guidance on Consideration of Greenhouse Gas Emissions and Climate Change, 88
  Fed. Reg. at 1201.
  3
    88 Fed. Reg. at 1199.
  4
    88 Fed. Reg. at 1199.
  5
    W. Org. of Res. Councils v. BLM, 2018 WL 1475470 at *15 (D. Mont. 2018).
  6
    The Tenth Circuit Court of Appeals recently upheld a NEPA analysis that disclosed both the
  100- and 20-year methane GWP. See Dine Citizens Against Ruining Our Env't v. Haaland, 59
  F.4th 1016 (10th Cir. 2023) (holding that “because BLM discussed both the one hundred-
  year and twenty-year time horizons … BLM did consider the short-and long-term effects of the
  GHG emissions.”).
  7
    88 Fed. Reg. at 1201.
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      NEPA regulations that require agencies to consider “[b]oth short- and long-term effects”
      of their actions.8

  The Final Guidance Should Include Additional Ocean and Coastal Issues and Examples.

  We urge CEQ to include additional ocean-related concerns and examples throughout the
  final guidance. Rapidly accelerating climate change and ocean acidification driven by
  greenhouse gas emissions are some of the most imminent threats to functional marine
  ecosystems and healthy coastal communities, with clearly foreseeable and enormously
  significant environmental consequences for the American public. Approximately 42% of
  the United States population (over 133 million people) lives near the coast.9 Coastal
  communities and the marine ecosystems on which they depend are experiencing extreme
  weather events, sea level rise, ocean acidification, and changing abundance and
  distribution of fish stocks. Extreme events associated with the ocean are projected to
  become more common and severe as these conditions intensify and intersect.10

  It is critically important that oceans are explicitly included in the final guidance. NEPA
  applies to a wide range of ocean-related activities under federal management jurisdiction
  including management of fisheries, offshore energy production, vessel traffic, ocean
  dumping, military activities, and other actions. Climate change and federal actions
  resulting in GHG reductions have a significant impact on ocean-related federal proposals
  and actions that otherwise would be single resource-driven decisions. CEQ’s GHG NEPA
  guidance plays a vital role in ensuring that climate change impacts are part of these
  analyses.

  As a start, the background section should include an additional section (Section C) on
  ocean acidification. Just as methane, as a particularly potent GHG, is called out for the
  specific attention necessary to reducing emissions and concentrations, carbon dioxide
  concentrations are uniquely responsible for ocean acidification. Ocean acidification acts
  together with other climate-driven ocean changes like warming temperatures and oxygen
  loss to place variable, and sometimes difficult to predict, pressures on marine life that can
  affect species’ survival, reproduction, geographic range, and interactions with other
  species.11

  Additionally, we ask that the reference to “land and resource management” in the
  background section be modified to read “land, ocean and coastal resource management
  actions under NEPA.”12 This change should be made throughout the guidance where
  similar language appears including in the discussions of “Special Considerations for


  8
    40 C.F.R. § 1502.3(b)(2)(i).
  9
    U.S. Global Change Research Program, Fourth National Climate Assessment (NCA4), Chapter
  8: Coastal Effects (2018), available at https://nca2018.globalchange.gov/chapter/8/.
  10
     IPCC, 2022, pp. 420–433, Climate Change 2022: Impacts, Adaptation and Vulnerability,
  https://www.ipcc.ch/report/ar6/wg2/.
  11
     IPCC, 2022, pp. 379-550, Climate Change 2022: Impacts, Adaptation and Vulnerability,
  https://www.ipcc.ch/report/ar6/wg2/,
  12
     88 Fed. Reg. 1196, 1198.
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  Biological GHG Sources and Sinks,”13 and “Programmatic or Broad-Based Studies and
  NEPA Reviews.”14 We also recommend adding marine heat waves to the list of real
  world effects in the examples of issues that agencies should address, citing available
  scientific literature, to help explain effects, including local effects.15

  DIRECT AND INDIRECT EFFECTS

  CEQ’s Final Guidance Should Provide Considerably More Assistance, Including
  Additional Limits on and Clarity Around, Agencies’ Use of Substitution Analysis.

  CEQ’s Interim Guidance provides a useful starting point in addressing substitution
  analysis as it pertains to the climate impacts of federal projects undergoing NEPA review.
  Substitution analysis refers to the practice of assessing the impacts of a particular project
  on energy markets as a whole. In the context of major fossil fuel infrastructure or
  development projects, substitution analysis seeks to compare project emissions with those
  that might occur if the project is not developed. Agencies often conclude that some other
  source of fossil fuel will perfectly substitute for the project in question, or that the fuel
  will be transported through other means, leading to the counter-intuitive result that the
  project will have net zero or even negative GHG emissions. For example, in its NEPA
  review for the Wright Area coal mines, BLM assumed "that there was no real world
  difference between issuing the Wright area leases and declining to issue them" because, it
  asserted, even if BLM denied the leases, "third party sources of coal would perfectly
  substitute for any volume lost on the open market."16 The result of BLM's arbitrary
  perfect substitution assumption -- which the Tenth Circuit rejected as illogical -- was that
  there would be no difference between the action and no action alternatives in terms of
  coal mined, coal burned, or greenhouse gasses emitted. Given the centrality of these
  findings to the NEPA process and substantive decisions around fossil development, we
  urge CEQ to provide more specific guidance to agencies in order to promote greater
  certainty, consistency, and accuracy in NEPA analyses across federal agencies.

  NEPA requires agencies to provide a clear basis for choice among considered
  alternatives,17 and CEQ’s Interim Guidance correctly notes that substitution analysis
  related to fossil fuel proposals has proven particularly challenging for agencies. Given the
  wide disparity among federal agencies with regard to whether and how to analyze
  substitution effects, and the variety of economic models available to assist with this
  analysis,18 CEQ should provide additional clear direction and clear sidebars to the
  agencies regarding the use of substitution analysis in NEPA analyses.

  13
     Id. at 1207.
  14
     Id. at 1210.
  15
     Id. at 2203.
  16
     WildEarth Guardians v. United States Bureau of Land Management, 870 F.3d 1222, 1233 (10th
  Cir. 2017) (emphasis added).
  17
     42 U.S.C. §§ 4332(C)-(E), 40 C.F.R. 1502.14.
  18
     For example, EIA uses the National Energy Modeling System in its Annual Energy Outlook;
  EPA uses ICF’s Integrated Planning Model; BOEM developed and uses its own model known as
  MarketSIM; BLM has no standard analytic method for evaluating substitution effects. As
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  As CEQ notes, agencies tasked with providing the public and decisionmakers with a
  useful comparison between the climate impacts of action and no action alternatives
  understandably seek to identify not just direct and indirect emissions from a project, but
  also net changes in GHG emissions. This, in turn, frequently entails forecasting changes
  in energy markets based on whether a particular proposal is approved (as it is in action
  alternatives) or rejected (as it typically is the no action alternative). However, evaluating
  changes in energy markets across alternatives – specifically the mix of coal, oil, gas,
  wind, and solar, etc. used to generate electricity – and the extent to which changes to this
  mix increase or decrease GHG emissions is often not within the scope of many agencies’
  traditional expertise. The results of these efforts have been consistently flawed, with
  many comparisons concluding that major fossil fuel investments would have no or even
  negative GHG emissions. Perhaps in part because of federal agencies’ lack of familiarity
  with the subject, federal courts have overturned NEPA reviews based on arbitrary climate
  analyses stemming from flawed consideration of substitution effects from the Bureau of
  Land Management,19 Office of Surface Mining Control Reclamation and Enforcement,20
  Bureau of Ocean Energy Management,21 U.S. Forest Service,22 Federal Energy
  Regulatory Commission,23 and Surface Transportation Board.24 Plainly, there is a need for
  greater clarity from CEQ on this subject.

  In short, substitution analysis as practiced by most agencies today is fraught with error,
  undermines the central goal of NEPA to present a clear picture of GHG emissions, and is
  an obvious litigation risk for agencies. While CEQ’s Interim Guidance provides a useful
  starting point for agencies analyzing climate and market substitution effects, it is critical
  that the final guidance provide additional specificity and limits to agencies in order to
  provide the most useful, instructive guidance for future NEPA reviews. We ask CEQ to
  incorporate the following principles and examples in its final guidance.

          1. Substitution modeling should never assume fixed market demand for fossil
          fuels.
  CEQ’s final guidance should instruct agencies that market analyses in NEPA reviews
  must acknowledge: (a) that energy proposals and policies may affect levels of
  consumption and (b) that agencies must not treat demand for commodities such as coal,
  oil, and gas as fixed. In 2003 the Eighth Circuit rejected the notion of fixed coal demand


  discussed further below, some of the models have deep flaws—for example, by assuming
  constant demand for fossil fuels for many decades, in contravention to both U.S. and global
  policies as well as the facts on the ground.
  19
     WildEarth Guardians v. BLM, 870 F.3d 1222, 1236 (10th Cir. 2017).
  20
     Montana Environmental Information Center v. OSM, 274 F.Supp.3d 1074, 1098 (D. Mont.
  2017).
  21
     Center for Biological Diversity v. Bernhardt, 982 F.3d 723, 736 (9th Cir. 2020).
  22
     High Country Conservation Advocs. v. U.S. Forest Serv., 52 F. Supp. 3d 1174, 1197–98 (D.
  Colo. 2014).
  23
     Sierra Club v. Fed. Energy Regulatory Comm'n, 867 F.3d 1357, 1375 (D.C. Cir. 2017).
  24
     Mid-States Coalition for Progress v. Surface Transp. Bd., 345 F.3d 520, 549 (8th Cir. 2003).
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                                                                                                     6


  in analyzing a Surface Transportation Board’s analysis of a proposed coal rail line,
  concluding that “the proposition that the demand for coal will be unaffected by an
  increase in the availability … is illogical at best.”25 Even where agencies do not fully rely
  on perfect substitution, their analyses have implausibly assumed that economic demand
  for a specific commodity, such as coal, oil, or gas, will remain unchanged in the face of
  new supply.26 More than one commentator has noted that BOEM’s MarketSim model
  “assumes near constant oil and gas demand domestically for up to 70 years into the
  future.”27 These assumptions are squarely at odds with the facts and with our climate
  goals: plainly, both the nation and the world need to be – and are – moving aggressively
  away from fossil fuels in the years ahead and agencies cannot simply project today’s
  fuels uses over decades to make useful predictions. Indeed, it is the comparison of project
  emissions to this unrealistic future that lays at the heart of misleading conclusions that
  major fossil fuel projects will have no climate impacts.
  Analyzing substitution effects is a complicated exercise that is particularly challenging
  when fossil fuel projects impact both domestic and international markets. CEQ’s final
  guidance should follow instructive D.C. Circuit case law rejecting agency attempts to
  dodge meaningful analysis based on vague statements related to market substitution. In
  its NEPA review for the Sabal Trail gas pipeline, the Federal Energy Regulatory
  Commission (“FERC”)’s assessment of market impacts was that the project’s GHG
  emissions “might be partially offset” by the market replacing the project’s gas with either
  coal or other gas supply.28 The D.C. Circuit rejected FERC’s failure to study this issue,
  stating, “[a]n agency decision maker reviewing this EIS would thus have no way of
  knowing whether total emissions, on net, will be reduced or increased by this project, or
  what the degree of reduction or increase will be. In this respect, then, the EIS fails to
  fulfill its primary purpose.”29 Id. CEQ’s final guidance should make clear that similarly
  vague assertions of market effects are insufficient where modeling tools would allow the
  agency to provide the public and decisionmakers with a more informed understanding of
  a project’s climate impact.

  Moreover, this principle applies to both domestic and international consumption of fossil
  fuels that agencies should account for in their market and climate analyses. As the Ninth
  Circuit has made clear, despite modeling uncertainties, agencies must attempt to account
  for all reasonably foreseeable market changes, including changes internationally. CEQ’s
  final guidance should make this obligation clear to agencies. In analyzing the effects of
  the Liberty oil and gas drilling project, the Bureau of Ocean Energy Management
  (“BOEM”) concluded initially that the no action alternative – rejecting the Liberty project

  25
     Mid-States Coalition for Progress v. Surface Transp. Bd., 345 F.3d 520, 549 (8th Cir. 2003).
  26
     Peter Howard and Max Sarinsky, Best Practices for Energy Substitution Analysis, Institute for
  Policy Integrity, at 3 (Dec. 2022).
  27
     Jan Hasselman and Peter Erickson, NEPA Review of Fossil Fuel Projects – Principles for
  Applying a “Climate Test” for New Production and Infrastructure (2022); Howard & Sarinsky,
  supra note 23, at 5 (noting EIA’s reference case baseline “assumes near-constant demand for oil
  and gas for the next 70 years.”).
  28
     Sierra Club v. Fed. Energy Regulatory Comm'n, 867 F.3d 1357, 1375 (D.C. Cir. 2017).
  29
     Id.
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  – would, counterintuitively, increase greenhouse gas emissions by shifting production to
  foreign sources with comparatively weaker environmental protections.30 But BOEM’s
  model assumed “foreign consumption of oil will remain static” were the Liberty project
  approved; crucially, this assumption ignored “basic economic principles” that are key to
  understanding climate impacts. As the Ninth Circuit explained, increasing the supply of
  fossil fuels such as oil (i.e., approving the Liberty project) reduces prices; as price drops,
  foreign consumers will buy and consume more oil. Id. Thus, the Court concluded,
  emissions from predictable market responses, whether domestic or foreign, “are surely a
  ‘reasonably foreseeable’ indirect effect” that must be analyzed and disclosed under
  NEPA.31 Id.

  Finally, as CEQ notes, some agencies have engaged in substitution analysis and modeling
  for many years. Others, like the Bureau of Land Management (“BLM”), spent years
  relying on the myth of perfect substitution in its NEPA reviews for coal mines and other
  fossil fuel related projects. While courts have roundly rejected perfect substitution
  assumptions32 and CEQ appropriately instructs agencies not to rely on perfect
  substitution, additional instruction would assist agency analyses that need to quit utilizing
  their flawed approaches to market and climate analysis. Specifically, when agencies that
  formerly relied on perfect substitution to discount the climate impacts of their choices
  now engage in substitution modeling, they must acknowledge the change in agency
  practice and explain why the prior approach was wrong.33 This is particularly important
  where project proponents in the fossil fuel industry still cling to perfect substitution while
  advancing their proposals. Unless agencies that formerly relied on perfect substitution
  acknowledge and address the issue head on in their NEPA reviews, those reviews may be
  vulnerable to industry challenges under the Administrative Procedure Act. In the final
  guidance, CEQ should include a reminder to federal agencies that they must explain
  departures from prior agency positions, including misguided assertions of perfect
  substitution.

  CEQ should provide additional instruction to agencies on these points, as set out below.
  Doing so will improve agency analyses, foster more informed decisions, and reduce the
  likelihood of litigation. CEQ’s final guidance should instruct agencies not to treat
  demand for fossil fuels as a fixed commodity, to take foreign consumption into account


  30
     Center for Biological Diversity v. Bernhardt, 982 F.3d 723, 736 (9th Cir. 2020).
  31
     Id.
  32
     E.g., WildEarth Guardians v. BLM, 870 F.3d 1222, 1236 (10th Cir. 2017); Montana
  Environmental Information Center v. OSM, 274 F.Supp.3d 1074, 1098 (D. Mont. 2017); High
  Country Conservation Advocs. v. U.S. Forest Serv., 52 F. Supp. 3d 1174, 1197–98 (D. Colo.
  2014).
  33
     W. Deptford Energy, LLC v. FERC, 766 F.3d 10, 17 (D.C. Cir. 2014) (agencies “cannot depart
  from [prior] rulings without provid[ing] a reasoned analysis indicating that prior policies and
  standards are being deliberately changed, not casually ignored”); Wis. Valley Improvement v.
  FERC, 236 F.3d 738, 748 (D.C. Cir. 2001) (“an agency acts arbitrarily and capriciously when it
  abruptly departs from a position it previously held without satisfactorily explaining its reason for
  doing so”).
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  where applicable, and to acknowledge where the agency’s substitution analysis departs
  from past reliance on perfect substitution.
            2. No action / baseline comparisons should align with international climate
            commitments and state and national climate policies rather than presume
            continued reliance on fossil fuels decades into the future.

  In addition to directing agencies to analyze changes to market demand as a result of
  agency decisions that open up additional supply of fossil fuels, the final guidance should
  amplify the importance of the requirement for agencies to consider long-term changes to
  fossil fuel consumption anticipated to be occasioned by state, federal, and international
  policies as part of their substitution analysis. Assuming a future reliant on fossil fuels—
  often done as part of a no action alternative in NEPA reviews—can lead to skewed
  climate analysis by making it appear that a proposed fossil fuel project will primarily
  displace other fossil fuel sources over the coming decades and thus have an insignificant
  climate impact. By contrast, in a future energy market comprised primarily of renewable
  resources, a proposed fossil fuel project would be more likely to compete for market-
  share against wind, solar, or geothermal projects with far fewer GHG emissions. Thus,
  an agency’s projections about the future energy market in which a project would operate
  years or decades into the future can affect its assessment of the difference in GHG
  emissions between the action and no action alternatives under consideration.

  CEQ’s final guidance should more clearly instruct agencies to adopt an approach to
  future energy markets that more clearly reflects an anticipated trajectory toward meeting
  climate goals when comparing action and no action alternatives, consistent with other
  aspects of the Interim Guidance. Elsewhere, the Interim Guidance instructs agencies to
  “discuss whether and to what extent the proposal’s reasonably foreseeable GHG
  emissions are consistent with GHG reduction goals, such as those reflected in the U.S.
  nationally determined contribution under the Paris Agreement.”34 Toward the end of the
  Interim Guidance’s discussion of substitution effects, CEQ notes that “analysis generally
  should be complemented with evaluation that compares the proposed action’s and
  reasonable alternatives’ energy use against scenarios or energy use trends that are
  consistent with achieving science-based GHG reduction goals, such as those pursued in
  the Long-Term Strategy of the United States.”35 If followed, this recommendation would
  significantly improve GHG accounting analysis, but risks being overlooked without a
  fuller description and more specific instruction from CEQ.




  34
       88 Fed. Reg. at 1203.
  35
       Id. at 1205.
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                                                                                               9


  Current U.S. climate policy commits the U.S. to reduce GHGs by 50-52% below 2005
  levels by 2030.36 President Biden further set national goals to “achieve a carbon
  pollution-free electricity sector by 2035 and net-zero emissions economy-wide by no
  later than 2050.”37 As it does regarding contextualizing climate impacts, CEQ should
  similarly instruct agencies to incorporate U.S. climate commitments as part of comparing
  climate impacts across alternatives. Specifically, CEQ should direct agencies to
  incorporate U.S. climate commitments and decarbonization pathways as part of the no
  action alternative baselines instead of assuming long-term reliance on fossil fuels. Unless
  CEQ instructs agencies to correct this approach in future NEPA reviews, many agencies
  will continue to provide decisionmakers and the public with a misleading comparison of
  the climate impacts of action and no action alternatives. When assuming fossil fuel
  reliance decades into the future, the frequent agency conclusion is that a proposed fossil
  fuel project will primarily substitute for other fossil fuels instead of renewables, thus
  minimizing a project’s climate impact, when a comparison to a Paris-compliant future
  would reveal significantly larger net GHG emissions.

  The recent Final EIS for the Department of Interior leases sales in the Gulf of Mexico38
  reveals how critical this step would be to useful NEPA analysis. In that EIS, Interior
  estimated that the lease sale will generate 1.13 billion barrels of oil over several decades,
  generating truly massive amounts of GHG emissions over its full lifecycle. The agency
  then concluded that the net impact of the sale to GHG emissions was minimal by
  concluding that other sources of oil—some of which would have slightly higher
  emissions—would be used, enabling the agency to conclude that the net impact is
  marginal. That analysis does not incorporate the U.S. Paris Agreement commitment, or
  any other policy commitment, to reduce oil use. Instead, it implicitly assumes that the
  U.S. and every other nation will ignore those commitments and continue to produce and
  consume oil at the same rate it does today. If the analysis was done correctly—by
  comparing project emissions to a baseline that is in line with policy commitments and the
  science that motivated them—it would reveal the project to be a massive source of GHG
  emissions. The NEPA process should provide such clarity, so that decisionmakers and the
  public can make substantive decisions in light of the facts.

  The same is true in the context of state and local policies calling for rapid phaseouts of
  fossil fuel uses and deep reductions in GHG emissions. Again, an example may be

  36
     White House, “FACT SHEET: President Biden Sets 2030 Greenhouse Gas Pollution Reduction
  Target Aimed at Creating Good-Paying Union Jobs and Securing U.S. Leadership on Clean
  Energy Technologies,” (April 22, 2001), available at
  https://www.whitehouse.gov/briefing-room/statements-releases/2021/04/22/fact-sheet-president-
  biden-sets-2030-greenhouse-gas-pollution-reduction-target-aimed-at-creating-good-paying-
  union-jobs-and-securing-u-s-leadership-on-clean-energy-technologies/.
  37
     Executive Order 14057, “Catalyzing Clean Energy Industries and Jobs Through Federal
  Sustainability” (Dec. 8, 2021), available at
  https://www.federalregister.gov/documents/2021/12/13/2021-27114/catalyzing-clean-energy-
  industries-and-jobs-through-federal-sustainability.
  38
     Available at https://www.boem.gov/oil-gas-energy/gulf-mexico-lease-sales-259-and-261-
  supplemental-environmental-impact-statement.
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  instructive. FERC is currently considering a proposal to significantly expand the
  capacity of a fossil gas pipeline (GTN Express) that carries gas from British Columbia to
  Washington, Oregon, and California. All three states have adopted aggressive
  decarbonization targets that will require drastically reducing if not eliminating the use of
  fossil gas. Even so, and over the heated opposition of the states themselves, FERC’s Final
  EIS for the expansion assumes gas demand is fixed in these states, failing to even
  mention the conflict between the proposal and the states’ climate policies or those of the
  federal government. Again, the result is an EIS that concludes that emissions will be
  inconsequential. Such an outcome undermines a key purpose of NEPA—to fully analyze
  and disclose a project’s consistency with existing laws, international commitments, and
  treaty obligations.

  The U.S. has made international commitments to reduce GHG emissions in line with the
  recommendations from the world’s leading scientific bodies. CEQ rightfully instructs
  agencies to evaluate whether their proposed fossil fuel projects are inconsistent with
  national climate targets. CEQ should go further in its final guidance to clearly instruct
  agencies that when using a substitution analysis, the agencies should compare emissions
  across alternatives by using modeling that reflects the U.S. commitments to reduce GHG
  emissions. The final guidance should direct agencies not to base this comparison on an
  assumption that that historical uses will continue into the future.

         3. Modeling assumptions and uncertainties must be clearly disclosed.
  Substitution analysis is a complex undertaking fraught with uncertainty and marginal
  changes in assumptions used for such analysis can have consequential impacts on the
  outcome. It is not that complicated for agencies to identify reasonably foreseeable direct
  and indirect GHG emissions associated with the extraction, transportation, and
  combustion of fossil fuels. By contrast, there is far more uncertainty when agencies
  model market effects under a “no action” scenario, both domestic and international, years
  or decades into the future.

  To address this situation, we urge CEQ to adopt two clear standards. First, agencies
  should fully disclose the uncertainties inherent in their substitution analyses. These
  analyses cannot compare the relatively straightforward calculation of project GHGs to a
  speculative guess of hypothetical emissions under the no action alternative. Yet this is
  what currently happens today in most cases: the comparison of project emissions and no
  action alternatives are presented as equivalent, leading to overly confident predictions of
  net impacts that are often marginal or negative.

  Second, to avoid a “black box” scenario, where the public has no ability to test an
  agency’s analysis based on proprietary models, agencies should make assumptions,
  inputs, and modeling codes publicly available no later than when the NEPA document is
  released to the public. Agencies should disclose any uncertainty in those modeling runs,
  including by discussing the extent to which the model outputs are susceptible to
  manipulation based on different inputs and assumptions. Where modeling results point to
  a range of potential outcomes, agencies should disclose those ranges and discuss their
  assessments of the likelihood of potential outcomes.
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  CEQ makes this clear in discussing other aspects of climate analysis, stating,
  “[q]uantification should include the reasonably foreseeable direct and indirect GHG
  emissions …. Agencies also should disclose the information and any assumptions used in
  the analysis and explain any uncertainty.”39 While that is certainly true for the relatively
  straight-forward exercise of quantifying GHG emissions, it is also true for the more
  complicated market substitution analysis. Agencies should not present their reasonably
  certain estimates of GHG emissions on an equal footing with long-term, less certain,
  market forecasting that essentially discounts those emissions to the public and
  decisionmakers.40

         4. Substitution analysis must be applied to project benefits in the same manner it
         is applied to climate impacts.
  Agencies frequently use substitution to discount GHG emissions when discussing the
  environmental impacts of a proposal, but almost never to discount purported project
  benefits using the same logic. This asymmetry inflates project benefits (such as taxes,
  state and federal royalties, jobs, indirect employment, etc.) while lessening the perception
  of costs by asserting that if coal, oil, or gas doesn’t come out of the ground in this project,
  the same or nearly the same amount will come from another source. But there’s typically
  no logical distinction that would justify such dissimilar approaches to impacts and
  benefits for fossil fuel proposals. As BLM explained in its 2017 federal coal program
  PEIS scoping report, “[t]he environmental (including climate change) and economic
  impacts of reform alternatives depend, in large part, on the estimated substitution
  effects.”41

  Courts have long recognized that agencies may not provide misleading analysis by
  inflating benefits and obscuring or minimizing costs.42 In providing agencies with
  guidance on effective substitution analysis, CEQ should specifically instruct agencies to
  ensure substitution is applied equally to climate harms and purported economic benefits.
         5. Explicitly call out and discuss infrastructure “lock-in” of new fossil projects.

  While a GHG analysis that looks at fossil fuel emissions from fossil infrastructure
  projects is an important component of a NEPA analysis, it does not tell the whole story.

  39
     NEPA Guidance on Consideration of Greenhouse Gas Emissions and Climate Change, 88 Fed.
  Reg. at 1204.
  40
     Hasselman and Erickson, supra, note 25 at 4.
  41
     BLM, PEIS Coal Scoping Report at 6-48 (Jan. 2017) (emphasis added).
  42
     E.g., Ctr. for Biological Diversity v. NHTSA, 538 F.3d 1172, 1198 (9th Cir. 2008) (finding
  analysis arbitrary and capricious where agency “put a thumb on the scale” through inconsistent
  treatment of costs and benefits). Accord Utah Physicians for a Healthy Env’t v. BLM, 528
  F.Supp.3d 1222, 1232 (D. Utah 2021) (“The socioeconomics section may not lay out the
  economic benefits from the proposal without analyzing the socioeconomic costs of GHGs
  together with climate change.”)
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  Agencies must also consider the extent to which construction of new fossil fuel
  infrastructure “locks in” long-term emissions and creates an affirmative barrier to
  decarbonization efforts.43 Privately financed infrastructure projects costing hundreds of
  millions if not billions of dollars will result in extraordinary pressure to continue using
  that infrastructure for many decades—well past the time when fossil fuel uses must be all
  but eliminated to ensure warming remains below thresholds set in international
  agreements—and beyond which catastrophic consequences are likely to accelerate and
  become irreversible. And other private actors make their own investment decisions based
  on the existence of such infrastructure, much like the construction of a new crude oil
  pipeline both spurs new development projects as well as other feeder pipelines relying on
  that new infrastructure.

  Moreover, a project that “locks in” fossil fuels also “locks out” low carbon alternatives,
  “either because it uses up finite capital or to the extent that it contributes to social or
  political norms, building in redundancy of supply that helps to increase investor
  confidence in the long-term prospects of that fuel, or contributes to economies of scale
  for fossil fuel processing technologies.”44 Other useful questions for the agency to ask
  may include whether the project could be repurposed at some point for low-GHG
  alternatives, and at what cost. These are crucial considerations that must be disclosed in a
  NEPA analysis.

  In short, a useful climate analysis for major infrastructure projects must go further than
  just disclosing lifecycle emissions. Instead, agencies should assess the extent to which the
  project will create pressures to continue operations for decades and/or generate other
  investments that promote fossil fuel use, or risk becoming a stranded asset. In its final
  guidance CEQ should instruct agencies to disclose the risk of “locking in” GHG
  emissions and investments associated with fossil fuel infrastructure projects as part of
  their NEPA analyses.

   CUMULATIVE EFFECTS

   CEQ’s Final Guidance Should Provide Information About Appropriate Methodology to
   Address Cumulative Effects Requirements.

  The very short discussion of cumulative impacts in the interim guidance falls
  short of what the science and the law require, and falls short of providing useful guidance
  to implementing agencies. Cumulative effects analysis that reflects reality is essential to
  useful NEPA analyses. Climate change is the quintessential impact that must be
  evaluated in an agency’s cumulative impacts analysis:

         The large-scale nature of environmental issues like climate change show
         why cumulative impacts analysis proves vital to the overall NEPA

  43
    Hasselman & Erickson, supra, note 25 at 13.
  44
    Peter Erickson, Assessing the Greenhouse Gas Emissions Impact of New Fossil Fuel
  Infrastructure, Stockholm Env’t Inst. (2013).
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          analysis. The cumulative impacts analysis was designed precisely to
          determine whether a small amount here, a small amount there, and still
          more at another point could add up to something with a much greater
          impact . . . . Thus, if BLM ever hopes to determine the true impact of its
          projects on climate change, it can do so only by looking at projects in
          combination with each other, not simply in the context of state and nation-
          wide emissions. Without doing so, the relevant decisionmaker cannot
          determine whether, or how, to alter the program to lessen cumulative
          impacts on climate change.45

  CEQ explains in the Interim Guidance that:

          the analysis and public disclosure of cumulative effects can be
          accomplished by quantifying GHG emissions and providing context for
          understanding their effects as discussed above, including by monetizing
          climate damages using estimates of the SC-GHG, placing those damages
          in the context of relevant climate action goals and commitments, and
          summarizing and citing to available scientific literature to help explain
          real world effects.46

  While this guidance is a good starting point, practically it suggests to the reader
  that a cumulative impacts analysis is essentially fulfilled by putting the analyses
  of indirect and direct effects in context and requires nothing more.47 The position
  that a robust cumulative effects analysis of the incremental impacts resulting from
  additional GHG emissions is not required because climate change is inherently a
  cumulative phenomenon is circular and falls short of NEPA’s hard look
  requirement.48 The final guidance should provide additional information to assist
  agencies in developing the appropriate level of cumulative effects analysis,
  especially more robust guidance on the methods by which to contextualize
  impacts to determine the significance of GHG emissions from a proposed action.49

  45 Wildearth Guardians v. U.S. Bureau of Land Mgt., 457 F. Supp. 3d 880, 894 (D. Mont. 2020)

  (internal quotations and citations omitted).
  46 88 Fed. Reg. 1206.
  47
     While the cumulative effects language in the 2023 Interim Guidance is more in line with
  relevant climate science and case law than the 2016 Interim Guidance (see section A.5),
  essentially the two say the same thing: that a robust cumulative emissions and climate impacts
  analysis is not required by NEPA, “[g]iven that climate change is the result of the increased
  global accumulation of GHGs climate effects analysis is inherently cumulative in nature.” 88 Fed.
  Reg. 1206.
  48
     See, e.g., Ctr. for Biological Diversity v. Nat’l Hwy. Safety Admin., 538 F.3d 1172, 1217 (9th
  Cir. 2008)(“[T]he fact that climate change is largely a global phenomenon that includes actions
  that are outside of the agency’s control does not release the agency from the duty of assessing the
  effects of its actions on global warming within the context of other actions that also affect global
  warming.”)
  49
     See, Diné Citizens Against Ruining Our Env. v. Haaland, 59 F.4th 1016, 1042 (10th Cir. 2023)
  (“if an accurate method exists to determine the effect of the proposed action, BLM must perform
  that analysis or explain why it has not.”) (citing WildEarth Guardians v. Bernhardt, 502 F. Supp.
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                                                                                                  14


  Mere quantification of emissions “does not evaluate the incremental impact that
  these emissions will have on climate change or on the environment.”50 “Indeed,
  all agency actions causing an increase in GHG emissions will appear de minimis
  when compared to the regional, national, and global numbers.”51

  For actions “with relatively large GHG emissions or reductions or that will perpetuate
  reliance on GHG-emitting energy sources,” CEQ advises agencies to explain how the
  proposed action and alternatives would “help meet or detract from achieving relevant
  climate action goals and commitments.”52 However, the Interim Guidance provides no
  basis on which to judge whether GHG emissions are relatively large or small, and no
  justification for this distinction in light of the fact that climate change is quintessentially a
  problem of cumulative additions, even the largest of which appears small on a global
  scale. On the one hand, CEQ acknowledges, as it must, that “diverse individual sources
  of emissions each make a relatively small addition to the global atmospheric GHG
  concentration that collectively have a large effect” which is “the nature of climate change
  itself.”53 On the other hand, CEQ advises that “actions with only small GHG emissions
  may be able to rely on less detailed emissions estimates.”54 Agencies could better
  reconcile these statements with useful analysis if CEQ provided more guidance on how to
  evaluate the level of analysis needed for projects with differing levels of GHG emissions.
  The final guidance should direct agencies to prevent segmentation of cumulatively large
  impacts and should provide additional information to assist agencies in developing the
  appropriate level of cumulative effects analysis, especially more robust guidance on the
  methods by which to contextualize impacts, in order to determine the significance of
  GHG emissions from a proposed action. We recommend that some specific examples
  interpreting the “rule of reason” be included in the final guidance.

  As one example to illustrate why more is needed in the Interim Guidance to address
  cumulative effects analysis and significance evaluation, we point out that in recent U.S.
  Bureau of Land Management onshore oil and gas lease sales, the agency regularly and
  arbitrarily, and contrary to NEPA, fails to consider the effects – including those related to
  climate and GHG emissions as well other impacts, such as those to wildlife habitat, water
  pollution, impacts to recreation, socioeconomic impacts, public health impacts, and
  environmental justice impacts – of the lease sales when added to the effects of other lease
  sales, despite the lease sales being part of a national oil and gas leasing program across


  3d 237, 255 (D.D.C. 2020) (“BLM either had to explain why using a carbon budget analysis
  would not contribute to informed decisionmaking, in response to WildEarth's comments, or
  conduct an ‘accurate scientific analysis’ of the carbon budget.”) (quoting 40 C.F.R. § 1500.1(b));
  350 Montana v. Haaland, 50 F.4th 1254, 1273 (9th Cir. 2022) (recognizing the requirement of
  using “science-based criteria” for determining “significance [of GHG emissions] in terms of
  contribution to global warming that is grounded in the record and available scientific evidence.”)
  50
     Ctr. For Biological Diversity v. Nat’l Highway Traffic Safety Admin., 538 F.3d. 1172, 1216
  (9th Cir. 2008).
  51
     88 Fed. Reg. 1201, Diné CARE, 59 F.4th at 1043.
  52
     88 Fed. Reg. 1203 (emphasis added).
  53
     Id. (emphasis added).
  54
     Id. at 1202 (emphasis added).
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                                                                                               15


  multiple states. The failure to properly evaluate cumulative effects results in the agency
  finding no significant effects, thereby masking the severity of the adverse effects.

  ENVIRONMENTAL JUSTICE

  Our Organizations Urge that the Final Guidance Include More Detailed Direction
  Regarding the Need for Agencies to Significantly Improve the Analysis of
  Alternatives, Effects and Decisionmaking on Environmental Justice Communities
  and their Involvement in the Process.

  The federal government’s efforts to address current and historic environmental injustice
  through decisionmaking that addresses these historic and current severe impacts are
  crucial and integral to NEPA. NEPA should be seen as a bridge, not a barrier, to ensuring
  that: (1) we build out the clean energy infrastructure of the future in a just, equitable,
  sustainable, and timely way; and (2) we increase, not decrease, community resilience to
  climate change. As such, cumulative impacts and efforts to address them must include a
  broad range of strategic, scientific, technological, regulatory, community engagement,
  and economic issues related to environmental justice. The final guidance should redirect
  agencies to comply with existing CEQ Guidance on Environmental Justice Under
  NEPA55 by a) considering the composition of the affected area to identify potentially
  affected tribal, minority or low-income communities; b) analyzing relevant public health
  and other available credible scientific information concerning the potential for cumulative
  exposure to affected communities health; c) recognizing the past and present interrelated
  cultural, social, occupational, historical and economic factors that may amplify the
  reasonably foreseeable future cumulative effects on the community and the surrounding
  environment; d) implement effective participation strategies in concert with the affected
  communities, including appropriate tribal representation and government to government
  consultation with tribal nations.56

  Agencies should also be reminded of the requirement to respond to comments regarding
  environmental justice concerns by either modifying alternatives or analysis to respond to
  the comment or explaining why the comments do not warrant agency response.57 The
  final guidance should also direct agencies to explain how the agency considered and
  incorporated environmental justice concerns into its final decision on the proposed
  action.58

             1. The requirement to assess health effects should be emphasized in the
             final guidance.

  In particular, in the climate context, we emphasize that agencies should be
  explicitly directed to include health effects in the NEPA analysis, as long

  55
       https://ceq.doe.gov/docs/ceq-regulations-and-guidance/regs/ej/justice.pdf
  56
    https://www.whitehouse.gov/briefing-room/presidential-actions/2022/11/30/memorandum-
  on-uniform-standards-for-tribal-consultation/
  57
       40 CFR § 1503.4
  58
       40 CFR § 1505.2(a).
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                                                                                                  16


  required.59 As the National Research Council Report notes, agencies “often lack
  public health expertise, and the lack of guidance may be a disincentive to a more
  robust, systematic approach to health.”60 As the Pan American Health
  Organization has stated, “Climate change is the biggest global health threat of the
  21st century. Health is and will be affected by the changing climate through direct
  impacts (heat waves, droughts, heavy storms, and sea-level rise), and indirect
  impacts (vector-borne and airways diseases, food and water insecurity,
  undernutrition, and forced displacements).”61 As numerous studies, including
  government studies, have shown, it is the environmental justice communities in
  the U.S. that are the most significantly affected by climate-related health effects.62
  Focusing increased attention on these communities is critically important for
  many reasons; indeed, as the IPCC’s latest report states, “Adaptation and
  mitigation actions that prioritize equity, social justice, climate justice, rights-based
  approaches, and inclusivity, lead to more sustainable outcomes, reduce trade-offs,
  support transformative change and advance climate resilient development.”63

  Health impact assessment, a methodology modeled after environmental impact
  assessment, has been broadly accepted by institutions such as the National
  Research Council64 and the Center for Disease Control.65 In the NEPA context,
  agencies need to:

                 i.      Determine when to conduct a systematic analysis of health
                         effects in an EIS or an EA;
                 ii.     Determine what populations or communities are affected
                         and describe baseline conditions in them;
                 iii.    Determine the appropriate scope of health problems in close
                         consultation with the affected communities and public health
                         experts;
                 iv.     Provide analysis of health effects in a scientifically and legally
                         defensible manner; and



  59
     40 CFR §1508.1(g).
  60
     Id.
  61
     PAHO, Climate Change and Health, https://www.paho.org/en/topics/climate-change-and-
  health.
  62
     EPA. 2021. Climate Change and Social Vulnerability in the United States: A Focus on Six
  Impacts. U.S. Environmental Protection Agency, EPA 430-R-21-003; Climate Changes Health:
  Ensuring Environmental Justice Underlies Public Health’s Climate Change Work, A Summit’s
  Proceeding Report, August, 2018, available at https://graham.umich.edu/media/files/APHA-
  Climate-Justice-Summit-Proceedings-2018.pdf

  63
     IPCC Synthesis Report, Summary for Policymakers, C.5.2. (March 2023).
  64
     National Research Council. 2011. Improving Health in the United States: The Role of Health
  Impact Assessment. Washington, DC: The National Academies Press.
  https://doi.org/10.17226/13229.
  65
     https://www.cdc.gov/healthyplaces/hia.htm
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                                                                                                   17

                  v.      Identify appropriate mitigation measures for any identified
                          effects on public health.66

          2. The concerns of and impacts on environmental justice communities must be at
          the forefront of cumulative effects analysis of proposed climate mitigation
          measures, including carbon capture proposals.

  Environmental justice analysis integrated into the NEPA process must cover the broad
  spectrum of effects potentially realized by these communities in all contexts, including
  proposed climate mitigation measures. Importantly, existing and proposed carbon
  capture, utilization and sequestration activities (CCUS) disproportionately occur in
  proximity to vulnerable communities since that is where many fossil fuel extraction,
  transportation and processing facilities were constructed. Our organizations urge CEQ to
  direct agencies to incorporate co-pollutant modeling into cumulative effects analysis for
  all such proposed actions.

  EVALUATING SIGNIFICANCE

  While Retaining the Direction on the Social Cost of Carbon, the Final Guidance Should
  Include Additional Direction Regarding the Evaluation of the Magnitude and Severity of
  Climate Impacts of the Proposed Action and Alternatives.

          1. The guidance properly recognizes the importance of providing monetized
          estimates for climate impacts using the social cost of greenhouse gases.

  CEQ appropriately recommends that agencies should apply the best available SC-GHG
  estimates to emissions, even when other costs and benefits are not monetized.67 The SC-
  GHG provides critical context for the significance of climate impacts. Furthermore, while
  NEPA does not require an analysis that fully monetizes costs and benefits associated with
  an action, in instances where an agency has monetized the benefits associated with an
  action and can reasonably quantify GHG emissions increases, courts have determined
  that the agency must include a monetized estimate of the climate impacts of an action
  using the best available SC-GHG.68


  66
     Improving Health in the United States, Appendix F, “Analysis of Health Effects under the
  National Environmental Policy Act.”
  67
     88 Fed. Reg. 1202.
  68
      See, e.g., California v. Bernhardt, 472 F. Supp. 3d 573, 623 (N.D. Cal. 2020) (“It is arbitrary
  for an agency to quantify an action's benefits while ignoring its costs where tools exist to
  calculate those costs.”), High Country Conservation Advocates v. United States Forest Serv., 52
  F. Supp. 3d 1174, 1191 (D. Colo. 2014) (“arbitrary and capricious to quantify the benefits of
  [agency action] and then explain that a similar analysis of the costs was impossible when such an
  analysis was in fact possible”),
  Mont. Envtl. Info. Ctr. v. United States Office of Surface Mining, 274 F. Supp. 3d 1074, 1098 (D.
  Mont. 2017) (similar), Ctr. for Biological Diversity v. Nat'l Highway Traffic Safety Admin., 538
  F.3d 1172, 1200, 1214 (9th Cir. 2008) (holding that NEPA requires an agency to analyze the
  effects of its actions on global climate change and cannot assign a cost of zero to emissions).
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  We strongly support the Interim Guidance’s recommendations on the monetization of
  climate damages through the use of the SC-GHG, placing those costs in the context of
  relevant climate goals and commitments, and summarizing available scientific literature
  to document real-world effects from GHG emissions. Yet, while these steps are all useful
  in contextualizing a project’s GHG emissions, in most respects, applying these tools in
  isolation with no standard or threshold by which to measure their significance does not
  “properly evaluate the severity of the adverse effects” from the quantified GHG
  emissions in order to fully inform the decisionmaker and the public about the climate
  impacts of a proposed project.69

          2. The final guidance should include direction on utilizing the carbon budget tool
          to evaluate the magnitude and severity of GHG emissions and resulting climate
          impacts.

  In addition to recommendations on monetizing climate impacts using the SC-GHG
  estimates, we request that the final guidance include an additional accepted methodology
  available for analyzing the magnitude and severity of GHG emissions: the application of
  those emissions to the remaining global carbon budget. The carbon budget represents a
  cap on the remaining stock of GHGs that can be emitted while still keeping global
  average temperature rise below scientifically-established warming thresholds—beyond
  which climate change impacts may result in catastrophic and irreparable harm to the
  biosphere and humanity. The use of a carbon budget is essential for evaluating whether a
  given project would help meet or detract from achieving climate goals, and for analyzing
  the scope of such help or hindrance.

  The Tenth Circuit Court of Appeals recently described the carbon budget as an accepted
  methodology “deriv[ing] from science suggesting the total amount of GHGs that are
  emitted is the key factor to determine how much global warming occurs. The carbon
  budget is a finite amount of total GHGs that may be emitted worldwide, without
  exceeding acceptable levels of global warming.”70 The court held that BLM violated the
  law by failing to consider the impacts of projected GHG emissions from new oil and gas
  well drilling approvals because it “neither applied the carbon budget method nor
  explained why it did not.”71

  The 2023 Interim Guidance recommends that agencies should place GHG emissions “in
  the context of relevant climate action goals and commitments including Federal goals,
  international agreements, state or regional goals, Tribal goals, agency-specific goals, or
  others as appropriate.”72 Perhaps the most relevant climate action commitment for

  69
     Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 352 (1989)
  70
     Diné CARE., 59 F.4th at 1043.
  71
     Id. (“NEPA does not give BLM the discretion to ignore the impacts to the environment when
  there are methods for analyzing those impacts. So, while it is correct that BLM need not use any
  specific methodology, it is not free to omit the analysis of environmental effects entirely when an
  accepted methodology exists to quantify the impact of GHG emissions from the approved
  APDs.”)
  72
     88 Fed. Reg. at 1203.
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                                                                                               19


  purposes of CEQ’s guidance is the United States’ commitment to the climate change
  target of holding the long-term global average temperature “to well below 2 degrees
  Celsius above pre-industrial levels and to pursue efforts to limit the temperature increase
  to 1.5 CO2 above pre-industrial levels” under the Paris Agreement.73 The Paris Agreement
  established the CO2 climate target given the evidence that two degrees of warming would
  lead to catastrophic climate harms.74 Scientific research has estimated the global carbon
  budget—the remaining amount of carbon dioxide that can be emitted—for maintaining a
  likely chance of meeting the Paris climate targets, providing clear benchmarks for the
  United States and global climate action.75 It should also be noted that the U.S. is a
  signatory to the Global Methane Pledge, which is "a collective effort to reduce global
  methane emissions at least 30 percent from 2020 levels by 2030," and the Global
  Methane Pledge Energy Pathway, which aims to capture the maximum potential of cost-
  effective methane mitigation in the oil and gas sector and eliminate routine flaring as
  soon as possible, and no later than 2030.76

  Immediate and aggressive greenhouse gas emissions reductions are necessary to keep
  warming well below a 2 degree Celsius rise above pre-industrial levels. The IPCC Fifth
  Assessment Report and other expert assessments have established global carbon budgets,
  or the total amount of carbon that can be burned while maintaining some probability of
  staying below a given temperature target.77 Most recently, the IPCC Sixth Assessment
  Report estimated the carbon budget for a 67 percent probability of limiting temperature
  rise to 1.5°C at just 400 GtCO2 from the beginning of 2020 and at 500 GtCO2 for a 50

  73
     United Nations Framework Convention on Climate Change, Conference of the Parties (Nov.
  30-Dec. 11, 2015), Adoption of the Paris Agreement Art. 2, U.N. Doc. FCCC/CP/2015/L.9 (Dec.
  12, 2015), available at: http://unfccc.int/resource/docs/2015/cop21/eng/l09.pdf (“Paris
  Agreement”). The United States signed the Paris Agreement on April 22, 2016 as a legally
  binding instrument through executive agreement, and the treaty entered into force on November
  4, 2016.
  74
     IPCC, Global Warming of 1.5°C, an IPCC special report on the impacts of global warming of
  1.5°C above pre-industrial levels and related global greenhouse gas emission pathways, in the
  context of strengthening the global response to the threat of climate change, sustainable
  development, and efforts to eradicate poverty (Oct. 6, 2018), available at:
  http://www.ipcc.ch/report/sr15/.
  75
     Id.
  76
     https://www.globalmethanepledge.org/ https://www.state.gov/u-s-eu-joint-press-release-on-
  the-global-methane-pledge-energy-pathway/
  77
     For example, the 2013 IPCC Fifth Assessment Report estimated that total cumulative
  anthropogenic emissions of CO2 must remain below about 1,000 GtCO2 from 2011 onward for a
  66 percent probability of limiting warming to 2°C above pre-industrial levels, and to 400 GtCO2
  from 2011 onward for a 66 percent probability of limiting warming to 1.5°C. See IPCC
  [Intergovernmental Panel on Climate Change], 2013: Summary for Policymakers. In: Climate
  Change 2013: The Physical Science Basis, Contribution of Working Group I to the Fifth
  Assessment Report of the Intergovernmental Panel on Climate Change [Stocker, T.F. et al. (eds.),
  Cambridge University Press (2013) at 25; IPCC [Intergovernmental Panel on Climate Change],
  Climate Change 2014: Synthesis Report. Contribution of Working Groups I, II and III to the Fifth
  Assessment Report of the Intergovernmental Panel on Climate Change, [Core Writing Team,
  R.K. Pachauri and L.A. Meyer (eds.)], IPCC, Geneva, Switzerland, 151 pp. (2014) at 63-64 &
  Table 2.2.
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  percent probability of 1.5°C.78 A 2022 study has an even more harrowing estimate of just
  300 GtCO2 remaining from the start of 2022 for a 50 percent chance of limiting warming
  to 1.5°C.79 A third study found that, at current emissions rates, the world will exhaust the
  carbon budget for a 50 percent chance for 1.5°C in 10 years and the carbon budget for a
  67 percent chance in seven years.80Published scientific studies have also estimated the
  United States’ portion of the global carbon budget by allocating the remaining global
  budget across countries based on factors including equity principles and economics.
  Estimates of the remaining U.S. carbon budget consistent with meeting a 1.5℃target are
  negative or near zero.81 Therefore, whatever remaining carbon budget the U.S. has left, if
  any, is very small and rapidly being consumed. We ask that the final guidance
  specifically include the well-accepted carbon budget tool for agencies to use to evaluate
  whether a given project would help meet or detract from achieving climate goals.

  The Final Guidance Should Continue to Give Special Attention to Biological GHG
  Sources and Sinks and Add Additional Direction Regarding Certain Features.

         1. The final guidance should direct agencies to evaluate the GHG sequestration
         benefits of wetlands and other natural systems affected by a federal action.

  The Final Guidance should direct agencies to evaluate the GHG sequestration benefits of
  wetland and other natural systems that will be affected by a federal action as part of the
  baseline for assessing climate change impacts. A growing body of science demonstrates
  the importance of healthy wetlands as vital carbon sinks, as summarized in a May 2022
  study published in Science. That study found that while wetlands cover just 1% percent
  of the Earth’s surface, they “store 20% of ecosystem organic carbon. This disproportional
  share is fueled by high carbon sequestration rates and effective storage in peatlands,
  mangroves, salt marshes, and seagrass meadows, which greatly exceed those of oceanic
  and forest ecosystems.” This study reviews the process that underlines these carbon sink
  qualities and documents:



  78
     Intergovernmental Panel on Climate Change, Summary for Policymakers In: Climate Change
  2021: The Physical Science Basis. Contribution of Working Group I to the Sixth Assessment
  Report of the Intergovernmental Panel on Climate Change (2021),
  https://www.ipcc.ch/report/sixth-assessment-report-working-group-i/ at SPM-38.
  79
     CONSTRAIN, Zero In On: The Critical Decade: Insights from the Latest IPCC Reports on the
  Paris Agreement, 1.5°C, and Climate Impacts (2022).
  80
     Calverley and Anderson, Phaseout Pathways for Fossil Fuel Production Within Paris-compliant
  Carbon Budgets (2022), https://www.research.manchester.ac.uk/portal/en/publications/phaseout-
  pathways-for-fossil-fuel-production-within-pariscompliant-carbon-budgets(c7235a8e-e3b1-4f44-
  99de-c27958c03758).html
  81
     Van den Berg, Nicole et al., Implications of various effort-sharing approaches for national
  carbon budgets and emission pathways, Climatic Change 162: 1805-1822 (2020),
  https://link.springer.com/article/10.1007%2Fs10584-019-02368-y; Dooley, Kate et al., Ethical
  choices behind quantifications of fair contributions under the Paris Agreement, Nature Climate
  Change 11: 300-305 (2021), https://www.nature.com/articles/s41558-021-01015-8.
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        “how feedback disruption can switch wetlands from carbon sinks into sources.
       Currently, human activities are driving rapid declines in the area of major carbon-
       storing wetlands (1% annually). Our findings highlight the urgency to stop through
       conservation ongoing losses and to reestablish landscape-forming feedbacks
       innovations that recover the role of biogeomorphic wetlands as the world’s biotic
       carbon hotspots.”82

          2. The final guidance should direct agencies to evaluate the GHG emissions from
          reservoirs and from other areas where water flow is reduced (such as behind
          navigation locks and dams).

  Dams and reservoirs emit a significant amount of methane to the atmosphere. The
  Guidance should direct agencies to evaluate the GHG emissions from reservoirs, and
  from other areas where water flow is reduced such as the areas behind navigation locks
  and dams (e.g., the Upper Mississippi River Navigation System), hydropower and other
  dams, low head dams, and weirs.83 This analysis should be required as a fundamental
  component of NEPA reviews, and of supplemental NEPA reviews, carried out in
  connection with new projects, including the development of new operating plans
  (including such things as water control manuals, and operation and maintenance plans for
  navigation systems and individual locks and dams); and when updating existing operating
  plans. These analyses are critical for planning and operating projects in a way that avoids,
  minimizes, and mitigates the release of GHGs from reservoirs and other permanently
  flooded lands.

  As discussed above, methane is a GHG that is 28 to 36 times more warming than carbon
  dioxide over a 100-year period and approximately 84 times as potent over a 20-year
  period, and thus has a disproportionate impact on short-term warming relative to CO2.84
  Globally, dams and reservoirs (with and without hydropower) are estimated to emit
  approximately 13.4 million metric tons of methane per year, with nearly half of that
  coming from hydroelectric reservoirs.85 Some individual hydropower facilities emit on
  par with fossil fuel sources like coal and natural gas when considered on an emission-per-
  unit-of-energy basis.86 In 2020 reservoir emissions rivaled the international shipping

  82
     Ralph J. M. Temmink, L.P.M. Lamers, C. Angelini et al, Recovering wetland biogeomorphic
  feedbacks to restore the world’s biotic carbon hotspots, Cite this article as R. J. M. Temmink et
  al., Science 376, eabn1479 (2022). DOI: 10.1126/science.abn1479.
  83
     The Environmental Protection Agency has noted, “[s]ince reservoirs are not natural systems,
  greenhouse gasses emanating from reservoirs are considered to have an anthropogenic, or human-
  made, origin.” United States EPA, “Research on Emissions from U.S. Reservoirs”,
  https://www.epa.gov/air-research/research-emissions-us-reservoirs (last visited Oct. 20, 2022).
  84
     Henriette I. Jager et al., Getting Lost Tracking the Carbon Footprint of Hydropower, 162
  RENEWABLE AND SUSTAINABLE ENERGY REV. 2 (2022).
  85
     Bridget R. Deemer et al., Greenhouse Gas Emissions from Reservoir Water Surfaces: A New
  Global Synthesis, 66 BIOSCIENCE 494 (2016) (Deemer 2016).
  86
     For example, the validated G-res Tool modeling results of Weiss dam on the Coosa River in
  Alabama shows a net carbon footprint of 118,437 metric tons of carbon dioxide equivalent being
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  sector in terms of carbon dioxide equivalence.87 Methane emissions have been observed
  at all reservoirs where measurements have been taken, including in at least 11 US states
  and Puerto Rico (AL, CA, CO, GA, ID, NC, OR, SC, TN, WA, WI, PR) according to a
  detailed 2016 study (and its underlying data set).88 A 2020 report by the Environmental
  Protection Agency (EPA) estimates that reservoirs and other artificially flooded lands
  produced 797 kilotons of methane, annually.89

  Methane is produced through the decomposition of organic matter (e.g., leaves, trees,
  algae) under the anoxic (i.e., no oxygen) conditions that are common in reservoir
  sediments. Methane is emitted from anthropogenic reservoirs through several pathways
  including: (1) continuous diffusion across the surface of the reservoir; (2) bubbling
  (“ebullition”) from sediments; and (3) transport through plants growing within the
  reservoir.90 Ebullition is generally understood to be the primary mechanism for methane
  emissions from reservoirs,91 particularly in the first 10 to 20 years after dam construction,
  though emissions persist for the life of the reservoir.92

  The energy generation technology used at hydropower dams can increase the net methane
  emissions of the reservoir through turbine gassing, spill changes, and drawdowns.93
  When the water in a reservoir is passed through energy-generating turbines and the
  spillway (which deposits the water back into the river or channel), the water is
  “degassed,” meaning that the dissolved gases naturally present in the water are separated
  from the water and released into the atmosphere.94 Additional GHGs are released from

  emitted per year, with methane composing over 60% of the emissions. Validated G-res modeling
  results for Weiss dam and reservoir and R.L. Harris dam and reservoir are available at
  https://alabamarivers.org/reservoir_emissions.
  87
     Cynthia Soued et al, “Reservoir Carbon Dioxide and Methane Emissions and Their Climate
  Impact Over the Period 1900-2060”, Nature Geoscience, (Sept. 2022), Vol 15, 700-705,
  https://www.nature. com/articles/s41561-022-01004-2.
  88
     Deemer 2016.
  89
     EPA (2022) Inventory of U.S. Greenhouse Gas Emissions and Sinks: 1990-2020. U.S.
  Environmental Protection Agency, EPA 430-R-22-003, at 6-5.
  https://www.epa.gov/ghgemissions/draft-inventory-us-greenhouse-gas-emissionsand-sinks-1990-
  2020.
  90
     See Jake J. Beaulieu et al., High Methane Emissions from a Midlatitude Reservoir Draining an
  Agricultural Watershed, 48 ENV’T SCI. AND TECH. (2014). See also Deemer 2016; John A.
  Harrison et al., Reservoir Water-Level Drawdowns Accelerate and Amplify Methane Emission,
  51 ENV’T SCI. AND TECH. 1267.
  91
     Jake J. Beaulieu et al., Methane and Carbon Dioxide Emissions from Reservoirs: Controls and
  Upscaling, 125 J. OF GEOPHYSICAL RSCH. 1, 11 (2020). Sjohi D. Thottathil & Yves T. Prairie,
  Coupling of Stable Carbon Isotopic Signature of Methane and Ebullitive Fluxes in Northern
  Temperate Lakes, 777 SCI. OF THE TOTAL ENV’T 146117 (2021).
  92
     Nathan Barros et al., Carbon Emission From Hydroelectric Reservoirs Linked To Reservoir
  Age and Latitude, 4 NAT. GEOSCIENCE 593 (2011).
  93
     Henriette I. Jager et al., Getting Lost Tracking the Carbon Footprint of Hydropower, 162
  RENEWABLE AND SUSTAINABLE ENERGY REV. 2 (2022).
  94
     A. Levasseur et al., Improving the Accuracy of Electricity Carbon Footprint: Estimation of
  Hydroelectric Reservoir Greenhouse Gas Emissions, 136 RENEWABLE AND SUSTAINABLE
  ENERGY REV. 110433 (2021).
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  large drawdowns, which cause increased bubbling of methane and periodic exposure of
  flooded, methane-producing sediments to the atmosphere.95 River segments downstream
  of hydropower dams are also associated with increased methane emissions, especially if
  anoxic, methane-rich water from the bottom of the reservoir flows through the turbines.96

          3. The final guidance should be expanded to explicitly cover ocean and coastal
          resource management planning.

  The discussion regarding NEPA analyses for management planning97 should be expanded
  to include the, “land, ocean, coastal and resource management context” and a reference or
  mention should be added that addresses the difference between land-based sources and
  sinks and those that are ocean and coastal-based, including the different levels of
  certainty in modeling and quantification of sources and sinks. Additionally in this section,
  the reference to “Federal land and resource management agencies” should be expanded to
  “Federal land, ocean, coastal, and resource management agencies” to include NOAA and
  BOEM in the statement. It is critical that the, “specific principles and guidance for
  considering biological carbon in management and planning decisions,” capture principles
  and guidance for ‘blue carbon’ and therefore included agencies responsible for ocean and
  coastal based ecosystems is critical.

  CONSIDERING THE EFFECTS OF CLIMATE CHANGE ON A PROPOSED
  ACTION

  The Final Guidance Should Provide Additional Guidance on a Number of Issues Related
  to the Effects of Climate Change on a Proposed Action and the Affect Environment

  The Interim Guidance properly recognizes that a NEPA analysis must consider how the
  impacts of climate change could affect a proposed action and its environmental
  outcomes, a requirement that has been confirmed by multiple court decisions.98 This
  analysis is essential in light of the pervasive and escalating impacts of climate change on
  the natural and built environment.99

  95
     Bridget R. Deemer et al., Greenhouse Gas Emissions from Reservoir Water Surfaces: A New
  Global Synthesis, 66 BIOSCIENCE 494 (2016). See also John A. Harrison et al., Reservoir Water-
  Level Drawdowns Accelerate and Amplify Methane Emission, 51 ENV’T SCI. AND TECH. 1267.
  96
     Bridget R. Deemer et al., Greenhouse Gas Emissions from Reservoir Water Surfaces: A New
  Global Synthesis, 66 BIOSCIENCE 494 (2016).
  97
     88 Fed. Reg. 1207.
  98
     See, e.g., AquAlliance, et al., v. U.S. Bureau of Reclamation, 287 F. Supp. 3d 969 (E.D. Cal.
  2018); National Wildlife Federation v. National Marine Fisheries Service, 184 F. Supp. 3d 861,
  875 (D. Or. 2016); Friends of Wild Swan v. Jewell, No. CV 13-61-M-DWM, 2014 U.S. Dist.
  LEXIS 116788, at *31 (D. Mont. Aug. 21, 2014); Southern Utah Wilderness Alliance v. Burke,
  981 F. Supp. 2d 1099, 1110–1111 (D. Utah 2013).
  99
     ROMANY M. WEBB ET AL., EVALUATING CLIMATE RISK IN NEPA REVIEWS: CURRENT
  PRACTICES AND RECOMMENDATIONS FOR REFORM 23 (2022),
  https://scholarship.law.columbia.edu/sabin_climate_change/185/ (“Without first considering the
  how climate impacts will affect a project and the surrounding environment, agencies cannot
  possibly hope to make a decision that reflects the most ‘beneficial uses of the environment
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  As CEQ’s Interim Guidance affirms, agencies should incorporate climate impact
  considerations throughout their NEPA analyses, including in assessments of: the baseline
  current and projected future state of the affected environment; reasonably foreseeable
  environmental effects of the proposed action and alternatives; resilience, adaptation, and
  mitigation measures; and disproportionate effects on environmental justice
  communities.100 The analysis should consider all types of climate impacts that could
  affect the proposed action and its environmental outcomes, should be appropriately
  tailored to the characteristics of the proposed action, and should be sufficiently concrete
  and comprehensive to meaningfully inform the agency’s decision-making.101

            1. The final guidance should provide additional direction regarding the best
            available science and available tools and resources.

  In addition to relying on available national climate assessments or reports, as the
  guidance encourages,102 CEQ should also advise agencies to incorporate and utilize the
  best available scientific information on climate impacts on specific resources that may be
  impacted by the proposed action and its alternatives. To provide a concrete example, best
  available science shows that climate change is predicted to affect individual species such
  as caribou in Alaska’s Arctic through increased wildfire, summer insect harassment, and
  icing events, as well as changes to forage quality and quantity, spring phenology, and
  distribution and migratory behavior.103 Thus, when considering an oil and gas
  development proposal, the Bureau of Land Management must analyze how disturbance,
  fragmentation, and other impacts from development will affect climate-stressed caribou
  over the life of the project. Simply acknowledging that climate change will make caribou
  – or any other resource – more vulnerable to potential impacts from a proposed action is
  insufficient. This sort of qualitative, resource-specific analysis is necessary to fully
  disclose the impacts of climate change on a proposed action and its reasonably
  foreseeable direct, indirect, and cumulative impacts on the affected environment, as well
  as determine the significance of those impacts and consider through alternatives and
  effects analysis how best to mitigate them in the context of a climate-stressed
  environment.

  CEQ rightly notes that agencies “should use the most up-to-date scientific projections
  available, identify any methodologies and sources used, and where relevant, disclose any
  relevant limitations of studies, climate models, or projections they rely on.”104 While the

  without degradation, risk to health or safety, or other undesirable and intended consequences,’
  and are thus at risk of violating their statutory responsibilities.”) (quoting 42 U.S.C. §
  4331(b)(3)).
  100
      88 Fed. Reg. 1208-1209.
  101
      WEBB ET AL., supra note 92 at 27 (explaining that effective climate impact analysis should be
  holistic, specific, and actionable).
  102
        CEQ Interim Guidance at 1208.
  103
        E.g., Mallory, Conor D., and Mark S. Boyce. “Observed and predicted effects of climate
  change on Arctic caribou and reindeer.” Environmental Reviews 26.1 (2018): 13–25.
  104
    88 Fed. Reg. at 1,208.
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  Interim Guidance already notes that “the best available climate change reports . . . often
  project at least two possible future emissions scenarios” and instructs agencies to
  “identify and use information on future projected GHG emissions scenarios to evaluate
  potential future impacts,” we recommend that CEQ expressly specify that agencies
  should consider climate impacts under multiple possible GHG emissions scenarios,
  including a high GHG emissions scenario.105 Agencies should take into account the range
  of potential climate change trajectories to ensure their assessments are realistic and
  resilient.

  To assist agencies in implementing this guidance, we recommend that CEQ build upon
  the list of GHG-focused tools and resources that it maintains with additional tools and
  resources that agencies can use to rigorously assess effects of climate change on a
  proposed action and its outcomes.106 As with the GHG-focused list, the climate impact-
  focused list should include notes that contextualize and recommend specific uses for the
  resources. This would ensure that agencies and the public alike are aware of, can easily
  access, and understand how to use the many relevant resources and tools available to
  conduct such analyses.107

         2. The final guidance should direct agencies to evaluate the resilience benefits of
         the full array of natural systems affected by a federal action as part of the affected
         environment baseline.

  As discussed above, healthy natural systems play a significant role in sequestering GHG
  emissions. Healthy natural systems are also essential if the nation’s human and wildlife
  communities are to remain resilient in the face of the many challenges resulting from
  climate change. As defined in the Interim Guidance, resilience is “the ability to prepare
  for and adapt to changing conditions and withstand and recover rapidly from disruption.”

  To ensure meaningful consideration of climate change impacts the final guidance should
  direct agencies to evaluate the resilience benefits of the full array of natural systems
  affected by a federal action as part of the affected environment baseline. The final
  guidance should also provide examples of the ways in which natural systems advance
  resilience, some of which are highlighted below.

  For example, as CEQ is well aware, healthy wetlands, floodplains and rivers provide
  essential flood protection services that are critical to community resilience. Wetlands act

  105
      WEBB ET AL., supra note 92, at 28.
  106
      GHG Tools and Resources, NEPA.GOV, https://ceq.doe.gov/guidance/ghg-tools-and-
  resources.html (last visited Feb. 9, 2023); see WEBB ET AL., supra note 74 at Part 4.3 and
  Appendix 2 (listing relevant data sources, tools, and guidance documents).
  107
      See WEBB ET AL., supra note 92, at 55-56 (“[W]hile many useful resources are already
  publicly available, some federal agencies appear to be unaware of or unwilling to use them. For
  example, FERC has argued that it is unable to perform detailed climate impact analysis for
  hydroelectric projects because it lacks access to localized climate projections, but useful
  projections have been published by other government agencies.”) (citing analysis of recent FERC
  EISs).
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  as natural sponges, storing and slowly releasing floodwaters after peak flood flows have
  passed, and coastal wetlands buffer the onslaught of hurricanes and tropical storms. A
  single acre of wetland can store one million gallons of floodwaters.108 Just a 1 percent
  loss of a watershed’s wetlands can increase total flood volume by almost seven percent.109
  Restoring a river’s natural flow and meandering channel, and giving at least some
  floodplain back to the river, slows down floodwaters and gives the river room to spread
  out without harming homes and businesses.

  As an example, wetlands prevented $625 million in flood damages in the 12 coastal states
  affected by Hurricane Sandy, and reduced damages by 20 to 30 percent in the four states
  with the greatest wetland coverage.110 The forest and other conservation lands that make
  up the 28,000 acre Meramec Greenway along the Meramec River in southern Missouri
  contribute about $6,000 per acre in avoided flood damages annually.111 Wetlands in the
  Eagle Creek watershed of central Indiana reduce peak flows from rainfall by up to 42
  percent, flood area by 55 percent, and maximum stream velocities by 15 percent.112
  Coastal wetlands reduced storm surge in some New Orleans neighborhoods by two to
  three feet during Hurricane Katrina, and levees with wetland buffers had a much greater
  chance of surviving Katrina’s fury than levees without wetland buffers.113 These systems
  also have the significant added benefit of benefits of being self-sustaining and avoiding
  the risk of catastrophic structural failures.

  Healthy rivers, floodplains, and wetlands are also essential for allowing people and
  wildlife to benefit from natural flood cycles. In a healthy, functioning river system,
  precipitation events and other natural increases in water flow can deposit nutrients along
  floodplains creating fertile soil for bottomland hardwood forests. Sediment transported
  by these increased flows form islands and back channels that are home to fish, birds, and
  other wildlife. By scouring out river channels and riparian areas, these events prevent
  rivers from becoming overgrown with vegetation. They also facilitate breeding and
  migration for a host of fish species, and provide vital connectivity between habitat areas.

  108
      Environmental Protection Agency, “Wetlands: Protecting Life and Property from Flooding.”
  EPA 843-F-06-001. (2006) (factsheet).
  109
      Demissie, M. and Abdul Khan. 1993. “Influence of Wetlands on Streamflow in Illinois.”
  Illinois State Water Survey, Contract Report 561, Champaign, IL, Table 7, pp. 44-45.
  110
      Narayan, S., Beck, M.B., Wilson, P., et al., The Value of Coastal Wetlands for Flood Damage
  Reduction in the Northeastern USA. Scientific Reports 7, Article number 9463 (2017),
  doi:10.1038/s41598-017-09269-z.
  111
      Kousky, C., M. Walls, and Z. Chu. 2014. Measuring resilience to climate change: The benefits
  of forest conservation in the floodplain. p 345–360. In: V.A. Sample and R.P. Bixler, eds. Forest
  Conservation and Management in the Anthropocene: Conference Proceedings. Proceedings
  RMRS-P-71. Fort Collins, CO: U.S. Department of Agriculture, Forest Service, Rocky Mountain
  Research Station.
  112
      Javaheri, A., and M. Babbar-Sebens. 2014. On comparison of peak flow reductions, flood
  inundation maps, and velocity maps in evaluating effects of restored wetlands on channel
  flooding. Ecological Engineering 73: 132–145.
  113
      Bob Marshall, Studies abound on why the levees failed. But researchers point out that some
  levees held fast because wetlands worked as buffers during Katrina’s storm surge, The New
  Orleans Times-Picayune (March 23, 2006).
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  In the deltas at the mouths of rivers, increased flows release freshwater and sediment,
  sustaining and renewing wetlands that protect coastal communities from storms and
  provide nurseries for multibillion dollar fisheries.

  Wetlands are equally essential for ensuring thriving and resilient populations of fish and
  wildlife. Wetlands are some of the most biologically productive natural ecosystems in the
  world, and support an incredibly diverse and extensive array of fish and wildlife.
  America’s wetlands support millions of migratory birds and waterfowl. Up to one-half of
  all North American bird species rely on wetlands. Although wetlands account for just
  about 5 percent of land area in the lower 48 states, those wetlands are the only habitat for
  more than one third of the nation’s threatened and endangered species and support an
  additional 20 percent of the nation’s threatened and endangered species at some time in
  their life. These same wetlands are home to 31 percent of the nation’s plant species.114

         3. The final guidance should direct agencies to evaluate the direct, indirect, and
         cumulative effects of a proposed action on the ability of affected natural systems
         to retain and/or increase resilience for communities and fish and wildlife in the
         face of climate change.

  To facilitate development of alternatives that advance resilience and adaptation, the final
  guidance should direct agencies to evaluate the direct, indirect, and cumulative effects of
  a proposed action on the ability of the natural systems affected by the proposed action to
  retain and/or increase resilience for communities and fish and wildlife in the face of
  climate change.

  As discussed above, the critical importance of healthy natural systems for both human
  and wildlife communities is well known. But the role that these systems play in ensuring
  resilience in the face of climate change is virtually never assessed or considered in the
  NEPA context.

  For example, the Army Corps of Engineers did not evaluate the implications for
  ecosystem resilience in its September 2022 Draft Environmental Assessment and FONSI
  analyzing the Corps’ plan to close a natural crevasse in the lowest reaches of the
  Mississippi River despite the well-recognized deltaic land-building that is occurring as a
  direct result of the crevasse and the EA’s conclusion that closing the crevasse would
  result in the loss of 533 acres of wetlands from the loss of deltaic land building.115 As
  CEQ and the Army Corps are well aware, reestablishing Louisiana’s coastal wetlands is
  critical to the long-term survival and resilience of this region. The Army Corps did not
  assess the adverse implications to ecosystem resilience from a project that would damage
  many tens of thousands of acres of hemispherically significant wetlands in its 2020


  114
      Environmental Protection Agency, Economic Benefits of Wetlands, EPA843-F-06-004 (May,
  2006) (factsheet).
  115
      U.S. Army Corps of Engineers, Draft Finding of No Significant Impact and Draft
  Environmental Assessment, Mississippi River, Baton Rouge To The Gulf Of Mexico, Louisiana
  Neptune Pass Rock Closure, Plaquemines Parish, Louisiana September 2022.
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  supplemental Environmental Impact Statement on the Yazoo Area Pump Project.116 The
  Army Corps did not assess the adverse implications to resilience for fish and wildlife that
  rely on a 195-mile stretch of the Mississippi River despite acknowledging extensive
  adverse impacts to fish and wildlife habitat in its supplemental EIS on the activities it
  carries out to maintain navigation on this reach of the river.117 Similarly, the Army
  Corps did not assess the adverse implications to resilience in its analysis of an operating
  plan for the Apalachicola-Chattahoochee-Flint river system, despite the enormous harm
  that the plan would cause to the vitally important Apalachicola River and its floodplain.118

  The changing climate, combined with historic and ongoing destruction119 and
  degradation120 of vast swaths of habitat,121 have pushed America’s wildlife into crisis,
  helping to drive the planet’s ongoing 6th Mass Extinction of species.122 As many as one-
  116
      The Mississippi Delta wetlands that would be harmed by this devastating project are located in
  the heart of the Mississippi River Flyway. U.S. Army Corps of Engineers, Second Final
  Supplemental, USACE, MS, Final Supplement No. 2 to the 1982 Yazoo Area Pump Project Final
  EIS (December 2020).
  117
      Final Supplement to The Final Environmental Statement, Regulating Works on the Mississippi
  River Between The Ohio And Missouri Rivers (May 2017).
  118
      U.S. Army Corps of Engineers, Final Environmental Impact Statement, Update of the Water
  Control Manual for the Apalachicola-Chattahoochee-Flint River Basin in Alabama, Florida, and
  Georgia and a Water Supply Storage Assessment (December 2016).
  119
      For example, at least ten states have lost more than 70 percent of their wetlands, which provide
  essential fish and wildlife habitat, while 22 states have lost 50 percent or more of their original
  wetland acreage. T.E. Dahl and S.M. Stedman. 2013. Status and trends of wetlands in the coastal
  watersheds of the Conterminous United States 2004 to 2009. U.S. Department of the Interior,
  Fish and Wildlife Service and National Oceanic and Atmospheric Administration, National
  Marine Fisheries Service. (46 pp); Dahl, T.E. 2006. Status and trends of wetlands in the
  conterminous United States 1998 to 2004. U.S. Department of the Interior, Fish and Wildlife
  Service, Washington, D.C. (112 pp); Dahl, T.E. 2000. Status and trends of wetlands in the
  conterminous United States 1986 to 1997. U.S. Department of the Interior, Fish and Wildlife
  Service, Washington, D.C. (82 pp); Dahl, T.E., and Johnson, C.E., 1991, Status and trends of
  wetlands in the conterminous United States, mid-1970's to mid-1980's. U.S. Department of the
  Interior, Fish and Wildlife Service, Washington, D.C. (28 pp).
  120
      Fish and wildlife have also been severely harmed through the pervasive alteration of natural
  stream flows, including from reservoirs and locks and dams, which have occurred in 86 percent
  of the almost 3,000 streams assessed by the U. S. Geological Survey. U.S. Geological Survey,
  Ecological Health in the Nation’s Streams, Fact Sheet 2013-3033 (July 2013); Carlisle, D.M.,
  Meador, M.R., Short, T.M., Tate, C.M., Gurtz, M.E., Bryant, W.L., Falcone, J.A., and Woodside,
  M.D., 2013, The quality of our Nation’s waters—Ecological health in the Nation’s streams,
  1993–2005: U.S. Geological Survey Circular 1391 (120 pp).
  121
      For example, the construction of levees by the Army Corps and others to reduce the frequency
  and duration of flooding in the lower Mississippi River Valley is the single largest contributor to
  wetland losses in the country, according to the Department of the Interior. Report to Congress by
  the Secretary of the Interior, The Impact of Federal Programs on Wetlands, Volume II, at 145
  (1994). Approximately 80 percent of the bottomland hardwood wetlands in the lower Mississippi
  River basin have already been lost approximately. Report to Congress by the Secretary of the
  Interior, The Impact of Federal Programs on Wetlands, Volume I at 39.
  122
      Gerardo Ceballos, Ehrlich Paul, Raven Peter, Vertebrates on the brink as indicators of
  biological annihilation and the sixth mass extinction. Proceedings of the National Academy of
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                                                                                                      29


  third of America’s plant and wildlife species are vulnerable, with one in five imperiled
  and at high risk of extinction.123 A 2023 assessment found that an alarming 40% of all
  animal species in the United States are at risk of extinction and that 41% of all
  ecosystems “at risk of range-wide collapse.”124 Approximately 40 percent of the nation’s
  freshwater fish species are now rare or imperiled.125 Nearly 60 percent of the nation’s
  globally significant freshwater mussel species are imperiled or vulnerable, and an
  additional 10 percent are already extinct.126

  Our wildlife crisis extends well beyond rare and endangered species, and now affects
  many widespread and previously abundant creatures, such as the little brown bat,
  monarch butterfly, and many of our most beloved songbirds. State fish and wildlife
  agencies have identified more than 12,000 species nationwide in need of conservation
  action, and fully one-third of North America’s bird species require urgent conservation
  attention.127

          4. The final guidance should direct agencies to evaluate the direct, indirect, and
          cumulative effects / risks of a proposed action transferring flood risks to other
          communities, increasing flooding upstream, and increasing flooding downstream.

  Structural projects, while necessary in some places including for flood risk reduction, can
  transfer flood risks to other communities. For example, a recent study found that
  building one large seawall in a small portion of California’s San Francisco Bay could


  Sciences Jun 2020, 117 (24) 13596-13602; DOI: 10.1073/pnas.1922686117 (“The ongoing sixth
  mass extinction may be the most serious environmental threat to the persistence of civilization,
  because it is irreversible. . . . the sixth mass extinction is human caused and accelerating. . . .
  species are links in ecosystems, and, as they fall out, the species they interact with are likely to go
  also. . . . Our results reemphasize the extreme urgency of taking massive global actions to save
  humanity’s crucial life-support systems.”)
  [18] U.S. Geological Survey, Ecological Health in the Nation’s Streams, Fact Sheet 2013-3033
  (July 2013); Carlisle, D.M., Meador, M.R., Short, T.M., Tate, C.M., Gurtz, M.E., Bryant, W.L.,
  Falcone, J.A., and Woodside, M.D., 2013, The quality of our Nation’s waters—Ecological health
  in the Nation’s streams, 1993–2005: U.S. Geological Survey Circular 1391 (120 pp).
  123
      Stein, B. A., L. S. Kutner, J. S. Adams eds. 2000. Precious Heritage: The Status of
  Biodiversity in the United States. New York: Oxford University Press.
  124
      NatureServe. 2023. Biodiversity in Focus: United States Edition. NatureServe: Arlington, VA
  at 8, 11
  (https://www.natureserve.org/sites/default/files/NatureServe_BiodiversityInFocusReport_medium
  .pdf).
  125
      Jelks, H. L., S.J. Walsh, N.M. Burkhead, et al. 2008. Conservation status of imperiled North
  American freshwater and diadromous fishes. Fisheries. 33: 372-407.
  126
      Williams, J. D., M. L. Warren, K. S. Cummings, J. L. Harris, and R. J. Neves. 1993.
  Conservation status of freshwater mussels of the United States and Canada. Fisheries 18: 6–22;
  Lydeard, C., R. H. Cowie, W. F. Ponder, et al. 2004. The global decline of nonmarine mollusks.
  BioScience 54 321-330.
  127
      Stein, B. A., N. Edelson, L. Anderson, J. Kanter, and J. Stemler. 2018. Reversing America’s
  Wildlife Crisis: Securing the Future of Our Fish and Wildlife. Washington, DC: National Wildlife
  Federation.
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                                                                                                30


  significantly increase flooding in other areas, causing up to $723 million of flood
  damages to those areas during each flood event128—an estimate that is highly
  conservative as it “doesn’t account for potential damage to ecosystems and fisheries.”129
  New levees, or levee raises, that may help one community can similarly push flood
  waters onto others, increasing risks for other communities including very often,
  communities of color and low-income communities that do not have the resources to
  construct or raise their own levees.

  The impacts associated with transferring flood risks will be greatly exacerbated by the
  appreciable increases in both the intensity and number of extreme storms that the nation
  will suffer as our climate continues to warm.130 In some locations, future extreme events
  could be twice as intense as historical averages.131 By 2100, previously rare extreme
  rainstorms could happen every two years.132 By 2050, high tides could cause “sunny
  day” flooding in coastal communities 25 to 75 days a year.133 By the end of the century,
  homes and commercial properties currently worth more than $1 trillion could be at risk of
  chronic flood inundation.134

  Storms and floods in the U. S. disproportionately harm Black, Latinx, Indigenous, low-
  income, and frontline communities. For example, the neighborhood that suffered the
  worst flood damage during Hurricane Harvey was in an area of southwest Houston where
  49 percent of the residents are people of color. Damage from Hurricane Katrina was
  most extensive in the region’s Black neighborhoods. In four of the seven ZIP codes that
  suffered the costliest flood damages from Hurricane Katrina at least 75 percent of

  128
      Michelle Hummel, Griffin R., Arkema K., Guerry A., PNAS 2021 Vol. 118 No. 29
  e2025961118, Economic evaluation of sea-level rise adaptation strongly influenced by
  hydrodynamic feedbacks https://doi.org/10.1073/pnas.2025961118 (July 2021) (documenting that
  the seawall would divert 36 million cubic meters of flood waters (9.5 billion gallons) onto other
  communities, and demonstrating the value of natural infrastructure for alleviating flooding and
  damages along other stretches of the coastline.).
  129
      Matt Simon, Be very careful where you build that seawall, WIRED (July 14, 2021).
  130
      The nation has already suffered more billion-dollar inland flood disasters in the last decade
  than in the prior three decades combined. We have also endured more billion-dollar hurricane
  disasters in the last five years than in the decade before. NOAA National Centers for
  Environmental Information (NCEI) U.S. Billion-Dollar Weather and Climate Disasters (2021)
  (https://www.ncdc.noaa.gov/billions/), DOI: 10.25921/stkw-7w73 (inland flooding “caused by
  billion-dollar hurricanes (i.e., Harvey, Florence, Matthew) has also increased”).
  131
      E&E News, Anne C. Mulkern, Climate drives rise in global damage from storms — study,
  July 12, 2021; Madakumbura, G.D., Thackeray, C.W., Norris, J. et al. Anthropogenic influence
  on extreme precipitation over global land areas seen in multiple observational datasets. Nat
  Commun 12, 3944 (2021). https://doi.org/10.1038/s41467-021-24262-x.
  132
      Inside Climate News, New Study Shows Global Warming Intensifying Extreme Rainstorms
  Over North America, June 2, 2020; Megan C. Kirchmeier-Young, Xuebin Zhang, Human
  influence has intensified extreme precipitation in North America, Proceedings of the National
  Academy of Sciences Jun 2020, 117 (24) 13308-13313; DOI:10.1073/pnas.1921628117.
  133
      NOAA High Tide Flooding Report, 2021 State of High Tide Flooding and Annual Outlook.
  134
      Union of Concerned Scientists. Underwater: Rising Seas, Chronic Floods, and the Implications
  for US Coastal Real Estate (2018).
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                                                                                                     31


  residents were Black.135 Over the next 30 years, the “risk of coastal floods damaging or
  destroying low-income homes will triple” resulting in the flooding of more than 25,000
  affordable housing units each year.136

  In addition, “while severe storms fall on the rich and poor alike, the capacity to respond
  to and recover from flooding is much lower in socially vulnerable populations that even
  in the best of times are struggling to function.”137 Even low levels of flooding can wreak
  havoc on buildings and the residents who live in them, damaging belongings, disrupting
  electrical equipment, contaminating water sources and septic systems, and generating
  mold. These impacts can “cause profound disruptions to families already struggling to
  make ends meet” and can be particularly challenging to remedy in affordable housing
  units, which are often in poor repair to begin with.138

  It is critical that agencies evaluate whether a federal action will transfer flood risks onto
  other communities as our rapidly changing climate produces increasingly severe storms
  and floods and wildfires (that can lead to increased flooding due to the loss of vegetative
  cover) fueled by our rapidly changing climate.139

          5. The final guidance should direct agencies to fully evaluate, as part of each
          NEPA review, locating the proposed project or activity at alternative sites that
          would avoid climate change risk (e.g., sea level rise, storm surge, floodplains)
          and avoid and reduce the adverse impacts to healthy natural systems.


  Many NEPA reviews examine projects in areas at high risk from climate change and/or
  projects that will adversely affect natural systems essential for the long-term resilience of
  communities and wildlife. The final guidance should direct agencies to fully evaluate
  and consider, as part of each NEPA review, locating the proposed project or activity at a
  location that would: (a) avoid or minimize climate change risks to the project; and (b)
  avoid and minimize adverse impacts to natural systems essential for resilience.

  For example, when conducing a NEPA review of a facility that would be located in a
  coastal area subject to sea level rise, wave and storm-drive erosion, or subsidence,

  135
      Thomas Frank, Flooding Disproportionately Harms Black Neighborhoods, Scientific
  American (June 2, 2020).
  136
      Maya K Buchanan et al, Sea level rise and coastal flooding threaten affordable housing,
  Environ. Res. Lett., 15 124020/ (2020).
  137
      National Academies of Sciences, Engineering, and Medicine 2019. Framing the Challenge of Urban
  Flooding in the United States. Washington, DC: The National Academies Press.
  https://doi.org/10.17226/25381.
  138 Buchanan et al, Sea level rise and coastal flooding threaten affordable housing (see footnote 8).
  139
     For example, a recent study concludes that climate change-induced sea level rise accounted for
  13% of the damage caused by Hurricane Sandy (approximately $8.1 billion of the $62.5 billion in
  total damages) and 54% of the people affected (71,000 people out of the total of 131,000 people
  affected). Strauss, B.H., Orton, P.M., Bittermann, K. et al Economic damages from Hurricane
  Sandy attributable to sea level rise caused by anthropogenic climate change. Nat Commun 12,
  2720 (2021). https://doi.org/10.1038/s41467-021-22838-1.
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  agencies should be required to assess options for alternate locations that would not be
  subject to those same risks. Similarly, agencies should be required to conduct a robust
  review of alternatives that would avoid adverse impacts to wetlands that provide essential
  flood assimilation and/or fish and wildlife habitat. Full examination of such alternatives
  should already be happening to achieve the fundamental goals of NEPA, but often is not.
  The final guidance should ensure that these critical assessments are in fact carried out.

          6. The final guidance should also recognize the important role that public lands
          play in resilience, GHG emissions reductions, and adaptation.

  Public lands – encompassing approximately one-third of the land mass of the U.S. – play
  an outsized role in reducing climate change emissions (both through carbon storage and
  opportunities to rapidly decrease fossil fuel emissions), supporting species adaptation,
  and building resilience for communities through providing clean air and water and access
  to nature. Healthy landscapes are natural and efficient carbon captors, while at the same
  time a significant portion of the nation’s energy production – representing roughly 20-
  25% of U.S. GHG emissions – comes from federal lands and waters.140 The Biden
  Administration’s America The Beautiful and 30x30 commitment recognizes the
  importance of protecting and connecting U.S. lands and waters in the face of climate
  change. Proposed actions that could impact that commitment – through conservation
  gains or losses – need to be thoroughly analyzed under NEPA. This could be recognized
  in the guidance as another example of a climate-focused tool against which the impacts of
  a proposed action and alternatives should be measured (similar to tools discussed that
  would help agencies measure GHG emissions against various climate targets or
  emissions management frameworks).

  CONCLUSION

  Our organizations hope that you and your staff find these observations and
  recommendations useful. CEQ’s Interim Guidance provides essential legal direction to
  federal agencies. Our recommendations highlight areas where more detailed guidance
  would help ensure that agencies are accurately accounting for communicating to the
  public the impacts of their decisionmaking. We look forward to seeing the final version
  of the guidance and, importantly, the proposals for CEQ’s Phase 2 Rulemaking. We
  would be pleased to discuss any of these issues with you or your staff further if that
  would be helpful. Please contact Stephen Schima, Senior Legislative Counsel,
  Earthjustice, at sschima@earthjustice.org or (503) 830-5753.

  Sincerely,

  Center for Biological Diversity
  Center for International Environmental Law (CIEL)
  Defenders of Wildlife
  140
     See Matthew D. Merrill et al., U.S. Geological Survey, Scientific Investigations Report 2018-
  5131: Federal Lands Greenhouse Gas Emissions and Sequestration in the United States:
  Estimates for 2005-14.
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  Earthjustice
  Environmental Defense Fund
  Environmental Law and Policy Center
  Evergreen Action
  Food and Water Watch
  League of Conservation Voters
  National Wildlife Federation
  Natural Resources Defense Council
  Ocean Conservancy
  The Sierra Club
  WE ACT for Environmental Justice
  The Wilderness Society
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     ATTACHMENT 2
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DATE: September 29, 2023

TO: Council of Environmental Quality (CEQ)

FROM: GreenLatinos and WE ACT for Environmental Justice

SUBJECT: Docket ID No. CEQ-2023-0003 National Environmental Policy Act Implementing
Regulations Revisions Phase II

       GreenLatinos and WE ACT for Environmental Justice, along with the undersigned
organizations, submit these comments to express our support and provide improvements to the
Council on Environmental Quality (“CEQ”) National Environmental Policy Act (“NEPA”)
Implementing Regulations Revisions Phase II (No. CEQ-2023-0003). The submitted comments
are framed with the goal of centering and securing the safety, health, and resiliency of Black,
Brown, and Indigenous communities that historically and currently experience undue burdens of
environmental and climate injustice.


       GreenLatinos is an active comunidad of over 14,000 Latines and allies across the U.S.
and territories, united to ensure that environmental justice is embedded across all levels of
governmental policies. We envision a healthy and equitable society where communities of color
are liberated from disproportionate environmental burdens, free to breathe fresh air, drink pure
water, access clean transportation, and enjoy our majestic public lands, ocean, and waters.
GreenLatinos analysis of the proposed regulations are informed by the the Latino Climate
Justice Framework (“LCJF”)1 The LCJF is a blueprint for decision makers and underserved
communities alike to champion equitable policy solutions aimed at improving disproportionately
impacted environmental justice communities, especially communities of color. The Framework
was developed through extensive partner and community input over the course of 1.5 years and




1
 Green Latinos, Latino Climate Justice Framework, (hereafter cited to as “LCJF”),
https://www.lcjf.greenlatinos.org/_files/ugd/352e47_e3bf44c2175e4867a171544cd4a72ac2.pdf.(October
2022).


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was launched in October 2022 alongside 22 Latine-serving partner organizations. Currently,
over 70 additional organizations have endorsed the Framework.


         WE ACT for Environmental Justice (“WE ACT”) is a Northern Manhattan-based member
organization whose mission is to advocate for and build healthy communities by ensuring
communities of color and low income communities lead in creating just and equitable
environmental health laws, policies, and practices.2 Since its founding in 1988, WE ACT has
worked to serve environmental justice communities across the country which have been and
continue to be adversely affected by harmful infrastructure, pollution, and the inequitable
enforcement of environmental laws.3 WE ACT consistently calls for strong environmental
protections and actions that address and remediate historical burdens. WE ACT’s Federal
Policy Office in Washington, D.C. pursues national policy solutions that center the positions,
interests, goals, and and voices of environmental justice organizations across the country. The
Federal Policy Office addresses injustice and equity within the federal landscape and seeks to
drive just and equitable solutions in the realms of clean air, clean water, climate, transportation,
and energy justice, as well as the creation of healthy homes and other issue areas.


    I.   BACKGROUND


         Since its establishment over 50 years ago, NEPA has been the nation’s bedrock
environmental law, requiring review and oversight for any major federal action. It is a tool used
to integrate the voice of the people into federal decision making. Unfortunately, fossil fuel and
special interests have weakened this critical law, which ultimately hampers communities’ ability
to provide input into projects being developed in their backyards, neighborhoods, and towns.
CEQ has already begun the important work of restoring NEPA provisions, as was evidenced in
the first phase of CEQ’s regulations, which focused on reversing dangerous rollbacks made by
the previous Administration. In Summer 2023, NEPA faced additional setbacks and carve-outs
through the passage of the Fiscal Responsibility Act (“FRA”), where there were significant
concessions to industry and conservative interests that effectively weakened NEPA and its
application.4 We commend the Biden-Harris Administration and Executive Order 14096 for

2
  WE ACT for Environmental Justice, Who We Are, https://www.weact.org/whoweare/ourstory/ (2023).
3
  Id.
4
  WE ACT for Environmental Justice, WE ACT For Environmetnal Justice Decries Debt Ceiling
Concessions and Calls for Amendments to Remove Harmful NEPA and MVP Provisions,
https://www.weact.org/2023/05/we-act-for-environmental-justice-decries-debt-ceiling-concessions-and-call
s-for-amendments-to-remove-harmful-nepa-and-mvp-provisions/ (May 31, 2023).


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furthering the interests and goals of environmental justice through this proposed rule. Further,
the undersigned organizations reiterate that the Biden-Harris Administration must no longer use
environmental justice communities as bargaining chips at the negotiation table.5


        The scientific record and lived experience demonstrates that a strong NEPA process
makes projects more resilient, less likely to face litigation, and ultimately allows them to move
faster all while safeguarding affected communities.6 It is always worth repeating - environmental
justice communities historically and currently bear the burden of climate and environmental
injustice. Historic permitting and siting practices have marginalized front and fenceline voices,
created sacrificial zones, and excluded environmental justice communities from environmental
benefits while burdening them with environmental harms.Discriminatory practices, such as
segregation, redlining, and unjust industrial zoning policies cause Black, Brown, Indigenous,
and/or low-income communities to house a disproportionate amount of pollution infrastructure.7


        Indeed, Black and Hispanic communities respectively bear 56% and 63% excess air
pollution exposure, relative to the exposure caused by their consumption.8 Specifically, deaths
from Particulate Matter 2.5, also known as soot, are disproportionately felt by Black and Brown
communities. Black populations 65 years or older, experience three times as many
PM2.5-attributable deaths per capita compared to all other races.9 More than one million Black
Americans face a cancer risk above “EPA’s level of concern.” Approximately, 13.4% of Black
children suffer from asthma, as compared to 7.3% of white children. Latine children are more
likely to be diagnosed with asthma and are twice as likely to die from an asthma attack
compared to their white counterparts.10 Lastly, Black Americans are 75% more likely to live in

5
   WE ACT for Environmental Justice, Letter Regarding May 2023 Congressional Debt Ceiling
Negotiations,
https://www.weact.org/wp-content/uploads/2023/05/FINAL_EJ-Debt-Ceiling-Letter-to-President-Biden.pdf
(May 25, 2023)
6
   Roosevelt Institute, Climate and Community Project, A Progressive Take on Permitting Reform,
https://rooseveltinstitute.org/wp-content/uploads/2023/08/RI_Progressive_Permitting_Report_202308.pdf
(2023).
7
   Equitable & Just National Climate Platform, Approaches to Defining Environmental Justice Community
for Mandatory Emissions Reduction Policy [Insert Link] (September 2021) at 4.
8
   Christopher W. Tessum et al., Inequity in consumption of goods and services adds to racial-ethnic
disparities in air pollution exposure (Mar. 11, 2019), https://www.pnas.org/doi/10.1073/pnas.1818859116.
9
  Industrial Economics, Analysis of PM.25 - Related Health Burdens Under Current and Alternative
NAAQS,https://globalcleanair.org/wp-content/blogs.dir/95/files/2022/05/Analysis-of-PM2.5-Related-Health
-Burdens-Under-Current-and-Alternative-NAAQS.pdf.
10
    GreenLatinos, LCJF,
https://www.lcjf.greenlatinos.org/_files/ugd/352e47_e3bf44c2175e4867a171544cd4a72ac2.pdf.(October
2022).


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fence-line communities housing industrial facilities that produce a myriad of negative impacts,
including emission exposure, traffic, odor, and noise.11 In addition to the overwhelming data,
communities have deeply woven experiences of impacts and generational harm that still exist
today, as a result of systemic racism, economic inequality, and injustice.


           This comment letter will discuss the proposed climate change and environmental
justice provisions and call for the strengthening and preservation of pathways for
equitable public participation and engagement. The undersigned organizations urge CEQ
to adopt strong regulations that effectively and thoroughly center environmental justice
communities. Embedding such protections in NEPA’s implementation regulations would
be a shared victory for communities and advocates across the country, all while
advancing more durable and resilient infrastructure.


     II.   DISCUSSION


       A. Proposed §1508.1 Definitions
           NEPA is often referred to as the “People’s Environmental Law” and the “Magna Carta”
of federal environmental laws.12 Accordingly, the implementing regulations must boldly and
directly identify who the people are, with a heightened focus on those harmed and targeted by
environmental injustice and inequity.


              ●   Proposed Definition of Environmental Justice (EJ) Communities: Proposed
                  section 1508.1(k) proposes to define “environmental justice” as “the just
                  treatment and meaningful involvement of all people, regardless of income, race,
                  color, national origin, Tribal affiliation, or disability, in agency decision making and
                  other Federal activities that affect human health and the environment so that
                  people: (1) Are fully protected from disproportionate and adverse human health

11
   Princeton University, Racial Disparities and Climate Change,
https://psci.princeton.edu/tips/2020/8/15/racial-disparities-and-climate-change#:~:text=In%20total%2C%2
0African%20Americans%20are,health%20problems%20such%20as%20asthma. (August 15,2020).
12
   National Environmental Policy Act Website, Welcome,
https://ceq.doe.gov/#:~:text=NEPA%20was%20the%20first%20major,actions%20prior%20to%20making
%20decisions (undated); Also see Earthjustice, The People’s Environmental Law: National Environmental
Policy
Act,https://earthjustice.org/feature/national-environmental-policy-act#:~:text=January%209%2C%202023-
,The%20People%27s%20Environmental%20Law%3A%20National%20Environmental%20Policy%20Act,
or%20poorly%20planned%20federal%20projects (January 9, 2023).



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               and environmental effects (including risks) and hazards, including those related
               to climate change, the cumulative impacts of environmental and other burdens,
               and the legacy of racism or other structural or systemic barriers; and (2) Have
               equitable access to a healthy, sustainable, and resilient environment in which to
               live, play, work, learn, grow, worship, and engage in cultural and subsistence
               practices.”13 The inclusion of this definition is welcome and long overdue. Since
               NEPA’s enactment in 1970 and subsequent amendments and implementing
               regulations over the years, an explicit recognition of environmental justice
               communities has not existed, despite overwhelming science and data indicating
               the distinct experience, suffering, and interests of communities of color and/or
               low-income communities across the country. Environmental justice advocates
               have historically called for a recognition of communities overburdened with
               pollution and environmental infrastructure noting “for federal policies, there is
               value in providing a baseline definition of EJ community that can serve as a floor
               and as a guardrail to ensure that the most affected geographic areas are covered
               under the definition.”14


           ●   Proposed Definition of Cumulative Impacts: The inclusion of “cumulative
               impacts” in the proposed definition is also significant, as CEQ rightfully
               acknowledges that the concept has “ meaning in the context of environmental
               justice relating to the aggregate effect of multiple stressors and exposures on a
               person,community, or population” and further, that “the evolving science on
               cumulative impacts is “sufficiently distinct from the general meaning of cumulative
               effects under the NEPA regulations that using a different term could be helpful to
               agencies and the public.”15 There has been significant advancement in
               cumulative impact assessments at the state level, as evidenced by the
               enactment of landmark environmental justice laws in New Jersey and New York
               State.16 Federal agencies have also recognized cumulative impacts, such as


13
   Proposed § 1508.1(k).
14
   Equitable & Just National Climate Platform, Approaches to Defining Environmental Justice Community
for Mandatory Emissions Reduction Policy [Insert Link] (September 2021) at 4.
15
   Federal Register, National Environmental Policy Act Implementing Regulations Revisions Phase 2, “6.
Environmental Justice (§ 1508.1(k)” https://www.federalregister.gov/d/2023-15405/p-430
16
   New Jersey Environmental Justice Law, N.J.S.A.
13:1D,https://dep.nj.gov/wp-content/uploads/ej/docs/ej-law.pdf and; New York Environmental Justice
Law, Senate Bill 8830 and Assembly Bill 2103D.


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               DOE and EPA.17 Distinguishing cumulative impacts in the proposed rule is a just
               and promising step in advancing equity and justice in the federal permitting
               process.


     B. Proposed §1500.2: Policy


        The undersigned organizations support the inclusion of environmental justice and
climate change considerations in the Policy section of the proposed rule. Proposed §1500.2(d)
directs federal agencies to “Encourage and facilitate public engagement in decisions that affect
the quality of the human environment, including meaningful engagement with communities with
environmental justice concerns, which often include communities of color, low-income
communities, indigenous communities, and Tribal communities.”18 Proposed §1500.2(3)(e)
directs federal agencies to “Use the NEPA process to identify and assess the reasonable
alternatives to proposed actions that will avoid or minimize adverse effects of these actions
upon the quality of the human environment, such as alternatives that will reduce climate
change-related    effects   or   address    adverse    health    and   environmental     effects   that
disproportionately affect communities with environmental justice concerns.”19
        Both provisions rightfully amplify the importance of environmental and climate justice in
regulatory processes. As outlined in the above, environmental justice communities are
overburdened with polluting infrastructure and often facing additional barrieres, exacerbating
public health, quality of life, and safety implications. The direct mention of climate-change, in the
context of environmental justice, is also significant. Since NEPA was passed in 1970,
anthropogenic climate change has accelerated at an unprecedented pace, with far-reaching and
potentially irreversible consequences.20 And Black, Brown, Indigenous and/or low-income
communities are at the forefront of the climate crisis and they are the least able to prepare for,
and recover from, the impacts which include heat waves, poor air quality, and flooding.21 Indeed,
Black and African American individuals are 40% more likely to currently live in areas with the
17
   Environmental Protection Agency, Cumulative Impacts Research,
https://www.epa.gov/healthresearch/cumulative-impacts-research (last updated May 17, 2023).
18
   Proposed Rule §1500.2(d).
19
   Proposed Rule §1500.2(e).
20
   Environmental Protection Agency, Climate Change Indicators: U.S. and Global Temperatures,
https://www.epa.gov/climate-indicators/climate-change-indicators-us-and-global-temperature#:~:text=Sinc
e%201901%2C%20the%20average%20surface,F%20per%20decade%20since%201979).
21
   Environmental Protection Agency, Climate Change and Social Vulnerability in the United States: A
Focus on Six
Impacts,https://www.epa.gov/system/files/documents/2021-09/climate-vulnerability_september-2021_508.
pdf (September 2021) at 4 - 8.


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highest projected increases in extreme temperature related deaths.22 Hispanic and Latin
American individuals are 43% more likely to currently live in areas with the highest projected
reductions in labor hours due to extreme temperatures.23


     C. Proposed §1501.3: Determine the appropriate level of NEPA review


         Proposed Section §1501.3 provides a consolidated description of the process agencies
should use to determine the appropriate level of NEPA review for a federal action. The
undersigned organizations support the addition of paragraph (d)(2)(ix) in Section §1501.3,
requiring agencies to analyze the degree to which an “action may have disproportionate and
adverse effects on communities with environmental justice concerns” when determining the
appropriate level of NEPA review.24


     ●   Environmental       Justice   Concerns       should   be   distinctly   considered   when
         determining the level of NEPA review:           As outlined above, environmental justice
         communities bear an unjust amount of environmental historically rooted inequities and
         accordingly, should receive a heightened level of review. Countless communities live in
         dangerous proximity to multiple exposure sites such as highways, gas plants, pipelines,
         waste management infrastructure, oil extraction sites, petrochemical facilities, and
         others. Further, Black and Brown communities are also particularly hit hard by the effects
         of the climate crisis.25


     ●   The final rule must further define the “degree” to which an action may have a
         disproportionate impact: The undersigned organizations ask that under paragraph
         (d)(2)(ix), CEQ be more specific about how an agency will include the “degree” to which
         an action may have disproportionate impacts that is aligned with our comments under
         §1502.16 Environmental Consequences, including how an agency considers not only



22
   Environmental Protection Agency, Climate Change and Social Vulnerability in the United States: A
Focus on Six
Impacts,https://www.epa.gov/system/files/documents/2021-09/climate-vulnerability_september-2021_508.
pdf (September 2021) at 4 - 8.
23
    Id. at 6.
24
   Proposed §1501.3.
25
   GreenLatinos, LCJF,
https://www.lcjf.greenlatinos.org/_files/ugd/352e47_e3bf44c2175e4867a171544cd4a72ac2.pdf. (October
2022) at 4.


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         the potential for adverse impacts but also the need for mitigation measures and
         equitable solutions.


     D. Proposed §1501.9: Public and governmental engagement


         Proposed section §1501.9 addresses how agencies should conduct public engagement
to inform the public of an agency’s proposed action and how agencies should allow for
meaningful engagement during the NEPA process, which ensures decision makers are informed
by the views of the public. This section is an integral component of NEPA as it guides federal
agencies on effective, two-way public engagement. Drawing upon the language access and
justice principles in the LCJF, we offer the following considerations regarding language justice26:


     ●   Language Access in Public Outreach: Proposed §1501.9(c)(3) outlines how to identify
         appropriate outreach methods, including “the ability of affected persons and agencies to
         access electronic media and the primary language of affected persons.”27 Language
         access in every structure of government and broad outreach to non-English speaking
         communities, or those with limited English proficiency (LEP), regardless of citizenship
         status, is vital to the meaningful engagement of marginalized communities in NEPA’s
         democratic process. To this end, we urge CEQ to require translation and interpretation at
         every step of the outreach and notification in the NEPA process. CEQ must go beyond
         the “primary language of affected persons” and use U.S. Census data on the most
         widely spoken languages in an affected community to guide translation priorities into
         multiple languages. In §1501.9(d), we recommend requiring that public notices are
         published in English and any other required alternative languages in all available
         avenues, including email announcements, public notices physically posted in places of
         interest to the community, websites, social media, and other media forms.


     ●   Culturally Competent Community Engagement: CEQ must provide guidance
         regarding how agencies hold engagement sessions with local partners to ensure that
         sessions are conducted in culturally sensitive ways. We also recommend that CEQ itself,
         as its own entity, conduct engagement sessions with local partners in culturally sensitive

26
   GreenLatinos, LCJF,
https://www.lcjf.greenlatinos.org/_files/ugd/352e47_e3bf44c2175e4867a171544cd4a72ac2.pdf.(October
2022) at 26.
27
   Proposed §1501.9(c)(3).


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         ways so that communities have built-in trust and buy-in i.e. partnering with a local
         validator or trusted community leader. CEQ must also recognize that not every U.S.
         resident has citizenship; therefore, public forums should not be held in venues requiring
         state-issued ID to enter, which restricts participation based on age and citizenship status.
         The undersigned organizations urge CEQ to incorporate language that would advise
         against the presence of uniformed officers, including Customs and Border Protection or
         Immigration and Customs Enforcement officers, at public forums that could deter
         undocumented persons or mixed-status families from attending and participating in
         public processes. In §1501.9(d)(C), we recommend coordination with local ethnic media
         outlets to ensure public notice announcements are disseminated directly into multilingual
         and multiethnic communities and shared broadly with community organizations, leads,
         and public service entities.


     ●   Translation of EISs and EAs: Environmental Impact Statements (EIS) and
         Environmental Assessments (EA) must be translated and disseminated in culturally
         relevant, sensitive and competent ways.


In addition to these proposed changes for the Phase II Regulations, we express the importance
of inclusive language in CEQ's Citizen's Guide to NEPA:


     ●   Inclusive Language in CEQ’s A Citizen’s Guide to NEPA: Even in 2023, language is
         still too often a barrier to access and equity. CEQ’s A Citizen’s Guide to NEPA has only
         been translated into one other language: Spanish. This is problematic given the U.S.
         Census Bureau reports28 that nearly 68 million people in the United States speak a
         language other than English as their primary language. This number is only projected to
         increase in the coming decade, with waves of migration increasing the presence of Asian
         languages such as Chinese, Vietnamese, Korean and Arabic in the United States.
         Further, the Spanish version of the Guide is outdated, as it reflects the 2007 edition and
         not the current edition issued in January 2021.
            ○   The undersigned organizations urge CEQ to remove the term “citizen” from the
                title and replace the term within the guide as well, as this language is
                exclusionary of permanent or temporary residents, as well as immigrants who do
28
  Sandy Dietrich, Erik Hernandez, Nearly 68 Million People Spoke a Language Other Than English at
Home in 2019, https://www.census.gov/library/stories/2022/12/languages-we-speak-in-united-states.html.
(December 6, 2022).


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                not have citizenship but who are affected by a federal project in their community
                and have a right to share their voice. Words such as “community” or “people” (as
                in “The People’s Guide to NEPA” or “The Community’s Guide to NEPA”) are
                suggested as more inclusive replacements for the word “citizen.”


         In addition to the language justice provisions, we offer the following considerations to
increase accessibility and engagement in NEPA processes:


     ●   Accessibility of EISs and EAs: Environmental Impact Statements (EIS) and
         Environmental Assessments (EA) must be made available in formats that are
         reader-friendly and easy to understand for community members who may not have
         specialized expertise.


     ●   Community Driven Solutions: CEQ should clearly define its plan to include
         community-driven solutions throughout the NEPA process. Importantly, CEQ must
         ensure mechanisms that invite affected communities to propose mitigation measures
         and alternatives that are not unduly difficult to engage with.


     ●   Addressing Inequitable Broadband Access: We urge CEQ to require an equitable
         balance of internet-based outreach and physical outreach to accommodate communities
         with limited internet access, including rural communities with poor bandwidth
         infrastructure challenges and low-income communities.


         By incorporating these recommendations, CEQ can enhance language justice and
community access to the often daunting and tedious government public input processes. These
recommendations further the spirit and intent of NEPA and restore its place as a critical tool in
advancing public engagement, transparency, and participation for communities impacted by
environmental and climate injustice. 29


     E. Proposed §1501.10: Deadlines and Schedule for the NEPA Process




29
  GreenLatinos, LCJF,
https://www.lcjf.greenlatinos.org/_files/ugd/352e47_e3bf44c2175e4867a171544cd4a72ac2.pdf.(October
2022) at 26 - 36.


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         Proposed §Section 1501.10 titled “Deadlines and Schedule for the NEPA Process” sets
timelines for environmental assessments and environmental impact statements. Amendments to
proposed Section §1502.7 sets page limits for environmental impact statements at 150 pages or
300 pages for proposals of “extraordinary complexity.”30


     ●   Preserving complete and thoroughly analyzed assessments: It is critical that
         withstanding these stringent page limitations, environmental impact statements and
         assessments are thorough, fulsome, analyses that do not sacrifice completeness or
         accuracy. Importantly, assessments must deliver upon the climate and environmental
         justice provisions that will be included in the final rule, despite politicalized attempts to
         shorten or dilute their consideration. The undersigned organizations encourage CEQ to
         include language in the final rule that emphasizes this.


     F. Proposed § 1501.3(d)(2): Determination of Significance


         Proposed §Section 1501.3(d)(2) proposes to add new “intensity” factors when
determining whether the effects of a proposed major federal action are significant. Specifically,
Proposed §1501.3(d)(2)(ix) proposes an intensity factor that measures “the degree to which the
action may have disproportionate and adverse effects on communities with environmental
justice concerns.”31 Communities impacted by environmental and climate injustice face
particularized harms and vulnerabilities. Those experiences should be weighed, on their own
merits, in the significance determination.


     G. Proposed §1502.16: Environmental Consequences


         Proposed §1502.16 forms the scientific and analytical basis for comparisons in the
“alternatives” section of EISs.32 The following provisions are of note:


     ●   Proposed §1502.16 (10): Proposes the identification of “Any relevant risk reduction,
         resiliency, or adaptation measures incorporated into the proposed action or alternatives,
         informed by relevant science and data on the affected environment and expected future
         conditions”;
30
   Proposed §1502.7.
31
   Proposed § 1501.3(d)(2)(ix).
32
   Proposed § 1502.16(14).


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      ●   Proposed     §1502.16     (14):   Proposes     the   identification   of   “The   potential   for
          disproportionate and adverse human health and environmental effects on communities
          with environmental justice concerns.”33


          Importantly, the section proposes to require an explicit discussion of disproportionate
harms imposed on environmental justice communities in the environmental consequences
section. The inclusion of this consideration is long overdue, given the centuries of environmental
dangers, toxins, public health implications, quality of life impacts, and unjust practices that
perpetuate environmental violence on communities across the country. CEQ must ensure that
this provision remains in the final version of the rule as a significant and long awaited step
towards codifying environmental justice in the NEPA processes.


          The undersigned organizations encourage the CEQ to further strengthen the language in
this section to more effectively address these critical issues. Climate change is one of the most
pressing     challenges facing our planet, with far-reaching and potentially irreversible
consequences. Given the urgency of the climate crisis, it is essential that NEPA provides clear
guidance on how federal agencies should assess and mitigate climate-related impacts
comprehensively. This includes not only the direct impacts of proposed actions but also the
broader consequences of a changing climate on these actions and alternatives. Notwithstanding
the “reasonably foreseeable” standard, we recommend the following enhancements for this
section:


      ●   Comprehensive Climate Risk Assessment: There should be a requirement for
          agencies to conduct a thorough climate risk assessment, including an evaluation of how
          climate change may affect the feasibility, viability and effectiveness of proposed actions
          themselves over their entire lifecycle.
      ●   Public Engagement on Climate: Ensure that public engagement processes for NEPA
          reviews explicitly include opportunities for stakeholders to provide input and feedback on
          climate change considerations.


          By strengthening the language in this section in the above ways, CEQ can demonstrate
leadership in addressing the climate crisis and promote responsible federal decision-making


33
     Proposed §1502.16 (14).


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that is attuned with the existential moment we are living and prioritizes climate change mitigation
and resilience.


 III.   CONCLUSION


        GreenLatinos, WE ACT for Environmental Justice, and the allied environmental justice
and environmental organizations below thank the Council on Environmental Quality for an
opportunity to comment on CEQ’s National Environmental Policy Act Implementing Regulations
Revisions Phase II (No. CEQ-2023-0003). Historically and currently, environmental justice
communities have been marginalized and sacrificed in the buildout of environmental
infrastructure in this nation. CEQ’s efforts to directly advance equity and justice through these
implementing regulations are welcomed and supported. As mentioned above, “The People’s
Environmental Law” must include and center the most impacted among those that face historic
and present suffering, and are in need of timely, effective, change to combat climate change and
harms caused by overburdening and pollution.


Respectfully submitted,


GreenLatinos
WE ACT for Environmental Justice


Allied Environmental Justice Organizations:


Allied Organizations:




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